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                         DECLARATION OF MICHAEL COLUMBO

       I, Michael Columbo, have personal knowledge of the following facts set forth below, and

if called as a witness I would testify as follows:

       1.      I am an attorney with Dhillon Law Group and represent Rare Breed Triggers,

   LLC, Rare Breed Firearms, LLC, Lawrence DeMonico, and Kevin Maxwell in their ongoing

   litigation with the Department of Justice in United States of America v. Rare Breed Triggers,

   LLC, et. al., Case No. 1:23-cv-369-NRM-RML.

       2.      The facts set forth in this declaration are based on my personal knowledge

   obtained from direct communication with Assistant United States Attorneys.

       3.      During a phone call on July 11, 2023, with Assistant United States Attorneys

   related to the aforementioned litigation, they represented to me that elements within the

   Bureau of Alcohol, Tobacco, Firearms, and Explosives (“ATF”) and Department of Justice

   are “chomping at the bit” to seize certain forced-reset triggers in the possession of Rare

   Breed Triggers, LLC, including triggers located in a Rare Breed Triggers, LLC, office in

   Fargo, North Dakota.

       4.      On August 4, 2023, I received an email from Assistant U.S. Attorney Michael

   Blume of the U.S. Attorney’s Office for the Eastern District of New York stating that “a

   search was conducted” at the office of my client, Rare Breed Triggers, LLC, in Fargo, North

   Dakota, earlier that day. My clients confirmed that that ATF executed a search warrant at that

   office and that the ATF seized the forced reset triggers that were stored there.




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       Pursuant to 28 U.S.C. § 1746, I hereby declare under penalty of perjury that the foregoing

is true and correct to the best of my knowledge and belief.

       Executed on August 9, 2023.




       By:     __________________________
               Michael Columbo




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             DECLARATION OF DANIEL G. O'KELLY IN SUPPORT OF PLAINTIFFS'
                       MOTION FOR PRELIMINARY INJUNCTION
                I declare under penalty of perjury the following:

        1.     I have been retained by the Plaintiffs in this case as an expert witness on firearms and

        Bureau of Alcohol, Tobacco, Firearms and Explosives ("ATF") procedure.

        2.     My curriculum vitae is attached hereto as Attachment A.

        3.     I am the owner and founder of International Firearm Specialist Academy, Inc. in Grand

        Island, Florida.

        4.     The facts set forth in this declaration are based on (1) my personal knowledge; knowledge

        obtained in my role as owner and Director of International Firearm Specialist

        Academy; (2) knowledge obtained in my 23 years of service as a Special Agent with the ATF;

        (3) knowledge obtained in my 46 years of professionally handling and analyzing firearms; (4)

        knowledge obtained from handling and reviewing the Rare Breed Triggers FRT-15 directly and

        from reviewing its patent and design specifications;(5) knowledge obtained from reviewing the

        design specifications for the Wide Open Trigger ("WO T") and Powered By Graves ALAMO-15

        trigger ("ALAMO"); (6) knowledge obtained from reviewing the ATF's reports on the FRT-15,

        including its reports from July 15, 2021, and its report from April 27, 2023; and (7) knowledge

        obtained from reviewing the ATF's reports on the Wide Open Triggers WOT from October 21 ,

        2021, and January 13, 2023, and report on the Powered By Graves ALAMO-15 from April 1, 2022.

        This report is for the purpose of explaining the function of the FRT-15 and the WO T, and the issues

        with the ATF's analysis of both trigger systems, specifically the ATF's analysis in the July 15, 2021,

        report and in the April 27, 2023, report. Prior to this report, I produced two other reports

        concerning the FRT-15. One regarded its function and design (attached as Attachment B) and the

        oth�r addressed the ATF's July 15, 2021, report (attached as Attachment C).




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5.    For this Declaration, I relied on the statutory definition of a "machinegun" as set forth in
26 u.s.c. § 5845(b):

       The term "machinegun" means any weapon which shoots, is designed to shoot, or
       can be readily restored to shoot, automatically more than one shot, without manual
       reloading, by a single function of the trigger. The term shall also include the frame
       or receiver of any such weapon, any part designed and intended solely and
       exclusively, or combination of parts designed and intended, for use in converting
       a weapon into a machinegun, and any combination of parts from which a
       machinegun can be assembled if such parts are in the possession or under the
       control of a person.

6.    The FRT-15, the WOT, and the ALAMO triggers are the three most popular forced reset

triggers to have been commercially produced and sold. For the purposes of this report, I am

focusing on the FRT-1S's design and the ATF's reports analyzing the FRT-15. This is for the sake

of efficiency and ease of understanding because all of my analysis of the FRT-15 regarding its

design, operation, and mechanical function applies to the WOT and ALAMO triggers as well.

These trigger systems share a substantially similar design such that my analysis of the FRT-15 is

also descriptive of the WOT without the need for modification. Similarly, all of my analysis and

criticism of the ATF's reports examining the FRT-15 and ATF's opining that it is a machinegun

also applies to the ATF's reports examining the WOT and ALAMO and ATF's opining that they

are machineguns. The ATFs reports examining these trigger systems employ the same analysis for

all of the designs, engage in the same mischaracterizations of the systems' design and operation,

and use the same misleading verbiage to inaccurately portray the systems as enabling automatic

fire, despite the physical impossibility of the systems doing so due to their shared design features

in which a single function of the trigger shoots only one shot, not more than one shot. See definition

of "machinegun", supra., 26 U.S.C. § 584S(b).




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          The FRT-15 is a Semiautomatic, Non-Machinegun Trigger System


7.    The primary distinction between a semiautomatic firearm and a full-automatic firearm is

that a semiautomatic firearm requires the shooter to depress the trigger, causing it to function,

separately for each round it fires, whereas an automatic firearm allows the shooter to depress

(function) the trigger once to fire multiple shots. As the U.S. Fifth Circuit Court of Appeals

recently pointed out, "[t]he traditional example of a machinegun[] is a rifle capable of automatic

fire, like the M-16. Semi-automatic rifles like the AR-15 are not machineguns." Cargill v.

Garland, 57 F.4th 447, 452 (5th Cir.2023) (en bane), petition for cert. filed (Apr. 6, 2023) (No.

22-976) (footnote omitted); see also See Hollis v. Lynch, n.2 (5th Cir. 2016) (The M-16 "is

capable of automatic fire, that is to say, firing more than one round per trigger-action .... The

AR-15 is essentially a semi-automatic version of the M-16, that is to say, it fires only one shot per

trigger-action."). In Cargill, the Fifth Circuit held that use of a mechanical bump stock with a

semiautomatic rifle did not make a semiautomatic rifle a machinegun. Thirteen of sixteen

members of the Fifth Circuit agreed in the en bane decision that "an act of Congress is required to

prohibit bump stocks" based upon the existing statutory definition in 26 U.S.C. Sec. 5845(b).



8.    With a semiautomatic trigger, one depression results in one shot fired when the trigger

functions-assuming the firearm is not in its "safe" condition, in which the trigger does not

function even if the trigger is depressed. After each shot, the trigger must reset by moving forward

to its original position. Both the depression of the trigger causing a release of the hammer, and its

reset causing re-engagement with the hammer are functions of the trigger that are necessary for a

semiautomatic firearm to fire one shot. A semiautomatic firearm cannot fire more than one shot

from a single function of the trigger.



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9.    The FRT-15 is a semiautomatic trigger and thus requires the shooter to depress the trigger

separately, causing a single function of the trigger for each shot he fires. As with any other

semiautomatic trigger, the FRT-15 also requires the trigger to reset by moving forward to its
original position after each shot. It cannot fire more than one shot from a single function of the

trigger. This analysis compo�s with the Fifth Circuit analysis in Cargill in which the Court stated:

"In summary, a bump stock combines with a semi-automatic weapon to facilitate the repeated

function of the trigger. To be sure, it makes the process faster and easier. But the mechanics remain

exactly the same: the firing of each and every shot requires an intervening function of the trigger.

This does not alter the form of manual input that the user must provide to discharge the weapon.

Without a bump stock or the use of an alternative bump technique, the user must provide manual

input by pulling the trigger with the muscles of his trigger finger. With a bump stock, the shooter

need not pull and release his trigger finger. But the shooter must still apply forward pressure to the

weapon's forebody in order to maintain the shooting mechanism. Again, the manual input remains,
even though its form changes." Cargill v. Garland, 57 F.4th at 454.

10.   In a typical AR-15 type semiautomatic firearm, and all other modem firearms, the trigger

resets to its original position due to forward pressure from a trigger-return spring. This spring puts
constant forward pressure on the trigger. To depress the trigger and fire a shot, the shooter must

overcome this spring's pressure by the rearward pull of his trigger finger, causing it to release a

hammer (or striker).

11.   To reset the trigger after firing, a shooter can either break contact with the trigger to allow

the trigger- return spring to push it forward or lessen his rearward pressure on the trigger. The

latter is preferred practice when firing two or more shots rapidly to avoid "trigger slap" and
increase accuracy.




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12.     The only difference between the FRT-15 and a traditional semiautomatic AR-15 trigger is

how the trigger reset is accomplished. While a traditional semiautomatic trigger uses the trigger

return spring, the FRT-15 uses the motion of the firearm's hammer to strike the top of the trigger

and mechanically force the trigger back to its original position. This results in a more forceful.

push moving the trigger forward to reset, compared to a traditional trigger-return spring.

13.     The advantage provided by the FRT-1 S's design is that the trigger resets rapidly after each

shot. This allows the shooter to depress the trigger again more quickly causing it to function again
for a subsequent shot.

 14.    For any AR-15-type firearm with a semiautomatic trigger, the only limiting factors

preventing a shooter from achieving a fire-rate comparable to a full-automatic firearm are his

 reflexes and fine motor skills. AR-15-type firearms use a self-loading type of mechanical action.
 That is, they accomplish the eight steps of the cycle of operation for firing a shot and preparing
 another shot to fire extremely quickly - within less than 1/5 of a second. They do so, using either
 the gas pressure or the recoil produced by the previously fired shot, depending on iteration. It is
 possible for a shooter to fire a second shot using a traditional semiautomatic trigger within 1/5 of
 a second after firing the first. The shooter only needs to have the dexterity to react and act within
 1/5 of a second. Thus, rate of fire is not referenced in the statutory definition of a machinegun.

  15.    The FRT-15 facilitates higher rates of semiautomatic fire compared to a traditional
  semiautomatic trigger by resetting the trigger between shots more quickly and reliably than a
  trigger-return spring. As with all semiautomatic triggers, the FRT-15 still requires the user to
  depress the trigger causing the trigger to function, which releases the hammer, for each shot fired,
  and then to require the trigger to reset to its ready position before repeating this sequence to fire
  an additional shot. This is the same type of trigger action which the Fifth Circuit stated in Cargill
  is that of a semiautomatic, non-machinegun rifle.



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 16.   In contrast, a machinegun operates by providing a second sear independent of the trigger's

sear. When a machinegun trigger is pulled (functioned), the trigger sear is moved to release the
hammer, but the trigger remains unmoving in the pulled position while the auto sear operates to
shoot, automatically more than one shot, without manual reloading, without an additional function

of the trigger. While the trigger remains in the pulled position, the hammer is forced back by the

bolt carrier. The auto sear catches the hammer in the cocked position between shots and then

releases the hammer again automatically when struck by the bolt carrier returning to the forward

position without the trigger being functioned (pulled) again. When the trigger is reset by the user

allowing the trigger spring to force it forward, the trigger sear catches the hammer (instead of the
auto sear), and it stops firing until the trigger is functioned (pulled by the user) again.

In a forced reset trigger, there is only one sear-the sear on the trigger -just like any other
semiautomatic trigger. When the trigger functions by being pulled to the rear, the sear releases the
hammer to fire one shot. Movement of the bolt carrier forces the hammer back. The design of the
trigger causes the hammer to also force the trigger back to the reset position where the trigger sear
catches the hammer. Once the trigger is reset, a locking bar prevents the trigger from being
functioned (pulled) again until the bolt carrier is safely forward in the ready-to-fire position. This
prevents "hammer follow," which is a condition that can allow a second shot to fire or for an unsafe

"out-of-battery" ignition of a cartridge. The forward movement of the bolt carrier moves the locking

bar away to allow the trigger to be functioned (pulled) again to fire a subsequent shot.

This process is illustrated in the video demonstration available here:

https://dhillonlaw.box.com/s/83pwi4a97id478fl nv3 l rv050kda2ccd. See Declaration of Cole
Leleux.

The Fifth Circuit in Cargill included this moving image regarding a mechanical bump stock as part
of the decision at:




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and this moving image of the mechanics of the firing process of a semiautomatic, non-machinegun
rifle at:



As the Fifth Circuit stated in Cargill,

       The first phrase we consider is "by a single function of the trigger." At the time the statute
       was passed, "function" meant "action." Webster's New International Dictionary 1019 (2d ed.
       1934); see Guedes , (Henderson, J., concurring in part and dissenting in
       part); Aposhian, ( Tymkovich, C.J., dissenting). Thus, the relevant question is whether a
       semi-automatic rifle equipped with a non-mechanical bump stock fires more than one shot
       each time the trigger "acts."

       It does not. As illustrated above, a semi-automatic weapon utilizes a simple mechanical
       process: the trigger disengages the hammer from the sear, the hammer strikes the firing pin,
       the bullet fires, and the recoil pushes the hammer against the disconnector, which resets the
       trigger. This process happens every single time one bullet is fired. To be sure, a non­
       mechanical bump stock increases the rate at which the process occurs. But the fact remains
       that only one bullet is fired each time the shooter pulls the trigger. ... The statute "uses
       'single function of the trigger,' not single function of the shooter's trigger
       fmger." Guedes, (Henderson, J., concurring in part and dissenting in part); see
       also Aposhian , ( Tymkovich, C.J., dissenting) ("The statute speaks only to how the trigger
       acts, making no mention of the shooter.").

Cargill v. Garland, 57 F.4th 447, 459-460 (5th Cir. 2023).



                                          The ATF's Reports

17.    Each of the ATF's evaluations and reports relies on ATF's re-interpretation of the statute that

was expressed in 27 CFR 478.11 and/or 479 .11. 1 While I always disagreed that this was a proper

interpretation of the statutory definition and that it improperly expanded the scope of the criminal

statute, as discussed above, I have been informed of and read the Fifth Circuit's rejection of ATF's

interpretation in Cargill v. Garland, 57 F.4th 447 (5th Cir. 2023) (en bane), that invalidated the

ATF's expanded re-interpretation.




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  The report dated January 13, 2023, does not expressly reference 479 .11, but it relies on the same
re-interpretation.




                The ATF's Report from July 15, 2021, is Misleading and Inaccurate

    18.   The ATF's report from July 15, 2021, analyzing the FRT-15 and classifying it as a

    machinegun is misleading and inaccurate. It is riddled with technical mistakes and misuses of

    language.

    19.   The report misleadingly states that a shooter using an FRT-15 can fire multiple shots through

    "constant rearward pressure to the trigger," "one continuous pull of the trigger," or a "single

    constant [trigger] pull." July 15 Report at 4. This language leads a reader to think that a shooter

    can depress an FRT-15 trigger once and hold it down while firing multiple shots. This is physically

    impossible, given the FRT-15's design. The report acknowledges as much in its technical

    description of how the FRT-15 operates, which recognizes that "the hammer is driven into the top

    of the trigger forcing it forward" after each shot and that the trigger is locked in its forward position

    between shots until the hammer and bolt are finished resetting. Id.

    20.   All of the reports rely on a modified interpretation of the statute expressed in 27 CFR §

    479.11 that has been determined by the Fifth Circuit Court of Appeals (en bane) to be improper

    and invalid.



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21.   What the report refers to as "one continuous pull of the trigger" is misleading and
disingenuous. The word "pull" does not appear in the statutory definition· of a machinegun under
26 U.S.C. 5845(b) and is a non-issue. It is immaterial to cite what the shooter's finger does when
determining whether the FRT-15 is a machinegun. The determining issue is whether the trigger

functions once for each shot fired. The ATF is simply deflecting and blurring the real issue by

focusing on how much pressure the shooter's finger applies to the trigger and/or whether that

pressure is continuous during the firing of two or more shots. Any pressure applied by the shooter

while the trigger resets after each shot is inconsequential. Because the trigger of an FRT-15 is

forcefully reset by the hammer after each shot, the shooter can maintain some pressure on the
trigger between shots, but he must actually move (i.e., "pull") the trigger rearward again to

"function" it, thus releasing the hammer, for each shot fired. It is extremely important to note that
every time the trigger is forced forward into the reset position, the shooter's finger is forced
forward also. This is what results in the shooter being required to again depress the trigger to the
rear until it functions, by again releasing the hammer. The FRT-15 trigger must be depressed
(functioned) and then reset separately for each shot fired, like any other semiautomatic trigger.

22.   It is irrelevant whether the operation is described as a "single function" or "single pull" of
the trigger. As the Fifth Circuit in Cargill discussed, it is the action of the trigger, not the user's

finger, that is considered.
23.   Placing "constant pressure" on the FRT-15 trigger, which ATF focuses upon, also

accomplishes nothing. Unlike with a machinegun trigger, wherein moving the trigger to the rear
once and holding it there causes the firearm to fire multiple shots, constant pressure on the FRT-

15 trigger does nothing. Even when constant pressure is applied to the FRT-15 trigger, the trigger
still must move aft and fore, from the function of releasing the hammer to the function of
reengaging the hammer, for each shot fired. And it does. Constant pressure by the shooter's finger



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does not cause the trigger to fire multiple shots from the initial depression and it does not prevent
the trigger from resetting after the first shot is fired.

24.      It is also misleading for the report to imply that a traditional semiautomatic trigger requires
the shooter to release it before depressing it again for another shot. As previously explained, a
shooter never needs to break contact and physically release a traditional trigger for it to reset

because of the trigger-return spring. He only needs to lighten his pressure enough for the spring to

move the trigger forward against his resistance. A shooter can fire any standard AR-15 type
semiautomatic firearm repeatedly without either breaking contact with the trigger or ceasing

constant rearward pressure on it.

25.      Additionally, the report's description of the FRT-15's mechanical operation is obtuse and
misleading. The report fails to note that when the FRT- 15's locking bar releases the trigger after
the hammer resets, it releases the trigger from a locked position. This omission is misleading
because it is important to identify that the trigger is locked in the forward position after each shot
is fired and that a separate function of the trigger (moving it to the rear to effect hammer release)
is required after the trigger unlocks to fire the next shot. Despite the FRT-15 automatically forcing

the trigger to reset, the FRT- 15 requires a separate function of the trigger to fire each shot at all

times.

         The ATF's Report from April 27. 2023, is also Inaccurate and Misleading
26.      The ATF's report on the FRT-15 from April 27, 2023, is inaccurate and misleading in much

the same manner as the ATF's July 15, 2021, report. To support the conclusion that the FRT-15 is

a machinegun, this report mischaracterizes the locking bar (which prevents the trigger from being

depressed and functioning after it is reset until the hammer and bolt-carrier group also reset) as a

form of automatic sear trip (the part directly responsible for an M- 16 1 s automatic fire). April 27




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Report at 4-5. This is a gross error. It is akin to describing a car's brake pedal as equivalent to its

accelerator.

27.    The only thing the locking bar and an automatic sear trip have in common is that they both

are pivoted upon being contacted by the bolt-carrier as it moves forward. Otherwise, they perform

completely different functions. Whereas the pivoting movement ofan automatic sear trip serves to

release the hammer so that it will automatically fire a subsequent shot (while the trigger remains

held in the pulled position), the pivoting of the locking bar has absolutely nothing to do with the

release ofthe hammer. The pivoting ofFRT- 15's locking bar only serves to unlock the trigger after

it has been moved forward to its "reset" position, thereby allowing the shooter to function the

trigger again if he chooses to by depressing it to the rear once more. In the FRT- 15, the hammer

does not move until the shooter physically depresses the trigger to the rear, once for each shot fired.

28.    In fact, the report admits that the locking bar specifically causes the FRT-15 to require a

separate trigger function for each shot when it cites U.S. Patent No.: 10, 514,223 Bl:

       The locking bar is pivotally mounted in a frame and spring biased toward a first
       position in which it mechanically blocks the trigger member against the spring bias
       to a second position when contacted by the bolt carrier reaching a substantially in
       battery position, allowing the trigger member to be moved by an external force to a
       released position.
Exhibit 2 at 5. The "external force" referred to as being required for each movement ofthe trigger

to the released position is the shooter's finger. This external force is required to be applied separately

for each shot fired.

The report likens the FRT-15 to other trigger mechanisms and firearm accessories that the ATF

previously analyzed and opined to be machineguns: the Akins Accelerator, the Freedom

Ordnance trigger, and the Fleischli device. Comparing the FRT-15 to these devices is illogical




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and misleading. Page 3 of the report misleadingly cites court cases affirming the ATF's opinion

of these other devices:

        Courts have specifically affirmed ATF's interpretation that a single act of the
        shooter to initiate the firing sequence is a single function of the trigger. Akins v.
        United States, 312 F. App'x 197, 200 (11th Cir. 2009); Freedom Ordnance Mfg., Inc.
        v. Brandon, No. 3:16-cv-00243-RLY-MPB (S.D. Ind. Mar. 27, 2018). United States
        v. Fleischli, 305 F.3d 643, 655 (7th Cir. 2002) (in which electronic switch was the
        trigger when it served to initiate the firing sequence and the minigun continued to
        fire until the switch was turned off or the ammunition was exhausted). In the
        Freedom Ordnance case, the United States District Court of Indiana held that ATF
        was not arbitrary and capricious in the classification of an "electronic reset assist
        device" as a machinegun even though the firearm's trigger reset before each shot
        by pushing the trigger forward. Freedom Ordnance Mfg., Inc, No. 3:16-cv-00243-
        RLY-VIPB. In these cases, a firearm is a machinegun when it uses an internal
        mechanism or operation that automatically forces the trigger forward allowing the
        weapon to fire more than one shot by a continuous pull of the trigger.

 Contrary to the last sentence above, there is nothing in the statutory definition concerning internal

 mechanisms that automatically force the trigger forward. Nor is there anything about a continuous
 pull of the trigger.

 29.    Concerning the Akins case, this device was a "bump stock"; a shoulder-stock which allowed

 the frame/receiver of the firearm to repeatedly rock aft and fore between a spring and the shooter's

 stationary finger, which allowed a much quicker rate of semiautomatic fire, which required the

 functioning of the trigger once for each shot fired. Bump-fire devices, which were produced by a

 number of companies beginning in the 1980's, were publicly stated by ATF to be legal and not

 machineguns until March 26, 2019, when ATF began calling them machineguns only due to

 pressure after the tragic events that occurred in Las Vegas on October 1, 2017 when a deranged

 gunman murdered dozens of innocent men and women. The Akins, as with all bump stocks, is a

 completely different device than the FRT-15 or any other forced reset trigger. The only

 commonality between the two devices is that they both fire one shot for each function of the trigger.

 A major difference between the Akins device and the FRT-15 is that while the Akins allowed the

 frame/receiver of the firearm to recoil aft and fore between a spring and the shooter's stationary


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 finger, the FRT requires the shooter to physically move the trigger again to the rear causing it to

 function for each shot fired.

 30.    The Freedom Ordnance device was an electronic battery-operated trigger reset device,

 which electronically reset the trigger. It has nothing whatsoever in common with the FRT-15 which

 uses no electronics. The Freedom Ordnance device used a motor. Its first iteration employed a lever

 behind the trigger. The motor used this lever to force the trigger forward into the reset position

 after each shot fired. The second iteration used a "fork" with tines on each side of the trigger, which

were parallel to the trigger. These tines forced the finger forward and off the trigger after each shot

fired, which allowed the trigger's spring to move the trigger forward into the reset position. The

third iteration actually forced the trigger forward into the reset position after each shot. However,

the motor did nothing more, and did not serve to fire any shots. The only commonality between

the FRT-15 and the various Freedom Ordinance devices is that the FRT-15 and two iterations of

the Freedom Ordinance devices cause a forced reset of the trigger. There is no relevant

commonality between the design and operation of the FRT-15 and the iteration of the Freedom

Ordinance trigger that used the 'fork;' moreover, there is no commonality between the FRT-15 and

any of the Freedom Ordinance designs generally because the FRT-15 does not use a motor.


31.    Considering that "trigger" is not defined in federal law, the "trigger" of a fireann is that part

which initiates the firing of one or more shots. ATF has long opined that button-actuated motors

used to repeatedly fire a fireann are machineguns because the button serves as the trigger. I agree

with that opinion. When a fireann uses an electric motor to actuate a trigger, the button or switch

of that motor which actuates what used to be considered the trigger now becomes 'the trigger."


32.    Likewise, the Fleischli device was an electronic motor operated by a button. The motor

continued to fire the gun automatically as long as the button was actuated. It, however, has nothing



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in common with the FRT-15, which is neither electronic nor motor-operated. The Fleischli device

only required a single function of the electronic button as a trigger to fire multiple shots, whereas

the FRT-15 needs a separate function of its trigger, caused by the shooter, for each shot.

33.    In the last sentence of the report's quote concerning Akins, Freedom, and Fleischli, the report

takes the liberty of speaking for the courts when it summarizes their findings by saying that "[i]n

these cases, a firearm is a machinegun when it uses an _internal mechanism or operation that

automatically forces the trigger forward allowing the firearm to fire more than one shot by a

continuous pull of the trigger." Id. This is false and misleading, as it adds elements to the statutory

definition of "machinegun" that the text itself does not contain. 26 U.S.C. 5845(b) says nothing

about a "continuous pull of the trigger."

34.    Along these same lines, the report insists on using the phrases "self-acting or self-regulating"
when describing the FRT-15. The use of these phrases is misleading, as all firearms in the category
of both machineguns (full-automatic) and semiautomatic guns are self-acting or self-regulating
with regard to at least seven of the eight steps in the cycle of operation which occurs between the
 firing of two shots (firing, unlocking, extracting, ejecting, cocking, feeding, chambering, locking).
 Every semiautomatic firearm and every full-automatic firearm falls within a broader category
 called "self-loading" firearms. While no firearm loads the first cartridge into its chamber, firearms

 in this broad category do load their own chambers with a subsequent cartridge after the first shot

 is fired. They do so by using power generated from either the gas or the recoil produced by firing

 the previous cartridge. Regardless of whether it is powered by gas or recoil, the first seven steps

 of the cycle of operation (except firing) are automatic and "self-acting" or "self-regulating" for
 both full-automatic and semiautomatic firearms.




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 35.     The only difference between the cycle of operation of full-automatic guns (machineguns)

 and semiautomatic guns is the way in which the hammer is released to fire each shot. In a

 machinegun, there is only one function of the trigger during multiple shots. While it is held to the

rear, it serves to release the hammer for the first shot, but for the remainder of a given string of

shots the trigger is held fully to the rear and kept in that position without further movement. All

subsequent shots in a given string are the result ofa chain reaction caused by the cycle of operation

being completed and continually repeated. In a typical semiautomatic firearm, the trigger releases

the hammer for the first shot, but the hammer is captured and held rearward aner firing that first

shot. The hammer is not released again to fire another shot until the trigger returns to the reset

position to engage with the hammer and is then moved rearward again by the shooter's finger,

thereby releasing the hammer again. This is exactly what happens with the FRT-15.

36.      In a machinegun/full-automatic firearm, the firing step for the second or subsequent shot

happens automatically as a result of the trigger's initial function when the shooter depressed the

trigger to fire the first shot; and the full cycle of operation perpetuates, firing round after round, so

long as the shooter keeps the trigger depressed after its initial function. Whereas for an FRT-15 and

any other semiautomatic firearm, the step for firing a subsequent shot requires the trigger to again

perform the function of releasing the hammer from its captive engagement with the trigger. Only

upon the shooter making this happen again by moving the trigger to the rear to the point of again

releasing the hammer does the gun fire a subsequent shot. This happens independently and

separately from the function that fired the first shot. Unlike a machinegun/full-automatic firearm,

the FRT-15 does not fire a subsequent shot without an additional manual function of the trigger.


      ATF Improperly Modified the FRT-15 to Make It Operate Like a Machinegun.
37.     34.    Some oftheATF examinations included modifying the FRT-15 by adding an external

force in the form of a spring in an attempt to make it operate as a machinegun. The triggers were


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modified by adding a zip-tie, cable tie, or hose clamp to apply spring force to the trigger while

allowing it to reset. When formed into a loop, each of these added devices becomes a spring that

provides an external force on the trigger to pull the trigger automatically after it has been reset.

The devices do not need to "stretch" to act as a spring. Each time the stiff, but bendable, loop is

deformed, it resiliently returns toward its at-rest state. Thus, each time the shape of the loop is

temporarily deformed by the trigger being reset, the loop provides an external spring force to

function the trigger again.

38.    The reports state that the trigger is "retained in a fixed position" by the added loop spring

device. But this is patently false. The trigger clearly functions each time a round is fired by moving

between the reset and pulled positions. If the trigger were actually "retained" in the pulled position

and not allowed to move, no more than one shot could be fired before it would malfunction,

requiring removal of the clamping device and manually cycling the action to clear the chamber.

39.    All of these modifications are impractical for use outside a testing laboratory setting because

they require the firing sequence to be initiated by releasing the action from an open bolt and then
cannot be stopped until the magazine is emptied. In any event, they required the addition of an

extra part that is not part of the forced reset trigger to modify how the trigger works. Even if these

tests produced automatic fire with an FRT-15 through the addition of a zip-tie or cable-tie, or hose

clamp, the accessory that would be considered a machinegun under the ATF's own standards and

the statute is the zip-tie, cable-tie, or hose clamp. These ties would be comparable to the "shoestring

machinegun" the ATF addressed in 2007, when the ATF opined that a standard shoestring that had

loops tied in it and was then affixed to a rifle in a manner that enabled it fire automatically by a

function of the trigger was a machinegun. Attachment D. Only the shoestring was determined to

be the machinegun, not the firearm itself that had fired semiautomatically before the shoestring
was introduced.


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40.    Both the July 15, 2021, report and the April 27, 2023, report also omit the crucial point that
if the shooter exerts enough rearward pressure while pulling the trigger back that he prevents it
from moving forward again to reengage the hammer, the FRT-15 malfunctions and the cycle of
operation is interrupted. If the shooter pulls too hard on the trigger and prevents it from resetting,
the firearm malfunctions and ceases to operate. This exposes the ATF's implication in both reports

that a shooter can simply pull the trigger once, hold it back, and cause the FRT-15 to fire multiple

shots to be a lie. It is a physical impossibility given the FRT-1S's design, and attempting to do so
will only cause the FRT-15 to stop firing.


 The ATF Previously Approved a Forced Reset Trigger that is Substantially Similar
                                to the FRT-15

41.    Further, I refer to the October 31, 2013, letter from Earl Griffith (former Chief of Firearm
and Ammunition Technology Division) to Michael Stakes concerning the 3MR forced reset trigger.
The 3MR trigger is a forced reset trigger similar in operation to the FRT-15 that was also designed
for the AR-15 platform. In this letter, after examining and test-firing the 3MR trigger, Mr. Griffith
admits that the 3MR has a "positive reset characteristic" and that "it is also intended to provide
positive resets between each shot." October 31 letter at 2. The letter states that the

3MR trigger functions based on how:


      the reset lever pivots forward, and the hammer engages/contacts the lever during the
      cycling of the rifle. In this position, the hammer contacts the reset lever during
      cocking which applies force to the trigger, forces the shooter's finger forward, and
      allows the trigger to reset rapidly
      ... a function test was performed before live fire was conducted. The 3MR functioned
      only semi automatically during both the field test and live-firing.
      In conclusion, F TB has determined that the 3MR trigger assembly is not a part or
      combination of parts that will convert a semiautomatic firearm into a machinegun.
      Id. Since the hammer forces the 3MR trigger forward into the reset position after


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      each shot, the shooter must again depress the trigger rearward to the firing position
      for each shot fired.
 This is exactly what the FRT-15 requires.

42.   In a firearm equipped with a 3MR trigger, like one equipped with an FRT-15, after a shooter
fires a shot the cycle of operation loads and prepares a subsequent shot to be fired but stops short

of firing it. After firing any shot, both the FRT-15 and the 3MR trigger systems cause the trigger

to reset and require the shooter to then function the trigger to the rear again causing a release of

the hammer to fire again. Continuous rearward pressure on either an FRT-15 or on a 3MR will not

create a continuous cycle of firing because the trigger must engage in separate functions, moving

back and forth, for each shot fired; and each movement rearward to depress the trigger to the point

of releasing the hammer and firing a shot must be manually and intentionally done by the shooter.

There is no basis by which the ATF can consider the FRT-15 a machinegun while also considering
the 3MR trigger not to be one as well.

43.    Finally, it is worth noting that the ATF has previously used a trigger-movement-based
standard for determining whether a firearm fires multiple rounds automatically "by a single
function of the trigger." In 2009, when I was an ATF Special Agent, the ATF Firearm Technology

Branch promulgated an email to me and hundreds of other ATF personnel (attached as Attachment
E), stating that " (t]he ATP-counsel-approved interpretation of 'single function of the trigger' is a

single movement of the trigger."

                                             Conclusion

44.    For the forgoing reasons, my expert opinion is that the FRT-15 is a semiautomatic trigger

and is in no way a machinegun under the statutory definition. This is because the FRT-15 requires

separate functions of the trigger for each shot fired and it ceases to function if the trigger does not

reset after each shot. The ATF's report from July 15, 2021, and its report from April 27, 2023,


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  analyzing the FRT-15 and classifying it as a machinegun are inaccurate and misleadingly worded.

 They give a false impression that the FRT-15 functions like a traditional automatic trigger -

 which it does not.


I declare under penalty of perjury under the laws of the United States of America that the foregoing

is true and correct.



       Executed on August    J , 2023.




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                                       RESUME OF
                       DANIEL G. O’KELLY
                          DIRECTOR
        INTERNATIONAL FIREARM SPECIALIST ACADEMY, INC.
                                       GUNLEARN.com

                             FIREARM EXPERT/CONSULTANT


PO Box 350760                                                        (813) 422-4674
Grand Island, Florida 32735
E-mail: Info@GunLearn.com
Website: www.GunLearn.com


EDUCATION:
                 College: -Valparaiso University, Valparaiso, Indiana
                           Attended from fall 1974 through Spring of 1975.
                          -Indiana University
                           Transferred to Indiana University in fall 1975 and
                           graduated January, 1981 (Bachelor’s degree).

EXPERIENCE:

I have over 40 years of full-time experience as a Police Officer, ATF Agent/Firearm Specialist,
Criminal Investigator, Range Instructor, teacher of firearm technology, ammunition and firearm
manufacturer, and collector. I have examined well over 100,000 firearms and even more pieces
of ammunition. I’ve been involved in numerous investigations concerning them, and I have
testified continually in criminal & civil cases in State, Superior, Circuit, District and Federal
Courts since 1978. I have been recognized as an expert witness in Federal and State courts since
1990 and have given numerous depositions in criminal and civil cases. I have testified and/or
consulted as an expert on the topics of use of force, self-defense with a firearm, ballistics,
gunshot residue, interstate nexus, federal and state firearm regulations, trade dress, ATF rulings,
ATF compliance and procedures, shooting reconstruction, firearm classification, firearm design,
and wrongful death. My testimony in four trials on the topic of federal firearm definitions from
2014 to 2019 resulted in the Bureau of ATF undertaking a 2-5 year rewrite of the definition of a
firearm “frame or receiver”, as the one which they have applied for 48 years does not match 60%
of the firearms on the market. That change was ratified 8/24/22, and then ATF was enjoined
from enforcing it two days later by a Federal Judge.

I have worked undercover in three illicit international arms dealing cases, and am one of only
two ATF Agents who have performed an undercover investigation of illicit international firearm
trafficking in Europe. I was the undercover Agent in the investigation of international arms
dealer Efraim Diveroli; a case which resulted after the activity portrayed in the 2016 movie “War




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Dogs”. Since 1996 I have been a full-time instructor of most facets of the field of firearms,
including ballistics, forensics, ATF compliance and regulations, markings, manufacture,
classification, and specialize in establishing the interstate nexus of firearms and ammunition in
federal court. I have taught these topics countless times from coast to coast, and several times
each, in Europe and Africa, and am a Technical Advisor to the Association of Firearm and Tool
Mark Examiners, as well as an Advisory Board Member of the Sonoran Desert Institute. I co-
wrote the lesson plans for the ATF National Academy, and the firearm technology and
compliance training program for Cabela’s, Inc., which is the largest firearm retailer in the world.
I also served for two years as one of Cabela’s corporate ATF Compliance Managers. My training
is also approved as continuing education by the American Board of Medico-legal Death
Investigators and the International Association for Identification, and I am a contracted instructor
for the FBI. I also am a firearm designer and hold a patent, as registered with the U.S Patent
Office.


WORK EXPERIENCE:
    11/11 to Present:          DIRECTOR & CONSULTANT
                              International Firearm Specialist Academy
                              Denton, Texas

Self-employed consultant with a staff of fellow consultants, specializing in firearm and
forensics-related services for law enforcement, the legal profession, the firearm industry, and the
insurance industry.

Clients include civil Attorneys, prosecuting and defense Attorneys, law enforcement agencies
and individual law enforcement personnel, licensed firearm dealers, manufacturers, importers
and collectors.

Services offered include firearm and ammunition identification, training seminars on firearm
technology, subject-matter expert court testimony, shooting scene reconstruction, shooting
accident investigations & reconstructions, gun safety & design-related consultations, ATF
compliance consultation and examinations/audits, armorer schools, range instruction, tool mark
examinations, crime scene examinations & reconstruction, general criminalistics related
examinations, gunshot residues issues, distance determination examinations, forensic pathology
casework consultations, etc. I have provided training, testing and certification to over one
thousand people as Certified Firearm Specialists.


11/11 to 12/13:        CORPORATE SENIOR MANAGER
                       FIREARM COMPLIANCE TEAM
                            Cabela’s, Inc.
                            Sidney, Nebraska

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Responsible for the auditing and inspection of the firearm departments of the company’s 50
stores. This was in order to ensure and maintain ATF compliance, for one of the world’s largest
firearm retailers. I also co-wrote and delivered their training program to hundreds of employees
on firearm ID, ATF compliance, Ammunition, the Gun Control Act and the National Firearms
Act.

03-01 to 11/11:       ATF SENIOR SPECIAL AGENT
                           Tampa, Florida

Duties included investigations of violations of the federal gun laws and explosives laws,
bombings, arsons and undercover investigations of organized crime. Further, it included firearm
interstate nexus determinations and the teaching of same, firearm technology determinations,
court testimony, and the training of ATF Agents and Investigators and other law enforcement
personnel on all aspects of firearms. I was the commonly preferred Agent of the U.S Attorney’s
Office, for testimony on firearm matters.

05/02 to 05/03:       FIREARM INSTRUCTOR COORDINATOR (as ATF Agent)
                           Tampa Field Division, Florida

During my tenure as an ATF Agent in Tampa, I served for 2 years in this capacity also. Duties
included the firearm training of ATF personnel for the northern 2/3 of the State of Florida. This
supervisory responsibility included:
       - Firearm identification
       - Ammunition casing, bullet and cartridge identification
       - Firearm Interstate Nexus determinations for U.S. District Court
       - NFA firearm examinations/determinations
       - Oversight of 15 Range Instructors
       - Maintenance of the firearm training budget, maintenance of over 200 firearms
         in inventory and maintenance of over 50,000 rounds of ammunition
       -Assisting U.S. Attorneys and other Agents in firearm and ballistics related
        determinations
       - Teaching seminars statewide, to thousands of police, legal, medical, and other
         personnel, on firearm and ammunition- related topics.
       - Made determinations as to whether an item is a non-gun vs. a firearm, according
          to Title 18 and Title 26, U.S. Code
       - Performed function checks on firearms as to their ability to fire
       - Acted as the Armorer/repairman for all duty-issued firearms
       - Purchased supplies- ammunition, equipment, etc... as needed
           for the Field Division.
       - Testifying in court (local, state, and Federal) concerning my examinations.
           (several hundred times at last count).


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01-96 to 03/01 ATF SENIOR SPECIAL AGENT/ PROGRAM MANAGER
                           ATF National Academy
                             Glynco, Georgia

      I was the Chief Firearm Technology Instructor at the ATF National Academy, where I
wrote and co-wrote the entire firearm technology course of study that is still taught to new
Agents and compliance Investigators. I also instructed courses for U.S. Customs on firearm
importation. I also was custodian of the firearm reference vault which contained over 800
firearms, including numerous NFA firearms. It was my duty to maintain, repair and have a
teaching-level familiarity with the operation of all of them.

I also became certified by ATF as an Interviewing (Train-The Trainer) Instructor, and
administered several Interviewing Schools around the U.S., as sponsored by the ATF National
Academy. I also served as the Program Manager of ATF’s Undercover School during 1998-99. I
delivered and co-instructed numerous 2-week undercover courses to State, Local and Federal law
enforcement officers, including ATF.

03-00 to 5-00    Temporary Duty as Supervisory ATF Resident Agent-in-Charge
                            Wilmington, Delaware

Tasked with correcting the multitude of problems in a rogue office which was being considered
for closure due to the many failures of its Agents. Success was achieved in only six weeks as the
Agent in Charge of the State of Delaware, resulting in my being awarded for Special Service by
the Baltimore Field Division.


       09-88 to 01-96     ATF SPECIAL AGENT
                          Merrillville, Indiana

Duties included investigations of violations of the federal gun law, explosives laws, bombings,
arsons and organized crime. Heavy emphasis was given to undercover investigations of armed
narcotics dealers and organized crime. Further, duties included firearm interstate nexus
determinations, firearm technology determinations, court testimony, and the training of ATF
Agents, Investigators and other law enforcement personnel on all aspects of firearms. I was the
commonly preferred Agent of the U.S Attorney’s Office for testimony on technical firearm
matters.


03-77 to 09-88          POLICE OFFICER
                         Porter County, Indiana

Duties included public safety and service, investigations and arrests for violations of municipal
ordinances, State and Federal law. Also included was routine traffic patrol, and answering calls
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and taking reports of crimes. I served also as department firearm range instructor, providing
range oversight, and classroom instruction. I also served for two years in a full-time undercover
capacity attached to the Porter County Drug Unit. My duties there were to make purchases of
narcotics, firearms and other contraband and investigate the perpetrators. I served the last two
years as a Detective Corporal, doing follow-up investigation of everything from misdemeanors
to violent felonies.

  Specialized Training:
- Completed Foreign Weapons Armorer’s School at Phoenix Defence, Henderson, NV –
  10/22
- Attend the Vickers Machinegun Armorer School at Phoenix Defence, Henderson, NV – 6/22
- Attend the CMP M1 Advanced Maintenance Class, Anniston, AL – 7/20
- Tour of Franklin Armory manufacturing plant in Minden, NV – 9/18
- Recognizing an 80% Receiver in Casework (AFTE 2018 - Kingery) – 6/18
- Tour of LRB firearm manufacturing facility Floral Park, NY - 1/18
-Tour of the Museo Del Ejercito (Army Museum) in Toledo, Spain – 9/17
- Tour of the Imperial War Museum London, England – 9/17
- Tour of War and Peace Museum Oban, Scotland – 9/17
- Staged Homicide Crime Scenes seminar (Forensic Pieces) - 5/17
- Shooting Incident Reconstruction Course (40 hours, by Tritech Forensics) - 5/17
- Tour of Military Musem Menege (Finnish Government Military)
   museum in Suomenlinna, Finland - 9/16
- Tour of Freedom Ordnance mfg. facility – Chandler, IN 2016
- Tour of Armemuseum (Swedish Government Military) museum in
   Stockholm, Sweden – 9/16
- Barrel Making Techniques (AFTE 2016 – Offringa) -6/16
- The Silencer in Court for the Expert Witness (ATF FTB – Kingery) - 4/15
- The Machineguns and Machinegun Conversions (ATF FTB – Kingery) - 4/15
- Tour and research at HS Precision Rifles mfg. facility in
   Rapid City, SD, and Dakota Arms mfg. facility in Sturgis, SD – 2013
 -Tour and research at Connecticut Shotgun in New Britain, CT., and Charter Arms in Sheldon,
    CT. – 2013
  -Tour and research at STI Firearms mfg. facility in Austin, TX.- 2013
  - Tour and research at North American Arms in UT. - 2013
  - International Exchange of Military Technology, Titusville, FL - 2012
  - Tour and research at Patriot Ordnance Factory, Phoenix, AZ. – 2012
  -Tour and research at Arms Tech Ltd. in Phoenix, AZ. - 2012
  -Tour and research at Windham Weaponry in Windham, ME.- 2012
  -Armorer training, Kimber Firearms, West Palm Beach, FL. – 2011
  -Tour and research at the Bundesamt fur Wehrtechnick und Beschaffung (BWB) (Federal
    Office of Defense Technology and Procurement) in Koblenz, Germany. – 2010
  -Armorer training, DS Arms (FAL), Springfield Armory (XD), and Smith & Wesson (M&P),
   San Antonio, TX. - 2010
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  -Tour and research at Kel-Tec CNC Industries, Cocoa Beach, FL. – 2009
  -Tour and research at Diamondback Arms, Titusville, FL. - 2009
  -Tour and research at the German Police (BKA) firearm technology reference collection,
    Wiesbaden, Germany - 2005
   -Tour and research at Vektor Firearms factory, and the New Generation Ammunition Factory,
     Pretoria, South Africa. – 2004
   - Remington Armorer School (870, 1187 and 700), Cape Girardeau, Missouri. – 2003
   - Tour and research at MFS ammunition factory, Sirok, Hungary. – 2003
   - International Association of Law Enforcement Firearm Instructors (IALEFI) annual training
      conference, Orlando, Florida. – 2003
   - Tour and research at Sellier & Bellot ammunition factory, Vlasim, Czech Republic. – 2003
   - Tour and research at the U.S. Military Academy firearm museum at West Point, NY. – 2003
   - Firearm Instructor Recertification/Enhancement Workshop, ATF Special Operations
     Division, Orlando, Florida. – 2002
   - Colt Armorer school (AR-15/M-16/M-4 series), (Model O pistols), Fairfax, Virginia. – 2002
   - Beretta Armorer school (model 92/96), San Diego, California. – 2002
   - Fabrique Nationale Herstal (FNH) Armorer school (P90) San Diego, California. – 2002
   - Tour and research at Pretoria Metal Pressings (PMP) ammunition factory, Pretoria, South
      Africa. - 2002
    -Tour and research at Vektor firearm mfg., Pretoria, South Africa.- 2002
    - IALEFI Training Conference, San Diego – 2002
    - Tour and research at Fegarmy firearm factory (2nd tour), Budapest, Hungary. -2001
    - Tour and research at the Hungarian Police Laboratory firearm reference collection, Budapest,
       Hungary -2001
    - Tour and research at Ceska Zbrojovka (CZ) firearm factory (my 2nd tour) and the Czech
     government Proof House, Uhersky-Brod, Czech Republic. – 2001
    - Tour and research at Glock firearm factory (my 2nd tour), Deutsch-Wagram, Austria. -2001
    - Tour and research at the Vienna proof house in Deutsch- Wagram, Austria. – 2001
    - Tour and research at Carl Walther firearm factory (my 2nd tour), Ulm, Germany. - 2001
 - Tour and research at the government proof house, Ulm, Germany – 2001
- Tour and research at Heckler & Koch firearms (my 2nd tour), Oberndorf, Germany. -2001
- Tour and research at Sig-Sauer firearms (my 2nd tour), Eckernforde, Germany. – 2001
- Tour and research at the Kiel proof house, Eckernforde, Germany – 2001
- Tour and research at the Fabrique Nationale (FN) firearm Factory, Liege, Belgium. -2001
- Tour and research at the government proof house, Liege, Belgium -2001
- Tour and research at the Austrian Police Headquarters Waffen Referat (Weapons Reference
   Collection), Vienna, Austria. – 2001
- Tour and research at the Heeresgeschichtlen (Military History) Museum, Vienna, Austria. –
   2001
- ATF Youth Crime-Gun Interdiction Initiative Instructor school, Washington, D.C. – 2000
- Tour and research (my 2nd tour) at the Heeresgeschichtlichen (Military History) Museum,
   Vienna, Austria. – 1999
- ATF Advanced Firearm Interstate Nexus course on ammunition manufacturing. Included tours
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  and research at Hornady in Grand Island, Nebraska, 3D in Doniphan, Nebraska, Lake City
  Army Ammunition Depot in Independence, Missouri, Starline Brass and Sierra Bullets in
  Sedalia, Missouri, and the Winchester-Olin ammunition plant in East Alton, Illinois - 1999
 - ATF Advanced Firearm Interstate Nexus course on firearm manufacturing. Included tours and
   research at Sturm-Ruger (my 2nd tour) and Pine Tree Castings in New Hampshire, Smith &
   Wesson and Springfield Armory in Massachusetts, and Colt and Mossberg in Connecticut. –
   1998
  - Sturm-Ruger Armorer course (Mini-14, Police Carbine, P89, P95) Newport, NH – 1997
  - Tour and research at Sturm-Ruger firearm factory, Newport, New Hampshire. - 1997
  - Tour and research at Pine Tree (firearm) Castings facility, Newport, New Hampshire. – 1997
  - Tour and research at Ceska Zbrojovka (CZ) firearm factory in Uhersky-Brod, Czech Republic.
    - 1997
  - Tour and research at Steyr firearm mfg. plant, Steyr, Austria.- 1997
  - Tour and research at the Fegarmy’ firearm mfg. plant, Budapest, Hungary. – 1997
  - Tour and research at Glock pistol mfg. plant, Deutsch- Wagram, Austria. 1997
  - Heckler & Koch Armorer, Sterling, Virginia. – 1996
  - Sig-Sauer Armorer course (P225, P226, P228) Fort McClellan, Alabama. – 1996
  - Reid Interviewing Seminar – 1996
  - ATF Interviewing Instructor and Neuro-Linguistic Programming School – 1996
  - SIMUNITIONS Scenario-Based (Train the Trainer) Seminar – 1996
  - Tour and research at Sig-Sauer mfg plant, Eckernforde, Germany, - 1995
  - Tour and research at Carl Walther firearm mfg. plant, Ulm, Germany, where I consulted on
    development of the model P99 pistol. – 1995
  - ATF Advanced Arson and Explosives Investigation School – 1995
  - Violent Crime/Homicide Investigation School (USDOJ) – 1994
  - Tour and research at the Ministry of Defense, Pattern Room, Nottingham, England. – 1994
  - Tour and research at Holland & Holland, Ltd., firearms London, England. – 1994
  - Bureau of ATF Academy Instructor Certification – 1994
  - Glock Armorer Course, Springfield, Illinois. – 1993
  - Advanced Interviewing and Interrogation (Portage PD)- 1992
  - Sig-Sauer Armorer Course, Greenwood, Indiana. - 1990
- FLETC Distinguished Weapons Expert Certification – 1990
- ATF Basic Firearm Interstate Nexus course, Washington D.C., (included examination of over
  4,500 firearms) - 1990
- Firearm Instructor certification course at the Federal Law Enforcement Training Center,
   Marana, AZ. – 1990
- New Agent Training at the Federal Law Enforcement Training Center, Glynco, Georgia. –
 1988
-Criminal Investigator School, at the Federal Law Enforcement Training Center, Glynco,
  Georgia. – 1988
- Smith & Wesson Revolver Armorer Course, Kent State University -1987
- Smith & Wesson’s Scope -Sighted Rifle School - 1987
- Indiana L.E. Training Board, Instructor Certification – 1987
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- Aerko International Chemical Weapons Specialist School, Camp Atterbury, Indiana. – 1987
- NRA Police Firearms Instructor Certification - 1985
- FBI Hostage Negotiator School – 1984
- Firearm Instructor Training Course at the Indiana Law Enforcement Academy, Plainfield, IN. –
  1982
- Monadnock PR-24 Police Baton (Portage PD) – 1981
- Police Officer Street Survival (L/SPSTC) – 1981
- Chemical Tests for Intoxication Certification (ILEA) - 1979
- Police Officer Certification, Indiana Law Enforcement Academy, Plainfield, Indiana. – 1979
- NRA Police Expert (Range Qualification) - 1978

PROFESSIONAL AFFILIATIONS

             NSSF (The National Shooting Sports Foundation)
             ARIN (ATF’s Ammunition Research and Identification Network)
             IAA (The International Ammunition Association)
             NDIA (The National Defense Industrial Association)
             IALEFI (The International Association of Law Enforcement Firearm Instructors)
             NRA (The National Rifle Association)
             ABMDI (Association of Medico-legal Death Investigators)
             PEAF (Property an Evidence Association of Florida)
             FDIAI (Florida Division- International Association of Identification)
             IAI (International Association for Identification – National Chapter)
             ILEETA (International Law Enforcement Educators and Trainers Association)
             AFTE (Association of Firearm and Tool Mark Examiners)

PRESENTATIONS

  1. Certified Firearm Specialist Course (3-day seminar) – West Palm Beach, FL 2/23
  2. Certified Firearm Specialist Course (3-day seminar) – Albuquerque, NM 9/22
  3. Certified Firearm Specialist Course (3-day seminar) – Honolulu, HI 6/22
  4. Certified Firearm Specialist Course (3-day seminar) – Pensacola, FL 2/22
  5. Certified Firearm Specialist Course (3-day seminar) – Seattle, WA 9/21
  6. Certified Firearm Specialist Course (3-day seminar) – El Cajon, CA 9/21
  7. Certified Firearm Specialist Course FBI (3-day seminar) – Little Rock, AR 5/21
  8. Certified Firearm Specialist Course (3-day seminar) – Seattle, WA 9/20
  9. Certified Firearm Specialist Course FBI (3-day seminar) – Kansas City, MO 8/19
  10. Certified Firearm Specialist Course FBI (3-day seminar) – Las Vegas, NV 8/19
  11. Certified Firearm Specialist Course (3-day seminar) – St. Louis, MO 8/19
  12. Certified Firearm Specialist Course FBI (3-day seminar) – Charlotte, NC 7/19
  13. Certified Firearm Specialist Course (3-day seminar) – Oceanside, CA 7/19
  14. Certified Firearm Specialist Course FBI (3-day seminar) – San Antonio, TX 7/19
  15. Certified Firearm Specialist Course FBI (3-day seminar) – New Haven, CT 6/19
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  16. How to Identify “Other” Firearms – AFTE 50th Annual Conf. Nashville, TN 5/19
  17. Machineguns and Clandestine Conversions – Nashville Police Department/AFTE 5/19
  18. Certified Firearm Specialist Course Seattle, WA – 5/19
  19. Certified Firearm Specialist Course Orlando, FL – 5/19
  20. Certified Firearm Specialist Course Skokie, IL – 4/19
  21. Certified Firearm Specialist Course FBI (3-day seminar) – Chicago, IL 7/18
  22. Advanced NFA Firearm Training – Houston, TX 6/18
  23. “Other Firearms” (AFTE 2018) - Charleston, WV 6/18
  24. Firearm Technology and Specialist Training (3-day seminar) – Boston, MA 5/18
  25. Firearm Technology and Specialist Training (3-day seminar) – Brighton, CO 4/18
  26. Firearm Technology and Specialist Training (3-day seminar) – Santa Cruz, CA 3/18
  27. Firearm Technology and Specialist Training (3-day seminar) – Floral Park, NY 1/18
  28. Firearm Technology and Specialist Training (3-day seminar) – Oceanside, CA 11/17
  29. Firearm Technology and Specialist Training (3-day seminar) – Pensacola, FL 11/17
  30. Firearm Technology and Specialist Training (3-day seminar) – St. Louis, MO 8/17
  31. Firearm Technology and Specialist Training (3-day seminar) – Kissimmee, FL 6/17
  32. Firearm Technology and Specialist Training (3-day seminar) – Seattle, WA – 4/17
  33. Firearm Technology and Specialist Training (3-day seminar) – Chicago, IL – 4/17
  34. Firearm Technology and Specialist Training (3-day seminar) – Escondido, CA – 10/16
  35. Firearm Technology and Specialist Training (3-day seminar) – Ft. Myers, FL – 10/16
  36. Home-made Firearms, Silencers, Disguised Firearms, and Court Testimony – SWAFS -
      Galveston, TX - 9/16
  37. Firearm Classification and Markings – IAI/Cincinnati, OH – 8/16
  38. Certified Firearm Specialist Course (3-day seminar) – FDLE Jacksonville, FL - 7/16
  39. Firearm Technology and Specialist Training (3-day seminar) – New Jersey St. Police –
      7/16
  40. Firearm Technology and Specialist Training (3-day seminar) – Pensacola, FL PD - 7/16
  41. Firearm Technology and Specialist Training (3-day seminar) – CSI Academy Alachua, FL
      – 7/16
  42. Firearm Classification and Markings – AFTE/New Orleans, LA – 6/16
  43. Discerning real guns from fakes with video/photo evidence – AFTE/New Orleans, LA –
      5/16
  44. Firearm Technology and Specialist Training (3-day seminar) – Santa Fe, NM – 5/16
  45. Firearm Technology and Specialist Training (3-day seminar) – St. Louis, MO – 4/16
  46. Firearm Technology and Specialist Training (3-day seminar)– Seattle, WA – 4/16
  47. Firearm Technology and Specialist Training (3-day seminar) – Miami, FL – 1/16
  48. Firearm Technology and Specialist Training (3-day seminar) – Biddeford, Maine – 1/16
  49. Firearm Technology and Specialist Training (2-day seminar) – Jacksonville, FL – 9/15
  50. Firearm Technology and Specialist Training (2-day seminar) – Windham, Maine – 8/15
  51. ATF Firearm Licensee Compliance; Jeffersonville, IN – 8/15
  52. Firearm Technology and Specialist Training (2-day seminar) –Pensacola, FL PD – 7/15
  53. Firearm Technology and Specialist Training (2-day seminar) - Kissimmee, FL – 7/15
  54. Firearm Technology and Specialist Training (2-day seminar) – Seattle, WA - 5/15
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  55. Firearm and Ammunition Classification – PNWIAI Conference – Portland, OR 5/15
  56. Firearm Technology and Specialist Training (2-day seminar) – Miami, FL – 3/15
  57. Firearm Technology and Testimony (2-day seminar) – Orange Beach, AL - 11/14
  58. Firearm Technology and Testimony (2-day seminar) – Albuquerque, NM – 10/14
  59. Basic Firearm Technology and Testimony – Ft. Myers, FL – 7/14
  60. Advanced Firearm Technology – Institute of Military Technology – Titusville, FL. 10/12
  61. Firearm Recognition/Handling/Testimony – Orange Co. Sher. Ofc. – Orlando, 7/5/12
  62. Firearm Recognition/Handling/Testimony – Florida Dept. of Law Enf. - Orlando, 6/4/12
  63. Firearm ID – How to Read a Gun – Florida Assn. of Lic. Inv. – Tampa, FL 6/11/11
  64. Firearm Hist. and Development – A Primer/ Becoming an Expert – W. P. Bch, FL, 5/26/11
  65. Contributor to the book Cartridges & Firearms Identification by Robert Walker, ISBN
      #9781466502062 – 2010
  66. Firearm Technology and Enforcement – Int’l LE. Academy – Budapest, Hungary, 7/10
  67. Crime-Gun Safety, Recognition and Handling – Daytona Beach Police Department, 09/09
  68. Crime-Gun Safety, Rec. and Handling – Brevard County, FL Sheriff’s Office, 06/09
  69. Ammunition Technology – Property and Evidence Association of Florida, Orlando, 02/09
  70. Firearm Interstate Nexus – ATF and South African Police Service - Orlando, FL, 01/09
  71. Industry Operations Investigator Basic Course – Glynco, GA, 10/07
  72. Firearm Technology and Enforcement – Gabarone, Botswana (Africa), 08/07
  73. Small Arms Trafficking – ILEA – Gabarone, Botswana (Africa), 08/07
  74. Firearm Recognition, Technology and Anti-Smuggling – ILEA Budapest, Hungary, 12/08
  75. Firearm Recognition/Technology – Orange County Sheriff Orlando, FL 08/08
  76. Crime-Gun Rec., Handling, Tech. and Prosecution – FDIAI – Panama City, FL, 11/05
  77. Reloading Metallic Cartridges - Florida Dept. Of Law Enforcement – Tampa, FL 03/08
  78. New Developments in Ammunition – FDLE Orlando, FL, 10/04
  79. Firearm Technology and Enforcement – Gabarone, Botswana (Africa), 09/04
  80. Small Arms Trafficking – ILEA – Gabarone, Botswana (Africa),
  81. Man-Portable Air Defense Systems – Florida Intelligence Unit – Daytona Bch, FL 07/04
  82. Reloading Metallic Cartridges - Florida Dept. Of Law Enforcement – Tampa, FL, 08/03
  83. Firearm Recognition, Technology and Anti-Smuggling – ILEA Budapest, Hungary, 06/03
  84. Firearm Technology and Enforcement – Gabarone, Botswana (Africa), 08/02
  85. Firearm Recognition, Technology and Anti-Smuggling – ILEA Budapest, Hungary, 02/97
  86. Firearm Technology for Law Enforcement Gary, IN, 12/95

AWARDS & ACHIEVEMENTS

        Fraternal Order of Police (Past-President) Westchester Lodge #152 - 1980
        Presented Distinguished Weapons Expert Award by FLETC - 1990
        Presented Special Act or Service Award by ATF - 1993
        Presented U.S. DOJ Award for Public Service by U.S Attorneys Office - 1995
        Presented Special Act or Service Award by ATF - 1999
        Presented Special Act or Service Award by ATF - 2000
        Presented Certificate of Appreciation by ATF National Academy – 2001
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        Presented Special Act or Service Award by ATF - 2002
        Presented Award for Educational Support by PEAF - 2005
        Invited to join ATF’s ARIN (Ammunition Research & ID Network) – 2005
        Featured Speaker- "Firearm Technology"- Property and Evidence Association of
        Florida Annual Conference - 2006
        Research of ammunition company history determination on interstate nexus,
        on metallic cartridges found in the State of Florida.- 2009
        Presented IALEFI Guest Instructor Award - 2010
        Invited onto the Advisory Board of the Sonoran Desert Institute – 2014 - Present
        Recognized as a Technical Advisor to the Assn. of Firearm and Tool Mark Examiners –
        2017 - Present




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Daniel O’Kelly
Recent Prior Testimony, Statement, Declaration, or Consultation

U.S. vs Joseph Roh #SACR 14-00167-JVS (Los Angeles 2018)
U.S. vs Caleb Andrew Bailey 8:16-cr-246 (Maryland 2018)
U.S. vs. Alan Bruce Pichel SACR 14-00167-JVS (Los Angeles 2018)
US. vs. Andrew Kowalczyk 2018 (Portland, OR)
U.S. vs. Stephen Powers (2018 Richmond, VA)
U.S. vs Alan Balagtas Rivers (17-00478YGR) (Sacramento, CA)
Leapers Inc. vs. TRARMS Inc. 1:15-cv-01539-SEB-MJD (Indianapolis, IN)
U.S. vs. Adam Michael Webber 2:14-cr-00443 (Salt Lake City, UT)
U.S. vs. Hasson (Greenbelt, MD) 8:19-cr-00096
U.S. vs. Matthews-Amos (Reno, NV) 3:18-cr-083
U.S. vs. Steven Robison and Richard Rowold (Toledo, OH) 3:18 -cr-00387
U.S. vs. Groves, Paul 2:16-CR-041 (Columbus, OH)
U.S. vs Grimes, Eric 2020-229-JLB 312918 (Columbus, OH)
Jonathan Perinetti vs. Scottsdale Gun Club, et al CV2018-013381 (Phoenix, AZ)
Florida vs. Jermaine Burney 19CF014124A Tampa, FL
U.S. vs. Joshua Seekins 3:19-CR-563-M (Dallas, TX)
U.S. vs. Steven Grijalva ED CR 20-00042-JGB (Riverside, CA)
Texas vs. Jaqualyn Davis F18-75814X (Dallas)
California vs. Fernando Carlos Beltran BA473833-02 (Los Angeles, CA)
Texas vs. Ray Battles Atty. Clark Birdsall (Dallas, TX)
US v. John Hammond 2:19-CR-517 Atty. Caroline Cinquanto (Philadelphia, PA)
US v. Cesar Isais (Los Angeles, CA) Atty. Waseem Salahi
US V. Roberto Osborne (St. Louis, MO) 2020 Atty. Rachael Korenblat
Florida v. Delvin Rojas-Rivera 2020 Atty. Lillian Odongo (Tampa Fl)
Texas v. Destin Bailey 2021 (Dallas, TX) Atty. Clark Birdsall
US v. Howard Davis (Raleigh, NC) 2022 Atty. Elliot Abrams
US v. Brian Downey 2021 (NY, NY) Atty. Andrew Quinn
US v. Kristopher Ervin 2021 (Jacksonville, FL) Atty. Alex King
US v. Alex Friedmann (Nashville, TN) 2021 Atty. Ben Russ
US v. Alan Garcia 2:19-cr-0179-KJM (Sacramento, CA) 2021 Atty. Douglas Beevers
US v. Taylor Gates (Dallas, TX) Atty. Douglas Palmer 2021
Griggs v. Ghost inc. No 17-1491 (Monroe, LA) 2017 Atty. Robert Baldwin
US v. Steven Grijalva CR20-0042-JGB (Riverside, CA) Atty. Andrew Byrd 2020
US v. Ronald Grab (Toledo, OH) 3:20-cr-00618-JJH 2020 Atty. Thomas Kurt
US v. Gregory Hay 19-CR-170 2021 (Western District of NY) Atty. Cheryl Meyers Buth
US v. Jordan Holt 2021 MJ21-147-KEW (Oklahoma) Atty. Callie Steele
NY v. Jerry’s Firearms 2021 Atty. Joseph Indusi (Hauppage, NY)
US v. Aaron Johnson 2021 Atty. Chris Wilson (Harrisburg PA)
Rare Breed Triggers v. US 2021 (Orlando, FL.) Atty. Kevin Maxwell
Texas v. Kevin Mock 2021 (Navasota, TX) Atty. John Choate Jr.
US v. Calvin Padgett Atty. Wade Iverson 2022 (Lubbock, TX)




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US v. Jonathon Perez, et al. 2022 Atty. Ted Tedford
California v. Polymer 80 2021 Atty. David L. Borges
US v. Yousef Mohammad Ramadan Cr. No. 17-20595 (Detroit, MI) Atty. Andrew Densemo 2021
US v. Marc Taylor II (St. Louis, MO) 2021 Atty. Mellissa Goymerac
Texas v. Petrina Thompson F20-17-211 2020 (Denton, TX) Atty. Mick Meyer
Stanley Wagner v. Weatherby, Inc. 2019 (Minnesota) Atty. Stephen Gabrielson
Texas v. Christopher Wall 2020 (Ft. Worth, TX) Atty. Andrew Deegan
US v. Kevion K. Wallace 2021 (Oklahoma) Atty. Donald Haslam
US v. Chrizawn White 2021 (Houston, TX) Atty. Dennis Hester
Texas v. Victor Williams, 2021, (Dallas, TX), Atty. Wayne Lacy
Rarebreed Triggers v. ATF, 2021, (Orlando, FL) Atty. Kevin Maxwell
Texas v. Christopher Wall, 2019, (Weatherford, TX) Atty. Andrew Deegan
Texas v. Jaqualyn Davis, 2021, (Dallas) Atty. Clark Birdsall
Texas v. Destin Bailey, 2022, (Dallas) Atty. Clark Birdsall
Texas v. David McMillian, 2022, (Dallas) Atty. Michael J. Todd
US v. Terry Bruggeman, 2022, (Corpus Christi) Atty. Paul Kratzig
US v. Wilmer Curras 2022 (Puerto Rico) Atty. Suzette Brito
US v. Jose Acquino, 2022 (Puerto Rico) Atty. Allan Rivera- Fernandez
US v. Adamiak, 2023 (Norfolk, VA) Atty. David Good




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Daniel O’Kelly
Recent Prior Testimony, Statement, Declaration, or Consultation

U.S. vs Joseph Roh #SACR 14-00167-JVS (Los Angeles 2018)
U.S. vs Caleb Andrew Bailey 8:16-cr-246 (Maryland 2018)
U.S. vs. Alan Bruce Pichel SACR 14-00167-JVS (Los Angeles 2018)
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U.S. vs. Stephen Powers (2018 Richmond, VA)
U.S. vs Alan Balagtas Rivers (17-00478YGR) (Sacramento, CA)
Leapers Inc. vs. TRARMS Inc. 1:15-cv-01539-SEB-MJD (Indianapolis, IN)
U.S. vs. Adam Michael Webber 2:14-cr-00443 (Salt Lake City, UT)
U.S. vs. Hasson (Greenbelt, MD) 8:19-cr-00096
U.S. vs. Matthews-Amos (Reno, NV) 3:18-cr-083
U.S. vs. Steven Robison and Richard Rowold (Toledo, OH) 3:18 -cr-00387
U.S. vs. Groves, Paul 2:16-CR-041 (Columbus, OH)
U.S. vs Grimes, Eric 2020-229-JLB 312918 (Columbus, OH)
Jonathan Perinetti vs. Scottsdale Gun Club, et al CV2018-013381 (Phoenix, AZ)
Florida vs. Jermaine Burney 19CF014124A Tampa, FL
U.S. vs. Joshua Seekins 3:19-CR-563-M (Dallas, TX)
U.S. vs. Steven Grijalva ED CR 20-00042-JGB (Riverside, CA)
Texas vs. Jaqualyn Davis F18-75814X (Dallas)
California vs. Fernando Carlos Beltran BA473833-02 (Los Angeles, CA)
Texas vs. Ray Battles Atty. Clark Birdsall (Dallas, TX)
US v. John Hammond 2:19-CR-517 Atty. Caroline Cinquanto (Philadelphia, PA)
US v. Cesar Isais (Los Angeles, CA) Atty. Waseem Salahi
US V. Roberto Osborne (St. Louis, MO) 2020 Atty. Rachael Korenblat
Florida v. Delvin Rojas-Rivera 2020 Atty. Lillian Odongo (Tampa Fl)
Texas v. Destin Bailey 2021 (Dallas, TX) Atty. Clark Birdsall
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US v. Brian Downey 2021 (NY, NY) Atty. Andrew Quinn
US v. Kristopher Ervin 2021 (Jacksonville, FL) Atty. Alex King
US v. Alex Friedmann (Nashville, TN) 2021 Atty. Ben Russ
US v. Alan Garcia 2:19-cr-0179-KJM (Sacramento, CA) 2021 Atty. Douglas Beevers
US v. Taylor Gates (Dallas, TX) Atty. Douglas Palmer 2021
Griggs v. Ghost inc. No 17-1491 (Monroe, LA) 2017 Atty. Robert Baldwin
US v. Steven Grijalva CR20-0042-JGB (Riverside, CA) Atty. Andrew Byrd 2020
US v. Ronald Grab (Toledo, OH) 3:20-cr-00618-JJH 2020 Atty. Thomas Kurt
US v. Gregory Hay 19-CR-170 2021 (Western District of NY) Atty. Cheryl Meyers Buth
US v. Jordan Holt 2021 MJ21-147-KEW (Oklahoma) Atty. Callie Steele
NY v. Jerry’s Firearms 2021 Atty. Joseph Indusi (Hauppage, NY)
US v. Aaron Johnson 2021 Atty. Chris Wilson (Harrisburg PA)
Rare Breed Triggers v. US 2021 (Orlando, FL.) Atty. Kevin Maxwell
Texas v. Kevin Mock 2021 (Navasota, TX) Atty. John Choate Jr.
US v. Calvin Padgett Atty. Wade Iverson 2022 (Lubbock, TX)




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US v. Jonathon Perez, et al. 2022 Atty. Ted Tedford
California v. Polymer 80 2021 Atty. David L. Borges
US v. Yousef Mohammad Ramadan Cr. No. 17-20595 (Detroit, MI) Atty. Andrew Densemo 2021
US v. Marc Taylor II (St. Louis, MO) 2021 Atty. Mellissa Goymerac
Texas v. Petrina Thompson F20-17-211 2020 (Denton, TX) Atty. Mick Meyer
Stanley Wagner v. Weatherby, Inc. 2019 (Minnesota) Atty. Stephen Gabrielson
Texas v. Christopher Wall 2020 (Ft. Worth, TX) Atty. Andrew Deegan
US v. Kevion K. Wallace 2021 (Oklahoma) Atty. Donald Haslam
US v. Chrizawn White 2021 (Houston, TX) Atty. Dennis Hester
Texas v. Victor Williams, 2021, (Dallas, TX), Atty. Wayne Lacy
Rarebreed Triggers v. ATF, 2021, (Orlando, FL) Atty. Kevin Maxwell
Texas v. Christopher Wall, 2019, (Weatherford, TX) Atty. Andrew Deegan
Texas v. Jaqualyn Davis, 2021, (Dallas) Atty. Clark Birdsall
Texas v. Destin Bailey, 2022, (Dallas) Atty. Clark Birdsall
Texas v. David McMillian, 2022, (Dallas) Atty. Michael J. Todd
US v. Terry Bruggeman, 2022, (Corpus Christi) Atty. Paul Kratzig
US v. Wilmer Curras 2022 (Puerto Rico) Atty. Suzette Brito
US v. Jose Acquino, 2022 (Puerto Rico) Atty. Allan Rivera- Fernandez
US v. Adamiak, 2023 (Norfolk, VA) Atty. David Good




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                                       Case 4:23-cv-00830-O Document 34 Filed 08/25/23              Page 64 of 257 PageID 579

Jacob Roth (Dhillon Law)

From:                                          Daniel OKelly <firearmspecialistacademy@gmail.com>
Sent:                                          Friday, June 30, 2023 12:57 PM
To:                                            Jacob Roth (Dhillon Law)
Subject:                                       Re: Draft


External Email


From: Galbraith, A.
Sent: Friday, March 20, 2009 8:51 AM
To: Turner, R. ; TPD-NEXUS
Subject: A system that fired upon release of the trigger also.
    All,
    FTB looked at the original device back in the day. As long
as the gun only fires one shot on the pull and one on the
release, it is NOT a machinegun. The ATF-counsel-
approved interpretation of “single function of the trigger” is a
single movement of the trigger, making systems like this OK.
A. Galbraith
Firearms Enforcement Officer
Firearms Technology Branch
244 Needy Road, Suite 1600
Martinsburg, WV 25405                                   64
Daniel O'Kelly
Director
Int'l Firearm Specialist Academy
www.Gunlearn.com
813.422.4674
    To help protect y our priv acy ,
    Micro so ft Office prev ented
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    picture from the Internet.
    Picture




On Fri, Jun 30, 2023 at 11:34 AM Jacob Roth (Dhillon Law) <JRoth@dhillonlaw.com> wrote:

 Daniel,


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  BUREAU OF ALCOHOL, TOBACCO, FIREARMS AND
                EXPLOSIVES

                    OFFICIAL NOTIFICATION
                         POSTED ON
                       AUGUST 24, 2023




                                                                        66
 Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 67 of 257 PageID 582
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                         LEGAL NOTICE
                                                          ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

To File a Petition for Remission or Mitigation: The government may consider granting petitions for remission or mitigation,
which pardons all or part of the property from the forfeiture. You may file both a claim and a Petition for Remission or Mitigation
(Petition). If you file only a petition and no one else files a claim, your petition will be decided by the seizing agency and will not
be heard in U.S. District Court. Petitions do not require a cost bond to be submitted and therefore can be filed online. The petition
must include a description of your interest in the property supported by documentation, include any facts you believe justify the
return of the property, and be signed under oath, subject to the penalty of perjury or meet the requirements of an unsworn
statement under penalty of perjury. See 28 U.S.C. Section 1746. For the regulations pertaining to remission or mitigation of the
forfeiture, see 28 C.F.R. Sections 9.1 - 9.9. The criteria for remission of the forfeiture are found at 28 C.F.R. Section 9.5(a). The
criteria for mitigation of the forfeiture are found at 28 C.F.R. Section 9.5(b). The petition need not be made in any particular form
and may be filed online or in writing. You should file a petition not later than 11:59 PM EST 30 days after the date of final
publication of this notice. See 28 C.F.R. Section 9.3(a). The https://www.forfeiture.gov/FilingPetition.htm website provides
access to a standard petition form that may be mailed and the link to file a petition online. If you cannot find the desired assets
online, you must file your petition in writing. This website also provides information on the agency filing address to use when
mailing as well as answers to frequently asked questions (FAQs) about filing a petition.

To File a Claim: You may contest the forfeiture of the property listed below in U.S. District Court by filing a claim not later than
11:59 PM EST 20 days after the date of final publication of this notice of seizure, unless you received a written notice via
personal letter in which case the deadline set forth in the letter shall apply. A claim must be in writing, describe the seized
property, state your ownership or other interest in the property, and be made under oath, subject to penalty of perjury or meet
the requirements of an unsworn statement under penalty of perjury. See 18 U.S.C. Section 983(a)(2)(C) and 28 U.S.C. Section
1746. The claim of ownership must be accompanied by a cost bond in the amount of $5,000 or ten percent (10%) of the value of
the claimed property, whichever is lower, but not less than $250. If you are unable to post a cost bond, you may request that
ATF waive the cost bond requirement by submitting an In Forma Pauperis Cost Bond Waiver Petition to ATF Forfeiture Counsel.
The cost bond must be in the form of a cashier’s check or money order. No personal checks will be accepted. See 19 U.S.C.
Section 1608. Due to the cost bond requirement, these claims cannot be filed online. A claim need not be made in any particular
form, but a claim form is available at https://www.forfeiture.gov/FilingClaim.htm. See 18 U.S.C. Section 983(a)(2)(D). Claims must
be sent to the ATF pursuant to the instructions shown in this notice.

Submit all documents to the Bureau of Alcohol, Tobacco, Firearms and Explosives, Forfeiture Counsel, Asset Forfeiture & Seized
Property Division, 99 New York Avenue., NE, AFSPD Room (3.E.454), Washington, DC 20226.

LAST DATE TO FILE CLAIM: 10/10/2023
LAST DATE TO FILE PETITION: 10/20/2023

NORTHERN DISTRICT OF ALABAMA
23-ATF-028605: Unknown Unknown Machine Gun CAL:Unknown SN:None, valued at $350.00, seized by the ATF
on May 18, 2023 from Brad BORKOWSKI in Birmingham, AL for forfeiture pursuant to 26 U.S.C. Section 5872.

SOUTHERN DISTRICT OF ALABAMA
23-ATF-013221: Glock GMBH 27GEN5 Pistol CAL:40 SN:BKLD843, valued at $100.00, seized by the ATF on March
04, 2023 from Naquarius BRAXTON in Mobile, AL for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-028375: Glock GMBH Unknown Machine-Gun CAL:Unknown SN:BTCC504, valued at $100.00, seized by
the ATF on June 29, 2023 from Jabarrion WILLIAMS in Mobile, AL for forfeiture pursuant to 26 U.S.C. Section 5872.

DISTRICT OF ARIZONA
20-ATF-033680: PALMETTO STATE ARMORY PX9 PISTOL CAL:9 SN:X9-003193, valued at $500.00, seized by the
ATF on July 02, 2020 from Yousif Al Saqat in Phoenix, AZ for forfeiture pursuant to 26 U.S.C. Section 5872.




[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
                                                            Page 1 of 191                                                         67
 Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                         Page 68 of 257 PageID 583
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim and/or a petition.


LAST DATE TO FILE CLAIM: 10/10/2023
LAST DATE TO FILE PETITION: 10/20/2023

MIDDLE DISTRICT OF FLORIDA
23-ATF-025793: MACHINE GUN CONVERSION KIT CAL:UNKNOWN SN:NONE, valued at $400.00, seized by the
ATF on July 05, 2023 from Larry Hogan in Jacksonville, FL for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-025800: MACHINE GUN CONVERSION KIT CAL: UNKNOWN, SN: UNKNOWN, valued at $400.00, seized
by the ATF on July 05, 2023 from Larry Hogan in Jacksonville, FL for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-028147: MACHINE GUN CONVERSION KIT,MNF:UNKNOWN MANUFACTURER UNKNOWN
MACHINEGUN CAL:UNKNOWN SN:NONE, valued at $400.00, seized by the ATF on June 09, 2023 from Andrew
MCCOOEY in JACKSONVILLE, FL for forfeiture pursuant to 26 U.S.C. Section 5872.

SOUTHERN DISTRICT OF GEORGIA
23-ATF-027286: Glock GMBH 19GEN5 Pistol CAL:9 SN:BVKT370, valued at $400.00, seized by the ATF on July 01,
2023 from Dontrell Polite in Savannah, GA for forfeiture pursuant to 26 U.S.C. Section 5872.

SOUTHERN DISTRICT OF INDIANA
23-ATF-016132: Marble Arms Corp. Game Getter Combination Gun CAL:Multi SN:1281, valued at $400.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 26 U.S.C. Section 5872.

DISTRICT OF KANSAS
23-ATF-028649: Unknown 6" long black cylinder with female threads on one side Silencer CAL:None SN:None,
valued at $100.00, seized by the ATF on July 07, 2023 from John Stevens in Wichita, KS for forfeiture pursuant to
26 U.S.C. Section 5872.
23-ATF-029001: Wide Open Trigger Unknown Machinegun Conversion Kit CAL:None SN:None, valued at $300.00,
seized by the ATF on July 25, 2023 from Phoulitham Kongmanichanh in Olathe, KS for forfeiture pursuant to 26
U.S.C. Section 5872.

EASTERN DISTRICT OF KENTUCKY
23-ATF-028578: UNKNOWN MANUFACTURER UNKNOWN TYPE MACHINE GUN CAL:UNKNOWN SN:NONE,
valued at $1.00, seized by the ATF on August 02, 2023 from Ops Supply in SIMPSONVILLE, KY for forfeiture
pursuant to 26 U.S.C. Section 5872.




[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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 Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                         Page 69 of 257 PageID 584
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim and/or a petition.


LAST DATE TO FILE CLAIM: 10/10/2023
LAST DATE TO FILE PETITION: 10/20/2023

WESTERN DISTRICT OF KENTUCKY
23-ATF-027847: UNKNOWN UNKNOWN MACHINEGUN CAL:UNKNOWN SN:NONE, valued at $350.00, seized by
the ATF on July 07, 2023 from Jeremiah Grant in Louisville, KY for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027904: MARLIN FIREARMS CO. UNKNOWN RIFLE (SB) CAL:22 SN:04492018, valued at $100.00, seized
by the ATF on June 08, 2023 from Joshua Odom in Murray, KY for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027935: UNKNOWN UNKNOWN MACHINEGUN CAL:UNKNOWN SN:NONE, valued at $350.00, seized by
the ATF on June 12, 2023 from Bradley Oliver in Louisville, KY for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027936: UNKNOWN UNKNOWN MACHINEGUN CAL:UNKNOWN SN:NONE, valued at $350.00, seized by
the ATF on June 12, 2023 from Bradley Oliver in Louisville, KY for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027937: UNKNOWN UNKNOWN MACHINEGUN CAL:UNKNOWN SN:NONE, valued at $350.00, seized by
the ATF on June 23, 2023 from Chris Harper in Louisville, KY for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027938: UNKNOWN UNKNOWN MACHINEGUN CAL:UNKNOWN SN:NONE, valued at $350.00, seized by
the ATF on June 23, 2023 from Chris Harper in Louisville, KY for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-028197: UNKNOWN UNKNOWN MACHINEGUN CAL:UNKNOWN SN:NONE, valued at $250.00, seized by
the ATF on July 10, 2023 from Mark Offutt in Louisville, KY for forfeiture pursuant to 26 U.S.C. Section 5872.

DISTRICT OF MAINE
23-ATF-028067: Wide Open Trigger UNKNOWN Machinegun CAL:ZZ SN:NONE, valued at $1.00, seized by the ATF
on June 23, 2023 from William Boyce in BRIDGTON, ME for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-028749: WIDE OPEN TRIGGER MACHINE GUN CONVERSION DEVICE CAL:UNKNOWN SN:NONE,
valued at $399.00, seized by the ATF on June 22, 2023 from Leland Mushrall in PORTLAND, ME for forfeiture
pursuant to 26 U.S.C. Section 5872.
23-ATF-028752: WIDE OPEN TRIGGER MACHINE GUN CONVERSION DEVICE CAL:UNKNOWN SN:NONE,
valued at $399.00, seized by the ATF on June 22, 2023 from Leland Mushrall in PORTLAND, ME for forfeiture
pursuant to 26 U.S.C. Section 5872.
23-ATF-028756: WIDE OPEN TRIGGER MACHINE GUN CONVERSION DEVICE CAL:UNKNOWN SN:NONE,
valued at $399.00, seized by the ATF on June 23, 2023 from Emily Walsh and Barry Walsh in FARMINGTON, ME for
forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-029115: WIDE OPEN TRIGGER MACHINE GUN CONVERSION DEVICE CAL:UNKNOWN SN:NONE,
valued at $399.00, seized by the ATF on June 27, 2023 from Matthew Daniels in CUMBERLAND, ME for forfeiture
pursuant to 26 U.S.C. Section 5872.

EASTERN DISTRICT OF MICHIGAN
23-ATF-028654: MACHINE-GUN GLOCK GMBH PISTOL MODEL: 20GEN4 CAL: 10 SN: BNSZ753, valued at
$581.92, seized by the Detroit Police Department on July 19, 2023 from Daishaun Ward in Detroit, MI, and
adopted by the ATF for forfeiture pursuant to 26 U.S.C. Section 5872.

WESTERN DISTRICT OF MICHIGAN
23-ATF-027846: MACHINE GUN WOT WIDE OPEN TRIGGER, Serial No. Unknown, valued at $200.00, seized by
the ATF on June 21, 2023 from Geoffrey Stevenson in Grand Rapids, MI for forfeiture pursuant to 26 U.S.C. Section
5872.




[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
                                                           Page 3 of 191                                                        69
 Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                         Page 70 of 257 PageID 585
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim and/or a petition.


LAST DATE TO FILE CLAIM: 10/10/2023
LAST DATE TO FILE PETITION: 10/20/2023

MIDDLE DISTRICT OF NORTH CAROLINA
23-ATF-028413: Wide Open Trigger Machine Gun Conversion Kit FRT WOT Machinegun CAL:Unknown SN:NONE,
valued at $400.00, seized by the ATF on July 12, 2023 from Christopher Wright in Statesville, NC for forfeiture
pursuant to 26 U.S.C. Section 5872.

WESTERN DISTRICT OF NORTH CAROLINA
23-ATF-028938: Wide Open Trigger Machinegun Conversion Kit WOT Machinegun CAL:Unknown SN:NONE,
valued at $400.00, seized by the ATF on August 01, 2023 from Rob Miller in Charlotte, NC for forfeiture pursuant to
26 U.S.C. Section 5872.
23-ATF-028941: Wide Open Trigger FRT Machinegun CAL:Unknown SN:None, valued at $400.00, seized by the
ATF on August 02, 2023 from Paul Sigmon in Charlotte, NC for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-028943: Rare Breed Trigger FRT Machinegun CAL:Unknown SN:None, valued at $400.00, seized by the
ATF on August 02, 2023 from Paul Sigmon in Charlotte, NC for forfeiture pursuant to 26 U.S.C. Section 5872.

SOUTHERN DISTRICT OF OHIO
23-ATF-028421: Unknown Manufacturer Unknown Type Machine Gun Conversion Kit CAL:Unknown SN:None,
valued at $1.00, seized by the ATF on August 04, 2023 from Drake Stone in Columbus, OH for forfeiture pursuant
to 26 U.S.C. Section 5872.
23-ATF-028424: Unknown Manufacturer Unknown Type Machine Gun Conversion Kit CAL:Unknown SN:None,
valued at $1.00, seized by the ATF on August 04, 2023 from Jennifer Ladley in Columbus, OH for forfeiture
pursuant to 26 U.S.C. Section 5872.

EASTERN DISTRICT OF OKLAHOMA
23-ATF-029125: PALMETTO STATE ARMORY PA-15 RIFLE CAL:65 SN:SCD939545, valued at $10.00, seized by
the ATF on June 16, 2023 from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to 26 U.S.C. Section
5872.

EASTERN DISTRICT OF PENNSYLVANIA
23-ATF-026731: Steyr Unknown Machinegun CAL:Unknown SN:None, valued at $200.00, seized by the ATF on July
03, 2023 from PA Auction Center in East Earl, PA for forfeiture pursuant to 26 U.S.C. Section 5872.

DISTRICT OF RHODE ISLAND
23-ATF-028108: Wide Open Trigger AR-15 Machinegun Conversion Device CAL:ZZ SN:NONE, valued at $300.00,
seized by the ATF on June 22, 2023 from Guy TRINGALI in Providence, RI for forfeiture pursuant to 26 U.S.C.
Section 5872.

DISTRICT OF SOUTH CAROLINA
23-ATF-027084: ANDERSON MANUFACTURING AM-15 Rifle CAL:300 SN:21454649, valued at $500.00, seized by
the ATF on June 22, 2023 from Christian Valentin Cruz in Enoree, SC for forfeiture pursuant to 26 U.S.C. Section
5872.
23-ATF-029163: Wide Open Trigger WOT for AR15 Machinegun CAL:Unknown SN:NONE, valued at $400.00,
seized by the ATF on July 25, 2023 from Khank Nguyen in Pageland, SC for forfeiture pursuant to 26 U.S.C.
Section 5872.


[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim and/or a petition.


LAST DATE TO FILE CLAIM: 10/10/2023
LAST DATE TO FILE PETITION: 10/20/2023

MIDDLE DISTRICT OF TENNESSEE
23-ATF-028171: Polymer80, Inc. (P80 Tactical P80) PF940C Machinegun CAL:9 SN:None, valued at $400.00,
seized by the ATF on May 16, 2023 from Michael Tate in Nashville, TN for forfeiture pursuant to 26 U.S.C. Section
5872.




[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
                                                           Page 5 of 191                                                        71
 Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                         Page 72 of 257 PageID 587
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim and/or a petition.


LAST DATE TO FILE CLAIM: 10/10/2023
LAST DATE TO FILE PETITION: 10/20/2023

NORTHERN DISTRICT OF TEXAS
23-ATF-027478: GLOCK GMBH 19X PISTOL CAL:9 SN:BWZU787, valued at $500.00, seized by the ATF on June
01, 2023 from Apolinar Zuniga in Dallas, TX for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027479: GLOCK GMBH 32GEN4 PISTOL CAL:357 SN:BTVC318, valued at $500.00, seized by the ATF on
June 01, 2023 from Apolinar Zuniga in Dallas, TX for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027481: UNKNOWN MANUFACTURER AR15 AUTO SEAR MACHINE GUN CONVERSION KIT
CAL:UNKNOWN SN:NONE, valued at $500.00, seized by the ATF on June 01, 2023 from Apolinar Zuniga in Dallas,
TX for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027483: UNKNOWN MANUFACTURER AR15 AUTO SEAR MACHINE GUN CONVERSION KIT
CAL:UNKNOWN SN:NONE, valued at $500.00, seized by the ATF on June 01, 2023 from Apolinar Zuniga in Dallas,
TX for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027485: UNKNOWN MANUFACTURER AR15 AUTO SEAR MACHINE GUN CONVERSION KIT
CAL:UNKNOWN SN:NONE, valued at $500.00, seized by the ATF on June 01, 2023 from Apolinar Zuniga in Dallas,
TX for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027486: UNKNOWN MANUFACTURER AR15 AUTO SEAR MACHINE GUNCONVERSION KIT
CAL:UNKNOWN SN:NONE, valued at $500.00, seized by the ATF on June 01, 2023 from Apolinar Zuniga in Dallas,
TX for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027487: UNKNOWN MANUFACTURER AR15 AUTO SEAR MACHINE GUNC ONVERSION KIT
CAL:UNKNOWN SN:NONE, valued at $500.00, seized by the ATF on June 01, 2023 from Apolinar Zuniga in Dallas,
TX for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027488: UNKNOWN MANUFACTURER AR15 AUTO SEAR MACHINE GUNCONVERSION KIT
CAL:UNKNOWN SN:NONE, valued at $500.00, seized by the ATF on June 01, 2023 from Apolinar Zuniga in Dallas,
TX for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027489: UNKNOWN MANUFACTURER AR15 AUTO SEAR MACHINE GUN CONVERSION KIT
CAL:UNKNOWN SN:NONE, valued at $500.00, seized by the ATF on June 01, 2023 from Apolinar Zuniga in Dallas,
TX for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027491: UNKNOWN MANUFACTURER AR15 AUTO SEAR MACHINE GUN CONVERSION KIT
CAL:UNKNOWN SN:NONE, valued at $500.00, seized by the ATF on June 01, 2023 from Apolinar Zuniga in Dallas,
TX for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027494: UNKNOWN MANUFACTURER AR15 AUTO SEAR MACHINE GUN CONVERSION KIT
CAL:UNKNOWN SN:NONE, valued at $500.00, seized by the ATF on June 01, 2023 from Apolinar Zuniga in Dallas,
TX for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027497: UNKNOWN MANUFACTURER AR15 AUTO SEAR MACHINE GUN CONVERSION KIT
CAL:UNKNOWN SN:NONE, valued at $500.00, seized by the ATF on June 01, 2023 from Apolinar Zuniga in Dallas,
TX for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027498: UNKNOWN MANUFACTURER AR15 AUTO SEAR MACHINE GUN CONVERSION KIT
CAL:UNKNOWN SN:NONE, valued at $500.00, seized by the ATF on June 01, 2023 from Apolinar Zuniga in Dallas,
TX for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027499: UNKNOWN MANUFACTURER AR15 AUTO SEAR MACHINE GUN CONVERSION KIT
CAL:UNKNOWN SN:NONE, valued at $500.00, seized by the ATF on June 01, 2023 from Apolinar Zuniga in Dallas,
TX for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027501: UNKNOWN MANUFACTURER AR15 AUTO SEAR MACHINE GUN CONVERSION KIT
CAL:UNKNOWN SN:NONE, valued at $500.00, seized by the ATF on June 01, 2023 from Apolinar Zuniga in Dallas,
TX for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027502: UNKNOWN MANUFACTURER AR15 AUTO SEAR MACHINE GUN CONVERSION KIT
CAL:UNKNOWN SN:NONE, valued at $500.00, seized by the ATF on June 01, 2023 from Apolinar Zuniga in Dallas,
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
                                                           Page 6 of 191                                                        72
 Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                         Page 73 of 257 PageID 588
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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LAST DATE TO FILE CLAIM: 10/10/2023
LAST DATE TO FILE PETITION: 10/20/2023

NORTHERN DISTRICT OF TEXAS
23-ATF-027502 - (Continued from previous page)
TX for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027504: UNKNOWN MANUFACTURER AR15 AUTO SEAR MACHINE GUN CONVERSION KIT
CAL:UNKNOWN SN:NONE, valued at $500.00, seized by the ATF on June 01, 2023 from Apolinar Zuniga in Dallas,
TX for forfeiture pursuant to 26 U.S.C. Section 5872.

SOUTHERN DISTRICT OF TEXAS
22-ATF-001117: Masterpiece Arms Unknown Rifle CAL:Unknown SN:A6007, valued at $500.00, seized by the ATF
on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 26 U.S.C. Section 5872.

WESTERN DISTRICT OF VIRGINIA
23-ATF-027983: Sig-Sauer SIG 516 Rifle CAL:556 SN:20L053997, valued at $500.00, seized by the ATF on July 10,
2023 from Natisha MILLNER in Danville, VA for forfeiture pursuant to 26 U.S.C. Section 5872.

DISTRICT OF VERMONT
23-ATF-028313: WIDE OPEN TRIGGER AR-15 MACHINEGUN CONVERSION DEVICE CAL:UNKNOWN SN:NONE,
valued at $400.00, seized by the ATF on May 02, 2023 from Mark ALLARD in Burlington, VT for forfeiture pursuant to
26 U.S.C. Section 5872.
23-ATF-028322: WIDE OPEN TRIGGER AR-15 MACHINEGUN CONVERSION DEVICE CAL:UNKNOWN SN:NONE,
valued at $400.00, seized by the ATF on May 02, 2023 from Mark ALLARD in Burlington, VT for forfeiture pursuant to
26 U.S.C. Section 5872.




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property for sale.]
                                                           Page 7 of 191                                                        73
 Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 74 of 257 PageID 589
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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property based on hardship.


LAST DATE TO FILE: 10/20/2023

MIDDLE DISTRICT OF ALABAMA
23-ATF-028137: Cobra Ent., Inc./Kodiak Ind. FS380 Pistol CAL:380 SN:FS109283, valued at $130.00, seized by
the ATF on July 27, 2023 from Vonderrick Peat in Prattville, AL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028140: North American Arms Guardian Pistol CAL:32 SN:AB0208, valued at $300.00, seized by the ATF
on July 27, 2023 from Vonderrick Peat in Prattville, AL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028141: 3 Rounds PPU Ammunition CAL:32, valued at $0.30, seized by the ATF on July 27, 2023 from
Vonderrick Peat in Prattville, AL for forfeiture pursuant to 18 U.S.C. Section 924(d).

SOUTHERN DISTRICT OF ALABAMA
23-ATF-028387: 32 Rounds Winchester-Western Ammunition CAL:9, valued at $3.20, seized by the ATF on June
29, 2023 from Jabarrion WILLIAMS in Mobile, AL for forfeiture pursuant to 18 U.S.C. Section 924(d).




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property for sale.]
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 Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 75 of 257 PageID 590
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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property based on hardship.


LAST DATE TO FILE: 10/20/2023

DISTRICT OF ARIZONA
18-ATF-036830: PTR INDUSTRIES INC. (PTR-91 INC.) Unknown Rifle CAL:308 SN:G12554, valued at $1,000.00,
seized by the ATF on August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C.
Section 924(d).
18-ATF-036831: STAG ARMS STAG-15 Rifle CAL:556 SN:128196, valued at $550.00, seized by the ATF on August
03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036832: COLT AR15 Rifle CAL:223 SN:SP351301, valued at $1,000.00, seized by the ATF on August 03,
2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036833: WINCHESTER 255 Rifle CAL:22 SN:247765, valued at $300.00, seized by the ATF on August 03,
2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036834: TIKKA - (OY TIKKAKOSKI AB) 12-70 RIFLE CAL:222 REM SN:19303, valued at $660.00, seized by
the ATF on August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036835: COLT SPORTER Rifle CAL:223 SN:MH034342, valued at $1,600.00, seized by the ATF on August
03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036837: COLT 1878 Reolver CAL:45 SN:47592, valued at $2,800.00, seized by the ATF on August 03, 2018
from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036838: COLT 1903 Revolver CAL:38 SN:241360, valued at $1,700.00, seized by the ATF on August 03,
2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036839: HIGH STANDARD S Pistol CAL:22 SN:486780, valued at $480.00, seized by the ATF on August 03,
2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036840: REMINGTON ARMS COMPANY, INC. 597 VTR Rifle CAL:22 SN:C2655151, valued at $350.00,
seized by the ATF on August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C.
Section 924(d).
18-ATF-036841: COLT BISLEY Revolver CAL:45 SN:SAB666, valued at $2,800.00, seized by the ATF on August 03,
2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036842: COLT Single Action Army Revolver CAL:45 SN:1976SA, valued at $3,800.00, seized by the ATF on
August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036843: JLD ENTERPRISES PTR 91 Rifle CAL:308 SN:B1668, valued at $1,250.00, seized by the ATF on
August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036844: HECKLER & KOCH INC. SL8-1 RIFLE CAL:223 SN:48-004593, valued at $3,800.00, seized by
the ATF on August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036845: COLT GOVERNMENT Pistol CAL:45 SN:2855188, valued at $800.00, seized by the ATF on August
03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036846: COLT Single Action Revolver CAL:Unknown SN:48964SA, valued at $3,000.00, seized by the ATF
on August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036847: BENELLI, S. PA M1 SUPER 90 Shotgun CAL:12 SN:M213891, valued at $1,200.00, seized by the
ATF on August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036848: L.A.R. MANUFACTURING Unknown Rifle CAL:223/556 SN:LA00446, valued at $1,000.00, seized
by the ATF on August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section
924(d).
18-ATF-036849: IVER JOHNSON Ranger Rifle CAL:22LR SN:NONE, valued at $400.00, seized by the ATF on
August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036850: LEWIS MACHINE AND TOOL CO 1914 Destructive Device CAL:303 SN:A790, valued at $8,000.00,
seized by the ATF on August 03, 2018 from Jerald SULLIVAN in Mesa, AZ for forfeiture pursuant to 18 U.S.C.
Section 924(d).
18-ATF-036851: CSRG ChauChat M1915 DESTRUCTIVE DEVICE CAL:8 SN:148226, valued at $2,500.00, seized
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
                                                            Page 9 of 191                                                          75
 Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 76 of 257 PageID 591
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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property based on hardship.


LAST DATE TO FILE: 10/20/2023

DISTRICT OF ARIZONA
18-ATF-036851 - (Continued from previous page)
by the ATF on August 03, 2018 from Jerald SULLIVAN in Mesa, AZ for forfeiture pursuant to 18 U.S.C. Section
924(d).
18-ATF-036852: Maxim MG08/15 Destructive Device CAL:30 SN:9967, valued at $9,000.00, seized by the ATF on
August 03, 2018 from Jerald SULLIVAN in Mesa, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036853: ARMALITE AR-7 EXPLORER Rifle CAL:22 SN:79987, valued at $500.00, seized by the ATF on
August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036854: Ted Williams Unknown Rifle CAL:22 SN:NONE, valued at $170.00, seized by the ATF on August
03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036855: REMINGTON ARMS COMPANY, INC. 81 Rifle CAL:300 SN:54058, valued at $625.00, seized by
the ATF on August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036856: Beretta USA CORP 84F Pistol CAL:380 SN:E15531Y, valued at $600.00, seized by the ATF on
August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036857: BERETTA USA CORP Unknown Pistol CAL:Unknown SN:03105G, valued at $385.00, seized by
the ATF on August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036858: A A ARMS INC AP9 Pistol CAL:9 SN:04ZZ94, valued at $500.00, seized by the ATF on August 03,
2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036859: INTRATEC TEC22 Pistol CAL:22 SN:076616, valued at $300.00, seized by the ATF on August 03,
2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036860: Chinese Bolt Action Rifle CAL:Unknown SN:44025, valued at $200.00, seized by the ATF on
August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036861: Chinese Bolt Action Rifle CAL:Unknown SN:26329, valued at $200.00, seized by the ATF on
August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036862: WINCHESTER 12 SHOTGUN CAL:12 SN:732988, valued at $719.00, seized by the ATF on August
03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036863: REMINGTON ARMS COMPANY, INC. 12 Shotgun CAL:12 SN:211160, valued at $780.00, seized by
the ATF on August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036864: REMINGTON ARMS COMPANY, INC 722 Rifle CAL:222 SN:224220, valued at $600.00, seized by
the ATF on August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036865: AUTO ORDNANCE WEST HURLEY,NY 1911 Pistol CAL:45 SN:A0A14296, valued at $550.00,
seized by the ATF on August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C.
Section 924(d).
18-ATF-036866: KIMBER GOLD MATCH II Pistol CAL:45 SN:K128358, valued at $1,000.00, seized by the ATF on
August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036867: REMINGTON ARMS COMPANY, INC. 8 Rifle CAL:Unknown SN:53008, valued at $675.00, seized
by the ATF on August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section
924(d).
18-ATF-036868: Ted Williams 8T 2256 Rifle CAL:Unknown SN:R220587, valued at $400.00, seized by the ATF on
August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036869: Wards Western Fields 30 Rifle CAL:Unknown SN:SB562A, valued at $159.99, seized by the ATF
on August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036870: VOERE Unknown Rifle CAL:557 SN:0034, valued at $1,000.00, seized by the ATF on August 03,
2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036871: CZ (CESKA ZBROJOVKA) CZ550 SAFARI Rifle CAL:416 SN:A411332, valued at $2,500.00, seized
by the ATF on August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
                                                           Page 10 of 191                                                          76
 Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 77 of 257 PageID 592
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/20/2023

DISTRICT OF ARIZONA
18-ATF-036871 - (Continued from previous page)
924(d).
18-ATF-036872: UNKNOWN MANUFACTURER Lpfinsan Shotgun CAL:410 SN:72796, valued at $419.00, seized
by the ATF on August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section
924(d).
18-ATF-036873: IVER JOHNSON TP22 Pistol CAL:22 SN:AE31500, valued at $200.00, seized by the ATF on
August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036874: Unknown Manufacturer Bolt Action Rifle CAL:Unknown SN:L6793, valued at $525.00, seized by
the ATF on August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036875: UNKNOWN MANUFACTURER UNKNOWN TYPE REVOLVER CAL:357 SN:291667, valued at
$679.00, seized by the ATF on August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18
U.S.C. Section 924(d).
18-ATF-036876: BROWNING BAR Rifle CAL:300 SN:35951M8, valued at $1,050.00, seized by the ATF on August
03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036877: REMINGTON ARMS COMPANY, INC 513 Rifle CAL:22 SN:90383, valued at $325.00, seized by the
ATF on August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036878: COLT AR15 Rifle CAL:223 SN:SP204857, valued at $3,000.00, seized by the ATF on August 03,
2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036879: SPRINGFIELD ARMORY,GENESEO,IL M1A Rifle CAL:Unknown SN:142956, valued at $1,350.00,
seized by the ATF on August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C.
Section 924(d).
18-ATF-036880: REMINGTON ARMS COMPANY, INC. 742 Rifle CAL:6 SN:101743, valued at $509.00, seized by
the ATF on August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036881: REMINGTON ARMS COMPANY, INC 1100 Rifle CAL:12 SN:P093142V, valued at $1,100.00,
seized by the ATF on August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C.
Section 924(d).
18-ATF-036882: MOSSBERG 500 Shotgun CAL:12 SN:K147472, valued at $300.00, seized by the ATF on August
03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036883: HECKLER & KOCH INC HK91 RIFLE CAL:308 SN:A059541, valued at $2,000.00, seized by the
ATF on August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036884: Aero Precision AP15 Rifle CAL:Unknown SN:US43830, valued at $1,050.00, seized by the ATF on
August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036885: RUGER NEW VAQUERO Revolver CAL:45 SN:510-49132, valued at $910.00, seized by the ATF
on August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036886: NORINCO (NORTH CHINA INDUSTRIES) TT-OLYMPIA Pistol CAL:22 SN:72380, valued at
$369.00, seized by the ATF on August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18
U.S.C. Section 924(d).
18-ATF-036887: REMINGTON ARMS COMPANY, INC 1911 Pistol CAL:45 SN:RH14541B, valued at $620.00,
seized by the ATF on August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C.
Section 924(d).
18-ATF-036888: RUGER VAQUERO Revolver CAL:45 SN:58-48617, valued at $519.00, seized by the ATF on
August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036889: Yugoslavia M48 Rifle CAL:8 SN:T29203, valued at $500.00, seized by the ATF on August 03, 2018
from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036890: RUGER VAQUERO Revolver CAL:45 SN:512-67656, valued at $910.00, seized by the ATF on
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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 Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 78 of 257 PageID 593
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/20/2023

DISTRICT OF ARIZONA
18-ATF-036890 - (Continued from previous page)
August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036891: WINCHESTER 1895 Rifle CAL:270 SN:07NR700481, valued at $1,149.00, seized by the ATF on
August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036892: SIG SAUER (SIG-ARMS) P226 S4 Pistol CAL:9 SN:U770477, valued at $2,295.00, seized by the
ATF on August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036893: MAUSER Unknown Rifle CAL:7 SN:None, valued at $995.00, seized by the ATF on August 03,
2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036894: WINCHESTER 1892 Rifle CAL:357 SN:00069ZZ921, valued at $1,449.00, seized by the ATF on
August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036895: WINCHESTER 70 Rifle CAL:270 SN:71019, valued at $1,795.00, seized by the ATF on August 03,
2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036896: WINCHESTER 94 Rifle CAL:30-30 SN:2213936, valued at $679.00, seized by the ATF on August
03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036897: WINCHESTER 1892 Rifle CAL:357 SN:00012ZY92K, valued at $1,249.00, seized by the ATF on
August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036898: REMINGTON ARMS COMPANY, INC. 511 Rifle CAL:22 SN:None, valued at $239.00, seized by the
ATF on August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036899: NEWTON ARMS 1924 Rifle CAL:35 SN:1169, valued at $1,295.00, seized by the ATF on August 03,
2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036900: REMINGTON ARMS COMPANY, INC 700 LS Rifle CAL:221 SN:G6335249, valued at $879.00,
seized by the ATF on August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C.
Section 924(d).
18-ATF-036901: TAURUS 617 REVOLVER CAL:357 SN:UK920046, valued at $719.00, seized by the ATF on August
03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036902: RUGER GP100 Revolver CAL:357 SN:178-34772, valued at $695.00, seized by the ATF on August
03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036903: BERETTA, PIETRO S.P.A PX4 STORM Pistol CAL:9 SN:PX8855B, valued at $500.00, seized by the
ATF on August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036904: GLD 21 Pistol CAL:45 SN:BLV336, valued at $450.00, seized by the ATF on August 03, 2018 from
Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036905: GLD 35 Pistol CAL:40 SN:HHN882, valued at $619.00, seized by the ATF on August 03, 2018 from
Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036906: F.N. (FN HERSTAL) Five Seven Pistol CAL:5.7 SN:386116408, valued at $1,100.00, seized by the
ATF on August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036907: TAURUS 617 Titanium Pistol CAL:Unknown SN:VF953802, valued at $819.00, seized by the ATF
on August 03, 2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
18-ATF-036908: SIG-SAUER P232 Pistol CAL:9 SN:S322025, valued at $799.00, seized by the ATF on August 03,
2018 from Jerald SULLIVAN in Gilbert, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
20-ATF-033679: GLOCK GMBH 17GEN5 Pistol CAL:9 SN:BYYU716, valued at $500.00, seized by the ATF on July
02, 2020 from Yousif Al Saqat in Phoenix, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-024726: WINCHESTER 1892 Rifle CAL:44 SN:9038, valued at $2,500.00, seized by the ATF on June 12,
2023 from Jerald SULLIVAN in Phoenix, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028501: 394 Rounds ASSORTED Ammunition CAL:Unknown, valued at $39.40, seized by the ATF on July
20, 2023 from Yousif Al Saqat in Glendale, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).


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property for sale.]
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 Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 79 of 257 PageID 594
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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LAST DATE TO FILE: 10/20/2023

DISTRICT OF COLORADO
23-ATF-023258: Smith & Wesson 642PC Revolver CAL:38 SN:DNV0438, valued at $650.00, seized by the ATF on
June 05, 2023 from Ramon Ramirez in Brighton, CO for forfeiture pursuant to 18 U.S.C. Section 924(d).

MIDDLE DISTRICT OF FLORIDA
23-ATF-028441: HANDGUN, MNF: HECKLER & KOCH INC.,TYPE: PISTOL VP9 PISTOL CAL:9 SN:224-008993,
valued at $300.00, seized by the ATF on June 30, 2023 from Keenon Benn in LADY LAKE, FL for forfeiture pursuant
to 18 U.S.C. Section 924(d).
23-ATF-028445: 1 Rounds AMMUNITION: AMMUNITION, QTY: 1, MNF: OTHER Ammunition CAL:9, Serial No.
Unknown, valued at $0.10, seized by the ATF on June 30, 2023 from Keenon Benn in LADY LAKE, FL for forfeiture
pursuant to 18 U.S.C. Section 924(d).

NORTHERN DISTRICT OF FLORIDA
23-ATF-029102: FIREARM: HANDGUN, MNF: KELTEC, CNC INDUSTRIES, INC P32 PISTOL CAL:32 SN:CRQ69,
valued at $150.00, seized by the ATF on August 10, 2023 from Jalil DEES in PENSACOLA, FL for forfeiture
pursuant to 18 U.S.C. Section 924(d).
23-ATF-029110: 8 Rounds AMMUNITION, MNF: SELLIER & BELLOT, CAL:765, Serial No. Unknown, valued at
$0.80, seized by the ATF on August 10, 2023 from Jalil DEES in PENSACOLA, FL for forfeiture pursuant to 18
U.S.C. Section 924(d).

SOUTHERN DISTRICT OF FLORIDA
23-ATF-007127: Glock GMBH 36 Pistol CAL:45 SN:XRY007, valued at $1.00, seized by the ATF on January 16,
2023 from Samuel TYSON in Fort Lauderdale, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027661: 2022 Braxton Creek Camper Camper, VIN: 7HFB1KB15N17H7815, valued at $11,608.50, seized
by the ATF on June 23, 2023 from Larry Colvin in Panama, FL for forfeiture pursuant to 21 U.S.C. Section 881.

NORTHERN DISTRICT OF GEORGIA
23-ATF-027673: Glock GMBH 19GEN5 Pistol CAL:9 SN:BRFA170, valued at $300.00, seized by the ATF on June
22, 2023 from Morgan Pass in Atlanta, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027680: 12 Rounds Assorted Ammunition CAL:9, valued at $1.20, seized by the ATF on June 22, 2023
from Morgan Pass in Atlanta, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027684: 15 Rounds Assorted Ammunition CAL:9, valued at $1.50, seized by the ATF on July 06, 2023 from
Demarcus Rivers in Atlanta, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).




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property for sale.]
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 Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 80 of 257 PageID 595
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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LAST DATE TO FILE: 10/20/2023

DISTRICT OF HAWAII
23-ATF-028882: POLYMER80, INC. (P80 TACTICAL P80) PF940V2 PISTOL CAL:9 SN:NONE, valued at $100.00,
seized by the US DRUG ENFORCEMENT ADMINISTRATION on July 28, 2023 from Mikaele Roth in Honolulu, HI,
and adopted by the ATF for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028890: POLYMER80, INC. (P80 TACTICAL P80) PF940V2 PISTOL CAL:UNKNOWN SN:NONE, valued at
$100.00, seized by the US DRUG ENFORCEMENT ADMINISTRATION on July 28, 2023 from Mikaele Roth in
Honolulu, HI, and adopted by the ATF for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028892: POLYMER80, INC. (P80 TACTICAL P80) PF940C PISTOL CAL:9 SN:NONE, valued at $100.00,
seized by the US DRUG ENFORCEMENT ADMINISTRATION on July 28, 2023 from Mikaele Roth in Honolulu, HI,
and adopted by the ATF for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028894: POLYMER80, INC. (P80 TACTICAL P80) PF940C PISTOL CAL:9 SN:NONE, valued at $100.00,
seized by the US DRUG ENFORCEMENT ADMINISTRATION on July 28, 2023 from Mikaele Roth in Honolulu, HI,
and adopted by the ATF for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028895: POLYMER80, INC. (P80 TACTICAL P80) PF940C PISTOL CAL:UNKNOWN SN:NONE, valued at
$100.00, seized by the US DRUG ENFORCEMENT ADMINISTRATION on July 28, 2023 from Mikaele Roth in
Honolulu, HI, and adopted by the ATF for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028896: SMITH & WESSON SD40VE PISTOL CAL:40 SN:FYK5727, valued at $300.00, seized by the US
DRUG ENFORCEMENT ADMINISTRATION on July 28, 2023 from Mikaele Roth in Honolulu, HI, and adopted by the
ATF for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028901: SMITH & WESSON 19 REVOLVER CAL:357 SN:7K94272, valued at $300.00, seized by the US
DRUG ENFORCEMENT ADMINISTRATION on July 28, 2023 from Mikaele Roth in Honolulu, HI, and adopted by the
ATF for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028902: IVER JOHNSON CADET 55SA REVOLVER CAL:38 SN:626409, valued at $200.00, seized by the
US DRUG ENFORCEMENT ADMINISTRATION on July 28, 2023 from Mikaele Roth in Honolulu, HI, and adopted by
the ATF for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028909: RAVEN ARMS MP25 PISTOL CAL:25 SN:1058593, valued at $100.00, seized by the US DRUG
ENFORCEMENT ADMINISTRATION on July 28, 2023 from Mikaele Roth in Honolulu, HI, and adopted by the ATF for
forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028910: UNKNOWN REVOLVER CAL:UNKNOWN SN:NONE, valued at $100.00, seized by the US DRUG
ENFORCEMENT ADMINISTRATION on July 28, 2023 from Mikaele Roth in Honolulu, HI, and adopted by the ATF for
forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028911: 10 Rounds FEDERAL Ammunition CAL:9, Serial No. Unknown, valued at $1.00, seized by the US
DRUG ENFORCEMENT ADMINISTRATION on July 28, 2023 from Mikaele Roth in Honolulu, HI, and adopted by the
ATF for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028912: 10 Rounds Assorted Ammunition CAL:9, Serial No. Unknown, valued at $1.00, seized by the US
DRUG ENFORCEMENT ADMINISTRATION on July 28, 2023 from Mikaele Roth in Honolulu, HI, and adopted by the
ATF for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028913: 8 Rounds SPEER Ammunition CAL:9, Serial No. Unknown, valued at $0.80, seized by the US
DRUG ENFORCEMENT ADMINISTRATION on July 28, 2023 from Mikaele Roth in Honolulu, HI, and adopted by the
ATF for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028914: 10 Rounds Assorted Ammunition CAL:40, Serial No. Unknown, valued at $1.00, seized by the US
DRUG ENFORCEMENT ADMINISTRATION on July 28, 2023 from Mikaele Roth in Honolulu, HI, and adopted by the
ATF for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028915: 7 Rounds Assorted Ammunition CAL:9, Serial No. Unknown, valued at $0.70, seized by the US
DRUG ENFORCEMENT ADMINISTRATION on July 28, 2023 from Mikaele Roth in Honolulu, HI, and adopted by the
ATF for forfeiture pursuant to 18 U.S.C. Section 924(d).


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property for sale.]
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 Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 81 of 257 PageID 596
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/20/2023

DISTRICT OF HAWAII
23-ATF-028916: 18 Rounds Assorted Ammunition CAL:9, Serial No. Unknown, valued at $1.80, seized by the US
DRUG ENFORCEMENT ADMINISTRATION on July 28, 2023 from Mikaele Roth in Honolulu, HI, and adopted by the
ATF for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028917: 22 Rounds Assorted Ammunition CAL:9, Serial No. Unknown, valued at $2.20, seized by the US
DRUG ENFORCEMENT ADMINISTRATION on July 28, 2023 from Mikaele Roth in Honolulu, HI, and adopted by the
ATF for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028918: 18 Rounds Unknown Ammunition CAL:9, Serial No. Unknown, valued at $1.80, seized by the US
DRUG ENFORCEMENT ADMINISTRATION on July 28, 2023 from Mikaele Roth in Honolulu, HI, and adopted by the
ATF for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028919: 9 Rounds SPEER Ammunition CAL:9, Serial No. Unknown, valued at $0.90, seized by the US
DRUG ENFORCEMENT ADMINISTRATION on July 28, 2023 from Mikaele Roth in Honolulu, HI, and adopted by the
ATF for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028920: 18 Rounds Unknown Ammunition CAL:9, Serial No. Unknown, valued at $1.80, seized by the US
DRUG ENFORCEMENT ADMINISTRATION on July 28, 2023 from Mikaele Roth in Honolulu, HI, and adopted by the
ATF for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028921: 6 Rounds CBC - BRAZILIAN CARTTIDGE COMPANY Ammunition CAL:25, Serial No. Unknown,
valued at $0.60, seized by the US DRUG ENFORCEMENT ADMINISTRATION on July 28, 2023 from Mikaele Roth
in Honolulu, HI, and adopted by the ATF for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028922: 9 Rounds CCI Ammunition CAL:9, Serial No. Unknown, valued at $0.90, seized by the US DRUG
ENFORCEMENT ADMINISTRATION on July 28, 2023 from Mikaele Roth in Honolulu, HI, and adopted by the ATF for
forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028923: 25 Rounds Assorted Ammunition CAL:9, Serial No. Unknown, valued at $2.50, seized by the US
DRUG ENFORCEMENT ADMINISTRATION on July 28, 2023 from Mikaele Roth in Honolulu, HI, and adopted by the
ATF for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028924: 25 Rounds Assorted Ammunition CAL:22, Serial No. Unknown, valued at $2.50, seized by the US
DRUG ENFORCEMENT ADMINISTRATION on July 28, 2023 from Mikaele Roth in Honolulu, HI, and adopted by the
ATF for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028925: 692 Rounds Assorted Ammunition CAL:Multi, Serial No. Unknown, valued at $69.20, seized by the
US DRUG ENFORCEMENT ADMINISTRATION on July 28, 2023 from Mikaele Roth in Honolulu, HI, and adopted by
the ATF for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028926: 58 Rounds Assorted Ammunition CAL:Multi, Serial No. Unknown, valued at $5.80, seized by the
US DRUG ENFORCEMENT ADMINISTRATION on July 28, 2023 from Mikaele Roth in Honolulu, HI, and adopted by
the ATF for forfeiture pursuant to 18 U.S.C. Section 924(d).

NORTHERN DISTRICT OF IOWA
23-ATF-022218: Taurus International G2C Pistol CAL:9 SN:AEA011496, valued at $249.99, seized by the ATF on
June 04, 2023 from Walter Smith in Waterloo, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-022219: 9 Rounds Assorted Ammunition CAL:9, valued at $0.90, seized by the ATF on June 04, 2023 from
Walter Smith in Waterloo, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).




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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF IOWA
23-ATF-028869: $10,113.00 U.S. Currency, seized by the ATF on July 20, 2023 from Majok Majok in Des Moines, IA
for forfeiture pursuant to 21 U.S.C. Section 881.
23-ATF-028870: $484.00 U.S. Currency, seized by the ATF on July 20, 2023 from Majok Majok in Des Moines, IA for
forfeiture pursuant to 21 U.S.C. Section 881.

NORTHERN DISTRICT OF ILLINOIS
23-ATF-028102: Romarm/Cugir Mini Draco Pistol CAL:762 SN:22PG-5638, valued at $840.00, seized by the ATF
on August 01, 2023 from Got Your 6 Gunsmith in McHenry, IL for forfeiture pursuant to 18 U.S.C. Section 924(d).

SOUTHERN DISTRICT OF ILLINOIS
23-ATF-028761: Unknown AR-15 Rifle CAL:556 SN:None, valued at $500.00, seized by the ATF on July 26, 2023
from Travis Wooley in Carbondale, IL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028763: 25 Rounds Assorted Ammunition CAL:Multi, valued at $2.50, seized by the ATF on July 26, 2023
from Travis Wooley in Carbondale, IL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028765: New England Firearms Pardner Shotgun CAL:20 SN:NS332687, valued at $55.00, seized by the
ATF on July 26, 2023 from Lisa Ellison in Carbondale, IL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028767: 80 Rounds Assorted Ammunition CAL:Multi, valued at $8.00, seized by the ATF on July 26, 2023
from Travis Wooley in Carbondale, IL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028768: 19 Rounds Winchester-Western Ammunition CAL:40, valued at $1.90, seized by the ATF on July
26, 2023 from Travis Wooley in Carbondale, IL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028770: 30 Rounds Assorted Ammunition CAL:Multi, valued at $3.00, seized by the ATF on July 26, 2023
from Travis Wooley in Carbondale, IL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028772: 29 Rounds Assorted Ammunition CAL:Multi, valued at $2.90, seized by the ATF on July 26, 2023
from Travis Wooley in Carbondale, IL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-029053: Ruger EC9S Pistol CAL:9 SN:457-56078, valued at $200.00, seized by the ATF on August 10,
2023 from Ebony Hughes in East St. Louis, IL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-029057: 5 Rounds Sellier & Bellot Ammunition CAL:9, valued at $0.50, seized by the ATF on August 10,
2023 from Ebony Hughes in East St. Louis, IL for forfeiture pursuant to 18 U.S.C. Section 924(d).




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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
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LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-006051: 111 Rounds Assorted Ammunition CAL:30-30, valued at $11.10, seized by the ATF on January 22,
2023 from Guadalupe Sanchez-Cruz in Indianapolis, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-006055: 83 Rounds Assorted Ammunition CAL:Unknown, valued at $8.30, seized by the ATF on January
22, 2023 from Guadalupe Sanchez-Cruz in Indianapolis, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-006056: 201 Rounds Assorted Ammunition CAL:Unknown, valued at $20.10, seized by the ATF on January
22, 2023 from Guadalupe Sanchez-Cruz in Indianapolis, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-006058: 50 Rounds Assorted Ammunition CAL:5.7, valued at $5.00, seized by the ATF on January 22, 2023
from Guadalupe Sanchez-Cruz in Indianapolis, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-006059: 9 Rounds Assorted Ammunition CAL:223, valued at $0.90, seized by the ATF on January 22, 2023
from Guadalupe Sanchez-Cruz in Indianapolis, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-006060: Triton Arms LLC. TAR-15 Pistol CAL:Unknown SN:RD2038, valued at $450.00, seized by the ATF
on January 22, 2023 from Guadalupe Sanchez-Cruz in Indianapolis, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-006070: 2017 Honda Pilot EXL Passenger Car VIN:5FNYF6H59HB051935, valued at $21,200.00, seized
by the ATF on January 22, 2023 from Guadalupe Sanchez-Cruz in Indianapolis, IN for forfeiture pursuant to 18
U.S.C. Section 981(a)(1)(C) Tr.
23-ATF-006557: Walther Creed Pistol CAL:9 SN:DEFCI3636, valued at $300.00, seized by the ATF on January 22,
2023 from Guadalupe Sanchez-Cruz in Indianapolis, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-006558: Ruger 22/45 Mark III Pistol CAL:22 SN:275-62182, valued at $300.00, seized by the ATF on
January 22, 2023 from Guadalupe Sanchez-Cruz in Indianapolis, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-006559: Ruger LCP II Pistol CAL:380 SN:38026697, valued at $300.00, seized by the ATF on January 22,
2023 from Guadalupe Sanchez-Cruz in Indianapolis, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-006560: Ruger SR-22 Pistol CAL:22 SN:360-69182, valued at $300.00, seized by the ATF on January 22,
2023 from Guadalupe Sanchez-Cruz in Indianapolis, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-006561: Taurus PT809 Pistol CAL:9 SN:TKR80102, valued at $300.00, seized by the ATF on January 22,
2023 from Guadalupe Sanchez-Cruz in Indianapolis, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-006562: CZ (Ceska Zbrojovka) CZ P-07 Pistol CAL:9 SN:F344509, valued at $300.00, seized by the ATF on
January 22, 2023 from Guadalupe Sanchez-Cruz in Indianapolis, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-006563: Beretta, Pietro S.P.A, 84BB Pistol CAL:380 SN:Y36178Y, valued at $300.00, seized by the ATF on
January 22, 2023 from Guadalupe Sanchez-Cruz in Indianapolis, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-006564: Cobra Ent., Inc./Kodiak Ind. CB38 Derringer CAL:38 SN:CT015895, valued at $200.00, seized by
the ATF on January 22, 2023 from Guadalupe Sanchez-Cruz in Indianapolis, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-006565: 13 Rounds Assorted Ammunition CAL:9, valued at $1.30, seized by the ATF on January 22, 2023
from Guadalupe Sanchez-Cruz in Indianapolis, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-006566: Glock Inc. 19GEN5 Pistol CAL:9 SN:AGCU157, valued at $600.00, seized by the ATF on January
22, 2023 from Gerson MARIONA BEJARANO in Carmel, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-006567: Glock, Inc. 45 Pistol CAL:9 SN:BRTP892, valued at $600.00, seized by the ATF on January 22,
2023 from Gerson MARIONA BEJARANO in Carmel, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-006568: 20 Rounds Winchester-Western Ammunition CAL:9, valued at $2.00, seized by the ATF on
January 22, 2023 from Gerson MARIONA BEJARANO in Carmel, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).


[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
                                                           Page 17 of 191                                                          83
 Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 84 of 257 PageID 599
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-014050: Remington Arms Company, Inc. 1100 Shotgun CAL:20 SN:R180256K, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014097: Marlin Firearms Co. 70P Rifle CAL:22 SN:11260836, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014098: Ruger American Rifle CAL:308 SN:69731157, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014100: Remington Arms Company, Inc. Speedmaster Rifle CAL:22 SN:A1607333, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-014101: Marlin Firearms Co. 917M2S Rifle CAL:17 SN:96667895, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014102: Savage 340 Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF on March 09, 2023 from
David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014104: Beretta, Pietro S.P.A Fucile Rinforzato Speciale Shotgun CAL:28 SN:D035340, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-014105: Marlin Firearms Co. XT-22 Rifle CAL:22 SN:MM27443A, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014108: Savage 24V-A Rifle/Shotgun CAL:30-30/20 SN:B571069, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014110: Marlin Firearms Co. 1894 Rifle CAL:44 SN:93037417, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014112: Savage Axis Rifle CAL:223 SN:H569861, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014116: Remington Arms Company, Inc. 870 Shotgun CAL:20 SN:RS88142C, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014118: CZ (Ceska Zbrojovka) CZ455 Rifle CAL:17 SN:B855083, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014119: Rock River Arms, Inc. LAR 15 Rifle CAL:Multi SN:AV4067588, valued at $500.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014120: Remington Arms Company, Inc. 870 Express Shotgun CAL:12 SN:B075305M, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-014122: Browning Light 12 Shotgun CAL:12 SN:01124NX211, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014123: New England Firearms Unknown Type Shotgun CAL:12 SN:NA235205, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014124: Winchester 250 Rifle CAL:22 SN:380979, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014125: Colt Classic Carbine Break Top Shotgun CAL:45 SN:HX341992, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014126: Winchester 69AM Rifle CAL:22 SN:None, valued at $150.00, seized by the ATF on March 09, 2023
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
                                                           Page 18 of 191                                                          84
 Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 85 of 257 PageID 600
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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property based on hardship.


LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-014126 - (Continued from previous page)
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014127: Franchi SP22 Rifle CAL:22 SN:P6281, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014128: Remington Arms Company, Inc. Unknown Type Rifle CAL:22 SN:1213546, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-014129: Mossberg 802 Rifle CAL:22 SN:HMG3819394, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014130: Remington Arms Company Inc. 11-87 Shotgun CAL:12 SN:RS54520Z, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014131: Marlin Firearms Co. 25 Rifle CAL:22 SN:None, valued at $150.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014133: Remington Arms Company, Inc. 11-87 Shotgun CAL:12 SN:TL046139, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014134: Armscor of the Philippines (Squires Bingham) 20 Rifle CAL:22 SN:A077205, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-014135: Remington Arms Company, Inc. 572 Rifle CAL:22 SN:A1598298, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014136: Mossberg 835 Shotgun CAL:12 SN:UM640221, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014138: Remington Arms Company, Inc. Fieldmaster 572 Rifle CAL:22 SN:1412791, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-014139: Remington Arms Company, Inc. 11-87 Sportsman Shotgun CAL:20 SN:CC73500F, valued at
$250.00, seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-014140: Winchester 70-264 Rifle CAL:Unknown SN:554399, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014141: Remington Arms Company, Inc. 760 Rifle CAL:35 SN:233538, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014142: Colt M4 Rifle CAL:556 SN:LE418012, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014145: Winchester 61 Rifle CAL:22 SN:211565, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014147: Remington Arms Company, Inc. 870 Shotgun CAL:20 SN:RAS129718, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014148: Browning Unknown Type Rifle CAL:22 SN:05859PP136, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014149: Emperor MXP12 Shotgun CAL:12 SN:22BHP-001737, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).


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property for sale.]
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 Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 86 of 257 PageID 601
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-014150: Marlin Firearms Co. 336C Rifle CAL:35 SN:MR82163E, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014151: Savage 93R17 Rifle CAL:17 SN:1838165, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014152: Bauska Arms FOX-Mod 2 Rifle CAL:22 SN:34034, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014154: Remington Arms Company, Inc. 1100 Shotgun CAL:12 SN:N212862V, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014155: Winchester 131 Rifle CAL:22 SN:Z210028, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014156: Stoeger Arms Condor Shotgun CAL:20 SN:145788-06, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014157: Remington Arms Company, Inc. CZ550 Rifle CAL:22 SN:H6876, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014159: Berika Arms FRN Shotgun CAL:12 SN:B20PA1104, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014160: Winchester 67 Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014161: Remington Arms Company, Inc. 550-1 Rifle CAL:22 SN:None, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014162: Marlin Firearms Co. 1897 Century Limited Rifle CAL:22 SN:18970872, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014163: Remington Arms Company, Inc. 788 Rifle CAL:22 SN:A6034968, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014165: Unknown Manufacturer Unknown Type Rifle CAL:Multi SN:None, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014167: Taurus Rossi Rifle CAL:44 SN:5202244YBS, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014171: CZ (Ceska Zbrojovka) 612 Shotgun CAL:12 SN:57-I21PT-5674, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014172: Pointer Unknown Type Shotgun CAL:12 SN:14Y00028, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014173: Ruger 450 Bushmaster Rifle CAL:Unknown SN:134-49246, valued at $250.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014174: Remington Arms Company, Inc. 700 Rifle CAL:250 SN:B6580329, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014175: Savage Stevens 94C Shotgun CAL:410 SN:None, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014176: Colt H Bar Rifle CAL:223 SN:CCH009256, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014177: Savage M-25 Rifle CAL:22 SN:J165272, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014178: Raptor Arms 270 Rifle CAL:Unknown SN:5789, valued at $250.00, seized by the ATF on March 09,
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
                                                           Page 20 of 191                                                          86
 Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 87 of 257 PageID 602
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-014178 - (Continued from previous page)
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014179: Citadel Legacy Shotgun CAL:12 SN:21SAKR54132, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014181: Colt M4 Rifle CAL:22 SN:BP002395, valued at $250.00, seized by the ATF on March 09, 2023 from
David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014182: Remington Arms Company, Inc. 870 Shotgun CAL:12 SN:W284538M, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014183: Remington Arms Company, Inc. 870 Shotgun CAL:20 SN:D825568U, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014189: DPMS, Inc. (Defense Procuremnt Mfg. Services) A15 Rifle CAL:223 SN:FH62309, valued at
$250.00, seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-014190: UTAS-USA Hatfield Shotgun CAL:20 SN:20A21002027, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014194: Remington Arms Company, Inc. 870 Shotgun CAL:12 SN:V660464V, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014199: Marlin Firearms Co. 39 Rifle CAL:22 SN:607, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014200: Ruger 10/22 Rifle CAL:22 SN:113-30167, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014201: Marlin Firearms Co. 1894 Cowboy Limited Rifle CAL:44 SN:2009223, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014202: Ithaca Gun Co. 37 Shotgun CAL:12 SN:M370002236, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014203: Remington Arms Company, Inc. 572 Rifle CAL:22 SN:1669327, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014205: Sig Sauer (Sig-Arms) SM400 Rifle CAL:Multi SN:20J055478, valued at $750.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014206: Ruger 10/22 Rifle CAL:22 SN:0007-68506, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014209: Ithaca Gun Co., 37 Featherlight Shotgun CAL:20 SN:1026639, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014210: Ruger Unknown Type Rifle CAL:357 SN:130-51036, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014211: Browning BAR22 Rifle CAL:22 SN:01161PM266, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014212: Browning BLR Rifle CAL:30-06 SN:01889MV341, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014213: Remington Arms Company, Inc. 522 Rifle CAL:22 SN:3174081, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014214: Mossberg 715T Rifle CAL:22 SN:EMK3983067, valued at $250.00, seized by the ATF on March 09,
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
                                                           Page 21 of 191                                                          87
 Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 88 of 257 PageID 603
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-014214 - (Continued from previous page)
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014215: Remington Arms Company, Inc. 552 Rifle CAL:22 SN:B1427598, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014216: Mossberg 500 Shotgun CAL:12 SN:V0130631, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014217: Winchester 150 Rifle CAL:22 SN:B1371608, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014218: Ruger AR-556 Rifle CAL:556 SN:858-58087, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014220: Remington Arms Company, Inc. 700 Rifle CAL:22 SN:A6253967, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014221: Winchester 61 Rifle CAL:22 SN:332687, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014222: Remington Arms Company, Inc. 870 Shotgun CAL:12 SN:DU821923, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014223: Remington Arms Company, Inc. 1100 Shotgun CAL:20 SN:L055667X, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014224: Marlin Firearms Co. 60 Rifle CAL:22 SN:3253514, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014225: Winchester 02 22 Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014227: Winchester 70 Rifle CAL:30-06 SN:G57632, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014228: Crescent Firearms Co. Double Barrel Shotgun CAL:12 SN:None, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014230: Remington Arms Company, Inc. 870 Shotgun CAL:12 SN:C826870A, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014232: Ruger Mini 30 Rifle CAL:762 SN:196-43616, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014235: Mossberg Unknown Type Shotgun CAL:410 SN:J860469, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014236: Ruger All-Weather 77/22 Rifle CAL:22 SN:701-29403, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014239: Ruger All Weather 77 Rifle CAL:44 SN:740-13431, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014242: Winchester 12 Shotgun CAL:16 SN:1236785, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014243: Marlin Firearms Co. 60 Rifle CAL:22 SN:15515258, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014247: Winchester Ranger Rifle CAL:30-30 SN:5461646, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).


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property for sale.]
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 Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 89 of 257 PageID 604
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-014250: Savage Stevens 940E Shotgun CAL:410 SN:P097347, valued at $750.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014254: Mossberg 500A Shotgun CAL:12 SN:R983042, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014258: Lefever Nitro Special Shotgun CAL:12 SN:281076, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014260: Browning Light 12 Shotgun CAL:12 SN:OG9645, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014262: Keltec, CNC Industries, Inc. SUB-2000 Rifle CAL:9 SN:FFC37, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014264: Marlin Firearms Co. 60 Rifle CAL:22 SN:25366646, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014267: Remington Arms Company, Inc. 1187 Shotgun CAL:20 SN:DE33776, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014268: Remington Arms Company, Inc. 550-1 Rifle CAL:22 SN:None, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014269: Remington Arms Company, Inc. 870TB Shotgun CAL:12 SN:S939095V, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014270: Remington Arms Company, Inc. 550-1 Rifle CAL:22 SN:None, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014271: Remington Arms Company, Inc. 870 Wingmaster Shotgun CAL:20 SN:C593077U, valued at
$250.00, seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-014272: Ruger 10/22 Rifle CAL:22 SN:829-02977, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014273: Mossberg 500A Shotgun CAL:12 SN:P735673, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014274: Smith & Wesson M&P 15 Rifle CAL:556 SN:SV03023, valued at $750.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014275: Rossi Gallery Rifle CAL:22 SN:7CG034939P, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014276: Aero Precision X15 Rifle CAL:Multi SN:X272813, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014277: Benelli S. PA. Nova Shotgun CAL:20 SN:BA021997, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014278: Anschutz ULM/D Rifle CAL:4mm SN:39534, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014279: New England Firearms Pardner SBI Shotgun CAL:12 SN:893104, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014280: Winchester 9422 Rifle CAL:22 SN:F593799, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014281: Savage Mark II Rifle CAL:22 SN:4098968, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).


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property for sale.]
                                                           Page 23 of 191                                                          89
 Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 90 of 257 PageID 605
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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property based on hardship.


LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-014282: Marlin Firearms Co. Golden 39A Rifle CAL:22 SN:93302012, valued at $250.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014283: Anderson Manufacturing AM15 Rifle CAL:Multi SN:20368154, valued at $250.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014284: Marlin Firearms Co. Golden 39A Rifle CAL:22 SN:19242680, valued at $250.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014285: FM Products Inc. (Foxtrot Mike) FMP Rifle CAL:Multi SN:9 - 28116, valued at $500.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014286: Remington Arms Company, Inc. 870 Shotgun CAL:12 SN:8679DU, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014287: Remington Arms Company, Inc. 7400 Rifle CAL:30-06 SN:8112957, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014288: Winchester 12 Shotgun CAL:12 SN:1957195, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014289: Winchester 9422 Rifle CAL:22 SN:FTF1990, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014290: Ruger Break Top Shotgun CAL:20 SN:400 - 59685, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014291: Winchester 69A Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014292: Interarms 62SEC Shotgun CAL:Unknown SN:G451353, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014293: Erma Werke GMBH EG72 Rifle CAL:22 SN:002161, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014294: Hatfield Gun Company SAS Shotgun CAL:28 SN:28A21-006000, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014295: Remington Arms Company, Inc. 1100 Shotgun CAL:28 SN:R030262J, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014296: Marlin Firearms Co. 1897 Cowboy Rifle CAL:22 SN:99137701, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014297: Remington Arms Company, Inc. 1100 Shotgun CAL:20 SN:R031917K, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014306: Remington Arms Company, Inc. 1100 Shotgun CAL:12 SN:P170380V, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014307: Remington Arms Company 870 Shotgun CAL:20 SN:RS46899Z, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014308: Ruger 77/44 Rifle CAL:44 SN:740-18039, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014309: Browning Auto 5 Shotgun CAL:20 SN:3Z64935, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014310: Browning Light 12 Shotgun CAL:12 SN:L89050, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).


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                                                           Page 24 of 191                                                          90
 Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 91 of 257 PageID 606
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-014311: Marlin Firearms Co. 60 Rifle CAL:22 SN:23294871, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014312: Winchester 61 Rifle CAL:22 SN:102769, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014313: Harrington and Richardson 865 Rifle CAL:22 SN:AP229674, valued at $250.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014314: Remington Arms Company, Inc. 1100 Shotgun CAL:12 SN:N980698V, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014315: Winchester 870 Shotgun CAL:20 SN:W940300U, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014316: Remington Arms Co 1100LW Shotgun CAL:410 SN:M210394H, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014318: Ruger 22-250 Rem Rifle CAL:22 SN:133-31949, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014319: Marlin Firearms Co. Original Golden 39A Rifle CAL:22 SN:6092576, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014320: Remington Arms Company 870LW Magnum Shotgun CAL:20 SN:W320970U, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-014321: Unknown 59 Rifle CAL:762 SN:F-125081, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014322: Remington Arms Company, Inc. Nylon 10 Rifle CAL:22 SN:None, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014323: Marlin Firearms Co. 1894 Century Limited Rifle CAL:44-40 SN:94CL0957, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-014324: Remington Arms Company, Inc. 870 Shotgun CAL:20 SN:D159278U, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014325: High Standard 21 Ted Williams Shotgun CAL:410 SN:None, valued at $250.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014326: Franchi Unknown Shotgun CAL:20 SN:05 -03 - E02266 - 13, valued at $250.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014327: Remington Arms Company, Inc. 1100 Shotgun CAL:12 SN:DU4778, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014328: Springfield Armory, Geneseo, IL B5 Rifle CAL:556 SN:ST264336, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014329: Browning BL22 Rifle CAL:22 SN:01973ZZ242, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014330: Marlin Firearms Co. 60 Rifle CAL:22 SN:92421124, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014331: Remington Arms Company, Inc. 1100 LT20 Shotgun CAL:20 SN:P155024K, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).


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                                                           Page 25 of 191                                                          91
 Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 92 of 257 PageID 607
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
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LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-014333: Remington Arms Company, Inc. 7400 Rifle CAL:243 SN:8101323, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014335: Remington Arms Company 870 Shotgun CAL:16 SN:622308W, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014337: Ruger Unknown Type Shotgun CAL:28 SN:420-01930, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014338: Marlin Firearms Co. 25N Rifle CAL:22 SN:03384693, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014339: High Standard 31 Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014340: Harrington and Richardson Topper Shotgun CAL:20 SN:GW15956, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014341: Marlin Firearms Co. XT-22 Rifle CAL:22 SN:MM19148B, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014342: Keystone Sporting Arms Crickett Rifle CAL:22 SN:219984, valued at $250.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014343: Remington Arms Company, Inc. 870 Shotgun CAL:28 SN:RS02686T, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014344: Ruger 10 Rifle CAL:22 SN:355-24061, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014345: Remington Arms Company 700 Rifle CAL:308 SN:RR15770E, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014346: Marlin Firearms Co. 60 Rifle CAL:22 SN:24275300, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014347: Marlin Firearms Co. 1897 Century Limited Rifle CAL:22 SN:18971731, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014348: Winchester 69A Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014350: Browning Special Steel Shotgun CAL:16 SN:50321, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014351: Derya Arms (Derya Silah Sanayi) Tradition Shotgun CAL:12 SN:R022893, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-014352: Mossberg Unknown Shotgun CAL:20 SN:V0139211, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014353: Remington Arms Company 1100 Shotgun CAL:12 SN:N931125V, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014354: Taurus International Rossi S41118 Shotgun CAL:410 SN:5GO032343, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014355: Remington Arms Company, Inc. 1100 Shotgun CAL:12 SN:N074898V, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).


[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
                                                           Page 26 of 191                                                          92
 Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 93 of 257 PageID 608
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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property based on hardship.


LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-014356: Marlin Firearms Co. Golden 39AS Rifle CAL:22 SN:13250538, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014357: Winchester 9422 Rifle CAL:22 SN:CHF1950, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014358: Winchester 9410 Shotgun CAL:410 SN:SG33468, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014359: Winchester 67A Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014360: Ruger 10/22 Rifle CAL:22 SN:116-28178, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014361: Mauser 96 Rifle CAL:308 SN:96008298, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014362: Remington Arms Company, Inc. 1100 Shotgun CAL:12 SN:L536917V, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014363: Mossberg 500E Shotgun CAL:410 SN:K179115, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014364: Remington Arms Company, Inc. 1100 Shotgun CAL:12 SN:N284652M, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014365: Ruger 218BEE Rifle CAL:22 SN:13294245, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014366: Norinco (North China Industries) MAK90 Sporter Rifle CAL:762 SN:94 94115, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-014367: Mossberg 590 Shotgun CAL:12 SN:V1025439, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014368: Marlin Firearms Co. Golden 39A Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014369: Winchester 9410 Shotgun CAL:410 SN:SG26040, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014371: Remington Arms Company, Inc. 870 Shotgun CAL:12 SN:RS20989N, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014372: Marlin Firearms Co. 444S Rifle CAL:444 SN:26054327, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014373: Remington Arms Company, Inc. 870 Shotgun CAL:12 SN:AB217103M, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014374: Remington Arms Company 1100 LT20 Shotgun CAL:20 SN:M877119U, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014375: Browning Auto 5 Shotgun CAL:20 SN:66806, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014376: Winchester 72A Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF on March 09, 2023
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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 Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 94 of 257 PageID 609
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-014376 - (Continued from previous page)
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014377: Remington Arms Company, Inc. 1100 Shotgun CAL:12 SN:79879V, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014378: Remington Arms Company, Inc. 870LW Shotgun CAL:20 SN:V848838K, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-014380: Winchester 1200 Shotgun CAL:12 SN:L544465, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014381: Remington Arms Company, Inc. 11-87 Shotgun CAL:12 SN:PC329675, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014382: Remington Arms Company, Inc. 870LW Magnum Shotgun CAL:20 SN:X071503U, valued at
$250.00, seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-014383: Ruger 10/22 Rifle CAL:22 SN:115-56211, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014384: Browning Unknown Shotgun CAL:16 SN:36279NW023, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014385: Remington Arms Company, Inc. 870 Shotgun CAL:12 SN:S762041V, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014387: Ruger Carbine Rifle CAL:44 SN:90591, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014388: CMMG INC. MK-4 Rifle CAL:556 SN:SCG012727, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014389: Ruger Unknown Rifle CAL:22 SN:133 - 13610, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014390: Lefever Nitro Special Shotgun CAL:Unknown SN:283107, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014391: Remington Arms Company, Inc. 1100 Shotgun CAL:12 SN:N802099V, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014392: Winchester 94 Rifle CAL:30-30 SN:USA14026, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014393: Belgium Unknown Rifle CAL:Unknown SN:None, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014394: Remington Arms Company, Inc. 341 Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014395: Remington Arms Company, Inc. 700 Rifle CAL:243 SN:6702952, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014396: Ruger Unknown Type Shotgun CAL:28 SN:420-16015, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014397: Remington Arms Company, Inc. 11 87 Rifle CAL:12 SN:PC406569, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014398: Remington Arms Company, Inc. 870LW Magnum Shotgun CAL:20 SN:W628233U, valued at
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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 Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 95 of 257 PageID 610
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-014398 - (Continued from previous page)
$250.00, seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-014399: Remington Arms Company 1100 Shotgun CAL:28 SN:P199348J, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014400: Remington Arms Company, Inc. 11 Shotgun CAL:410 SN:4142980, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014401: Ruger Ranch Rifle Rifle CAL:223 SN:188 - 26363, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014402: Remington Arms Company, Inc. 870 Shotgun CAL:20 SN:X124185U, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014403: Winchester 75 Rifle CAL:22 SN:69233, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014404: Ruger 10/22 Rifle CAL:22 SN:248 - 69273, valued at $350.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014405: Springfield Armory, Geneseo, IL 944 Shotgun CAL:410 SN:P408387, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014406: Savage 110 Rifle CAL:223 SN:N704695, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014407: Winchester 52 Rifle CAL:22 SN:75448B, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014408: Ruger 10/22 Rifle CAL:22 SN:353 - 75209, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014409: Winchester 61 Rifle CAL:22 SN:46820, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014410: Browning Unknown Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014411: Winchester 67A Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014412: Winchester 69A Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014413: Winchester 1200 Shotgun CAL:12 SN:L489578, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014414: Winchester 9422 Rifle CAL:22 SN:F736075, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014415: Marlin Firearms Co. Golden 39M Rifle CAL:22 SN:20305582, valued at $250.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014416: Winchester 94 Rifle CAL:444 SN:6375382, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014417: Marlin Firearms Co. 1895C Ltd Rifle CAL:45-70 SN:18950346, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014418: Remington Arms Company 870 Shotgun CAL:12 SN:X289665M, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014419: Remington Arms Company, Inc. 11-87 Shotgun CAL:12 SN:PC333676, valued at $250.00, seized
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
                                                           Page 29 of 191                                                          95
 Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 96 of 257 PageID 611
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                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-014419 - (Continued from previous page)
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014420: Remington Arms Company, Inc. 550-1 Rifle CAL:22 SN:None, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014421: Winchester 3 Rifle CAL:22 SN:94416, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014422: Remington Arms Company, Inc. 870 Magnum Shotgun CAL:12 SN:A834384M, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-014423: Winchester 9422M Rifle CAL:22 SN:F589363, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014424: Remington Arms Company, Inc. 1100 LT20 Shotgun CAL:20 SN:N077493K, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-014425: Winchester 62 Rifle CAL:22 SN:200412, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014426: Remington Arms Company, Inc. 870 Shotgun CAL:20 SN:AB427118U, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014427: Winchester 52 Rifle CAL:22 SN:24205, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014428: Remington Arms Company, Inc. 1100 Magnum Shotgun CAL:12 SN:DU81 8028, valued at
$250.00, seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-014429: Remington Arms Company, Inc. 592M Rifle CAL:5 SN:1026660, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014430: Remington Arms Company, Inc. 870 Magnum Shotgun CAL:20 SN:D856749U, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-014431: Remington Arms Company, Inc. 1100 Shotgun CAL:12 SN:DU11720, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014432: Remington Arms Company, Inc. 870 Shotgun CAL:12 SN:T911842V, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014433: Remington Arms Company, Inc. 1100 Shotgun CAL:12 SN:N948884M, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014434: Remington Arms Company, Inc. 1100 Shotgun CAL:12 SN:L697261V, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014435: Remington Arms Company 700 Rifle CAL:308 SN:RR55967G, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014436: Remington Arms Company, Inc. 11-87 Shotgun CAL:12 SN:PC119869, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
(Continued on next page)
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                                                           Page 30 of 191                                                          96
 Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 97 of 257 PageID 612
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
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LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-014436 - (Continued from previous page)
924(d).
23-ATF-014437: Winchester 69A Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014438: Remington Arms Company, Inc. 1100 Shotgun CAL:12 SN:DU85 0681, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014439: Ruger 77/44 Rifle CAL:44 SN:740-23498, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014440: Remington Arms Company 1100 Shotgun CAL:12 SN:M201618V, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014441: Del-Ton Inc. DTI-15 Rifle CAL:556 SN:DTI-S258340, valued at $800.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014442: Remington Arms Company 870 Shotgun CAL:28 SN:C822947JZ, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014443: Remington Arms Company, Inc. 870 Shotgun CAL:12 SN:V673414M, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014444: Remington Arms Company, Inc. 870 Shotgun CAL:20 SN:W201761U, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014445: Remington Arms Company, Inc. 1100 Shotgun CAL:12 SN:N588472M, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014446: Mossberg 500 ATP Shotgun CAL:12 SN:H963287, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014447: Norinco (North China Industries) MAK90 Rifle CAL:762 SN:36031, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014448: Remington Arms Company, Inc. 1100 Shotgun CAL:12 SN:M272442M, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014449: Marlin Firearms Co. 1897 Rifle CAL:22 SN:18970035, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014450: Marlin Firearms Co. 1894 Rifle CAL:44 SN:94CL1115, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014451: Ruger 10-22 Rifle CAL:22 SN:USST00083, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014452: Marlin Firearms Co. 1895GEL Rifle CAL:44 SN:MR04614E, valued at $250.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014453: Ruger American Rifle Ranch Rifle CAL:223 SN:188-58424, valued at $250.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014454: Norinco (North China Industries) MAK90 Rifle CAL:7.639 SN:46369, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014455: Browning Unknown Type Rifle CAL:22 SN:21161X6, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).


[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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 Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 98 of 257 PageID 613
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-014456: Marlin Firearms Co. 1894 Rifle CAL:44-40 SN:94CL0511, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014457: Marlin Firearms Co. 1894C Rifle CAL:357 SN:92021491, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014458: Remington Arms Company, Inc. 1100 Shotgun CAL:20 SN:L495441K, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014459: Norinco (North China Industries) SKS Rifle CAL:762 SN:07291, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014460: Winchester 12 Shotgun CAL:16 SN:1206580, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014461: Mossberg 500 Shotgun CAL:12 SN:U229252, valued at $500.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014462: Winchester 70 Rifle CAL:243 SN:35GZN03936, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014463: Remington Arms Company, Inc. 1100 Shotgun CAL:20 SN:444204X, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014464: Remington Arms Company, Inc. R-15 Rifle CAL:223 SN:RA020611, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014465: Winchester 12 Shotgun CAL:12 SN:613361, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014466: Marlin Firearms Co. 56 Rifle CAL:22 SN:M00262, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014467: Savage Stevens 200 Rifle CAL:308 SN:H039877, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014468: Remington Arms Company, Inc. 870 Shotgun CAL:12 SN:V407320V, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014469: Browning A-Bolt Rifle CAL:308 SN:71264NRH17, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014470: Remington Arms Company 1100 Shotgun CAL:12 SN:N515438V, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014471: Marlin Firearms Co. 75C Rifle CAL:22 SN:20601447, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014472: Remington Arms Company, Inc. 1100 Shotgun CAL:28 SN:N265965J, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014473: Remington Arms Company, Inc. 541S Rifle CAL:22 SN:A1014160, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014474: Remington Arms Company, Inc. 870 Shotgun CAL:28 SN:S332833J, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014475: Marlin Firearms Co. 60 Rifle CAL:22 SN:21459075, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014476: Remington Arms Company 870 Shotgun CAL:410 SN:D037746H, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014477: Winchester 6 Rifle CAL:22 SN:817088, valued at $250.00, seized by the ATF on March 09, 2023
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
                                                           Page 32 of 191                                                          98
 Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 99 of 257 PageID 614
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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property based on hardship.


LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-014477 - (Continued from previous page)
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014478: Remington Arms Company, Inc. 870 Shotgun CAL:16 SN:D367767W, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014479: Browning Buckmark Rifle CAL:22 SN:213MY05787, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014480: Remington Arms Company, Inc. 11-48 Shotgun CAL:410 SN:4134364, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014481: Winchester 36 Shotgun CAL:9 SN:None, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014482: Remington Arms Company, Inc. 1100 Magnum Shotgun CAL:12 SN:DU817416, valued at
$250.00, seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-014483: Remington Arms Company, Inc. 870LW Shotgun CAL:410 SN:S367021H, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-014484: Marlin Firearms Co. 39A Rifle CAL:22 SN:24213027, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014485: Winchester 52 Rifle CAL:22 SN:87212C, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014487: Rep DD87 Rifle CAL:22 SN:A2294372, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014488: Marlin Firearms Co. 1894CB Rifle CAL:45 SN:04042961A, valued at $250.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014489: Winchester 57 Rifle CAL:22 SN:24983, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014490: Browning Unknown Rifle CAL:22 SN:72T70407, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014491: Remington Arms Company, Inc. 870 Shotgun CAL:20 SN:V123979X, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014492: Remington Arms Company, Inc. 11-48 Shotgun CAL:28 SN:4040824, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014493: Izhmash (IMEZ) Mod 90 Rifle CAL:762 SN:H06740978, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014494: Beretta, Pietro S.P.A. ES100 Shotgun CAL:12 SN:E01718 -03, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014495: Remington Arms Company, Inc. 870 Shotgun CAL:20 SN:V955796X, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014496: Remington Arms Company, Inc. Four Shotgun CAL:308 SN:A4020897, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014497: Marlin Firearms Co. 336W Rifle CAL:30-30 SN:91038677, valued at $250.00, seized by the ATF
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
                                                           Page 33 of 191                                                          99
Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 100 of 257 PageID 615
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-014497 - (Continued from previous page)
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014498: Remington Arms Company, Inc. 1100 Shotgun CAL:12 SN:P186468V, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014499: Savage Arms Inc. (CD) Mark II Rifle CAL:22 SN:1674165, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014500: Ruger 10/22 Rifle CAL:22 SN:356-05611, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014501: Ruger 10/22 Rifle CAL:22 SN:255 -79748, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014502: Remington Arms Company 870 Shotgun CAL:12 SN:V893429M, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014503: Marlin Firearms Co. 336CS Rifle CAL:30-30 SN:05053108, valued at $250.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014504: Remington Arms Company, Inc. 1100 Shotgun CAL:12 SN:N588323M, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014505: Ruger 20 Swift Rifle CAL:22 SN:133-23104, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014506: Ruger Mini 14 Rifle CAL:223 SN:180-52978, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014507: Browning Invector Plus Shotgun CAL:20 SN:25418NRA33, valued at $250.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014508: Remington Arms Company, Inc. 1100 Shotgun CAL:410 SN:N357031H, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-014509: Remington Arms Company, Inc. 870LW Shotgun CAL:28 SN:W816979J, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-014510: Remington Arms Company, Inc. 870 Shotgun CAL:12 SN:S507894M, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014511: Marlin Firearms Co. Golden 39A Rifle CAL:22 SN:22274431, valued at $250.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014512: Smith & Wesson M&P 15-22 Rifle CAL:22 SN:DVP7039, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014513: Ruger Mini 14 Rifle CAL:223 SN:184-85089, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014514: LC Smith Unknown Shotgun CAL:20 SN:39602, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014515: Mossberg Unknown Shotgun CAL:20 SN:L2924725, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014516: Ithaca Gun Co 37 Rifle CAL:20 SN:M370004322, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).


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                                                           Page 34 of 191                                                          100
Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 101 of 257 PageID 616
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-014517: Ruger Unknown Shotgun CAL:12 SN:411-80277, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014518: JC Higgins 20 Shotgun CAL:12 SN:58360, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014519: Remington Arms Company, Inc. 41P Rifle CAL:22 SN:108946, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014520: US Carbine M1 Rifle CAL:30 SN:1111974, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014521: Marlin Firearms Co. 81 Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014522: Remington Arms Company, Inc. 870 Shotgun CAL:410 SN:T206141H, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014523: Marlin Firearms Co. 60 Rifle CAL:22 SN:24293308, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014579: Henry Repeating Rifle Company H006M Rifle CAL:357/38 SN:BB0103263M, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-014581: Marlin Firearms Co. 75 Rifle CAL:22 SN:69271296, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014582: Ruger Ranch Rifle Rifle CAL:223 SN:195-20416, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014585: Winchester 9422M Rifle CAL:22 SN:F589428, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014588: Ruger Unknown Type Rifle CAL:45/70 SN:134-27603, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014593: Noble Mfg. Co. Double Barrel Break Top Shotgun CAL:410 SN:AB25773, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-014598: Marlin Firearms Co. Slugmaster 512 Shotgun CAL:12 SN:51201425, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014604: Remington Arms Company, Inc. 700 Rifle CAL:22-250 SN:328099, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014605: Winchester 1917 Rifle CAL:Unknown SN:433772, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014614: Winchester Lever Rifle CAL:22 SN:137886, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014618: Remington Arms Company, Inc. 1100LW Shotgun CAL:28 SN:N268410J, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-014621: Remington Arms Company, Inc. 11-48 Shotgun CAL:410 SN:4125069, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014625: Winchester 94 25 35 Rifle CAL:Unknown SN:1552512, valued at $250.00, seized by the ATF on
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
                                                           Page 35 of 191                                                          101
Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 102 of 257 PageID 617
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-014625 - (Continued from previous page)
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014632: Remington Arms Company, Inc. 341P Rifle CAL:22 SN:None, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014639: Ithaca Gun Co. M49 Rifle CAL:22 SN:286241, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014642: Marlin Firearms Co. 336 Presentatio Rifle CAL:30-30 SN:607, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014644: Winchester 60A Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014648: Harrington and Richardson Topper Deluxe Shotgun CAL:12 SN:HG467481, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-014654: Marlin Firearms Co. 60 Rifle CAL:22 SN:95428428, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014655: Winchester 94 Rifle CAL:30-30 SN:CB3297, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014662: Winchester 37 Shotgun CAL:410 SN:None, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014666: Ruger 10/22 Shotgun CAL:22 SN:118-70975, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014669: Norinco (North China Industries) MAK90 Rifle CAL:762 SN:23780, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014672: Winchester 47 Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014676: Remington Arms Company, Inc. 1100 Shotgun CAL:12 SN:L172033V, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014683: Mossberg 500 Shotgun CAL:20 SN:T767964, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014684: Taurus International 62 Rifle CAL:22 SN:TA7004, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014687: Remington Arms Company, Inc. 1148 Shotgun CAL:28 SN:4045321, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014692: Winchester 9422M Rifle CAL:22 SN:F699593, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014695: Savage Mark II Rifle CAL:22 SN:1113977, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014706: Remington Arms Company, Inc. 514 Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014712: Marlin Firearms Co. 60 Rifle CAL:22 SN:17386849, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014718: Harrington and Richardson SB1 Shotgun CAL:28 SN:HX265857, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014721: Savage Axis Rifle CAL:243 SN:J281707, valued at $250.00, seized by the ATF on March 09, 2023
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
                                                           Page 36 of 191                                                          102
Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 103 of 257 PageID 618
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-014721 - (Continued from previous page)
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014724: Winchester 72 Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014730: Marlin Firearms Co. 60 Rifle CAL:22 SN:21415763, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014735: Remington Arms Company, Inc. 510X Rifle CAL:22 SN:LN47, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014736: Remington Arms Company, Inc. 1100LW Shotgun CAL:28 SN:N115423J, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-014740: Winchester 75 Rifle CAL:22 SN:41716, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014744: Remington Arms Company, Inc. 870 Shotgun CAL:410 SN:T312066H, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014748: Taurus 62 Rifle CAL:22 SN:SL4507, valued at $250.00, seized by the ATF on March 09, 2023 from
David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014752: Remington Arms Company, Inc. 1100 Shotgun CAL:12 SN:L526544V, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014758: Browning Magnum 12 Shotgun CAL:12 SN:11814PT151, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014759: Marlin Firearms Co. 39 Rifle CAL:22 SN:10077, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014763: CZ (Ceska Zbrojovka) CZ550 Rifle CAL:7 SN:D1282, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014770: Remington Arms Company, Inc. 870 Shotgun CAL:12 SN:V236391V, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014773: Ruger All-Weather 77/22 Rifle CAL:22 SN:701 - 09296, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014778: Remington Arms Company, Inc. 1100 Shotgun CAL:12 SN:DU10628, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014783: Browning Unknown Rifle CAL:30-06 SN:52700M8, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014785: Remington Arms Company, Inc. 1100 Shotgun CAL:12 SN:L575423V, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014791: Browning Sweet Sixteen Shotgun CAL:16 SN:6S52730, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014798: Remington Arms Company, Inc. 1100 Shotgun CAL:12 SN:L129200V, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014800: Marlin Firearms Co. 336C8 Rifle CAL:30-30 SN:5070845, valued at $250.00, seized by the ATF on
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 104 of 257 PageID 619
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-014800 - (Continued from previous page)
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014805: Remington Arms Company, Inc. 511 Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014811: Savage 19 Rifle CAL:22 SN:47805, valued at $250.00, seized by the ATF on March 09, 2023 from
David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014818: Winchester 69 Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014826: Marlin Firearms Co. Original Golden 39AS, Rifle CAL:22 SN:08253827, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014832: Winchester 67 Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014836: Remington Arms Company, Inc. 1100 Shotgun CAL:12 SN:N405224V, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014842: Savage Arms B Shotgun CAL:12 SN:A839869, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014844: Savage 19 Shotgun CAL:12 SN:D875539, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014850: Unknown Manufacturer Unknown Type Shotgun CAL:12 SN:194885, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014859: Ithaca Gun Company (Upper Sandusky, OH) M66 Shotgun CAL:14 SN:660709260, valued at
$250.00, seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-014861: Marlin Firearms Co. 57 Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014867: Winchester 68 Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014872: Remington Arms Company, Inc. 1100 Shotgun CAL:12 SN:N481711V, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014881: Remington Arms Company, Inc. 1100 Shotgun CAL:28 SN:L952531J, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014896: Remington Arms Company, Inc. 870 Shotgun CAL:20 SN:W038732U, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014906: Marlin Firearms Co. Wildlife for Tomorrow Rifle CAL:22 SN:WL000637, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014917: Browning Unknown Rifle CAL:22 SN:8T 93038, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-014927: Marlin Firearms Co. 39TDS Rifle CAL:22 SN:03122389, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).


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property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 105 of 257 PageID 620
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-014997: Remington Arms Company, Inc. 1100 Shotgun CAL:12 SN:M368378V, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014998: Remington Arms Company, Inc. 1100 Shotgun CAL:20 SN:R049926K, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-014999: Remington Arms Company, Inc. 1100LW Shotgun CAL:410 SN:M546703H, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-015000: Marlin Firearms Co. 39 Rifle CAL:Unknown SN:G1516, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015001: Remington Arms Company, Inc. 1100 Shotgun CAL:410 SN:N499065H, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-015002: Remington Arms Company, Inc. 1100W Shotgun CAL:28 SN:L381848J, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-015003: Remington Arms Company, Inc. 1100 Shotgun CAL:20 SN:N361167K, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-015004: Ruger Unknown Type Shotgun CAL:20 SN:401-13763, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015005: Remington Arms Company, Inc. 700 Rifle CAL:30-06 SN:C6347923, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015006: Remington Arms Company, Inc. 870 Shotgun CAL:12 SN:S995358V, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015007: Harrington and Richardson Unknown Type Shotgun CAL:16 SN:A847476, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-015008: Winchester 9422 Rifle CAL:22 SN:BSA4630, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015009: Remington Arms Company, Inc. 510 Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015010: Winchester 88 Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015011: Winchester 61 Rifle CAL:22 SN:291749, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015012: Remington Arms Company, Inc 512 Rifle CAL:22 SN:Unknown, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015013: Remington Arms Company, Inc. Octagon Barrel Rifle CAL:Unknown SN:None, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-015014: Marlin Firearms Co. Glenfield 60 Rifle CAL:22 SN:26249567, valued at $250.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015015: Bayard Arms Unknown Type Shotgun CAL:410 SN:59511H, valued at $250.00, seized by the ATF
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
                                                           Page 39 of 191                                                          105
Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 106 of 257 PageID 621
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-015015 - (Continued from previous page)
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015016: Remington Arms Company, Inc. 11-48 Shotgun CAL:410 SN:4142532, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-015017: Remington Arms Company, Inc. 1100LW Shotgun CAL:28 SN:M844243J, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-015018: Winchester 12 Shotgun CAL:12 SN:1836942F, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015019: Remington Arms Company, Inc. 1100LW Shotgun CAL:20 SN:M516628K, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-015020: Lefever Double Nitro Special Shotgun CAL:20 SN:282449, valued at $250.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015021: Winchester 42 Shotgun CAL:410 SN:152079, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015022: Winchester 1906 Rifle CAL:22 SN:108016, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015023: Winchester 62 Rifle CAL:22 SN:184443, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015024: Winchester 70 Rifle CAL:7 SN:53642, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015025: Ruger Mini Thirty Rifle CAL:762 SN:189-78421, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015026: Browning Unknown Type Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015329: Marlin Firearms Co. 39TDS Rifle CAL:22 SN:TDS03487, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015338: Westernfield Unknown Type Shotgun CAL:12 SN:M550AD, valued at $250.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015348: Winchester 55 Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015355: Weatherby Mark XXII Rifle CAL:22 SN:N56807, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015373: Browning Citori Shotgun CAL:12 SN:01194PV153, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015375: Savage 240 Shotgun CAL:410 SN:None, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015377: Marlin Firearms Co. 39 Rifle CAL:22 SN:20726, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015379: Winchester 9410 Shotgun CAL:410 SN:SG25033, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015381: Ruger Unknown Type Rifle CAL:22 SN:132 - 91693, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).


[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
                                                           Page 40 of 191                                                          106
Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 107 of 257 PageID 622
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-015382: Harrington & Richardson Tamer Shotgun CAL:410 SN:HX359421, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015386: Winchester 94AE Rifle CAL:44 SN:6116791, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015391: Remington Arms Company, Inc. Nylon 12 Rifle CAL:22 SN:None, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015394: Browning Unknown Type Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015396: Ithaca Gun Co. M49 Rifle CAL:22 SN:490446721, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015398: Winchester 9422M Rifle CAL:22 SN:F479116, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015402: Ruger Mini 14 Rifle CAL:223 SN:186-76695, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015405: American Tactical Imports - ATI AR Rifle CAL:556 SN:MSA083213, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015408: Anderson Manufacturing AM-15 Rifle CAL:223 SN:171F10, valued at $250.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015411: Bushmaster Firearms XM15-E2S Rifle CAL:223 SN:BFI408493, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015415: Anderson Manufacturing AM-15 Rifle CAL:762 SN:19330478, valued at $250.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015419: Remington Arms Company, Inc. 870LW Shotgun CAL:410 SN:T312060H, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-015424: Harrington and Richardson Tamer Shotgun CAL:410 SN:HX297529, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015428: Winchester 94AE Rifle CAL:44 SN:6116792, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015431: Colt Law Enforcement Carbine Rifle CAL:556 SN:LE023946, valued at $250.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015435: Ruger Mini 14 Rifle CAL:223 SN:181-86094, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015439: Browning Special Steel Shotgun CAL:16 SN:83718, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015443: Winchester 9422 Rifle CAL:22 SN:FTF2407, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015446: Winchester 9422 Rifle CAL:22 SN:F673214, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015447: Marlin Firearms Co. 70P Rifle CAL:22 SN:14397448, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015448: Winchester 9422 Rifle CAL:22 SN:1TEX442, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015453: Ruger 10/22 Rifle CAL:22 SN:255-95287, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).


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property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 108 of 257 PageID 623
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-015459: Ithaca Gun Co. M49 Rifle CAL:22 SN:490568501, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015461: Harrington & Richardson 99 Shotgun CAL:410 SN:AY541354, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015463: Smith & Wesson M&P 15 Rifle CAL:556 SN:TK87923, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015466: Palmetto State Armory PA-15 Rifle CAL:Multi SN:SCD050180, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015469: Colt AR15 Rifle CAL:556 SN:SP224141, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015471: Harrington & Richardson 158 Topper Shotgun CAL:410 SN:AF265020, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-015475: Winchester 9422 Rifle CAL:22 SN:F746717, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015477: Marlin Firearms Co. 39AS Rifle CAL:22 SN:05092009, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015479: Marlin Firearms Co. 39TDS Rifle CAL:22 SN:11146594, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015481: Browning Unknown Type Rifle CAL:22 SN:6T47361, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015483: Browning Buckmark Rifle CAL:22 SN:213MY05742, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015485: Rock River Arms, Inc. LAR 15 Rifle CAL:556 SN:KT1200872, valued at $1,000.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015488: Winchester 67 Rifle CAL:22 SN:Unknown, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015489: Rock River Arms, Inc. LAR 15 Rifle CAL:9 SN:CM177744, valued at $1,000.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015491: Rock River Arms, Inc. LAR 15 Rifle CAL:556 SN:HM300150, valued at $1,000.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015492: Harrington & Richardson SB1 Shotgun CAL:410 SN:HW349590, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015494: Anderson Manufacturing AM-15 Rifle CAL:Multi SN:20030412, valued at $1,000.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015496: Smith & Wesson M&P 10 Rifle CAL:308 SN:KN09832, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015498: DPMS Inc. (Defense Procurement Mfg. Services) A15 Rifle CAL:Multi SN:FFA004181, valued at
$1,000.00, seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-015500: FM Products, Inc. (Foxtrot Mike) FMP 9 Pistol CAL:9 SN:9-15211, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015507: Umarex Sportwaffen GMBH & CO. KG. MP5 Rifle CAL:9 SN:HD011733, valued at $1,000.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).


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property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-015512: Colt H Bar Rifle CAL:223 SN:CCH023515, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015514: Browning Unknown Type Rifle CAL:22 SN:1T10744, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015516: Smith & Wesson M&P 15 Rifle CAL:556 SN:SP70015, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015518: Ruger AR-556 Rifle CAL:556 SN:85518560, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015519: Browning Unknown Type Rifle CAL:22 SN:02132MR212, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015521: Anderson Manufacturing AM-15 Rifle CAL:Multi SN:18025863, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015522: Belknap B-967 Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015523: Anderson Manufacturing AM-15 Rifle CAL:Multi SN:20103811, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015525: Uzi IMI80 Model B Pistol CAL:9 SN:SA51935, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015528: Pioneer Arms Co. Helpup Pistol CAL:762 SN:PAC1133352, valued at $250.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015529: Marlin 70PSS Rifle CAL:22 SN:05213032, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015530: Century Mfg., Inc. Draco Pistol CAL:9 SN:R0N2164696, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015531: Chiappa Firearms LTD B-Square Shotgun CAL:12 SN:3119991, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015532: Smith & Wesson 44 Magnum 629 Revolver CAL:44 SN:CDU1158, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015533: Winchester 94 22 Rifle CAL:22 SN:F688402, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015537: Brigade Manufacturing, Inc. BM-F-9 Pistol CAL:Multi SN:18959F, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015539: High Standard 10318 Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015540: Winchester 47 Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015541: Ruger AR-556 Rifle CAL:556 SN:85431047, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015542: Chinese JW-2000 Shotgun CAL:12 SN:JW12-25161, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015543: Wilson Combat WC-15 Rifle CAL:Multi SN:WCB7864, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015544: Anderson Manufacturing AM-15 Pistol CAL:556 SN:20323038, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015545: Browning Unknown Type Rifle CAL:22 SN:4T95929, valued at $250.00, seized by the ATF on
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
                                                           Page 43 of 191                                                          109
Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 110 of 257 PageID 625
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-015545 - (Continued from previous page)
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015546: Acme Tactical (Bruggeman, TJ) AF15 Rifle CAL:450 SN:A00030, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015547: Marlin Firearms Co. 39M Rifle CAL:22 SN:7187341, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015548: Spike's Tactical LLC ST9G Pistol CAL:9 SN:ARG014886, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015549: Israel Weapon Ind- IWI (Israel Military Ind- IMI) Uzi B Rifle CAL:9 SN:SA542211, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-015550: Taurus International PT22 Pistol CAL:22 SN:89872Z, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015551: Ruger Single Six Revolver CAL:22 SN:65-63684, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015552: Walther PPK/S Pistol CAL:380 SN:S072340, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015553: Smith & Wesson 38 Revolver CAL:38 SN:D591998, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015554: Smith & Wesson 617 Revolver CAL:22 SN:CYT6766, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015555: Remington Arms Company, Inc. 511 Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015556: Ruger Blackhawk Revolver CAL:45 SN:48-61361, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015557: Winchester 62A Rifle CAL:22 SN:231005, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015558: Ruger Redhawk Revolver CAL:357 SN:504-03163, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015559: Zastava PAP M85 PV Pistol CAL:556 SN:M85PV005628, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015560: Winchester 9422M Rifle CAL:22 SN:F684159, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015561: Smith & Wesson 39-2 Pistol CAL:9 SN:A639691, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015563: Ruger Mark III Pistol CAL:22 SN:229-56464, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015564: Winchester 72 Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015565: Taurus International PT1911 Pistol CAL:45 SN:NEX62508, valued at $250.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015566: Winchester 9422 Rifle CAL:22 SN:F601381, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015567: Bushmaster Firearms Carbon 15 Pistol CAL:556 SN:D04890, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).


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                                                           Page 44 of 191                                                          110
Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 111 of 257 PageID 626
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-015568: Remington Arms Company, Inc. 760 Shotgun CAL:30-06 SN:A7209691, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-015569: Unknown Unknown Pistol CAL:410 SN:JO598-4, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015570: Smith & Wesson 60-15 Revolver CAL:357 SN:DMK4586, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015571: Remington Arms Company, Inc. 1148 Shotgun CAL:410 SN:41116332, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-015572: Taurus International Ultra Light M94 Revolver CAL:22 SN:GU36695, valued at $400.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015573: Ruger Single Ten Revolver CAL:22 SN:81012172, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015574: Remington Arms Company, Inc. 1100LW Shotgun CAL:28 SN:M681243J, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-015575: Colt Python Revolver CAL:357 SN:PY244587, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015576: Smith & Wesson M649-2 Revolver CAL:38 SN:BSH7625, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015577: Beretta USA Corp 92FS Pistol CAL:9 SN:L07261Z, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015579: Smith & Wesson 64-8 Revolver CAL:38 SN:CJH1439, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015581: Ruger SP101 Revolver CAL:357 SN:575-22196, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015582: Smith & Wesson 15-4 Revolver CAL:38 SN:96K1182, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015583: Remington Arms Company, Inc. 7600 Shotgun CAL:30-06 SN:8154370, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-015584: Smith & Wesson 60 Revolver CAL:38 SN:62458, valued at $500.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015585: Ruger Mark III Hunter Pistol CAL:22 SN:229 -32897, valued at $500.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015586: Smith & Wesson 63-4 Revolver CAL:22 SN:CMY1943, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015587: Ruger Mark III Hunter Pistol CAL:22 SN:229 -25239, valued at $500.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015588: Winchester 77 Rifle CAL:22 SN:43830, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015589: Smith & Wesson 648-2 Revolver CAL:22 SN:CFS0479, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015590: Ruger Mark III Hunter Pistol CAL:22 SN:229-26999, valued at $250.00, seized by the ATF on
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
                                                           Page 45 of 191                                                          111
Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 112 of 257 PageID 627
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
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LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-015590 - (Continued from previous page)
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015591: Smith & Wesson 60-15 Revolver CAL:357 SN:CFS5004, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015592: Smith & Wesson 66 Revolver CAL:357 SN:BNU2268, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015593: Smith & Wesson M&P 9L Pistol CAL:9 SN:HKD1078, valued at $600.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015594: Browning Unknown Rifle CAL:22 SN:8T97444, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015595: Smith & Wesson 686-4 Revolver CAL:357 SN:BUH8375, valued at $600.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015596: Colt MK IV Mustang Pistol CAL:380 SN:MS07786, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015597: Smith & Wesson 60-18 Revolver CAL:357 SN:CHZ9889, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015598: Unknown Manufacturer Unknown Type Shotgun CAL:22 SN:None, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015599: Smith & Wesson 650 Revolver CAL:41 SN:CFA8247, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015600: Colt MKIV Mustang 380 Pistol CAL:380 SN:RS51639, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015601: Smith & Wesson 357 Magnum Revolver CAL:357 SN:CMA6367, valued at $400.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015602: Smith & Wesson 640 Revolver CAL:357 SN:CNP5729, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015603: Israel Weapon IND- IWI (Israel Military IND- IMI) Model B Pistol CAL:9 SN:SA 40031, valued at
$400.00, seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-015604: Smith & Wesson 41 Pistol CAL:22 SN:110491, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015605: Smith & Wesson 36 Revolver CAL:38 SN:85657, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015606: High Standard R-109 Revolver CAL:22 SN:22115268, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015607: Ruger Bearcat Revolver CAL:22 SN:93-48237, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015608: Harrington and Richardson 649 Revolver CAL:22 SN:AU110340, valued at $400.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015609: Smith & Wesson 650 Revolver CAL:22 SN:AFL0981, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015610: Smith & Wesson 686 Revolver CAL:357 SN:BBJ0JJ9, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015611: Smith & Wesson 617 Revolver CAL:22 SN:BEF5359, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).


[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
                                                           Page 46 of 191                                                          112
Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 113 of 257 PageID 628
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-015612: Ruger Bearcat Revolver CAL:22 SN:M133, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015614: Colt Targetsman Pistol CAL:22 SN:017996S, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015615: High Standard B Pistol CAL:22 SN:17286, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015616: Taurus PT1911AR Pistol CAL:45 SN:NBT83514, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015617: Glock GMBH 23 Pistol CAL:40 SN:BXDL004, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015618: Browning BDA380 Pistol CAL:380 SN:MN00441, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015619: Colt Mustang Pocketlite Pistol CAL:380 SN:PL73291, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015620: Bernardelli, Vincenzo PO18 Pistol CAL:9 SN:302369, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015621: Walther PPK Pistol CAL:380 SN:A081702, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015623: Browning Signature Pistol CAL:9 SN:245NW87623, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015624: Colt Gold Cup Trophy Pistol CAL:45 SN:GCT10932, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015667: Taurus 8299 Revolver CAL:22 SN:B017932, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015668: Smith & Wesson 657-3 Revolver CAL:41 SN:BRY9505, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015669: Smith & Wesson 617 Revolver CAL:22 SN:BFC2313, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015670: Smith & Wesson 17-4 Revolver CAL:22 SN:75K9419, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015671: Smith & Wesson 686-6 Revolver CAL:357 SN:CUA5476, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015672: Smith & Wesson 317-2 Revolver CAL:22 SN:DBJ5379, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015673: Smith & Wesson 60 Revolver CAL:38 SN:ANR7229, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015674: Smith & Wesson 317-2 Revolver CAL:22 SN:CHZ4175, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015675: Smith & Wesson 686 Revolver CAL:357 SN:AUJ3205, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015676: Smith & Wesson 500 Revolver CAL:500 SN:DBR0316, valued at $1,000.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015677: Ruger New Model Single Six Revolver CAL:22 SN:263-95219, valued at $400.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015678: Smith & Wesson 3465 Revolver CAL:22 SN:K 7122, valued at $400.00, seized by the ATF on
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
                                                           Page 47 of 191                                                          113
Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 114 of 257 PageID 629
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
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LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-015678 - (Continued from previous page)
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015679: Smith & Wesson 55020 Revolver CAL:22 SN:K 59687, valued at $200.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015680: Dan Wesson Arms 6 Shot 15-2 Revolver CAL:357 SN:176593, valued at $400.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015681: Smith & Wesson 686 Revolver CAL:357 SN:BRL8386, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015682: Smith & Wesson 60-14 Revolver CAL:357 SN:CJX2783, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015683: Smith & Wesson 617-3 Revolver CAL:22 SN:CEE6624, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015684: Smith & Wesson 640 Revolver CAL:38 SN:1-091, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015685: Smith & Wesson 60 Revolver CAL:38 SN:R278857, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015686: Smith & Wesson 34 Revolver CAL:22 SN:68726, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015687: Smith & Wesson 60 Revolver CAL:38 SN:29628, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015688: North American Arms Unknown Type Revolver CAL:22 SN:VT02339, valued at $600.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015689: High Standard R-101 Revolver CAL:22 SN:903246, valued at $600.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015690: Smith & Wesson 10-5 Revolver CAL:38 SN:D741755, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015691: Smith & Wesson 17-3 Revolver CAL:22 SN:1K90796, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015692: Smith & Wesson 48-4 Revolver CAL:22 SN:86K6470, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015693: Smith & Wesson 66-3 Revolver CAL:357 SN:BPA9446, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015694: Smith & Wesson 686 Revolver CAL:357 SN:AAF2106, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015695: Smith & Wesson 48 Revolver CAL:22 SN:419629, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015696: Smith & Wesson 629 Revolver CAL:44 SN:A1923, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015697: Smith & Wesson 34 Revolver CAL:22 SN:M202734, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015698: Smith & Wesson 34 Revolver CAL:22 SN:BCA1203, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015699: Smith & Wesson 60-16 Revolver CAL:357 SN:DBE9460, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015700: Smith & Wesson 66-2 Revolver CAL:357 SN:262K392, valued at $400.00, seized by the ATF on
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
                                                           Page 48 of 191                                                          114
Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 115 of 257 PageID 630
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                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-015700 - (Continued from previous page)
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015701: Smith & Wesson 317 Revolver CAL:22 SN:CBY0220, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015703: Winchester 9422M Rifle CAL:22 SN:2TEX394, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015705: Winchester 67 Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015707: Marlin Firearms Co. 60 Rifle CAL:22 SN:26246819, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015708: Winchester Unknown Type Rifle CAL:30 SN:853670, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015709: SKS Unknown Rifle CAL:762 SN:7082016, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015710: Winchester 61 Rifle CAL:22 SN:247151, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015711: Remington Arms Company, Inc. 700 Rifle CAL:223 SN:C6630913, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015712: Browning Unknown Type Shotgun CAL:20 SN:1Z50781, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015715: Winchester 75 Rifle CAL:22 SN:37049, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015716: Browning Unknown Type Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015717: Winchester 94AE Rifle CAL:44 SN:6102822, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015718: Marlin Firearms Co. 39D Rifle CAL:22 SN:7169766, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015720: Remington Arms Company, Inc. 1100 Shotgun CAL:12 SN:N384670V, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-015721: Marlin Firearms Co. Original Golden-39M Rifle CAL:22 SN:18277972, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-015722: Marlin Firearms Co. 39TDS Rifle CAL:22 SN:05090344, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015723: Winchester 94AE Rifle CAL:44 SN:06NRA0377, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015724: Marlin Firearms Co. 70PSS Rifle CAL:22 SN:00202938, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015725: Zastava M70AB2 Rifle CAL:762 SN:M70AB06965, valued at $250.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015726: Aero Precision M4E1 Rifle CAL:Multi SN:M4-0246050, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015727: Century Arms International Centurion UC-9 Rifle CAL:9 SN:GMT03900, valued at $250.00, seized
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 116 of 257 PageID 631
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-015727 - (Continued from previous page)
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-015728: Diamondback Arms Inc. DB15 Pistol CAL:Multi SN:DB2022361, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015729: Rock River Arms, Inc. AR-15 Rifle CAL:556 SN:KT1142175, valued at $250.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015730: American Tactical Imports - ATI Mil-Sport Rifle CAL:Multi SN:MSA083215, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-015731: Norinco (North China Industries) MAK90 Sporter Rifle CAL:762 SN:9474168, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-015732: Remington Arms Company, Inc. 514 Rifle CAL:22 SN:None, valued at $250.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015733: Browning Unknown Type Shotgun CAL:16 SN:99247, valued at $250.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015734: Winchester 9422 Rifle CAL:22 SN:F717738, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015735: Winchester 9422 Rifle CAL:22 SN:F633599, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015737: Remington Arms Company, Inc. 541T Rifle CAL:22 SN:A1126952, valued at $250.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015738: Winchester 94 Rifle CAL:44 SN:3409510M, valued at $250.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015739: Remington Arms Company, Inc. 1100 Shotgun CAL:12 SN:N791415V, valued at $250.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-015740: Remington Arms Company, Inc. 522 Rifle CAL:22 SN:3100197, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015742: Browning Citori Special Steel Shotgun CAL:12 SN:427716, valued at $250.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015743: Ithaca Gun Co. M66 Super Single Rifle CAL:410 SN:660227408, valued at $250.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015744: Remington Arms Company, Inc. 1100LW Shotgun CAL:28 SN:N108021J, valued at $250.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-015745: Ruger 10/22 Rifle CAL:22 SN:255-79529, valued at $250.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015747: Smith & Wesson 686 Revolver CAL:357 SN:AJV7228, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015748: Smith & Wesson 686-6 Revolver CAL:357 SN:DBH8882, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015749: Smith & Wesson 686-4 Revolver CAL:357 SN:CCC4621, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).


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property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 117 of 257 PageID 632
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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property based on hardship.


LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-015750: Smith & Wesson Unknown Revolver CAL:22 SN:12871, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015751: Smith & Wesson 66-2 Revolver CAL:357 SN:56441, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015752: Smith & Wesson Unknown Revolver CAL:22 SN:K278025, valued at $400.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015753: Smith & Wesson 37 Revolver CAL:38 SN:362775, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015754: Smith & Wesson 629-6 Revolver CAL:44 SN:CFY7562, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015755: Smith & Wesson 648 Revolver CAL:22 SN:BSA5594, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015756: Smith & Wesson 66-2 Revolver CAL:357 SN:AES6082, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015757: Smith & Wesson 686-6 Revolver CAL:357 SN:CJC0775, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015758: Smith & Wesson 17 Revolver CAL:22 SN:K415961, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015759: Smith & Wesson 28-2 Revolver CAL:357 SN:N90352, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015760: Llama (Gabilondo & Cia) Super Comanche Revolver CAL:44 SN:RB1521, valued at $400.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-015761: Browning Unknown Pistol CAL:22 SN:81834U7, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015762: Smith & Wesson 37 Revolver CAL:38 SN:ALW4554, valued at $600.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015763: Browning Unknown Pistol CAL:22 SN:53513U5, valued at $600.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015764: Colt MK IV-Series 80 Pistol CAL:380 SN:MU02672, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015765: Beretta, Pietro S.P.A. 84FS Cheetah Pistol CAL:9 SN:H40630Y, valued at $400.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015766: Sig Sauer (Sig-Arms) P320 Pistol CAL:9 SN:M17-131665, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015768: Beretta, Pietro S.P.A. 84F Pistol CAL:9 SN:D73888Y, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015769: Beretta, Pietro S.P.A. 92FS Pistol CAL:9 SN:L62418Z, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015770: Browning BDA380 Pistol CAL:Multi SN:05578, valued at $600.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015771: Colt MK IV-Series 80 Pistol CAL:380 SN:RR37052, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015772: Smith & Wesson 629-1 Revolver CAL:44 SN:AHS2806, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).


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property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 118 of 257 PageID 633
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-015773: Browning BDA380 Pistol CAL:380 SN:04377, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015774: Smith & Wesson 60-18 Revolver CAL:357 SN:CHY2971, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015775: Intratec TEC9 Pistol CAL:9 SN:120816, valued at $400.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015776: Colt Tropper MK Revolver CAL:357 SN:J53558, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015777: Smith & Wesson 37 Revolver CAL:38 SN:J998568, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015778: Smith & Wesson 29-3 Revolver CAL:44 SN:A4932, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015779: Smith & Wesson 19-4 Revolver CAL:357 SN:64K1629, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015781: Smith & Wesson 629 Revolver CAL:44 SN:AJC6215, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015782: Smith & Wesson 617-6 Revolver CAL:22 SN:CMZ7521, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015783: Smith & Wesson 41 Pistol CAL:22 SN:A630802, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015784: Colt MKIV Pistol CAL:380 SN:RS16464, valued at $400.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015785: Colt MKIV Pistol CAL:380 SN:RC94793, valued at $400.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015786: High Standard R101 Revolver CAL:22 SN:828644, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015787: High Standard W-104 Revolver CAL:22 SN:2158065, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015788: Smith & Wesson 629 Classic Revolver CAL:44 SN:CFV5794, valued at $400.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015789: Smith & Wesson 586 Revolver CAL:357 SN:ABV1249, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015790: Smith & Wesson 60-14 Revolver CAL:357 SN:CPS8155, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015791: Smith & Wesson 34 Revolver CAL:22 SN:M222551, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015792: Beretta USA Corp 92FS Pistol CAL:9 SN:BER681592, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015794: Smith & Wesson 629 Revolver CAL:44 SN:CBS7219, valued at $600.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015795: Colt MK Series 70 Pistol CAL:45 SN:30455G70, valued at $600.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015797: Smith & Wesson 28 Revolver CAL:357 SN:N4162, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015798: Smith & Wesson Unknown Revolver CAL:22 SN:341996, valued at $400.00, seized by the ATF on
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
                                                           Page 52 of 191                                                          118
Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 119 of 257 PageID 634
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-015798 - (Continued from previous page)
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015799: Smith & Wesson 34 Revolver CAL:22 SN:39091, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015800: Smith & Wesson 63 Revolver CAL:22 SN:I83X2, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015850: Browning BDA380 Pistol CAL:380 SN:5480, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015852: Colt Match Target Pistol CAL:22 SN:223502-5, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015858: Smith & Wesson 60 Revolver CAL:38 SN:R119934, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015860: Smith & Wesson 19-3 Revolver CAL:357 SN:7K31024, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015861: North American Arms Unknown Type Revolver CAL:22 SN:E315892, valued at $400.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015863: Smith & Wesson 500 Revolver CAL:500 SN:DMU8936, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015864: Smith & Wesson 29-5 Revolver CAL:44 SN:BFT0999, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015865: Smith & Wesson SD9VE Pistol CAL:9 SN:FZM8198, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015866: Taurus International G3 Pistol CAL:9 SN:ADC050924, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015867: Colt Anaconda Revolver CAL:44 SN:AC212120, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015868: Intratec AB10 Pistol CAL:9 SN:A040520, valued at $400.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015870: Smith & Wesson 34-1 Revolver CAL:22 SN:M28533, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015872: Taurus International G2C Pistol CAL:40 SN:ADM981162, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015873: Smith & Wesson 500 Revolver CAL:500 SN:CHR8155, valued at $1,000.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015874: Del-Ton Inc. DTI-15 Pistol CAL:556 SN:DTIS177585, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015875: Smith & Wesson 15-3 Revolver CAL:38 SN:11K9875, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015876: Smith & Wesson 34-1 Revolver CAL:22 SN:M163809, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015877: Kimber Ultra 11 Pistol CAL:45 SN:KU167015, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015878: Colt Series 80 Pistol CAL:45 SN:SN02311E, valued at $600.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015880: Smith & Wesson M&P 9 Pistol CAL:9 SN:HDK3472, valued at $400.00, seized by the ATF on
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
                                                           Page 53 of 191                                                          119
Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 120 of 257 PageID 635
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-015880 - (Continued from previous page)
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015881: Taurus International PT1911 Pistol CAL:45 SN:NBU18956, valued at $400.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015883: Marlin Firearms Co. 25MB Rifle CAL:22 SN:13691262, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015884: Marlin Firearms Co 39TDS Rifle CAL:22 SN:TDS02028, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015885: Smith & Wesson 637-2 Revolver CAL:38 SN:DBR5338, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015886: Ruger Super Blackhawk Revolver CAL:44 SN:88-15313, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015887: Smith & Wesson 651-1 Revolver CAL:22 SN:CBY0809, valued at $600.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015899: Browning Unknown Type Pistol CAL:6 SN:395948, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015900: Smith & Wesson 66-1 Revolver CAL:357 SN:74K8803, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015901: Beretta, Pietro S.P.A 85FS Cheetah Pistol CAL:9 SN:F36474Y, valued at $400.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015902: Smith & Wesson 49 Revolver CAL:38 SN:J665491, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015903: Smith & Wesson 63 Revolver CAL:22 SN:M195468, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015904: Smith & Wesson 19-3 Revolver CAL:357 SN:9K16397, valued at $600.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015905: Smith & Wesson 14 Revolver CAL:38 SN:K412671, valued at $600.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015906: Smith & Wesson 293 Revolver CAL:44 SN:AJJ9360, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015907: Beretta, Pietro S.P.A 92FS Pistol CAL:9 SN:L10175Z, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015908: Mauser Unknown Type Pistol CAL:22 SN:153017, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015909: Browning Unknown Type Pistol CAL:6 SN:412495, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015910: Smith & Wesson 34-1 Revolver CAL:22 SN:M223225, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015911: Smith & Wesson 60-15 Revolver CAL:357 SN:DAK0537, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015913: Smith & Wesson 629-6 Revolver CAL:44 SN:CJE9430, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015914: Smith & Wesson 648 Revolver CAL:22 SN:BEZ9779, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015915: Smith & Wesson 34-1 Revolver CAL:22 SN:M191279, valued at $400.00, seized by the ATF on
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
                                                           Page 54 of 191                                                          120
Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 121 of 257 PageID 636
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-015915 - (Continued from previous page)
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015917: Smith & Wesson 36 Revolver CAL:357 SN:99J639, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015918: Smith & Wesson 53 Revolver CAL:22 SN:K443220, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015920: Smith & Wesson 617 Revolver CAL:22 SN:BER0416, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015922: Smith & Wesson 60-14 Revolver CAL:357 SN:CSL9725, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015923: Smith & Wesson 686-1 Revolver CAL:357 SN:AWY1673, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015924: Smith & Wesson 19-2 Revolver CAL:357 SN:K490039, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015925: Smith & Wesson 28-2 Revolver CAL:357 SN:N565244, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015926: Smith & Wesson 66-2 Revolver CAL:357 SN:ANB6918, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015927: Smith & Wesson 620 Revolver CAL:357 SN:CJY6114, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015928: Smith & Wesson 36 Revolver CAL:38 SN:437687, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015929: Ruger Single Six Revolver CAL:22 SN:6424683, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015930: Smith & Wesson 60 Revolver CAL:38 SN:24X37, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015931: Colt Realtree Revolver CAL:44 SN:MM85686, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015932: Beretta, Pietro S.P.A 92FS Pistol CAL:9 SN:L37930Z, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015933: Kimber Target Elite II Pistol CAL:45 SN:K087804, valued at $1,000.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015934: Smith & Wesson 686 Revolver CAL:357 SN:AAC7585, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015935: Browning Unknown Type Pistol CAL:22 SN:116175U8, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015936: Colt Unknown Type Revolver CAL:357 SN:5906, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015938: Smith & Wesson 17-3 Revolver CAL:22 SN:5K26380, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015939: Beretta USA Corp 92G Brig Tact WC Pistol CAL:9 SN:WC5640, valued at $400.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015940: Smith & Wesson 686 Revolver CAL:357 SN:AJR3918, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015941: Sig Sauer (Sig-Arms) M17 Pistol CAL:9 SN:M17-102247, valued at $600.00, seized by the ATF on
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 122 of 257 PageID 637
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-015941 - (Continued from previous page)
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015942: Smith & Wesson 14-3 Revolver CAL:38 SN:12K7214, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015944: Smith & Wesson 14-3 Revolver CAL:38 SN:5K23871, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015945: Sig Sauer (Sig-Arms) P322 Pistol CAL:22 SN:73A062362, valued at $400.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015946: Smith & Wesson 48-3 Revolver CAL:22 SN:10K1002, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015947: Smith & Wesson 41 Pistol CAL:22 SN:71442, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015948: Smith & Wesson 63 Revolver CAL:22 SN:M112194, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015949: Walther PK380 Pistol CAL:380 SN:WB107840, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015950: Smith & Wesson 686-5 Revolver CAL:357 SN:CDR7034, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015951: Smith & Wesson 66 Revolver CAL:357 SN:BBJ9138, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015953: Colt Series 90 Pistol CAL:380 SN:ML08546, valued at $600.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015956: Colt Mustang Pocketlite Pistol CAL:380 SN:PL114277, valued at $600.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015957: Smith & Wesson 60-14 Revolver CAL:357 SN:CMN0150, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015958: Smith & Wesson 66-2 Revolver CAL:357 SN:ANF4992, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015959: Springfield Armory, Geneseo, IL 1911A1 Pistol CAL:45 SN:WW98072, valued at $800.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-015960: Smith & Wesson 18-2 Revolver CAL:22 SN:K541087, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015961: Colt Officers Model Match Revolver CAL:22 SN:80877, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015962: Smith & Wesson 640-3 Revolver CAL:357 SN:DBX7313, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015964: Smith & Wesson 36 Revolver CAL:38 SN:136886, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015965: Springfield Armory, Geneseo, IL 1911A1 Pistol CAL:45 SN:WW140889, valued at $800.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-015966: Smith & Wesson 17-9 Revolver CAL:22 SN:CNU2450, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015967: Smith & Wesson 617-6 Revolver CAL:22 SN:CJR4011, valued at $400.00, seized by the ATF on
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
                                                           Page 56 of 191                                                          122
Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 123 of 257 PageID 638
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-015967 - (Continued from previous page)
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015968: Springfield Armory, Geneseo, IL 1911A1 Pistol CAL:45 SN:HC421008, valued at $800.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-015969: Colt Mustang PocketLite Pistol CAL:380 SN:PL76277, valued at $500.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015971: Smith & Wesson 10-5 Revolver CAL:38 SN:2D19452, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015972: Smith & Wesson 686-4 Revolver CAL:357 SN:CAH1611, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015973: Smith & Wesson 66-3 Revolver CAL:357 SN:BNT3760, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015974: Smith & Wesson 627 Revolver CAL:357 SN:BFK4488, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015975: Taurus 856 Revolver CAL:38 SN:MR69988, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015976: Colt Trooper Revolver CAL:357 SN:65003, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015977: Smith & Wesson 36 Revolver CAL:38 SN:J616937, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015978: Smith & Wesson 63 Revolver CAL:22 SN:M119934, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015979: SigSauer M18 Pistol CAL:9 SN:M18B053844, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015980: Beretta USA Corp 92A1 Pistol CAL:9 SN:K43326Z, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015981: Beretta USA Corp 92FS Pistol CAL:9 SN:M89148Z, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015983: Smith & Wesson 537 Revolver CAL:38 SN:CCN7997, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015985: Smith & Wesson 38-2 Revolver CAL:22 SN:K636446, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015986: Smith & Wesson 48-4 Revolver CAL:22 SN:AAN2262, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015988: Smith & Wesson 19-5 Revolver CAL:357 SN:AUJ9661, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015991: Criterion Die & Metal Inc. Unknown Type Derringer CAL:22 SN:L0023920, valued at $400.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-015992: Butler Mfg Inc (Butler Associates) Unknown Type Derringer CAL:22 SN:18031, valued at $400.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-015993: Smith & Wesson Unknown Type Revolver CAL:22 SN:15867, valued at $400.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).


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                                                           Page 57 of 191                                                          123
Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 124 of 257 PageID 639
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
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federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-015994: Smith & Wesson 34 Revolver CAL:22 SN:35478, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015995: Sterling Arms 283 Target 300 Pistol CAL:22 SN:002404, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015996: Smith & Wesson 17-5 Revolver CAL:22 SN:AUV4881, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015997: Smith & Wesson 53 Revolver CAL:22 SN:K448917, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015998: Smith & Wesson 640 Revolver CAL:38 SN:BSM1176, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-015999: Smith & Wesson 647 Revolver CAL:17 SN:CFY7225, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016000: Smith & Wesson 647 Revolver CAL:17 SN:CHA7133, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016001: Smith & Wesson 686 Revolver CAL:357 SN:ADL6825, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016002: Smith & Wesson 19-4 Revolver CAL:357 SN:39K8665, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016003: Smith & Wesson 17 Revolver CAL:22 SN:K396835, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016004: Smith & Wesson 36 Revolver CAL:38 SN:334429, valued at $600.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016005: Smith & Wesson 60 Revolver CAL:38 SN:R181490, valued at $600.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016006: Smith & Wesson 15 Revolver CAL:44 SN:98199, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016007: Smith & Wesson 66-2 Revolver CAL:357 SN:263K601, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016008: Smith & Wesson 617-6 Revolver CAL:22 SN:CRU7172, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016009: High Standard Sentinel Revolver CAL:22 SN:1895103, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016010: Ruger Mark III Pistol CAL:22 SN:27099205, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016011: Harrington and Richardson 922 Revolver CAL:22 SN:K10653, valued at $400.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016012: Taurus International PT738 Pistol CAL:380 SN:22277D, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016013: Harrington and Richardson 650 Revolver CAL:22 SN:AR26419, valued at $400.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016014: Eibar (Espana) Unknown Type Revolver CAL:38 SN:45566, valued at $400.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016015: Taurus International The Judge Revolver CAL:45/410 SN:BM578241, valued at $600.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016016: Smith & Wesson 2206TGT Pistol CAL:22 SN:UBB5584, valued at $400.00, seized by the ATF on
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
                                                           Page 58 of 191                                                          124
Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 125 of 257 PageID 640
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-016016 - (Continued from previous page)
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016017: Taurus International PT1911 Pistol CAL:45 SN:NGM97241, valued at $400.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016018: Beretta USA Corp 92FS Compact L Pistol CAL:9 SN:BER698533, valued at $400.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016019: Smith & Wesson 629-7 Revolver CAL:44 SN:DDJ1690, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016020: Smith & Wesson 63 Revolver CAL:22 SN:M130450, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016021: Ruger 22WMA Revolver CAL:22 SN:548-40811, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016022: Harrington and Richardson 999 Revolver CAL:22 SN:AT056658, valued at $600.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016023: Smith & Wesson 66-2 Revolver CAL:357 SN:BNV3736, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016024: Sterling Arms Trapper Pistol CAL:22 SN:001550, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016025: Smith & Wesson 63 Revolver CAL:22 SN:M133076, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016026: Smith & Wesson 18-4 Revolver CAL:22 SN:89K6487, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016027: Smith & Wesson 586 Revolver CAL:357 SN:ABT5207, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016028: Beretta USA Corp 92FS Pistol CAL:9 SN:M86889Z, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016029: Browning 425 Pistol CAL:380 SN:NT03654, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016030: Smith & Wesson 60 Revolver CAL:38 SN:11036, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016031: Browning Unknown Type Pistol CAL:380 SN:71N09395, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016032: Smith & Wesson 48-4 Revolver CAL:22 SN:90K3882, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016033: Unknown M686 Revolver CAL:357 SN:AWD4194, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016034: Smith and Wesson 686-4 Revolver CAL:357 SN:BSC3793, valued at $400.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016035: Smith & Wesson 41 Pistol CAL:22 SN:17009, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016036: Smith & Wesson 629-4 Revolver CAL:44 SN:AWD4194, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016037: Colt Pony Series 90 Pistol CAL:380 SN:ML02999, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016038: Harrington and Richardson 999 Sportsman Revolver CAL:22 SN:AZ014530, valued at $400.00,
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 126 of 257 PageID 641
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-016038 - (Continued from previous page)
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-016040: Smith & Wesson 17-6 Revolver CAL:22 SN:BDS9617, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016041: Beretta, Pietro S.P.A 21A Pistol CAL:22 SN:DAA441947, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016042: Smith & Wesson Bodyguard Pistol CAL:380 SN:EAS5281, valued at $400.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016043: Smith & Wesson 617 Revolver CAL:22 SN:BRF8457, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016044: Smith & Wesson 586 Revolver CAL:357 SN:ACJ8866, valued at $500.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016045: Ruger Mark III Pistol CAL:22 SN:22862485, valued at $500.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016046: Smith & Wesson 41 Pistol CAL:22 SN:A140595A, valued at $500.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016047: Ruger Mark II Pistol CAL:22 SN:22500395, valued at $500.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016048: Ruger Security 5 Revolver CAL:357 SN:152-59767, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016049: Ruger Single Six Revolver CAL:22 SN:262-85363, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016050: Beretta, Pietro S.P.A 21A Pistol CAL:22 SN:BBS60962U, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016051: Smith & Wesson 24-3 Revolver CAL:44 SN:ABZ6735, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016052: Walther PPK Pistol CAL:9 SN:S129318, valued at $400.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016053: Beretta, Pietro S.P.A 92FS Pistol CAL:9 SN:L73956Z, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016054: Smith & Wesson 617 Revolver CAL:22 SN:BFM8371, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016055: Colt Government Pistol CAL:380 SN:RC82722, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016056: Ruger Single Six Revolver CAL:22 SN:65-22871, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016057: Harrington and Richardson 999 Revolver CAL:22 SN:AE97021, valued at $400.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016058: Keltec, CNC Industries, Inc. PMR-30 Pistol CAL:22 SN:W6583, valued at $400.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016059: Ruger SR9 Pistol CAL:9 SN:330-23353, valued at $400.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016060: Smith & Wesson SD40VE Pistol CAL:40 SN:HES8250, valued at $800.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).


[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 127 of 257 PageID 642
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-016061: Smith & Wesson 360 J Airweight Revolver CAL:38 SN:CYA7554, valued at $400.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016062: Smith & Wesson Unknown Type Revolver CAL:22 SN:K147764, valued at $400.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016063: Harrington and Richardson 940 Revolver CAL:22 SN:AH34012, valued at $400.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016064: Dan Wesson Unknown Type Revolver CAL:357 SN:201962, valued at $400.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016065: Ruger GP100 Revolver CAL:357 SN:170-54536, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016066: Smith & Wesson 439 Pistol CAL:9 SN:A790204, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016067: High Standard R-101 Sentinel Revolver CAL:22 SN:1074975, valued at $400.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016068: Smith & Wesson 22A-1 Pistol CAL:22 SN:UBM5611, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016069: Hipoint (Strassell's Machine Inc.) CF380 Pistol CAL:380 SN:P8015920, valued at $400.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-016070: Criterion Die & Metal Inc. CDM Revolver CAL:22 SN:168520, valued at $400.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016071: Smith & Wesson 34 Revolver CAL:22 SN:M77931, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016072: Smith & Wesson 30 Revolver CAL:32 SN:526060, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016073: Smith & Wesson 686-6 Revolver CAL:357 SN:CST9299, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016074: Browning Unknown Type Pistol CAL:22 SN:49649U5, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016075: Browning Unknown Type Pistol CAL:22 SN:46762U5, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016077: Essex Arms Company Unknown Type Pistol CAL:410 SN:19078, valued at $400.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016078: Thompson/Center Arms Co. Encore Pistol CAL:308 SN:MAE6836, valued at $400.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016079: Smith & Wesson 36 Revolver CAL:38 SN:73647, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016080: Colt Mustang Pocketlite Pistol CAL:380 SN:PL73366, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016081: Smith & Wesson 53 Revolver CAL:22 SN: K476208, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016082: Taurus International Protector Poly Revolver CAL:38 SN:F077172, valued at $400.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016083: Smith & Wesson 13-3 Revolver CAL:357 SN:20D6653, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).


[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 128 of 257 PageID 643
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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property based on hardship.


LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-016084: Astra A80 Pistol CAL:44 SN:H9363, valued at $400.00, seized by the ATF on March 09, 2023 from
David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016085: Beretta USA Corp PX4 Storm Pistol CAL:9 SN:PX1378F, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016086: Beretta USA Corp PX4 Storm Pistol CAL:45 SN:PK08590, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016087: Ruger Vaquero Revolver CAL:44 SN:58-06829, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016088: Beretta USA Corp 21A Pistol CAL:25 SN:BAS32997V, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016089: Israel Weapon IND- IWI (Israel Military IND- IMI) Uzi A Rifle CAL:9 SN:SA21210, valued at $400.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-016090: Smith & Wesson M&P 9 Shield EZ Pistol CAL:9 SN:RDZ7071, valued at $400.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016091: Hipoint (Strassell's Machine Inc.) CF380 Pistol CAL:380 SN:P762624, valued at $200.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-016103: Smith & Wesson Unknown Revolver CAL:38 SN:S819335, valued at $400.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016104: Smith & Wesson SD40 Pistol CAL:40 SN:DUZ7040, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016105: Ruger Single Six Revolver CAL:22 SN:263-18984, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016106: Beretta, Pietro S.P.A. 85F Pistol CAL:9 SN:F07764Y, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016107: Harrington & Richardson 923 Revolver CAL:22 SN:N61478, valued at $400.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016108: Smith & Wesson M&P 9 Pistol CAL:9 SN:HBJ7927, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016109: Hipoint (Strassell's Machine Inc.) C9 Pistol CAL:9 SN:P1590747, valued at $400.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016110: Smith & Wesson 22S-1 Pistol CAL:22 SN:UBJ1682, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016111: Marlin Firearms Co. 70PSS Rifle CAL:22 SN:00204413, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016112: Marlin Firearms Co 70P Rifle CAL:22 SN:13423400, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016113: Taurus International 5496 Revolver CAL:38 SN:FG53354, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016114: Rossi 3960 Revolver CAL:38 SN:W143723, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016115: KelTec, CNC Industries, Inc. PF-9 Pistol CAL:9 SN:RY568, valued at $400.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016117: Smith & Wesson 10806 Revolver CAL:38 SN:250981, valued at $600.00, seized by the ATF on
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 129 of 257 PageID 644
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-016117 - (Continued from previous page)
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016118: Smith & Wesson 1917 Revolver CAL:45 SN:149938, valued at $600.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016120: Smith & Wesson 9374 Revolver CAL:38 SN:388049, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016121: Harrington & Richardson 922 Revolver CAL:22 SN:173511, valued at $400.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016122: Smith & Wesson 1950 Revolver CAL:22 SN:3B4461, valued at $600.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016123: Smith & Wesson 34-1 Revolver CAL:22 SN:M212780, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016124: Smith & Wesson 686 Revolver CAL:357 SN:ABS4698, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016125: Beretta, Pietro S.P.A. 92FS Pistol CAL:9 SN:M94763Z, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016127: Harrington & Richardson 258 Rifle/Shotgun CAL:357/20 SN:BA457202, valued at $500.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-016128: Harrington & Richardson 258 Rifle/Shotgun CAL:30-30/20 SN:BA461354, valued at $500.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-016129: Harrington & Richardson 258 Rifle/Shotgun CAL:357/20 SN:AY594264, valued at $500.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-016130: Harrington & Richardson 258 Rifle/Shotgun CAL:357/20 SN:AZ471760, valued at $500.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-016131: Smith & Wesson 617 Revolver CAL:22 SN:BHN0584, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016133: Smith & Wesson 686-6 Revolver CAL:357 SN:CZJ7966, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016135: Glock, Inc. 43 Pistol CAL:9 SN:ADWC758, valued at $400.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016136: Smith & Wesson 48-2 Revolver CAL:22 SN:1K69182, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016137: Ruger 22/45 Lite Pistol CAL:22 SN:390-63126, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016138: Marlin Firearms Co. Unknown Type Revolver CAL:32 SN:1461, valued at $400.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016140: Taurus International G2C Pistol CAL:9 SN:ACK362672, valued at $600.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016141: Colt Commander Pistol CAL:45 SN:CLW046464, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016144: Dan Wesson Arms Unknown Type Revolver CAL:357 SN:295246, valued at $400.00, seized by
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
                                                           Page 63 of 191                                                          129
Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 130 of 257 PageID 645
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-016144 - (Continued from previous page)
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016145: CZ (Ceska Zbrojovka) CZ50 Pistol CAL:765 SN:NB52, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016146: Smith & Wesson 657 Revolver CAL:41 SN:ANE5279, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016148: Colt MKIV 80 Pistol CAL:380 SN:RS01406, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016151: Browning Unknown Type Pistol CAL:6 SN:416460, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016153: Germany Luger Pistol CAL:9 SN:7370, valued at $400.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016154: Colt Cobra Revolver CAL:38 SN:C61799, valued at $400.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016157: Springfield Armory, Geneseo, IL XD40 Pistol CAL:40 SN:XD415049, valued at $400.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016159: Smith & Wesson 696 Revolver CAL:44 SN:CBR8577, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016162: Smith & Wesson Airweight 38 Revolver CAL:38 SN:31719, valued at $400.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016165: Browning Buckmark Pistol CAL:22 SN:515ZZ02389, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016167: Smith & Wesson 686-3 Revolver CAL:357 SN:BFK3463, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016170: Ruger NEW MDL SNGL SX HNTR Revolver CAL:22 SN:66-62627, valued at $400.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016172: Thompson/Center Arms Co. Unknown Type Pistol CAL:45/410 SN:552320, valued at $400.00,
seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-016173: Smith & Wesson 19-5 Revolver CAL:357 SN:ACE8524, valued at $600.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016174: Smith & Wesson 14-3 Revolver CAL:38 SN:5K40350, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016176: Browning Unknown Type Pistol CAL:9 SN:245PZ73567, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016177: Smith & Wesson 292-2 Revolver CAL:44 SN:N357271, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016178: Sterling Arms Target 300L Pistol CAL:22 SN:2226, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016180: Smith & Wesson 57 Revolver CAL:41 SN:N489555, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016181: Smith & Wesson 66-2 Revolver CAL:357 SN:ABM7561, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016182: Bersa Thunder 380 Pistol CAL:380 SN:561107, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).


[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
                                                           Page 64 of 191                                                          130
Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 131 of 257 PageID 646
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-016183: Walther Creed Pistol CAL:9 SN:DEFCH7091, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016184: Walther PK380 Pistol CAL:380 SN:WB106488, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016188: High Standard Double Nine W 101 Revolver CAL:22 SN:1107516, valued at $400.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016189: Smith & Wesson 60-9 Revolver CAL:357 SN:CCL8365, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016191: Smith & Wesson 63-3 Revolver CAL:22 SN:BUH3364, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016194: Colt MK IV Series 80 Govt Model Pistol CAL:380 SN:RC82668, valued at $400.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016202: Sig-Sauer Mosquito Pistol CAL:22 SN:F002657, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016203: Smith & Wesson 686 Revolver CAL:357 SN:AFP3317, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016205: Smith & Wesson 29-3 Revolver CAL:44 SN:ADY0849, valued at $200.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016206: Smith & Wesson 17-6 Revolver CAL:22 SN:BEA0584, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016207: Ruger Mark II Target Pistol CAL:22 SN:218-33815, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016208: Hipoint (Strassell's Machine Inc.) JHP 45 Pistol CAL:45 SN:X4264477, valued at $200.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-016209: Hipoint (Strassell's Machine Inc.) JCP 40 Pistol CAL:40 SN:X7267967, valued at $200.00, seized
by the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-016211: Ruger EC9S Pistol CAL:9 SN:457-96007, valued at $400.00, seized by the ATF on March 09, 2023
from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016212: Smith & Wesson 431PD Revolver CAL:32 SN:CSU5399, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016213: Harrington and Richardson 650 Revolver CAL:22 SN:AS81645, valued at $400.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016216: Phoenix Arms Co. HP22A Pistol CAL:22 SN:4601062, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016217: Ruger 22/45 Lite Pistol CAL:22 SN:390-86586, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016219: Smith & Wesson 25-5 Revolver CAL:45 SN:N766005, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016222: Smith & Wesson 586-2 Revolver CAL:357 SN:AYW4717, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016223: Smith & Wesson 29-2 Revolver CAL:44 SN:N720493, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016225: Smith & Wesson 18-3 Revolver CAL:22 SN:1K73672, valued at $400.00, seized by the ATF on
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
                                                           Page 65 of 191                                                          131
Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 132 of 257 PageID 647
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-016225 - (Continued from previous page)
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016227: Smith & Wesson 57 Revolver CAL:41 SN:N671105, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016229: Smith & Wesson 57 Revolver CAL:41 SN:N650807, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016230: Smith & Wesson 66-5 Revolver CAL:357 SN:CCW9755, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016232: Smith & Wesson 57 Revolver CAL:41 SN:N943304, valued at $200.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016233: Ruger SP101 Revolver CAL:357 SN:57367841, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016234: North American Arms Unknown Type Revolver CAL:22 SN:Y191801, valued at $400.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016235: Ruger Single Six Revolver CAL:22 SN:26305560, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016236: Smith & Wesson 63 Revolver CAL:22 SN:M178664, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016237: Browning Unknown Type Pistol CAL:6 SN:427749, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016240: Smith & Wesson 34 Revolver CAL:22 SN:M204061, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016241: Harrington and Richardson Folding Shotgun CAL:410 SN:AF527, valued at $200.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016243: North American Arms 22 Mag Revolver CAL:22 SN:E131899, valued at $400.00, seized by the ATF
on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016245: Smith & Wesson 38 Revolver CAL:38 SN:J294229, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016248: Ruger Mark II Pistol CAL:22 SN:218-37129, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016250: Smith & Wesson 317 Revolver CAL:22 SN:CCE0408, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016252: Smith & Wesson 4 Revolver CAL:22 SN:20646, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016253: Smith & Wesson 63 Revolver CAL:22 SN:M142228, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016257: Colt Match Target Pistol CAL:22 SN:91128-S, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016259: Ruger, NEW MDL SNGL SX HNTR Revolver CAL:22 SN:76-11553, valued at $400.00, seized by
the ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016261: Smith & Wesson 658 Revolver CAL:41 SN:BBA8855, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016262: Smith & Wesson 14-2 Revolver CAL:38 SN:K751365, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016266: Colt Nite Lite Pistol CAL:380 SN:PL26652, valued at $400.00, seized by the ATF on March 09,
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 133 of 257 PageID 648
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-016266 - (Continued from previous page)
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016269: Ruger Single Six Revolver CAL:22 SN:20-42634, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016271: Colt New Police 32 Revolver CAL:32 SN:62031, valued at $200.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016274: Wesson Arms, Dan Six Shot Revolver CAL:22 SN:22S000746, valued at $400.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016275: Browning Unknown Type Pistol CAL:22 SN:114896P8, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016277: Smith & Wesson 649-3 Revolver CAL:357 SN:CCJ0491, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016278: Smith & Wesson 686-6 Revolver CAL:357 SN:CMX4219, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016280: Smith & Wesson 38 Revolver CAL:38 SN:795J20, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016281: Colt Government Series 70 Pistol CAL:45 SN:52670G70, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016282: North American Arms 22 Magnum Revolver CAL:22 SN:TE0409, valued at $400.00, seized by the
ATF on March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016284: Colt Detective Special Revolver CAL:38 SN:B06154, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016285: Smith & Wesson 66-7 Revolver CAL:357 SN:DAL1192, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016287: Smith & Wesson Airweight Revolver CAL:38 SN:94J864, valued at $200.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016288: Browning Buckmark Pistol CAL:22 SN:655NV06388, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016291: High Standard HD Pistol CAL:22 SN:112846, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016293: Smith & Wesson 66-4 Revolver CAL:357 SN:CCF4761, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016294: Essex Arms Company Platinum Pistol CAL:22 SN:18807, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016296: Smith & Wesson 586 Revolver CAL:357 SN:AAC3400, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016298: Ruger Redhawk Revolver CAL:41 SN:50242107, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016301: Smith & Wesson 49 Revolver CAL:38 SN:J570779, valued at $200.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016303: Smith & Wesson 38 Revolver CAL:38 SN:1J45673, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016304: Colt Challenger Pistol CAL:22 SN:51954-C, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016306: Smith & Wesson 60 Revolver CAL:38 SN:R231282, valued at $400.00, seized by the ATF on
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
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LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-016306 - (Continued from previous page)
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016309: Ruger Mark II Target Pistol CAL:22 SN:217-18208, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016335: Smith & Wesson 28-3 Revolver CAL:357 SN:AHY9450, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016340: Smith & Wesson 63 Revolver CAL:22 SN:M121368, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016342: Smith & Wesson 5417 Revolver CAL:22 SN:364844, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016346: Marlin Firearms Co. 70P Rifle CAL:22 SN:11335212, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016348: Smith & Wesson 66-5 Revolver CAL:357 SN:CDL8896, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016352: Smith & Wesson 629-3 Revolver CAL:44 SN:BND9015, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016354: Smith & Wesson 657-4 Revolver CAL:41 SN:CCW9453, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016360: Colt Huntsman Pistol CAL:22 SN:013457S, valued at $400.00, seized by the ATF on March 09,
2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016363: Smith & Wesson 66 Revolver CAL:357 SN:6K64252, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016367: Smith & Wesson 63 Revolver CAL:22 SN:M157704, valued at $600.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016373: Smith & Wesson 34-1 Revolver CAL:22 SN:M128621, valued at $400.00, seized by the ATF on
March 09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016376: Colt MKIV Series 70 Pistol CAL:45 SN:34250G70, valued at $400.00, seized by the ATF on March
09, 2023 from David Mull in North Vernon, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-016420: $49,527.00 U.S. Currency, seized by the ATF on March 09, 2023 from David Mull in North Vernon,
IN for forfeiture pursuant to 18 U.S.C. Section 981(a)(1)(C) Tr.
23-ATF-016421: $50.00 U.S. Currency, seized by the ATF on March 09, 2023 from David Mull in North Vernon, IN for
forfeiture pursuant to 18 U.S.C. Section 981(a)(1)(C) Tr.

EASTERN DISTRICT OF KENTUCKY
23-ATF-028169: SMITH & WESSON SD9VE PISTOL CAL:9 SN:HEZ8174, valued at $150.00, seized by the ATF on
July 07, 2023 from DAVON TOOLEY in Lexington, KY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028172: 43 Rounds CCI Ammunition CAL:9, valued at $4.30, seized by the ATF on July 07, 2023 from
DAVON TOOLEY in Lexington, KY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028174: 34 Rounds CCI Ammunition CAL:9, valued at $3.40, seized by the ATF on July 07, 2023 from
DAVON TOOLEY in Lexington, KY for forfeiture pursuant to 18 U.S.C. Section 924(d).




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property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/20/2023

WESTERN DISTRICT OF KENTUCKY
23-ATF-028314: 1 Rounds UNKNOWN Ammunition CAL:UNKNOWN, valued at $0.10, seized by the ATF on June
27, 2023 from Anthony Kinnard in Louisville, KY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028321: 1 Rounds WINCHESTER-WESTERN Ammunition CAL:9, valued at $0.10, seized by the ATF on
June 27, 2023 from Anthony Kinnard in Louisville, KY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028324: 1 Rounds CCI Ammunition CAL:9, valued at $0.10, seized by the ATF on June 27, 2023 from
Anthony Kinnard in Louisville, KY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028325: 8 Rounds ASSORTED Ammunition CAL:9, valued at $0.80, seized by the ATF on June 27, 2023
from Anthony Kinnard in Louisville, KY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028326: 1 Rounds SIG SAUER (SIG) Ammunition CAL:9, valued at $0.10, seized by the ATF on June 27,
2023 from Anthony Kinnard in Louisville, KY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028327: 1 Rounds TULA CARTRIDGE WORKS - RUSSIA Ammunition CAL:762, valued at $0.10, seized by
the ATF on June 27, 2023 from Anthony Kinnard in Louisville, KY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028466: KELTEC, CNC INDUSTRIES, INC. PMR-30 PISTOL CAL:22 SN:WYGB46, valued at $300.00,
seized by the ATF on June 30, 2023 from Tracy Myers in Kuttawa, KY for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-028470: NORTH AMERICAN ARMS NAA22 REVOLVER CAL:22 SN:E324147, valued at $200.00, seized by
the ATF on June 30, 2023 from Tracy Myers in Kuttawa, KY for forfeiture pursuant to 18 U.S.C. Section 924(d).




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property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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property based on hardship.


LAST DATE TO FILE: 10/20/2023

EASTERN DISTRICT OF MICHIGAN
23-ATF-023120: KIMBER POLYMER STAINLESS Pistol CAL:45 SN:KP07328, valued at $200.00, seized by the ATF
on June 04, 2023 from Tahj MOORE-PARNELL in Flint, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023121: 32 Rounds Assorted Ammunition CAL:45, valued at $3.20, seized by the ATF on June 04, 2023
from Tahj MOORE-PARNELL in Flint, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027411: MACHINE-GUN MNF: GLOCK GMBH PISTOL MODEL: 27GEN4 CAL: 40 SN: BAEK432, valued at
$200.00, seized by the Detroit Police Department on July 04, 2023 from Kevin Mundy in Detroit, MI, and adopted by
the ATF for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027412: AMMUNITION - ASSORTED QTY: 13 CAL: 40, valued at $1.30, seized by the Detroit Police
Department on July 04, 2023 from Kevin Mundy in Detroit, MI, and adopted by the ATF for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-027419: SIG SAUER (SIG-ARMS) PISTOL MODEL: P320 CAL: 9 SN: 58C067404, valued at $500.00,
seized by the Detroit Police Department on July 09, 2023 from Jeffery Neal in Detroit, MI, and adopted by the ATF
for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027420: AMMUNITION QTY: 10 MNF: ASSORTED CAL: 9, valued at $1.00, seized by the Detroit Police
Department on July 09, 2023 from Jeffery Neal in Detroit, MI, and adopted by the ATF for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-027432: MACHINE-GUN GLOCK INC. TYPE: PISTOL MODEL: 23GEN5 CAL: 40 SN:BVDZ134, valued at
$300.00, seized by the Detroit Police Department on July 13, 2023 from Rodrell Giles in Detroit, MI, and adopted
by the ATF for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027433: SCCY INDUSTRIES LLC (SKYY IND.) PISTOL MODEL: CPX-2 CAL: 9 SN: 928305, valued at
$150.00, seized by the Detroit Police Department on July 13, 2023 from Shaheem Hunt in Detroit, MI, and adopted
by the ATF for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027434: AMMUNITION - ASSORTED QTY: 10 MNF: ASSORTED CAL: 9, valued at $1.00, seized by the
Detroit Police Department on July 13, 2023 from Shaheem Hunt in Detroit, MI, and adopted by the ATF for forfeiture
pursuant to 18 U.S.C. Section 924(d).
23-ATF-028407: SMITH & WESSON PISTOL MODEL: M&P 40 SHIELD CAL: 40 SN: JFS7697, valued at $500.00,
seized by the Detroit Police Department on July 09, 2023 from Jeffery Neal in Detroit, MI, and adopted by the ATF
for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028408: AMMUNITION QTY: 6 MNF: ASSORTED CAL: Unknown, valued at $0.60, seized by the Detroit
Police Department on July 09, 2023 from Jeffery Neal in Detroit, MI, and adopted by the ATF for forfeiture pursuant
to 18 U.S.C. Section 924(d).
23-ATF-028612: RUGER SECURITY-9 Pistol CAL:9 SN:381-55202, valued at $200.00, seized by the ATF on July
26, 2023 from Christopher Bey in Detroit, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028615: 15 Rounds WINCHESTER-WESTERN Ammunition CAL:9, valued at $1.50, seized by the ATF on
July 26, 2023 from Christopher Bey in Detroit, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028617: 15 Rounds WINCHESTER-WESTERN Ammunition CAL:9, valued at $1.50, seized by the ATF on
July 26, 2023 from Christopher Bey in Detroit, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028618: 50 Rounds FIOCCHI Ammunition CAL:357, valued at $5.00, seized by the ATF on July 26, 2023
from Christopher Bey in Detroit, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028652: CANIK55 PISTOL MODEL: TP-9SF CAL: 9 SN: 20AT29283, valued at $100.00, seized by the
Detroit Police Department on July 24, 2023 from Mykeal Walker in Detroit, MI, and adopted by the ATF for forfeiture
pursuant to 18 U.S.C. Section 924(d).
23-ATF-028653: AMMUNITION - ASSORTED QTY: 14 MNF: Unknown CAL: 9, valued at $1.40, seized by the Detroit
Police Department on July 24, 2023 from Mykeal Walker in Detroit, MI, and adopted by the ATF for forfeiture
pursuant to 18 U.S.C. Section 924(d).


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property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/20/2023

EASTERN DISTRICT OF MICHIGAN
23-ATF-028655: AMMUNITION - ASSORTED QTY: 9 MNF: AMMO INC CAL: 10, valued at $0.90, seized by the
Detroit Police Department on July 19, 2023 from Daishaun Ward in Detroit, MI, and adopted by the ATF for
forfeiture pursuant to 18 U.S.C. Section 924(d).

DISTRICT OF MONTANA
23-ATF-028357: $5,257.00 U.S. Currency, seized by the ATF on August 02, 2023 from Zen Lowther in Saint Regis,
MT for forfeiture pursuant to 21 U.S.C. Section 881.

EASTERN DISTRICT OF NORTH CAROLINA
23-ATF-027964: Glock GMBH 23 Pistol CAL:40 SN:PFY503, valued at $100.00, seized by the ATF on June 23, 2023
from Eric Jeffreys in Cameron, NC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027969: 24 Rounds Assorted Ammunition CAL:40, valued at $2.40, seized by the ATF on June 23, 2023
from Eric Jeffreys in Cameron, NC for forfeiture pursuant to 18 U.S.C. Section 924(d).

DISTRICT OF NORTH DAKOTA
23-ATF-028173: WALTHER P99 PISTOL CAL:40 SN:41770, valued at $500.00, seized by the ATF on July 25, 2023
from Teddy MATA JR in Fargo, ND for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-029009: SMITH & WESSON M&P 380 SHIELD PISTOL CAL:380 SN:RCB3836, valued at $300.00, seized
by the ATF on June 29, 2023 from Jereme HALE in Fargo, ND for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-029067: 50 Rounds AMERICAN EAGLE Ammunition CAL:380, valued at $5.00, seized by the ATF on June
29, 2023 from Jereme HALE in Fargo, ND for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-029141: GLOCK INC. 19X PISTOL CAL:9 SN:BRRL390, valued at $400.00, seized by the ATF on July 11,
2023 from Andrew MURRAY in GRAND FORKS, ND for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-029142: 40 Rounds ASSORTED Ammunition CAL:40, valued at $4.00, seized by the ATF on July 11, 2023
from Andrew MURRAY in GRAND FORKS, ND for forfeiture pursuant to 18 U.S.C. Section 924(d).

DISTRICT OF NEW HAMPSHIRE
21-ATF-038001: Ruger SR9 Pistol CAL:9 SN:333-29387, valued at $100.00, seized by the ATF on November 12,
2020 from Kyle Goff in Pembroke, NH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027125: $25,000.00 U.S. Currency, seized by the ATF on July 19, 2023 from Entertainment Group, Atlas
PyroVision in Manchester, NH for forfeiture pursuant to 18 U.S.C. Section 981(a)(1)(C) Ar.

DISTRICT OF NEW JERSEY
23-ATF-027629: $465.00 U.S. Currency, seized by the ATF on June 29, 2023 from Troy Blair in Paterson, NJ for
forfeiture pursuant to 21 U.S.C. Section 881.




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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
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LAST DATE TO FILE: 10/20/2023

DISTRICT OF NEW MEXICO
23-ATF-019384: SARSILMAZ (SAR ARMS) K2-45 PISTOL CAL:45 SN:T1102-20Y50230, valued at $300.00, seized
by the Customs & Border Protection-Field Operations on April 11, 2023 from Carlos VENEGAS in Roswel, NM, and
adopted by the ATF for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-019385: 40 Rounds FEDERAL Ammunition CAL:45, Serial No. NULL, valued at $4.00, seized by the
Customs & Border Protection-Field Operations on April 11, 2023 from Carlos VENEGAS in Roswel, NM, and
adopted by the ATF for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-019386: 31 Rounds CCI Ammunition CAL:9, Serial No. NULL, valued at $3.10, seized by the Customs &
Border Protection-Field Operations on April 11, 2023 from Carlos VENEGAS in Roswel, NM, and adopted by the
ATF for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-019387: 50 Rounds WINCHESTER-WESTERN Ammunition CAL:22, Serial No. NULL, valued at $5.00,
seized by the Customs & Border Protection-Field Operations on April 11, 2023 from Carlos VENEGAS in Roswel,
NM, and adopted by the ATF for forfeiture pursuant to 18 U.S.C. Section 924(d).

DISTRICT OF NEVADA
23-ATF-028114: Taurus The Judge Revolver CAL:45/410 SN:AED248893, valued at $800.00, seized by the ATF on
July 12, 2023 from S&S Wholesale Arms in Henderson, NV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028116: Colt Defender Lightweight Pistol CAL:45 SN:DF013473, valued at $800.00, seized by the ATF on
July 12, 2023 from S&S Wholesale Arms in Henderson, NV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028119: Romarm/Cugir Micro Draco Pistol CAL:762 SN:23PMD-41687, valued at $1,000.00, seized by the
ATF on July 18, 2023 from S&S Wholesale Arms in Henderson, NV for forfeiture pursuant to 18 U.S.C. Section
924(d).

SOUTHERN DISTRICT OF OHIO
23-ATF-028757: Glock GMBH 48 Pistol CAL:9 SN:BLFR003, valued at $400.00, seized by the ATF on July 25, 2023
from Kendall Knaff in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028769: 30 Rounds Assorted Ammunition CAL:9, valued at $3.00, seized by the ATF on July 25, 2023 from
Kendall Knaff in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).




[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 139 of 257 PageID 654
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/20/2023

EASTERN DISTRICT OF OKLAHOMA
23-ATF-028975: BOND ARMS INC. ROUGH N ROWDY DERRINGER CAL:45/410 SN:207291, valued at $10.00,
seized by the ATF on June 16, 2023 from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-028979: CENTURY ARMS INTERNATIONAL GP 1975 RIFLE CAL:762 SN:GP7504988, valued at $10.00,
seized by the ATF on June 16, 2023 from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-028981: STANDARD MANUFACTURING COMPANY, LLC DP-12 SHOTGUN CAL:12 SN:DP04356, valued
at $10.00, seized by the ATF on June 16, 2023 from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to
18 U.S.C. Section 924(d).
23-ATF-028984: F.N. (FN HERSTAL) FIVE-SEVEN PISTOL CAL:57 SN:386134296, valued at $10.00, seized by the
ATF on June 16, 2023 from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-028986: F.N. (FN HERSTAL) FIVE-SEVEN PISTOL CAL:57 SN:386383213, valued at $10.00, seized by the
ATF on June 16, 2023 from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-028988: GLOCK INC. 19X PISTOL CAL:9 SN:BSPP635, valued at $10.00, seized by the ATF on June 16,
2023 from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028990: GLOCK INC. 26 PISTOL CAL:9 SN:YWM371, valued at $10.00, seized by the ATF on June 16,
2023 from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028991: GLOCK INC. 43X PISTOL CAL:9 SN:BWUD657, valued at $10.00, seized by the ATF on June 16,
2023 from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028992: HIGH STANDARD SPORT KING PISTOL CAL:22 SN:505328, valued at $10.00, seized by the ATF
on June 16, 2023 from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028994: KELTEC, CNC INDUSTRIES, INC. P17 PISTOL CAL:22 SN:G3865, valued at $10.00, seized by
the ATF on June 16, 2023 from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-028995: NORINCO (NORTH CHINA INDUSTRIES) 56S-1 RIFLE CAL:762 SN:407127, valued at $10.00,
seized by the ATF on June 16, 2023 from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-028996: COLT COMBAT COMMANDER PISTOL CAL:45 SN:70SC15086, valued at $10.00, seized by the
ATF on June 16, 2023 from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-028998: MAGNUM RESEARCH, INC. DESERT EAGLE PISTOL CAL:357 SN:DK0026663, valued at $10.00,
seized by the ATF on June 16, 2023 from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-029000: ARMSCOR OF THE PHILIPPINES (SQUIRES BINGHAM) M1911-A1 FS PISTOL CAL:38
SN:RIA1512387, valued at $10.00, seized by the ATF on June 16, 2023 from Russell FINCHER in Tuskahoma, OK
for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-029002: ROSSI M62 SAC RIFLE CAL:22 SN:G409552, valued at $10.00, seized by the ATF on June 16,
2023 from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-029003: ROSSI M62 SA RIFLE CAL:22 SN:G212579, valued at $10.00, seized by the ATF on June 16, 2023
from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-029005: RUGER MARK I PISTOL CAL:22 SN:17-33047, valued at $10.00, seized by the ATF on June 16,
2023 from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-029007: IZHMASH (IMEZ) SAIGA RIFLE CAL:762 SN:14400960, valued at $10.00, seized by the ATF on
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
                                                           Page 73 of 191                                                          139
Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 140 of 257 PageID 655
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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property based on hardship.


LAST DATE TO FILE: 10/20/2023

EASTERN DISTRICT OF OKLAHOMA
23-ATF-029007 - (Continued from previous page)
June 16, 2023 from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-029008: SAVAGE 110 RIFLE CAL:243 SN:45271, valued at $10.00, seized by the ATF on June 16, 2023
from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-029010: SMITH & WESSON 39 PISTOL CAL:9 SN:A616669, valued at $10.00, seized by the ATF on June
16, 2023 from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-029013: SMITH & WESSON 422 PISTOL CAL:22 SN:TCB7385, valued at $10.00, seized by the ATF on
June 16, 2023 from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-029015: SMITH & WESSON M&P BODYGUARD 380 PISTOL CAL:380 SN:KEZ5226, valued at $10.00,
seized by the ATF on June 16, 2023 from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-029018: SMITH & WESSON 669 PISTOL CAL:9 SN:TBM9949, valued at $10.00, seized by the ATF on June
16, 2023 from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-029020: TAURUS 856 REVOLVER CAL:38 SN:ADG525778, valued at $10.00, seized by the ATF on June
16, 2023 from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-029023: TAURUS PT1911 PISTOL CAL:45 SN:ACB590202, valued at $10.00, seized by the ATF on June
16, 2023 from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-029026: TAURUS 44 REVOLVER CAL:44 SN:ADA899650, valued at $10.00, seized by the ATF on June 16,
2023 from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-029030: TAURUS 856 REVOLVER CAL:38 SN:ADG528859, valued at $10.00, seized by the ATF on June
16, 2023 from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-029050: TAURUS PT1911 PISTOL CAL:45 SN:NDY90653, valued at $10.00, seized by the ATF on June 16,
2023 from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-029054: TAURUS GX4 PISTOL CAL:9 SN:1GA82552, valued at $10.00, seized by the ATF on June 16, 2023
from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-029058: TAURUS TX22 PISTOL CAL:22 SN:1PT373864, valued at $10.00, seized by the ATF on June 16,
2023 from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-029061: WILSON COMBAT ACP PISTOL CAL:45 SN:WCOO5657, valued at $10.00, seized by the ATF on
June 16, 2023 from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-029065: WINCHESTER 1906 RIFLE CAL:22 SN:590311B, valued at $10.00, seized by the ATF on June 16,
2023 from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-029116: GLOCK INC. 44 PISTOL CAL:22 SN:AGXW858, valued at $10.00, seized by the ATF on June 16,
2023 from Firearm, Triple G Firearm in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-029121: PALMETTO STATE ARMORY PA-15 RIFLE CAL:556 SN:SCB944284, valued at $10.00, seized by
the ATF on June 16, 2023 from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-029122: PALMETTO STATE ARMORY PSAK47 RIFLE CAL:762 SN:AKB047499, valued at $10.00, seized by
the ATF on June 16, 2023 from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-029123: PALMETTO STATE ARMORY PA-15 RIFLE CAL:224 SN:SCD421966, valued at $10.00, seized by
the ATF on June 16, 2023 from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-029124: PALMETTO STATE ARMORY PA-15 RIFLE CAL:556 SN:SCB106833, valued at $10.00, seized by
the ATF on June 16, 2023 from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).


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property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 141 of 257 PageID 656
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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property based on hardship.


LAST DATE TO FILE: 10/20/2023

EASTERN DISTRICT OF OKLAHOMA
23-ATF-029126: PALMETTO STATE ARMORY PA-15 RECEIVER/FRAME CAL:MULTI SN:SCB944278, valued at
$10.00, seized by the ATF on June 16, 2023 from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to
18 U.S.C. Section 924(d).
23-ATF-029127: PALMETTO STATE ARMORY PA-15 RECEIVER/FRAME CAL:MULTI SN:SCB921377, valued at
$10.00, seized by the ATF on June 16, 2023 from Russell FINCHER in Tuskahoma, OK for forfeiture pursuant to
18 U.S.C. Section 924(d).
23-ATF-029128: GLOCK INC. 17GEN4 PISTOL CAL:9 SN:BDAP512, valued at $10.00, seized by the ATF on June
16, 2023 from Firearm, Triple G Firearm in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-029129: HENRY REPEATING RIFLE COMPANY H018G-410R SHOTGUN CAL:410 SN:FTL05157G, valued
at $10.00, seized by the ATF on June 16, 2023 from Firearm, Triple G Firearm in Tuskahoma, OK for forfeiture
pursuant to 18 U.S.C. Section 924(d).
23-ATF-029130: KIMBER K6S REVOLVER CAL:357 SN:RV061152, valued at $10.00, seized by the ATF on June 16,
2023 from Firearm, Triple G Firearm in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-029131: PALMETTO STATE ARMORY PA-15 RECEIVER/FRAME CAL:MULTI SN:SCD806230, valued at
$10.00, seized by the ATF on June 16, 2023 from Firearm, Triple G Firearm in Tuskahoma, OK for forfeiture
pursuant to 18 U.S.C. Section 924(d).
23-ATF-029132: PALMETTO STATE ARMORY PA-15 RECEIVER/FRAME CAL:MULTI SN:SCD751685, valued at
$10.00, seized by the ATF on June 16, 2023 from Firearm, Triple G Firearm in Tuskahoma, OK for forfeiture
pursuant to 18 U.S.C. Section 924(d).
23-ATF-029133: PALMETTO STATE ARMORY PA-15 RECEIVER/FRAME CAL:MULTI SN:SCD937110, valued at
$10.00, seized by the ATF on June 16, 2023 from Firearm, Triple G Firearm in Tuskahoma, OK for forfeiture
pursuant to 18 U.S.C. Section 924(d).
23-ATF-029134: TAURUS THE JUDGE REVOLVER CAL:45/410 SN:ADL918587, valued at $10.00, seized by the
ATF on June 16, 2023 from Firearm, Triple G Firearm in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-029135: TAURUS G2C PISTOL CAL:9 SN:ACK386002, valued at $10.00, seized by the ATF on June 16,
2023 from Firearm, Triple G Firearm in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-029136: TAURUS PT111 G2A PISTOL CAL:9 SN:1C037000, valued at $10.00, seized by the ATF on June
16, 2023 from Firearm, Triple G Firearm in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-029137: TAURUS TX22 PISTOL CAL:22 SN:1PT496392, valued at $10.00, seized by the ATF on June 16,
2023 from Firearm, Triple G Firearm in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-029138: TAURUS G3C PISTOL CAL:9 SN:ACK391092, valued at $10.00, seized by the ATF on June 16,
2023 from Firearm, Triple G Firearm in Tuskahoma, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-029139: KRAL AV SANAYI/REXIMEX COBRA III SHOTGUN CAL:20 SN:20P2000522, valued at $10.00,
seized by the ATF on June 16, 2023 from Firearm, Triple G Firearm in Tuskahoma, OK for forfeiture pursuant to 18
U.S.C. Section 924(d).

NORTHERN DISTRICT OF OKLAHOMA
23-ATF-028485: SMITH & WESSON SW9VE PISTOL CAL:9 SN:DUN0788, valued at $10.00, seized by the ATF on
July 23, 2023 from Christopher STAFFORD in Tulsa, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028487: 14 Rounds OTHER Ammunition CAL:9, Serial No. NULL, valued at $1.40, seized by the ATF on
July 23, 2023 from Christopher STAFFORD in Tulsa, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).




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property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 142 of 257 PageID 657
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/20/2023

WESTERN DISTRICT OF OKLAHOMA
23-ATF-028121: GLOCK GMBH 22GEN4 PISTOL CAL:40 SN:BLVG338, valued at $500.00, seized by the ATF on
July 02, 2023 from Antonio Boykins in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028123: 12 Rounds HORNADY Ammunition CAL:40, Serial No. NULL, valued at $1.20, seized by the ATF
on July 02, 2023 from Antonio Boykins in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).

DISTRICT OF OREGON
23-ATF-028126: HIPOINT (STRASSELL'S MACHINE INC.) C9 PISTOL CAL:9 SN:P10191114 Obliterated: Yes,
valued at $150.00, seized by the ATF on July 04, 2023 from David BENNER in KEIZER, OR for forfeiture pursuant
to 18 U.S.C. Section 924(d).
23-ATF-028130: HIPOINT (STRASSELL'S MACHINE INC.) C9 PISTOL CAL:9 SN:P1358642 Obliterated: Yes,
valued at $150.00, seized by the ATF on July 04, 2023 from David BENNER in KEIZER, OR for forfeiture pursuant
to 18 U.S.C. Section 924(d).
23-ATF-028133: MOSSBERG 500AT SHOTGUN CAL:12 SN:NONE, valued at $10.00, seized by the ATF on July 04,
2023 from David BENNER in KEIZER, OR for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028134: 8 Rounds Hornady Ammunition CAL:9, Serial No. Unknown, valued at $0.80, seized by the ATF on
July 04, 2023 from David BENNER in KEIZER, OR for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028136: GLOCK INC. UNKNOWN PISTOL CAL:UNKNOWN SN:KE101006, valued at $150.00, seized by
the ATF on July 04, 2023 from David BENNER in KEIZER, OR for forfeiture pursuant to 18 U.S.C. Section 924(d).

EASTERN DISTRICT OF PENNSYLVANIA
23-ATF-026729: Phoenix Arms Co. HP22 Pistol CAL:22 SN:None, valued at $200.00, seized by the ATF on July 03,
2023 from PA Auction Center in East Earl, PA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026895: HS PRODUKT (IM METAL) XD9 Handgun CAL:9 SN:BB348441, valued at $400.00, seized by the
ATF on July 14, 2023 from Raiven LOGAN in East Stroudsburg, PA for forfeiture pursuant to 18 U.S.C. Section
924(d).

WESTERN DISTRICT OF PENNSYLVANIA
23-ATF-029218: 10 Rounds Assorted Ammunition CAL:9, Serial No. Unknown, valued at $1.00, seized by the ATF
on July 08, 2023 from Davoun Javontay SURRATT in McKees Rocks, PA for forfeiture pursuant to 18 U.S.C. Section
924(d).

DISTRICT OF PUERTO RICO
23-ATF-026662: RUGER P94 PISTOL CAL:40 SN:341-43431, valued at $300.00, seized by the US Probation on
June 23, 2023 from JOSHUA ROSARIO CRUZ in SAN JUAN, PR, and adopted by the ATF for forfeiture pursuant to
18 U.S.C. Section 924(d).
23-ATF-026664: 10 Rounds FEDERAL Ammunition CAL:40, valued at $1.00, seized by the US Probation on June
23, 2023 from JOSHUA ROSARIO CRUZ in SAN JUAN, PR, and adopted by the ATF for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-027725: GLOCK INC 19 PISTOL CAL:9 SN:NYA088, valued at $400.00, seized by the ATF on June 25,
2023 from ANTHONY ZAYAS-MIRANDA in OROCOVIS, PR for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028236: GLOCK GMBH 26 PISTOL CAL:9 SN:YVK570, valued at $300.00, seized by the ATF on June 29,
2023 from EDGAR LOPEZ-MOLINA in TOA BAJA, PR for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028241: 63 Rounds ASSORTED Ammunition CAL:9, valued at $6.30, seized by the ATF on June 29, 2023
from EDGAR LOPEZ-MOLINA in TOA BAJA, PR for forfeiture pursuant to 18 U.S.C. Section 924(d).

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property for sale.]
                                                           Page 76 of 191                                                          142
Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 143 of 257 PageID 658
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/20/2023

DISTRICT OF SOUTH CAROLINA
23-ATF-027066: Glock GMBH 30SF Pistol CAL:45 ACP SN:RUG415, valued at $500.00, seized by the ATF on June
22, 2023 from Elizal Delzo-Jaramillo in Enoree, SC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027069: CZ (CESKA ZBROJOVKA) SCORPION EVO 3 S1 Pistol CAL:9 SN:G040425, valued at $500.00,
seized by the ATF on June 22, 2023 from Christian Valentin Cruz in Enoree, SC for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-027072: Diamondback Arms Inc. DB-15 Rifle CAL:556 SN:DB2038022, valued at $500.00, seized by the
ATF on June 22, 2023 from Christian Valentin Cruz in Enoree, SC for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-027073: PALMETTO STATE ARMORY PSAK47 Rifle CAL:762 SN:AKB064040, valued at $500.00, seized by
the ATF on June 22, 2023 from Christian Valentin Cruz in Enoree, SC for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-027083: DPMS INC.(DEFENSE PROCUREMENT MFG. SERVICES) A15 Rifle CAL:556 SN:F066301K,
valued at $500.00, seized by the ATF on June 22, 2023 from Christian Valentin Cruz in Enoree, SC for forfeiture
pursuant to 18 U.S.C. Section 924(d).

EASTERN DISTRICT OF TENNESSEE
23-ATF-028109: Glock Inc. 26 Pistol CAL:9 SN:AGTR469, valued at $400.00, seized by the ATF on June 23, 2023
from Jay Dennis in Kingsport, TN for forfeiture pursuant to 18 U.S.C. Section 924(d).




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property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 144 of 257 PageID 659
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/20/2023

MIDDLE DISTRICT OF TENNESSEE
23-ATF-028238: Glock GMBH 19 Pistol CAL:9 SN:BXYG854, valued at $450.00, seized by the ATF on July 24, 2023
from Christian Posada in Nashville, TN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028243: Smith & Wesson Bodyguard Pistol CAL:380 SN:KDL0552, valued at $350.00, seized by the ATF
on July 24, 2023 from Christian Posada in Nashville, TN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028245: Polymer80, Inc. (P80 Tactical P80) PF940C Pistol CAL:9 SN:None, valued at $350.00, seized by
the ATF on July 24, 2023 from Christian Posada in Nashville, TN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-028248: FNH USA, LLC 509 Pistol CAL:9 SN:GKS0136053, valued at $600.00, seized by the ATF on July
24, 2023 from Christian Posada in Nashville, TN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028249: 23 Rounds Winchester-Western Ammunition CAL:9, valued at $2.30, seized by the ATF on July 24,
2023 from Christian Posada in Nashville, TN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028250: Romarm/Cugir Micro Draco Pistol CAL:762 SN:PMD-06456-18 RO, valued at $700.00, seized by
the ATF on July 24, 2023 from Christian Posada in Nashville, TN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-028251: 26 Rounds Tula Cartridge Works-Russia Ammunition CAL:762, valued at $2.60, seized by the
ATF on July 24, 2023 from Christian Posada in Nashville, TN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028253: Glock GMBH 19 Pistol CAL:9 SN:BGGN687, valued at $450.00, seized by the ATF on July 24, 2023
from Christian Posada in Nashville, TN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028254: 14 Rounds PMC Ammunition CAL:9, valued at $1.40, seized by the ATF on July 24, 2023 from
Christian Posada in Nashville, TN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028255: Diamondback Arms Inc. DB-15 Rifle CAL:556 SN:DB1597475, valued at $900.00, seized by the
ATF on July 24, 2023 from Christian Posada in Nashville, TN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028256: Palmetto State Armory PA-X9 Pistol CAL:9 SN:G005967, valued at $900.00, seized by the ATF on
July 24, 2023 from Christian Posada in Nashville, TN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028257: 33 Rounds Winchester-Western Ammunition CAL:9, valued at $3.30, seized by the ATF on July 24,
2023 from Christian Posada in Nashville, TN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028259: 15 Rounds Winchester-Western Ammunition CAL:9, valued at $1.50, seized by the ATF on July 24,
2023 from Christian Posada in Nashville, TN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028260: 6 Rounds Ammo Inc. Ammunition CAL:380, valued at $0.60, seized by the ATF on July 24, 2023
from Christian Posada in Nashville, TN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028261: 36 Rounds Winchester-Western Ammunition CAL:9, valued at $3.60, seized by the ATF on July 24,
2023 from Christian Posada in Nashville, TN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028263: 30 Rounds Tula Cartridge Works-Russia Ammunition CAL:762, valued at $3.00, seized by the
ATF on July 24, 2023 from Christian Posada in Nashville, TN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028265: 80 Rounds Ammo Inc Ammunition CAL:380, valued at $8.00, seized by the ATF on July 24, 2023
from Christian Posada in Nashville, TN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028267: 254 Rounds Assorted Ammunition CAL:Multi, valued at $25.40, seized by the ATF on July 24, 2023
from Christian Posada in Nashville, TN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028269: 1 Rounds Winchester-Western Ammunition CAL:9, valued at $0.10, seized by the ATF on July 24,
2023 from Christian Posada in Nashville, TN for forfeiture pursuant to 18 U.S.C. Section 924(d).




[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 145 of 257 PageID 660
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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property based on hardship.


LAST DATE TO FILE: 10/20/2023

EASTERN DISTRICT OF TEXAS
23-ATF-028442: TAURUS 327 REVOLVER CAL:327 SN:CV20797, valued at $300.00, seized by the ATF on July 05,
2023 from William KINCAIDE in Lufkin, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028460: GLOCK GMBH 41GEN4 PISTOL CAL:45 SN:AEVL441, valued at $500.00, seized by the ATF on
June 29, 2023 from Reginald MALONE in Texarkana, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028473: TAURUS PT111 G2 PISTOL CAL:9 SN:TKW13534, valued at $500.00, seized by the ATF on June
29, 2023 from Reginald MALONE in Texarkana, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028475: 12 Rounds REMINGTON Ammunition-Assorted CAL:45, Serial No. NULL, valued at $1.20, seized
by the ATF on June 29, 2023 from Reginald MALONE in Texarkana, TX for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-028477: 7 Rounds AGUILA Ammunition CAL:9, Serial No. NULL, valued at $0.70, seized by the ATF on
June 29, 2023 from Reginald MALONE in Texarkana, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).




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property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 146 of 257 PageID 661
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/20/2023

NORTHERN DISTRICT OF TEXAS
23-ATF-027409: TISAS - TRABZON GUN INDUSTRY CORP 1911A1 US ARMY PISTOL CAL:45
SN:T0620-21Z19751, valued at $450.00, seized by the ATF on June 28, 2023 from Christopher SANDERS in
Farmers Branch, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027413: F.N. (FN HERSTAL) SCAR 16S RIFLE CAL:556 SN:L0C11002, valued at $600.00, seized by the
ATF on June 28, 2023 from Christopher SANDERS in Farmers Branch, TX for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-027414: PALMETTO STATE ARMORY PSAK47 RIFLE CAL:762 SN:AKB083496, valued at $800.00, seized
by the ATF on June 28, 2023 from Christopher SANDERS in Farmers Branch, TX for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-027418: PALMETTO STATE ARMORY PSAK47 RIFLE CAL:762 SN:AKB085139, valued at $800.00, seized
by the ATF on June 28, 2023 from Christopher SANDERS in Farmers Branch, TX for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-027421: PALMETTO STATE ARMORY PSAK47 RIFLE CAL:762 SN:AKB084212, valued at $800.00, seized
by the ATF on June 28, 2023 from Christopher SANDERS in Farmers Branch, TX for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-027423: F.N. (FN HERSTAL) SCAR 16S RIFLE CAL:556 SN:LC14332, valued at $600.00, seized by the
ATF on June 28, 2023 from Christopher SANDERS in Farmers Branch, TX for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-027431: SOVIET ARMS, LLC SA-47 RIFLE CAL:762 SN:SA47002442, valued at $800.00, seized by the ATF
on June 28, 2023 from Christopher SANDERS in Farmers Branch, TX for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-027439: SOVIET ARMS, LLC SA-47 RIFLE CAL:762 SN:SA47005875, valued at $800.00, seized by the ATF
on June 28, 2023 from Christopher SANDERS in Farmers Branch, TX for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-027444: PALMETTO STATE ARMORY PSAK47 RIFLE CAL:762 SN:AKB086321, valued at $800.00, seized
by the ATF on June 28, 2023 from Christopher SANDERS in Farmers Branch, TX for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-027447: F.N. (FN HERSTAL) SCAR 17S RIFLE CAL:762 SN:H1C13876, valued at $600.00, seized by the
ATF on June 28, 2023 from Christopher SANDERS in Farmers Branch, TX for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-027465: FNH USA, LLC M249S RIFLE CAL:556 SN:M249SA09181, valued at $12,000.00, seized by the
ATF on June 28, 2023 from Wayne CANTRELL in Farmers Branch, TX for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-027468: BARRETT FIREARMS MFG CO M107A1 RIFLE CAL:50 BMG SN:AE010162, valued at $12,500.00,
seized by the ATF on June 28, 2023 from Wayne CANTRELL in Farmers Branch, TX for forfeiture pursuant to 18
U.S.C. Section 924(d).




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property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 147 of 257 PageID 662
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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property based on hardship.


LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF TEXAS
22-ATF-001043: FNH USA, LLC 509 Tactical Pistol CAL:9 SN:GKS0215878, valued at $600.00, seized by the ATF
on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001050: Smith & Wesson M&P 9 M2.0 Pistol CAL:9 SN:NHM2794, valued at $500.00, seized by the ATF on
October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001051: Glock GMBH 22GEN5 Pistol CAL:40 SN:BSRC140, valued at $500.00, seized by the ATF on
October 25, 2021 from Brandon Rampersaud in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001052: Heckler and Koch VP40 Pistol CAL:40 SN:222-035391, valued at $500.00, seized by the ATF on
October 25, 2021 from Brandon Rampersaud in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001053: Glock GMBH 30S Pistol CAL:45 SN:BTVB327, valued at $500.00, seized by the ATF on October
25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001054: Glock Inc 43 Pistol CAL:9 SN:AFND388, valued at $500.00, seized by the ATF on October 25, 2021
from Brandon Rampersaud in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001055: Smith & Wesson M&P 9 Shield Pistol CAL:9 SN:JHR0061, valued at $500.00, seized by the ATF
on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001056: HS Produkt (IM Metal) XDM Elite Pistol CAL:9 SN:BA327052, valued at $500.00, seized by the ATF
on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001057: Canik55 TP-9 Elite Combat Pistol CAL:9 SN:21BN13496, valued at $500.00, seized by the ATF on
October 25, 2021 from Brandon Rampersaud in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001058: FNH USA LLC 509 Pistol CAL:9 SN:GKS0186012, valued at $600.00, seized by the ATF on
October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001059: Taurus G3C Pistol CAL:9 SN:ACC657325, valued at $500.00, seized by the ATF on October 25,
2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001060: HS Produkt (IM Metal) XDE Pistol CAL:9 SN:BA229827, valued at $500.00, seized by the ATF on
October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001061: HS Produkt (IM Metal) XD9 Pistol CAL:9 SN:BA205627, valued at $500.00, seized by the ATF on
October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001062: Glock GMBH 22 Pistol CAL:40 SN:LKD276, valued at $500.00, seized by the ATF on October 25,
2021 from Brandon Rampersaud in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001063: Smith & Wesson M&P 9 Shield Pistol CAL:9 SN:JEZ8219, valued at $500.00, seized by the ATF on
October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001064: Glock GMBH 27GEN4 Pistol CAL:40 SN:SCF472, valued at $500.00, seized by the ATF on October
25, 2021 from Brandon Rampersaud in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001065: HS Produkt (IM Metal) Hellcat Pistol CAL:9 SN:BY583858, valued at $500.00, seized by the ATF on
October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001067: FN (FN Herstal) Five-Seven Pistol CAL:57 SN:386207524, valued at $600.00, seized by the ATF
on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001068: Glock GMBH 45 Pistol CAL:9 SN:BNTZ738, valued at $500.00, seized by the ATF on October 25,
2021 from Brandon Rampersaud in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001069: Taurus 17 Revolver CAL:17 SN:WI29237, valued at $500.00, seized by the ATF on October 25,
2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001070: HS Produkt (IM Metal) XDM Compact Pistol CAL:9 SN:BA115885, valued at $500.00, seized by the
ATF on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001072: F.N. (FN Herstal) Five-Seven Pistol CAL:57 SN:386224415, valued at $600.00, seized by the ATF
on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001075: Glock GMBH 45 Pistol CAL:9 SN:BTUB564, valued at $500.00, seized by the ATF on October 25,
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF TEXAS
22-ATF-001075 - (Continued from previous page)
2021 from Brandon Rampersaud in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001077: Sig Sauer (Sig-Arms) P365 XL Pistol CAL:9 SN:66B529916, valued at $600.00, seized by the ATF
on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001078: Glock Inc. 26GEN5 Pistol CAL:9 SN:AFHR059, valued at $500.00, seized by the ATF on October
25, 2021 from Brandon Rampersaud in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001082: HS Produkt (IM Metal) XDS MOD. 2 Pistol CAL:9 SN:BA316851, valued at $500.00, seized by the
ATF on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001083: Glock Inc 43 Pistol CAL:9 SN:AFNH021, valued at $500.00, seized by the ATF on October 25, 2021
from Brandon Rampersaud in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001085: Ruger Ruger-57 Pistol CAL:57 SN:641-89022, valued at $500.00, seized by the ATF on October
25, 2021 from Brandon Rampersaud in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001087: Glock GMBH 45 Pistol CAL:9 SN:BSBH251, valued at $500.00, seized by the ATF on October 25,
2021 from Brandon Rampersaud in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001089: Sig Sauer (Sig-Arms) P365 Pistol CAL:9 SN:66B460887, valued at $600.00, seized by the ATF on
October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001091: Glock Inc. 21Gen4 Pistol CAL:45 SN:AFDY428, valued at $500.00, seized by the ATF on October
25, 2021 from Brandon Rampersaud in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001094: Taurus G2C Pistol CAL:9 SN:ACE878559, valued at $500.00, seized by the ATF on October 25,
2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001097: Smith & Wesson SD40VE Pistol CAL:40 SN:FDH6684, valued at $500.00, seized by the ATF on
October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001101: Sig Sauer (Sig-Arms) P365 SAS Pistol CAL:9 SN:66B577396, valued at $600.00, seized by the
ATF on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001105: Sarsilmaz (Sar Arms) SAR 9 Mete Pistol CAL:9 SN:T1102-21CD06164, valued at $500.00, seized
by the ATF on October 25, 2021 from Brandon Rampersaud in Houston, TX for forfeiture pursuant to 18 U.S.C.
Section 924(d).
22-ATF-001106: Smith & Wesson SD40VE Pistol CAL:40 SN:HFT7285, valued at $500.00, seized by the ATF on
October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001107: HS Produkt (IM Metal) XDM Pistol CAL:9 SN:BA114850, valued at $500.00, seized by the ATF on
October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001108: Smith & Wesson SD40VE Pistol CAL:40 SN:FDJ4277, valued at $500.00, seized by the ATF on
October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001109: Sarsilmaz (Sar Arms) SAR 9X Pistol CAL:9 SN:T1102-20BV12204, valued at $500.00, seized by
the ATF on October 25, 2021 from Brandon Rampersaud in Houston, TX for forfeiture pursuant to 18 U.S.C.
Section 924(d).
22-ATF-001110: Glock GMBH 19GEN5 Pistol CAL:9 SN:BTUU227, valued at $500.00, seized by the ATF on October
25, 2021 from Brandon Rampersaud in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001111: Colt Combat Officers Pistol CAL:45 SN:SF14230, valued at $800.00, seized by the ATF on October
25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001112: Springfield Armory Geneseo IL 911 Pistol CAL:9 SN:CNO66432, valued at $500.00, seized by the
ATF on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001113: Glock GMBH 34 Pistol CAL:9 SN:BTHZ550, valued at $500.00, seized by the ATF on October 25,
2021 from Brandon Rampersaud in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001114: Romarm/Cugir Micro Draco Pistol CAL:762 SN:PMD-22139-20, valued at $600.00, seized by the
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 149 of 257 PageID 664
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
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LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF TEXAS
22-ATF-001114 - (Continued from previous page)
ATF on October 25, 2021 from Brandon Rampersaud in Houston, TX for forfeiture pursuant to 18 U.S.C. Section
924(d).
22-ATF-001119: Anderson Manufacturing AM-15 Pistol CAL:Multi SN:21111921, valued at $500.00, seized by the
ATF on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001123: Anderson Manufacturing AM-15 Pistol CAL:Multi SN:21101343, valued at $500.00, seized by the
ATF on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001125: Anderson Manufacturing AM-15 Pistol CAL:Multi SN:21111920, valued at $500.00, seized by the
ATF on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001128: Anderson Manufacturing AM-15 Pistol CAL:Multi SN:21101340, valued at $500.00, seized by the
ATF on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001133: Anderson Manufacturing AM-15 Pistol CAL:Multi SN:21111943, valued at $500.00, seized by the
ATF on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001137: Anderson Manufacturing AM-15 Pistol CAL:Multi SN:21101342, valued at $500.00, seized by the
ATF on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001143: Unknown Manufacturer Unknown Pistol CAL:Unknown SN:None, valued at $500.00, seized by the
ATF on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001146: Anderson Manufacturing AM-15 Pistol CAL:Multi SN:21111919, valued at $500.00, seized by the
ATF on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001148: Grand Power SRO Stribog SP9A1 Pistol CAL:9 SN:GSA9129, valued at $500.00, seized by the ATF
on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001153: Anderson Manufacturing AM-15 Pistol CAL:Multi SN:21245599, valued at $500.00, seized by the
ATF on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001158: Ruger 22 Charger Pistol CAL:22 SN:491-31004, valued at $500.00, seized by the ATF on October
25, 2021 from Brandon Rampersaud in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001163: Unknown Manufacturer Unknown Pistol CAL:Unknown SN:None, valued at $500.00, seized by the
ATF on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001169: Grand Power SRO Stribog SP9A3 Pistol CAL:9 SN:GSB3282, valued at $500.00, seized by the
ATF on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001174: Unknown Manufacturer Unknown Pistol CAL:Unknown SN:None, valued at $500.00, seized by the
ATF on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001176: Smith & Wesson M&P 9 Shield M2.0 Pistol CAL:9 SN:JED1027, valued at $500.00, seized by the
ATF on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001177: 467 Rounds Assorted Manufacturer Ammunition CAL:Assorted, valued at $46.70, seized by the
ATF on October 25, 2021 from Brandon Rampersaud in Houston, TX for forfeiture pursuant to 18 U.S.C. Section
924(d).
22-ATF-001179: Smith & Wesson M&P 40 M2.0 Pistol CAL:40 SN:NKP9527, valued at $500.00, seized by the ATF
on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001180: Sig Sauer (Sig-Arms) P365 Pistol CAL:9 SN:66A153154, valued at $600.00, seized by the ATF on
October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001183: Glock GMBH 48 Pistol CAL:9 SN:BTHG108, valued at $500.00, seized by the ATF on October 25,
2021 from Brandon Rampersaud in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001184: Beretta USA Corp 21A Pistol CAL:25 SN:BAS20000V, valued at $600.00, seized by the ATF on
October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001186: Smith & Wesson M&P 40 M2.0 Pistol CAL:40 SN:NKR8019, valued at $500.00, seized by the ATF
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF TEXAS
22-ATF-001186 - (Continued from previous page)
on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001188: Glock GMBH 19GEN4 Pistol CAL:9 SN:BDVD829, valued at $500.00, seized by the ATF on
October 25, 2021 from Brandon Rampersaud in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001190: HS Produkt (IM Metal) Hellcat Pistol CAL:9 SN:BY269767, valued at $500.00, seized by the ATF on
October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001195: Glock GMBH 19GEN4 Pistol CAL:9 SN:BCCP315, valued at $500.00, seized by the ATF on
October 25, 2021 from Brandon Rampersaud in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001197: Glock GMBH 22GEN4 Pistol CAL:40 SN:BMEK945, valued at $500.00, seized by the ATF on
October 25, 2021 from Brandon Rampersaud in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001199: HS Produkt (IM Metal) XDM Pistol CAL:45 SN:BA308533, valued at $500.00, seized by the ATF on
October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001206: F.N. (FN Herstal) Five-Seven Pistol CAL:57 SN:386266374, valued at $600.00, seized by the ATF
on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001209: Sig Sauer (Sig-Arms) P365 Pistol CAL:9 SN:66A578201, valued at $600.00, seized by the ATF on
October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001211: Glock GMBH 22GEN5 Pistol CAL:40 SN:BSRC139, valued at $500.00, seized by the ATF on
October 25, 2021 from Brandon Rampersaud in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001213: FNH USA, LLC FNS-40 Pistol CAL:40 SN:GKU0074065, valued at $600.00, seized by the ATF on
October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001220: FNH USA, LLC 509 Tactical Pistol CAL:9 SN:GKS0173231, valued at $600.00, seized by the ATF
on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001225: Polymer80, Inc. (P80 Tactical P80) Unknown Pistol CAL:Unknown SN:L7111, valued at $600.00,
seized by the ATF on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section
924(d).
22-ATF-001229: Sig Sauer (Sig-Arms) P365 XL Pistol CAL:9 SN:66B647324, valued at $600.00, seized by the ATF
on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001235: Colt Combat Commander Pistol CAL:45 SN:FC30570E, valued at $800.00, seized by the ATF on
October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001238: FNH USA, LLC FNX-45 Tactical Pistol CAL:45 SN:FX3U150365, valued at $600.00, seized by the
ATF on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001240: Glock GMBH 43 Pistol CAL:9 SN:BAEX219, valued at $500.00, seized by the ATF on October 25,
2021 from Brandon Rampersaud in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001245: Sig Sauer (Sig-Arms) P365 Pistol CAL:9 SN:66B608185, valued at $600.00, seized by the ATF on
October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001248: Polymer80, Inc. (P80 Tactical P80) PFS9 Pistol CAL:9 SN:SA31652, valued at $600.00, seized by
the ATF on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001280: Polymer80, Inc. (P80 Tactical P80) PFS9 Pistol CAL:9 SN:SA31165, valued at $600.00, seized by
the ATF on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001283: Ruger LC9S Pistol CAL:9 SN:459-49812, valued at $500.00, seized by the ATF on October 25,
2021 from Brandon Rampersaud in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001288: HS Produkt (IM Metal) XD9 Sub-Compact Pistol CAL:9 SN:BA225834, valued at $500.00, seized
by the ATF on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001291: Smith & Wesson M&P 40 M2.0 Pistol CAL:40 SN:NKN5709, valued at $500.00, seized by the ATF
on October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).


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property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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property based on hardship.


LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF TEXAS
22-ATF-001294: Sig Sauer (Sig Arms) P320 Pistol CAL:9 SN:58J100536, valued at $600.00, seized by the ATF on
October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001296: Sig Sauer (Sig-Arms) P938 Pistol CAL:9 SN:52A058268, valued at $600.00, seized by the ATF on
October 25, 2021 from Darren Hall in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-001299: Heckler and Koch VP40 Pistol CAL:40 SN:222-006056, valued at $500.00, seized by the ATF on
October 25, 2021 from Brandon Rampersaud in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).

WESTERN DISTRICT OF TEXAS
23-ATF-028088: Savage Axis Rifle CAL:270 SN:N714580, valued at $360.00, seized by the ATF on July 29, 2023
from Humberto Limon Olivares in Eagle Pass, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028089: Taurus G2C Pistol CAL:9 SN:ACD838489, valued at $270.00, seized by the ATF on July 29, 2023
from Humberto Limon Olivares in Eagle Pass, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028090: Glock Inc 44 Pistol CAL:22 SN:AHLD222, valued at $390.00, seized by the ATF on July 29, 2023
from Humberto Limon Olivares in Eagle Pass, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028091: Glock Inc 44 Pistol CAL:22 SN:AHHE673, valued at $390.00, seized by the ATF on July 29, 2023
from Humberto Limon Olivares in Eagle Pass, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028092: Sig Sauer (Sig Arms) P229 SAS Pistol CAL:40 SN:AM44772, valued at $950.00, seized by the ATF
on July 29, 2023 from Humberto Limon Olivares in Eagle Pass, TX for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-028093: Ruger LCP Pistol CAL:380 SN:372482096, valued at $300.00, seized by the ATF on July 29, 2023
from Humberto Limon Olivares in Eagle Pass, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028094: CZ USA CZ P-10 M Pistol CAL:9 SN:UG06465, valued at $300.00, seized by the ATF on July 29,
2023 from Humberto Limon Olivares in Eagle Pass, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028095: Smith & Wesson M&P 22C Pistol CAL:22 SN:HJT8071, valued at $360.00, seized by the ATF on
July 29, 2023 from Humberto Limon Olivares in Eagle Pass, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028096: 36 Rounds Federal Ammunition CAL:270, Serial No. null, valued at $3.60, seized by the ATF on
July 29, 2023 from Humberto Limon Olivares in Eagle Pass, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028097: 50 Rounds CCI Ammunition CAL:40, Serial No. null, valued at $5.00, seized by the ATF on July 29,
2023 from Humberto Limon Olivares in Eagle Pass, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028098: 50 Rounds Armco Ammunition CAL:40, Serial No. null, valued at $5.00, seized by the ATF on July
29, 2023 from Humberto Limon Olivares in Eagle Pass, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028099: 200 Rounds CCI Ammunition CAL:22, Serial No. null, valued at $20.00, seized by the ATF on July
29, 2023 from Humberto Limon Olivares in Eagle Pass, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028100: 7 Rounds CCI Ammunition CAL:9, Serial No. null, valued at $0.70, seized by the ATF on July 29,
2023 from Humberto Limon Olivares in Eagle Pass, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).

WESTERN DISTRICT OF WISCONSIN
23-ATF-027548: $878.00 US Currency, seized by the La Crosse Police Department on July 06, 2023 from Louis
Ray in Black River Falls, WI, and adopted by the ATF for forfeiture pursuant to 21 U.S.C. Section 881.
23-ATF-027549: $5,540.00 US Currency, seized by the La Crosse Police Department on July 06, 2023 from Louis
Ray in Black River Falls, WI, and adopted by the ATF for forfeiture pursuant to 21 U.S.C. Section 881.




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property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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property based on hardship.


LAST DATE TO FILE: 10/20/2023

NORTHERN DISTRICT OF WEST VIRGINIA
23-ATF-028602: FNH USA, LLC REFLEX PISTOL CAL:9 SN:CCW0004732, valued at $600.00, seized by the ATF
on July 26, 2023 from Akeem Brown in Fairmont, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028609: 9 Rounds ASSORTED Ammunition CAL:9, valued at $0.90, seized by the ATF on July 26, 2023
from Akeem Brown in Fairmont, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028610: 140 Rounds ASSORTED Ammunition CAL:MULTI, valued at $14.00, seized by the ATF on July 26,
2023 from Akeem Brown in Fairmont, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028613: TAURUS G3C PISTOL CAL:9 SN:ADA887134, valued at $350.00, seized by the ATF on July 26,
2023 from Austin Jackson in Fairmont, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028614: SIG-SAUER 1911 NIGHTMARE PISTOL CAL:45 SN:54A024230, valued at $750.00, seized by the
ATF on July 26, 2023 from Austin Jackson in Fairmont, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028616: SMITH & WESSON M&P BODYGUARD 3 PISTOL CAL:380 SN:KFW6952, valued at $350.00,
seized by the ATF on July 26, 2023 from Austin Jackson in Fairmont, WV for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-028622: 1 Rounds ASSORTED Ammunition CAL:9, valued at $0.10, seized by the ATF on July 26, 2023
from Akeem Brown in Fairmont, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).




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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF WEST VIRGINIA
23-ATF-027825: SMITH & WESSON M&P 15 RIFLE CAL:556 SN:TS77461, valued at $800.00, seized by the ATF on
June 17, 2023 from Demetrius HARMON in Charleston, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027826: GLOCK GMBH 17GEN4 PISTOL CAL:9 SN:BBKB251, valued at $500.00, seized by the ATF on
June 17, 2023 from Demetrius HARMON in Charleston, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027827: GLOCK INC. 17GEN5 PISTOL CAL:9 SN:AGKD865, valued at $500.00, seized by the ATF on June
17, 2023 from Demetrius HARMON in Charleston, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027828: GLOCK GMBH 19 PISTOL CAL:9 SN:SDA285, valued at $500.00, seized by the ATF on June 17,
2023 from Demetrius HARMON in Charleston, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027829: GLOCK GMBH 22GEN3 PISTOL CAL:40 SN:GLB267, valued at $400.00, seized by the ATF on
June 17, 2023 from Demetrius HARMON in Charleston, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027830: GLOCK GMBH 22GEN3 PISTOL CAL:40 SN:FXU321, valued at $400.00, seized by the ATF on
June 17, 2023 from Demetrius HARMON in Charleston, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027833: 75 Rounds ASSORTED Ammunition CAL:40, valued at $7.50, seized by the ATF on June 17, 2023
from Demetrius HARMON in Charleston, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027834: 53 Rounds ASSORTED Ammunition CAL:9, valued at $5.30, seized by the ATF on June 17, 2023
from Demetrius HARMON in Charleston, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027835: 49 Rounds ASSORTED Ammunition CAL:556, valued at $4.90, seized by the ATF on June 17,
2023 from Demetrius HARMON in Charleston, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028695: BUSHMASTER FIREARMS XM15-E2S RIFLE CAL:223 SN:ARG502526, valued at $500.00, seized
by the ATF on July 07, 2023 from Ryan RAMSEY in Charleston, WV for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-028702: 18 Rounds OTHER Ammunition CAL:223, valued at $1.80, seized by the ATF on July 07, 2023
from Ryan RAMSEY in Charleston, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028705: MOSSBERG 500 SHOTGUN CAL:12 SN:J714447, valued at $479.00, seized by the ATF on July
07, 2023 from Ryan RAMSEY in Charleston, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028706: 5 Rounds REMINGTON Ammunition CAL:12, valued at $0.50, seized by the ATF on July 07, 2023
from Ryan RAMSEY in Charleston, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028708: TAURUS G2C PISTOL CAL:40 SN:TKT92659, valued at $250.00, seized by the ATF on July 07,
2023 from Ryan RAMSEY in Charleston, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028709: 6 Rounds WINCHESTER-WESTERN Ammunition CAL:9, valued at $0.60, seized by the ATF on
July 07, 2023 from Ryan RAMSEY in Charleston, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028710: IMPERIAL METAL PRODUCTS (INCA MANUFACTURING) 7 REVOLVER CAL:22 SN:40226, valued
at $200.00, seized by the ATF on July 07, 2023 from Ryan RAMSEY in Charleston, WV for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-028711: 1 Rounds WINCHESTER-WESTERN Ammunition CAL:25, valued at $0.10, seized by the ATF on
July 07, 2023 from Ryan RAMSEY in Charleston, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028713: HIPOINT (STRASSELL'S MACHINE INC.) C9 PISTOL CAL:9 SN:P1592466, valued at $160.00,
seized by the ATF on July 07, 2023 from Ryan RAMSEY in Charleston, WV for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-028716: 8 Rounds HORNADY Ammunition CAL:9, valued at $0.80, seized by the ATF on July 07, 2023 from
Ryan RAMSEY in Charleston, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028718: TAURUS G2C AMMUNITION CAL:9 SN:ACA488991, valued at $250.00, seized by the ATF on July
07, 2023 from Ryan RAMSEY in Charleston, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028721: 12 Rounds OTHER Ammunition CAL:9, valued at $1.20, seized by the ATF on July 07, 2023 from
Ryan RAMSEY in Charleston, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).


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property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/20/2023

SOUTHERN DISTRICT OF WEST VIRGINIA
23-ATF-028723: 14 Rounds HORNADY Ammunition CAL:38, valued at $1.40, seized by the ATF on July 07, 2023
from Ryan RAMSEY in Charleston, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).




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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE CLAIM: 10/03/2023
LAST DATE TO FILE PETITION: 10/13/2023

DISTRICT OF ARIZONA
23-ATF-028084: Machine Gun Conversion Kit, Force Reset Trigger UNKNOWN TYPE MACHINE GUN
CAL:UNKNOWN SN:NONE, valued at $400.00, seized by the ATF on July 25, 2023 from Ben Clayton in Gilbert, AZ
for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-028085: Machine Gun Conversion Kit, Force Reset Trigger UNKNOWN TYPE Machine Gun
CAL:UNKNOWN SN:None, valued at $400.00, seized by the ATF on July 25, 2023 from Ben Clayton in Gilbert, AZ
for forfeiture pursuant to 26 U.S.C. Section 5872.

MIDDLE DISTRICT OF FLORIDA
23-ATF-025896: SILENCER: NONE, ONE GEMTECH VIPER-9, CAL: 9 SN: S09-36990, valued at $200.00, seized
by the ATF on July 05, 2023 from Brett Vogler and Jerry Dimanche in Lakeland, FL for forfeiture pursuant to 26
U.S.C. Section 5872.
23-ATF-025898: SILENCER: NONE, ONE SILENCERCO LLC OMEGA 36M CAL:36 SN: OMG36M-22389, valued at
$200.00, seized by the ATF on July 05, 2023 from Brett Vogler and Jerry Dimanche in Lakeland, FL for forfeiture
pursuant to 26 U.S.C. Section 5872.




[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim and/or a petition.


LAST DATE TO FILE CLAIM: 10/03/2023
LAST DATE TO FILE PETITION: 10/13/2023

SOUTHERN DISTRICT OF FLORIDA
19-ATF-042286: GLOCK MANUFACTURER UNKNOWN SWITCH CAL:UNKNOWN SN:NONE, valued at $50.00,
seized by the ATF on April 18, 2019 from NESLY PETIT LOUIS in NORTH MIAMI, FL for forfeiture pursuant to 26
U.S.C. Section 5872.
19-ATF-042287: GLOCK SWITCH UNKNOWN CAL:UNKNOWN SN:NONE, valued at $50.00, seized by the ATF on
April 18, 2019 from NESLY PETIT LOUIS in NORTH MIAMI, FL for forfeiture pursuant to 26 U.S.C. Section 5872.
19-ATF-042288: GLOCK UNKNOWN SWITCH CAL:UNKNOWN SN:NONE, valued at $50.00, seized by the ATF on
April 18, 2019 from NESLY PETIT LOUIS in NORTH MIAMI, FL for forfeiture pursuant to 26 U.S.C. Section 5872.
19-ATF-042289: GLOCK UNKNOWN SWITCH CAL:UNKNOWN SN:NONE, valued at $50.00, seized by the ATF on
April 18, 2019 from NESLY PETIT LOUIS in NORTH MIAMI, FL for forfeiture pursuant to 26 U.S.C. Section 5872.
19-ATF-042290: GLOCK UNKNOWN SWITCH CAL:UNKNOWN SN:NONE, valued at $50.00, seized by the ATF on
April 18, 2019 from NESLY PETIT LOUIS in NORTH MIAMI, FL for forfeiture pursuant to 26 U.S.C. Section 5872.
22-ATF-047227: GLOCK INC UNKNOWN MACHINE GUN CAL:ASSORTED SN:9846, valued at $500.00, seized by
the ATF on July 14, 2022 from ADRIAN GARCES in Hollywood, FL for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-019636: UNKNOWN MANUFACTURER UNKNOWN MACHINE GUN CONVERSION KIT CAL:ZZ SN:NONE,
valued at $100.00, seized by the ATF on March 29, 2023 from AQUARIUS JACKSON in MIAMI, FL for forfeiture
pursuant to 26 U.S.C. Section 5872.
23-ATF-026671: UNKNOWN MANUFACTURER UNKNOWN WIDE OPEN TRIGGER MACHINE GUN
CONVERSION KIT CAL:UNKNOWN SN:NONE, valued at $100.00, seized by the ATF on May 15, 2023 from
RANDAL MUNSKE in PORT ST. LUCIE, FL for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-026674: UNKOWN MANUFACTURER UNKNONW WIDE OPEN TRIGGER MACHINE GUN CON
CAL:UNKNOWN SN:NONE, valued at $350.00, seized by the ATF on May 18, 2023 from WALLACE SMITH in
JENSEN BEACH, FL for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-026768: UNKNOWN MANUFACTURER UNKNOWN MACHINE GUN CONVERSION DEVICE
CAL:UNKNOWN SN:NONE, valued at $250.00, seized by the ATF on June 13, 2023 from LUIS RODRIGUEZ in
PORT ST. LUCIE, FL for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027748: FRANKLIN ARMORY FAI-15 RECEIVER/FRAME CAL:MULTI SN:A-16628, valued at $600.00,
seized by the ATF on July 13, 2023 from PEDRO MANUEL DOMINGUEZ in MIAMI, FL for forfeiture pursuant to 26
U.S.C. Section 5872.
23-ATF-027758: DSA INC ZM4 RIFLE CAL:556 SN:ZM-035615, valued at $700.00, seized by the ATF on July 13,
2023 from PEDRO MANUEL DOMINGUEZ in MIAMI, FL for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027759: SPIKES'S TACTICAL LLC ST15 RIFLE CAL:MULTI SN:SCR064193, valued at $1,000.00, seized
by the ATF on July 13, 2023 from PEDRO MANUEL DOMINGUEZ in MIAMI, FL for forfeiture pursuant to 26 U.S.C.
Section 5872.
23-ATF-027762: COLT AR15 MACHINE GUN CAL:223 SN:LGC001865, valued at $1,000.00, seized by the ATF on
July 13, 2023 from PEDRO MANUEL DOMINGUEZ in MIAMI, FL for forfeiture pursuant to 26 U.S.C. Section 5872.

SOUTHERN DISTRICT OF GEORGIA
23-ATF-027666: Forced Reset Trigger (FRT) Wide Open Trigger CAL:Unknown SN:None, valued at $200.00,
seized by the ATF on July 27, 2023 from Adam Munoz in Savannah, GA for forfeiture pursuant to 26 U.S.C. Section
5872.




[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                         Page 157 of 257 PageID 672
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim and/or a petition.


LAST DATE TO FILE CLAIM: 10/03/2023
LAST DATE TO FILE PETITION: 10/13/2023

SOUTHERN DISTRICT OF IOWA
22-ATF-038561: Glock GMBH 17GEN5 Pistol CAL:9 SN:BHSK273, valued at $50.00, seized by the ATF on May 06,
2022 from Semaj Johnson in Des Moines, IA for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-028397: Glock Inc. w/switch 17 Machinegun CAL:9 SN:AFXL196, valued at $350.00, seized by the ATF on
July 20, 2023 from Trent Brown in Des Moines, IA for forfeiture pursuant to 26 U.S.C. Section 5872.

SOUTHERN DISTRICT OF INDIANA
23-ATF-027652: Winchester Unknown Rifle CAL:762 SN:1197412, valued at $1,500.00, seized by the ATF on July
13, 2023 from Rogers Auction Service in Royal Center, IN for forfeiture pursuant to 26 U.S.C. Section 5872.

DISTRICT OF KANSAS
21-ATF-038022: CBC (Companhia Braziliera de Cartuchos) 715P Pistol CAL:22 SN:EUB4443311, valued at
$165.00, seized by the ATF on July 07, 2021 from Bradlee Ohle in Wichita, KS for forfeiture pursuant to 26 U.S.C.
Section 5872.

WESTERN DISTRICT OF KENTUCKY
23-ATF-027822: UNKNOWN UNKNOWN MACINEGUN CAL:UNKNOWN SN:NONE, valued at $400.00, seized by
the ATF on July 18, 2023 from Brian Henderson in Hawesville, KY for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027824: UNKNOWN UNKNOWN MACHINEGUN CAL:UNKNOWN SN:NONE, valued at $400.00, seized by
the ATF on July 18, 2023 from Brian Henderson in Hawesville, KY for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027837: UNKNOWN UNKNOWN MACHINEGUN CAL:UNKNOWN SN:NONE, valued at $400.00, seized by
the ATF on July 06, 2023 from James Hust in Providence, KY for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027838: UNKNOWN UNKNOWN MACHINEGUN CAL:UNKNOWN SN:NONE, valued at $400.00, seized by
the ATF on July 06, 2023 from Phyllis Noel in Campbellsville, KY for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027839: UNKNOWN UNKNOWN MACHINEGUN CAL:UNKNOWN SN:NONE, valued at $300.00, seized by
the ATF on July 14, 2023 from Jeffery Reynolds in Campbellsville, KY for forfeiture pursuant to 26 U.S.C. Section
5872.
23-ATF-027841: UNKNOWN UNKNOWN MACHINEGUN CAL:UNKNOWN SN:NONE, valued at $50.00, seized by
the ATF on July 12, 2023 from Craig Oliver in Eddyville, KY for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027842: UNKNOWN UNKNOWN MACHINEGUN CAL:UNKNOWN SN:NONE, valued at $50.00, seized by
the ATF on July 12, 2023 from Craig Oliver in Eddyville, KY for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-028060: UNKNOWN UNKNOWN MACHINEGUN CAL:UNKNOWN SN:NONE, valued at $400.00, seized by
the ATF on May 18, 2023 from Barry Hines in Goshen, KY for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-028061: UNKNOWN UNKNOWN MACHINEGUN CAL:UNKNOWN SN:NONE, valued at $400.00, seized by
the ATF on May 18, 2023 from Barry Hines in Goshen, KY for forfeiture pursuant to 26 U.S.C. Section 5872.




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property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                         Page 158 of 257 PageID 673
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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LAST DATE TO FILE CLAIM: 10/03/2023
LAST DATE TO FILE PETITION: 10/13/2023

DISTRICT OF MASSACHUSETTS
23-ATF-025637: MACHINE GUN CONVERSION KIT RB INDUSTRIES FRT-15 Rare Breed Trigger, Serial No.
Unknown, valued at $100.00, seized by the ATF on May 09, 2023 from Lionel LEUNG in Saugus, MA for forfeiture
pursuant to 26 U.S.C. Section 5872.
23-ATF-025638: MACHINE GUN CONVERSION KIT RB INDUSTRIES FRT-15 Rare Breed Trigger, Serial No.
Unknown, valued at $100.00, seized by the ATF on May 09, 2023 from Lionel LEUNG in Saugus, MA for forfeiture
pursuant to 26 U.S.C. Section 5872.
23-ATF-027695: KRISS USA INC. (TRANSFORMATIONAL DEFENSE IND) KRISS VECTOR SMG MACHINE-GUN
CAL:ZZ SN:919P007052, valued at $1,000.00, seized by the ATF on March 01, 2023 from Davis Callan and Otis
Arms LLC in Littleton, MA for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027902: RB INDUSTRIES FRT-15 Forced Reset Trigger Machinegun CAL:ZZ SN:NONE, valued at $50.00,
seized by the ATF on June 23, 2023 from Defensive Dynamics in Littleton, MA for forfeiture pursuant to 26 U.S.C.
Section 5872.
23-ATF-027905: RB INDUSTRIES FRT-15 Forced Reset Trigger Machinegun CAL:ZZ SN:NONE, valued at $50.00,
seized by the ATF on June 23, 2023 from Defensive Dynamics in Littleton, MA for forfeiture pursuant to 26 U.S.C.
Section 5872.
23-ATF-027948: Grand Power STRIBOG SP9A3G PISTOL CAL:9 SN:GGA00654, valued at $900.00, seized by the
ATF on February 09, 2023 from Jeffrey STEINBRECHER in Allston, MA for forfeiture pursuant to 26 U.S.C. Section
5872.
23-ATF-027949: B&T GHM45 PISTOL CAL:45 SN:US22-65675, valued at $1,000.00, seized by the ATF on February
09, 2023 from Jeffrey STEINBRECHER in Allston, MA for forfeiture pursuant to 26 U.S.C. Section 5872.

DISTRICT OF MARYLAND
23-ATF-026418: Unknown Unknown Machine Gun Conversion CAL:Unknown SN:None, valued at $50.00, seized
by the ATF on June 26, 2023 from Tyrone JONES in Baltimore, MD for forfeiture pursuant to 26 U.S.C. Section
5872.
23-ATF-026451: MACHINE GUN CONVERSION KIT, MNF: UNKNOWN MANUFACTURER, TYPE: Machine Gun
CONVERSION DEVICE, MODEL: UNKNOWN TYPE, CAL: Unknown, SN: NONE, valued at $50.00, seized by the
ATF on June 26, 2023 from Tyrone JONES in Baltimore, MD for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-026463: ONE BLACK UNMARKED SUSPECTED SILENCER CAL:None SN:None, valued at $25.00,
seized by the ATF on June 26, 2023 from Tyrone JONES in Baltimore, MD for forfeiture pursuant to 26 U.S.C.
Section 5872.

DISTRICT OF MAINE
23-ATF-025205: Wide Open Trigger Forced Reset Trigger, Serial No. Unknown, valued at $1.00, seized by the ATF
on June 08, 2023 from Amber McAllister in China, ME for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-025392: Wide Open Trigger Forced Reset Trigger, Serial No. Unknown, valued at $1.00, seized by the ATF
on June 08, 2023 from Rhett McKenney in MADISON, ME for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-025393: Wide Open Trigger Forced Reset Trigger, Serial No. Unknown, valued at $1.00, seized by the ATF
on May 25, 2023 from Jeramy Perlman in PORTLAND, ME for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-025579: Wide Open Trigger Forced Reset Trigger, Serial No. Unknown, valued at $1.00, seized by the ATF
on June 05, 2023 from Michael Varney in Portland, ME for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-025581: Wide Open Trigger Forced Reset Trigger, Serial No. Unknown, valued at $1.00, seized by the ATF
on May 24, 2023 from Charles Wilson in PORTLAND, ME for forfeiture pursuant to 26 U.S.C. Section 5872.



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property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                         Page 159 of 257 PageID 674
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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LAST DATE TO FILE CLAIM: 10/03/2023
LAST DATE TO FILE PETITION: 10/13/2023

EASTERN DISTRICT OF MISSOURI
23-ATF-020427: Wide Open Trigger FRT Machinegun Conversion Kit CAL:Unknown SN:None, valued at $200.00,
seized by the ATF on May 16, 2023 from William Custred in Cape Girardeau, MO for forfeiture pursuant to 26
U.S.C. Section 5872.
23-ATF-020429: Wide Open Trigger FRT Machinegun Conversion Kit CAL:Unknown SN:None, valued at $200.00,
seized by the ATF on May 16, 2023 from William Custred in Cape Girardeau, MO for forfeiture pursuant to 26
U.S.C. Section 5872.
23-ATF-020430: Forced Reset Trigger Unknown Machinegun Conversion Kit CAL:Unknown SN:None, valued at
$200.00, seized by the ATF on May 16, 2023 from William Custred in Cape Girardeau, MO for forfeiture pursuant to
26 U.S.C. Section 5872.

EASTERN DISTRICT OF NORTH CAROLINA
23-ATF-027971: Wide Open Trigger Conversion Kit WOT Machinegun CAL:Unknown SN:NONE, valued at
$300.00, seized by the ATF on July 12, 2023 from Craig Steele in Four Oaks, NC for forfeiture pursuant to 26
U.S.C. Section 5872.

MIDDLE DISTRICT OF NORTH CAROLINA
23-ATF-026660: Rare Breed WOT Machinegun CAL:Unknown SN:NONE WOT Trigger for AR15, valued at
$150.00, seized by the ATF on July 13, 2023 from James Brian Tysinger in Greensboro, NC for forfeiture pursuant
to 26 U.S.C. Section 5872.

WESTERN DISTRICT OF NORTH CAROLINA
23-ATF-026854: Wide Open Enterprises - Rare Breed FRT Forced Reset Trigger Machinegun CAL:Unknown
SN:NONE, valued at $150.00, seized by the ATF on July 17, 2023 from Virgil Davis in Dallas, NC for forfeiture
pursuant to 26 U.S.C. Section 5872.
23-ATF-027952: Wide Open Triggers Unknown Machine Gun Conversion Device CAL:Unknown SN:None, valued
at $100.00, seized by the ATF on July 17, 2023 from Kendall Harrington in Statesville, NC for forfeiture pursuant to
26 U.S.C. Section 5872.
23-ATF-027982: PRIVATELY MADE FIREARM (PMF) Unknown Rifle CAL:5.56 SN:NONE, valued at $100.00, seized
by the ATF on July 14, 2023 from Grey Hester in Candler, NC for forfeiture pursuant to 26 U.S.C. Section 5872.

DISTRICT OF NEBRASKA
23-ATF-028449: Wide Open Trigger Unknown Machinegun Conversion Kit CAL:None SN:None, valued at $150.00,
seized by the ATF on August 02, 2023 from Derek Tresnak in Lincoln, NE for forfeiture pursuant to 26 U.S.C.
Section 5872.

DISTRICT OF NEVADA
23-ATF-028311: Wide Open Trigger (WOT) Forced Reset Trigger (FRT) Machine Gun CAL:Unknown SN:None,
valued at $300.00, seized by the ATF on August 02, 2023 from Jorge SANDOVAL in Las Vegas, NV for forfeiture
pursuant to 26 U.S.C. Section 5872.




[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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LAST DATE TO FILE CLAIM: 10/03/2023
LAST DATE TO FILE PETITION: 10/13/2023

NORTHERN DISTRICT OF OKLAHOMA
23-ATF-028345: PRIVATELY MADE FIREARM (PMF) UNKNOWN MACHINE GUN CON CAL:UNKNOWN SN:NONE,
valued at $1.00, seized by the ATF on June 21, 2023 from Carl COFFEY in CATOOSA, OK for forfeiture pursuant to
26 U.S.C. Section 5872.

DISTRICT OF SOUTH CAROLINA
23-ATF-026658: Rare Breed Triggers Rare Breed Machinegun CAL:Unknown SN:NONE Other Marks US PAT
10514223, valued at $150.00, seized by the ATF on July 06, 2023 from Luther Edgar Lindler in Columbia, SC for
forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-026659: Rare Breed Triggers Wide Open Trigger WOT Machinegun CAL:Unknown SN:NONE Forced
Reset Trigger, valued at $150.00, seized by the ATF on July 06, 2023 from Luther Edgar Lindler in Columbia, SC
for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027973: Wide Open Trigger Conversion Kit WOT for AR15 Machinegun CAL:Unknown SN:NONE, valued at
$300.00, seized by the ATF on July 13, 2023 from Benjamin Katenkamp in Columbia, SC for forfeiture pursuant to
26 U.S.C. Section 5872.

SOUTHERN DISTRICT OF TEXAS
23-ATF-028339: Remington Arms Company, Inc. 870 Express Magnum Shotgun CAL:12 SN:B757453M, valued at
$400.00, seized by the ATF on August 02, 2023 from Pedro Olivarez in Edinburg, TX for forfeiture pursuant to 26
U.S.C. Section 5872.

DISTRICT OF VERMONT
22-ATF-047055: UMAREX SPORTWAFFEN GMBH & CO. KG. HK416D Pistol CAL:22 SN:HB044351, valued at
$150.00, seized by the ATF on May 12, 2022 from Damien ROUSSEAU in FAIRLEE, VT for forfeiture pursuant to 26
U.S.C. Section 5872.
22-ATF-047056: UNMARKED, UNSERIALIZED BLACK 6 3/8" SILENCER (NO VISIBLE SERIAL
NUMBER) ATTACHED TO UMAREX HK416D AOW, Serial No. Unknown, valued at $100.00, seized by the ATF on
May 12, 2022 from Damien ROUSSEAU in FAIRLEE, VT for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027927: Wide Open Trigger AR-15 Machinegun Conversion Device CAL:UNKNOWN SN:NONE, valued at
$400.00, seized by the ATF on May 03, 2023 from Lloyd ELLISON in FAIRFAX, VT for forfeiture pursuant to 26 U.S.C.
Section 5872.
23-ATF-027928: Wide Open Trigger AR-15 Machinegun Conversion Device CAL:UNKNOWN SN:NONE, valued at
$400.00, seized by the ATF on May 03, 2023 from Lloyd ELLISON in FAIRFAX, VT for forfeiture pursuant to 26 U.S.C.
Section 5872.

NORTHERN DISTRICT OF WEST VIRGINIA
23-ATF-027939: UNKNOWN UNKNOWN MACHINEGUN CAL:UNKNOWN SN:NONE, valued at $300.00, seized by
the ATF on May 31, 2023 from Keith Groves in Arnoldsburg, WV for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027940: UNKNOWN UNKNOWN MACHINEGUN CAL:UNKNOWN SN:NONE, valued at $300.00, seized by
the ATF on May 31, 2023 from Keith Groves in Arnoldsburg, WV for forfeiture pursuant to 26 U.S.C. Section 5872.




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property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 161 of 257 PageID 676
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/13/2023

MIDDLE DISTRICT OF ALABAMA
23-ATF-027800: Taurus International TH9 Pistol CAL:9 SN:TLU51430, valued at $200.00, seized by the ATF on July
07, 2023 from Jonathan Salley in Dothan, AL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027802: Norinco (North China Industries) SKS Rifle CAL:762 SN:8053148, valued at $250.00, seized by
the ATF on July 07, 2023 from Jonathan Salley in Dothan, AL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027803: Taurus International PT111 G2 Pistol CAL:9 SN:TKW07168, valued at $200.00, seized by the ATF
on July 07, 2023 from Jonathan Salley in Dothan, AL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027804: HS Produkt (IM Metal) XD9 Pistol CAL:9 SN:XD216698, valued at $200.00, seized by the ATF on
July 07, 2023 from Jonathan Salley in Dothan, AL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027805: Aero Precision X15 Rifle CAL:Multi SN:AR10111, valued at $350.00, seized by the ATF on July 07,
2023 from Jonathan Salley in Dothan, AL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027806: Taurus International Pub Def Judge Poly Revolver CAL:45/410 SN:AAL080395, valued at $200.00,
seized by the ATF on July 07, 2023 from Jonathan Salley in Dothan, AL for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-027808: Colt Diamondback Revolver CAL:38 SN:N01575, valued at $200.00, seized by the ATF on July 07,
2023 from Jonathan Salley in Dothan, AL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027809: Francolin Intl. Arms Co. Citadel Pat Shotgun CAL:12 SN:21-35414, valued at $200.00, seized by
the ATF on July 07, 2023 from Jonathan Salley in Dothan, AL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027810: Norinco (North China Industries) SKS Rifle CAL:762 SN:00727, valued at $200.00, seized by the
ATF on July 07, 2023 from Jonathan Salley in Dothan, AL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027811: Century Arms International VSKA Rifle CAL:762 SN:SV7088038, valued at $200.00, seized by the
ATF on July 07, 2023 from Jonathan Salley in Dothan, AL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027812: 34 Rounds Assorted Ammunition CAL:12, valued at $3.40, seized by the ATF on July 07, 2023
from Jonathan Salley in Dothan, AL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027813: 56 Rounds Assorted Ammunition CAL:223, valued at $5.60, seized by the ATF on July 07, 2023
from Jonathan Salley in Dothan, AL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027814: 78 Rounds Assorted Ammunition CAL:9, valued at $7.80, seized by the ATF on July 07, 2023 from
Jonathan Salley in Dothan, AL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027815: 8 Rounds Assorted Ammunition CAL:45, valued at $0.80, seized by the ATF on July 07, 2023 from
Jonathan Salley in Dothan, AL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027816: 4 Rounds Assorted Ammunition CAL:40, valued at $0.40, seized by the ATF on July 07, 2023 from
Jonathan Salley in Dothan, AL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027817: 2 Rounds Assorted Ammunition CAL:38, valued at $0.20, seized by the ATF on July 07, 2023 from
Jonathan Salley in Dothan, AL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027818: 520 Rounds Assorted Ammunition CAL:Unknown, valued at $52.00, seized by the ATF on July 07,
2023 from Jonathan Salley in Dothan, AL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027819: 210 Rounds Assorted Ammunition CAL:Unknown, valued at $21.00, seized by the ATF on July 07,
2023 from Jonathan Salley in Dothan, AL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027820: 128 Rounds Assorted Ammunition CAL:762, valued at $12.80, seized by the ATF on July 07, 2023
from Jonathan Salley in Dothan, AL for forfeiture pursuant to 18 U.S.C. Section 924(d).




[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 162 of 257 PageID 677
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/13/2023

DISTRICT OF ARIZONA
23-ATF-026200: SMITH & WESSON M&P 15-22 Rifle CAL:22 SN:DFL2830, valued at $400.00, seized by the ATF
on July 03, 2023 from Jacob Inman in Mesa, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026201: SUN CITY MACHINERY CO Stevens 320 Shotgun CAL:12 SN:21257GB, valued at $350.00,
seized by the ATF on July 03, 2023 from Jacob Inman in Mesa, AZ for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026203: PALMETTO STATE ARMORY PA-15 Receiver/Frame CAL:Multi SN:SCB320369, valued at $65.00,
seized by the ATF on July 03, 2023 from Jacob Inman in Mesa, AZ for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026207: TAURUS G2C Pistol CAL:9 SN:TMR00838, valued at $400.00, seized by the ATF on July 03, 2023
from Jacob Inman in Mesa, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026210: AERO PRECISION M5 Rifle CAL:Multi SN:US277155, valued at $800.00, seized by the ATF on July
03, 2023 from Ty Harada in Queen Creek, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026218: TURKEY Unknown Type Shotgun CAL:Unknown SN:21SA-KR75713, valued at $300.00, seized by
the ATF on July 03, 2023 from Ty Harada in Queen Creek, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026220: AERO PRECISION EPC-9 Pistol CAL:Multi SN:SF-051815, valued at $650.00, seized by the ATF
on July 03, 2023 from Ty Harada in Queen Creek, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027778: FNH USA, LLC Scar 17S Rifle CAL:308 SN:H1C21877, valued at $2,000.00, seized by the ATF on
July 25, 2023 from Gina FELKNER in Yuma, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027919: FNH USA, LLC M249S Rifle CAL:556 SN:M249SA09207, valued at $20,000.00, seized by the ATF
on July 26, 2023 from Jose ARCINEDA EUFRACIO in Tempe, AZ for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-027929: FNH USA, LLC M249S Rifle CAL:556 SN:M249SA09231, valued at $20,000.00, seized by the ATF
on July 26, 2023 from Jose ARCINEDA EUFRACIO in Tempe, AZ for forfeiture pursuant to 18 U.S.C. Section
924(d).

CENTRAL DISTRICT OF CALIFORNIA
23-ATF-028258: Springfield Armory, Geneseo, IL XD-45 Pistol CAL:45 SN:XD702246, valued at $400.00, seized by
the ATF on July 17, 2023 from Miguel Sandoval-Bautista in Westminster, CA for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-028273: Mossberg 250C Rifle CAL:22 SN:None, valued at $600.00, seized by the ATF on July 17, 2023
from Miguel Sandoval-Bautista in Westminster, CA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028279: Remington Arms Company, Inc. M887 Shotgun CAL:12 SN:AAE064100A, valued at $300.00,
seized by the ATF on July 17, 2023 from Miguel Sandoval-Bautista in Westminster, CA for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-028280: Remington Arms Company, Inc. 770 Rifle CAL:30-06 SN:M71927871, valued at $280.00, seized
by the ATF on July 17, 2023 from Miguel Sandoval-Bautista in Westminster, CA for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-028282: Ledesma Arms LAM-15 Rifle CAL:Multi SN:LAM00280, valued at $380.00, seized by the ATF on
July 17, 2023 from Miguel Sandoval-Bautista in Westminster, CA for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-028284: Juggernaut Tactical, Inc. JT-9 Receiver/Frame CAL:Unknown SN:None, valued at $150.00, seized
by the ATF on July 17, 2023 from Miguel Sandoval-Bautista in Westminster, CA for forfeiture pursuant to 18 U.S.C.
Section 924(d).




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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 163 of 257 PageID 678
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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property based on hardship.


LAST DATE TO FILE: 10/13/2023

DISTRICT OF COLORADO
23-ATF-027735: GLOCK GMBH 17GEN5 PISTOL CAL:9 SN:BZZW798, valued at $3,000.00, seized by the ATF on
July 21, 2023 from Paul Royer in Aurora, CO for forfeiture pursuant to 18 U.S.C. Section 924(d).

DISTRICT OF COLUMBIA
19-ATF-042078: 526 Rounds Assorted Ammunition CAL:223, Serial No. Unknown, valued at $52.60, seized by the
ATF on October 22, 2018 from Victor PARKER in Washington, DC for forfeiture pursuant to 18 U.S.C. Section
924(d).
19-ATF-042079: 15 Rounds WINCHESTER-WESTERN Ammunition CAL:410, Serial No. Unknown, valued at
$1.50, seized by the ATF on October 22, 2018 from Victor PARKER in Washington, DC for forfeiture pursuant to 18
U.S.C. Section 924(d).
19-ATF-042080: 19 Rounds WESTERN CARTRIDGE CO Ammunition CAL:12, Serial No. Unknown, valued at
$1.90, seized by the ATF on October 22, 2018 from Victor PARKER in Washington, DC for forfeiture pursuant to 18
U.S.C. Section 924(d).
19-ATF-042081: 20 Rounds WINCHESTER-WESTERN Ammunition CAL:45, Serial No. Unknown, valued at $2.00,
seized by the ATF on October 22, 2018 from Victor PARKER in Washington, DC for forfeiture pursuant to 18 U.S.C.
Section 924(d).
19-ATF-042082: 13 Rounds Unknown Ammunition CAL:45, Serial No. Unknown, valued at $1.30, seized by the
ATF on October 22, 2018 from Victor PARKER in Washington, DC for forfeiture pursuant to 18 U.S.C. Section
924(d).
19-ATF-042083: 15 Rounds HORNADY Ammunition CAL:380, Serial No. Unknown, valued at $1.50, seized by the
ATF on October 22, 2018 from Victor PARKER in Washington, DC for forfeiture pursuant to 18 U.S.C. Section
924(d).
19-ATF-042084: 157 Rounds OTHER Ammunition CAL:9, Serial No. Unknown, valued at $15.70, seized by the ATF
on October 22, 2018 from Victor PARKER in Washington, DC for forfeiture pursuant to 18 U.S.C. Section 924(d).
19-ATF-042085: EXTAR, LLC EXP556 Pistol CAL:556 SN:EP06567, valued at $300.00, seized by the ATF on
October 22, 2018 from Victor PARKER in Washington, DC for forfeiture pursuant to 18 U.S.C. Section 924(d).




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property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/13/2023

MIDDLE DISTRICT OF FLORIDA
23-ATF-027240: FIREARM: HANDGUN, MNF: SIG SAUER (SIG-ARMS) P365 PISTOL CAL:9 SN:66F105106, valued
at $400.00, seized by the ATF on July 18, 2023 from Dudzinski POOLE in Orlando, FL for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-027244: 10 Rounds AMMUNITION: AMMUNITION, QTY: 10, MNF: WINCHESTER-WESTERN CAL:9, Serial
No. Unknown, valued at $1.00, seized by the ATF on July 18, 2023 from Dudzinski POOLE in Orlando, FL for
forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027245: FIREARM: HANDGUN, MNF: FNH USA, LLC FNX-45 TACTICAL PISTOL CAL:45 SN:FX3U099856,
valued at $500.00, seized by the ATF on July 18, 2023 from Dudzinski POOLE in Orlando, FL for forfeiture pursuant
to 18 U.S.C. Section 924(d).
23-ATF-027247: 14 Rounds AMMUNITION: AMMUNITION,QTY:14,MNF:CBC -CBC - BRAZILIAN CARTTIDGE
COMPANY CAL:45, Serial No. Unknown, valued at $1.40, seized by the ATF on July 18, 2023 from Dudzinski
POOLE in Orlando, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027256: 29 Rounds AMMUNITION: AMMUNITION, QTY: 29, MNF: ASSORTED Ammunition CAL:762, Serial
No. Unknown, valued at $2.90, seized by the ATF on July 18, 2023 from Dudzinski POOLE in Orlando, FL for
forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027259: 31 Rounds AMMUNITION: AMMUNITION, QTY: 31, MNF: ASSORTED Ammunition CAL:762, Serial
No. Unknown, valued at $3.10, seized by the ATF on July 18, 2023 from Dudzinski POOLE in Orlando, FL for
forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027265: 29 Rounds AMMUNITION, QTY: 29, MNF: WINCHESTER-WESTERN Ammunition CAL:9, Serial
No. Unknown, valued at $2.90, seized by the ATF on July 18, 2023 from Dudzinski POOLE in Orlando, FL for
forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027270: 20 Rounds AMMUNITION, QTY: 20, MNF: ASSORTED Ammunition CAL:223, Serial No. Unknown,
valued at $2.00, seized by the ATF on July 18, 2023 from Dudzinski POOLE in Orlando, FL for forfeiture pursuant to
18 U.S.C. Section 924(d).
23-ATF-027280: FIREARM: HANDGUN, MNF: ROMARM/CUGIR DRACO PISTOL CAL:762 SN:DF-1450-19 RO,
valued at $900.00, seized by the ATF on July 18, 2023 from Dudzinski POOLE in Orlando, FL for forfeiture pursuant
to 18 U.S.C. Section 924(d).
23-ATF-027283: FIREARM: RIFLE, MNF: SMITH & WESSON M&P 15 Rifle CAL:223 SN:TE97851, valued at
$700.00, seized by the ATF on July 18, 2023 from Dudzinski POOLE in Orlando, FL for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-027285: FIREARM: HANDGUN, MNF: GLOCK GMBH 19GEN5 Pistol CAL:9 SN:BHCZ522, valued at
$600.00, seized by the ATF on July 18, 2023 from Dudzinski POOLE in Orlando, FL for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-027305: 39 Rounds AMMUNITION: AMMUNITION, QTY: 39, MNF: HORNADY Ammunition CAL:9, Serial No.
Unknown, valued at $3.90, seized by the ATF on July 18, 2023 from Rodrieka MANNING in Mount Dora, FL for
forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027306: 7 Rounds AMMUNITION, QTY: 7, MNF: HORNADY Ammunition CAL:9, Serial No. Unknown, valued
at $0.70, seized by the ATF on July 18, 2023 from Rodrieka MANNING in Mount Dora, FL for forfeiture pursuant to
18 U.S.C. Section 924(d).




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property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 165 of 257 PageID 680
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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property based on hardship.


LAST DATE TO FILE: 10/13/2023

NORTHERN DISTRICT OF FLORIDA
23-ATF-027533: SAWED OFF RIFLE/SHOTGUN (Short Barrel),MNF: REMINGTON 870 EXPRESS MAG Shotgun
CAL:12 SN:A808903M, valued at $350.00, seized by the ATF on July 12, 2023 from Brian Todd BURSE in
Pensacola, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027534: 2 Rounds AMMUNITION: AMMUNITION, QTY: 2, MNF: UNKNOWN Ammunition CAL:12, Serial No.
Unknown, valued at $0.20, seized by the ATF on July 12, 2023 from Brian Todd BURSE in Pensacola, FL for
forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027535: 1 Rounds AMMUNITION: AMMUNITION, QTY: 1, MNF: UNKNOWN Ammunition CAL:12, Serial No.
Unknown, valued at $0.10, seized by the ATF on July 12, 2023 from Brian Todd BURSE in Pensacola, FL for
forfeiture pursuant to 18 U.S.C. Section 924(d).

SOUTHERN DISTRICT OF FLORIDA
23-ATF-019634: GLOCK GMBH 27GEN4 PISTOL CAL:40 SN:WZX813, valued at $100.00, seized by the ATF on
March 29, 2023 from AQUARIUS JACKSON in MIAMI, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-019638: 15 Rounds ASSORTED Ammunition CAL:40, valued at $1.50, seized by the ATF on March 29,
2023 from AQUARIUS JACKSON in MIAMI, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026666: UNKNOWN MANUFACTURER UNKNOWN PISTOL CAL:22 SN:NONE, valued at $40.00, seized
by the ATF on July 06, 2023 from KENNETH HANNERS in PORT SAINT LUCIE, FL for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-028334: GLOCK GMBH 19GEN5 PISTOL CAL:9 SN:BREY526, valued at $400.00, seized by the ATF on
July 24, 2023 from RON JUBA JR in FORT LAUDERDALE, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028337: 23 Rounds ASSORTED Ammunition CAL:9, valued at $2.30, seized by the ATF on July 24, 2023
from RON JUBA JR in FORT LAUDERDALE, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).




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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/13/2023

NORTHERN DISTRICT OF GEORGIA
23-ATF-023786: $5,183.00 U.S. Currency, seized by the ATF on June 14, 2023 from Dexter Roberts III in Locust
Grove, GA for forfeiture pursuant to 18 U.S.C. Section 981(a)(1)(C) Tr.
23-ATF-023873: Glock Inc. 43 Pistol CAL:9 SN:AHLU878, valued at $500.00, seized by the ATF on June 14, 2023
from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023876: Glock Inc. 43 Pistol CAL:9 SN:AHFG731, valued at $500.00, seized by the ATF on June 14, 2023
from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023877: Glock GMBH 43 Pistol CAL:9 SN:BCZM807, valued at $500.00, seized by the ATF on June 14,
2023 from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023878: Glock Inc. 43 Pistol CAL:9 SN: AHDB802, valued at $500.00, seized by the ATF on June 14, 2023
from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023880: Glock Inc. 43 Pistol CAL:9 SN:AHDG548, valued at $500.00, seized by the ATF on June 14, 2023
from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023881: Glock Inc. 43 Pistol CAL:9 SN:AGLD061, valued at $500.00, seized by the ATF on June 14, 2023
from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023882: Glock Inc. 43 Pistol CAL:9 SN:AHFG912, valued at $500.00, seized by the ATF on June 14, 2023
from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023884: Glock GMBH 30S Pistol CAL:45 SN:XLH218, valued at $500.00, seized by the ATF on June 14,
2023 from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023885: Glock Inc. 43 Pistol CAL:9 SN:BKDD524, valued at $500.00, seized by the ATF on June 14, 2023
from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023886: Glock Inc. 43 Pistol CAL:9 SN:AHTR746, valued at $500.00, seized by the ATF on June 14, 2023
from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023887: Glock GMBH 19 Pistol CAL:9 SN:LY843 US, valued at $550.00, seized by the ATF on June 14,
2023 from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023888: Glock GMBH 26 Pistol CAL:9 SN:BCLG553, valued at $500.00, seized by the ATF on June 14,
2023 from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023889: Glock GMBH 30S Pistol CAL:45 SN:BUSY551, valued at $500.00, seized by the ATF on June 14,
2023 from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023890: Glock GMBH 19X Pistol CAL:9 SN:BWHC143, valued at $500.00, seized by the ATF on June 14,
2023 from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023892: Glock GMBH 19GEN4 Pistol CAL:9 SN:BLTM399, valued at $500.00, seized by the ATF on June
14, 2023 from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023893: Glock GMBH 30S Pistol CAL:45 SN:YVT286, valued at $500.00, seized by the ATF on June 14,
2023 from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023897: Glock Inc. 43 Pistol CAL:9 SN:AHFG730, valued at $500.00, seized by the ATF on June 14, 2023
from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023899: Glock GMBH 19X Pistol CAL:9 SN:BWCH134, valued at $500.00, seized by the ATF on June 14,
2023 from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023903: Glock Inc. 43 Pistol CAL:9 SN:AFEX594, valued at $500.00, seized by the ATF on June 14, 2023
from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023905: Glock GMBH 19GEN5 Pistol CAL:9 SN:BYMN707, valued at $500.00, seized by the ATF on June
14, 2023 from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023908: Glock Inc. 43 Pistol CAL:9 SN:AHDB807, valued at $500.00, seized by the ATF on June 14, 2023
from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023910: Glock GMBH 43 Pistol CAL:9 SN:ZGY288, valued at $500.00, seized by the ATF on June 14, 2023
(Continued on next page)
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property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/13/2023

NORTHERN DISTRICT OF GEORGIA
23-ATF-023910 - (Continued from previous page)
from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023914: Glock GMBH 19 Pistol CAL:9 SN:SV819 US, valued at $500.00, seized by the ATF on June 14,
2023 from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023916: Glock GMBH 19GEN5 Pistol CAL:9 SN:BYMG911, valued at $500.00, seized by the ATF on June
14, 2023 from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023918: Glock Inc. 43 Pistol CAL:9 SN:AHFK448, valued at $500.00, seized by the ATF on June 14, 2023
from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023919: Glock GMBH 30 Pistol CAL:45 SN:KKN870, valued at $500.00, seized by the ATF on June 14,
2023 from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023921: Glock Inc. 43 Pistol CAL:9 SN:AHFK027, valued at $500.00, seized by the ATF on June 14, 2023
from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023922: Glock GMBH 19GEN5 Pistol CAL:9 SN:BYMN708, valued at $550.00, seized by the ATF on June
14, 2023 from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023924: Glock GMBH 19 Pistol CAL:9 SN:BPWS964, valued at $550.00, seized by the ATF on June 14,
2023 from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023925: Glock Inc. 43 Pistol CAL:9 SN:AGLA861, valued at $500.00, seized by the ATF on June 14, 2023
from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023926: Glock GMBH 19GEN5 Pistol CAL:9 SN:BYFH040, valued at $500.00, seized by the ATF on June
14, 2023 from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023927: Glock GMBH 26 Pistol CAL:9 SN:BZML829, valued at $500.00, seized by the ATF on June 14,
2023 from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023928: Glock GMBH 19 Pistol CAL:9 SN:BWYC599, valued at $500.00, seized by the ATF on June 14,
2023 from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023929: Glock GMBH 43 Pistol CAL:9 SN:AHBE269, valued at $500.00, seized by the ATF on June 14,
2023 from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023930: Glock GMBH 26 Pistol CAL:9 SN:BZML831, valued at $500.00, seized by the ATF on June 14,
2023 from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023931: Glock Inc. 26GEN5 Pistol CAL:9 SN:ADGG882, valued at $500.00, seized by the ATF on June 14,
2023 from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023932: Glock GMBH 43 Pistol CAL:9 SN:BHPN541, valued at $500.00, seized by the ATF on June 14,
2023 from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023933: Glock GMBH 26 Pistol CAL:9 SN:BZML830, valued at $500.00, seized by the ATF on June 14,
2023 from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023936: Glock Inc. 26GEN5 Pistol CAL:9 SN:ADGG747, valued at $500.00, seized by the ATF on June 14,
2023 from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023937: Glock Inc. 43 Pistol CAL:9 SN:AHBE289, valued at $500.00, seized by the ATF on June 14, 2023
from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023938: Glock Inc. 26GEN5 Pistol CAL:9 SN:AGKD144, valued at $500.00, seized by the ATF on June 14,
2023 from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023940: Romarm/Cugir Micro Draco Pistol CAL:762 SN:ROA23PMD41207, valued at $500.00, seized by
the ATF on June 14, 2023 from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-023941: F.N. (FN Herstal) Five-Seven MK3 Pistol CAL:57 SN:386451180, valued at $1,300.00, seized by
the ATF on June 14, 2023 from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/13/2023

NORTHERN DISTRICT OF GEORGIA
23-ATF-023941 - (Continued from previous page)
924(d).
23-ATF-023942: F.N. (FN Herstal) Five-Seven MK3 Pistol CAL:57 SN:386451072, valued at $1,300.00, seized by
the ATF on June 14, 2023 from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-023943: Century Arms International VSKA Pistol CAL:762 SN:SV7P011764, valued at $850.00, seized by
the ATF on June 14, 2023 from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-023945: Glock GMBH 19 Pistol CAL:9 SN:BWGB956, valued at $500.00, seized by the ATF on June 14,
2023 from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023946: Glock GMBH 30S Pistol CAL:45 SN:BVNU372, valued at $500.00, seized by the ATF on June 14,
2023 from Dexter Roberts III in Locust Grove, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).




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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 169 of 257 PageID 684
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                                                        LEGAL NOTICE
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LAST DATE TO FILE: 10/13/2023

SOUTHERN DISTRICT OF IOWA
23-ATF-007422: Glock GMBH 42 Pistol CAL:380 SN:AFWS058, valued at $150.00, seized by the ATF on February
10, 2023 from Deon Cooper in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-007423: 6 Rounds Assorted Ammunition CAL:380, valued at $0.60, seized by the ATF on February 10,
2023 from Deon Cooper in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-011136: 557 Rounds Assorted Ammunition CAL:Multi, valued at $55.70, seized by the ATF on February 10,
2023 from Dawn Robinson in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d). Items described
as: 385 385 Rounds Unknown Ammunition CAL:Multi, valued at $38.50; 26 26 Rounds Sig Sauer (SIG)
Ammunition CAL:45, valued at $2.60; 5 5 Rounds Unknown Ammunition CAL:Unknown, valued at $0.50; 12 12
Rounds Smith & Wesson Ammunition CAL:40, valued at $1.20; 29 29 Rounds Other Ammunition CAL:Unknown,
valued at $2.90; 12 12 Rounds Other Ammunition CAL:380, valued at $1.20; 36 36 Rounds Other Ammunition
CAL:Unknown, valued at $3.60; 5 5 Rounds Other Ammunition CAL:380, valued at $0.50; 8 8 Rounds Ammo Inc.
Ammunition CAL:45, valued at $0.80; 12 12 Rounds Hornady Ammunition CAL:10, valued at $1.20; 20 20 Rounds
Other Ammunition CAL:Unknown, valued at $2.00; 7 7 Rounds Other Ammunition CAL:380, valued at $0.70.
23-ATF-011146: BERSA Thunder 380 Pistol CAL:380 SN:E48291, valued at $225.00, seized by the ATF on
February 10, 2023 from Dawn Robinson in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-011147: AERO PRECISION X15 Pistol CAL:Multi SN:X430064, valued at $500.00, seized by the ATF on
February 10, 2023 from Dawn Robinson in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-011153: GLOCK GMBH 29 Pistol CAL:10 SN:BDGC181, valued at $295.00, seized by the ATF on February
10, 2023 from Santiz Langford in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-011157: 19 Rounds Assorted Ammunition CAL:10, valued at $1.90, seized by the ATF on February 10, 2023
from Santiz Langford in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-011158: GLOCK GMBH 20 Pistol CAL:10 SN:BYGE189, valued at $225.00, seized by the ATF on February
10, 2023 from Santiz Langford in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-011159: 16 Rounds Unknown Ammunition CAL:10, valued at $1.60, seized by the ATF on February 10,
2023 from Santiz Langford in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-011160: GLOCK GMBH 20 Pistol CAL:10 SN:BXHG838, valued at $225.00, seized by the ATF on February
10, 2023 from Santiz Langford in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-011161: 23 Rounds Unknown Ammunition CAL:10, valued at $2.30, seized by the ATF on February 10,
2023 from Santiz Langford in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-011162: 4 Rounds Assorted Ammunition CAL:380, valued at $0.40, seized by the ATF on February 10, 2023
from Dawn Robinson in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-011163: 1 Rounds PMC Ammunition CAL:9, valued at $0.10, seized by the ATF on February 10, 2023 from
Santiz Langford in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-011637: $6,000.00 U.S. Currency, seized by the ATF on February 10, 2023 from Santiz Langford in Des
Moines, IA for forfeiture pursuant to 21 U.S.C. Section 881.
23-ATF-011638: $70.00 U.S. Currency, seized by the ATF on February 10, 2023 from Santiz Langford in Des
Moines, IA for forfeiture pursuant to 21 U.S.C. Section 881.
23-ATF-011639: $3,792.00 U.S. Currency, seized by the ATF on February 10, 2023 from Terry Stephens in Des
Moines, IA for forfeiture pursuant to 21 U.S.C. Section 881.
23-ATF-011640: $178.00 U.S. Currency, seized by the ATF on February 10, 2023 from Terry Stephens in Des
Moines, IA for forfeiture pursuant to 21 U.S.C. Section 881.
23-ATF-022519: 1 Rounds Remington Ammunition CAL:9, valued at $0.10, seized by the ATF on June 07, 2023
from Deadrian Nelson in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-022525: Smith & Wesson M&P 40 Shield Pistol CAL:40 SN:HSX2206, valued at $400.00, seized by the ATF
on June 07, 2023 from Deadrian Nelson in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).


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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 170 of 257 PageID 685
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/13/2023

SOUTHERN DISTRICT OF IOWA
23-ATF-022526: 5 Rounds Sig Sauer (SIG) Ammunition CAL:40, valued at $0.50, seized by the ATF on June 07,
2023 from Johnetta Strode in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-022527: 3 Rounds Assorted Ammunition CAL:Multi, valued at $0.30, seized by the ATF on June 07, 2023
from Deadrian Nelson in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-022528: 19 Rounds LC (Lake City) Ammunition CAL:556, valued at $1.90, seized by the ATF on June 07,
2023 from Deadrian Nelson in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-022529: 1 Rounds Federal Ammunition CAL:40, valued at $0.10, seized by the ATF on June 07, 2023 from
Deadrian Nelson in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-022530: 14 Rounds Assorted Ammunition CAL:40, valued at $1.40, seized by the ATF on June 07, 2023
from Deadrian Nelson in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-022532: Sig Sauer (Sig-Arms) P365 Pistol CAL:9 SN:66F367559, valued at $400.00, seized by the ATF on
June 07, 2023 from Deadrian Nelson in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-022533: 14 Rounds Assorted Ammunition CAL:9, valued at $1.40, seized by the ATF on June 07, 2023
from Deadrian Nelson in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-022535: 52 Rounds Assorted Ammunition CAL:Multi, valued at $5.20, seized by the ATF on June 07, 2023
from Johnetta Strode in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027869: Glock GMBH 19 Pistol CAL:9 SN:BTCK740, valued at $400.00, seized by the ATF on July 16, 2023
from TJ Lebaugh in Council Bluffs, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027870: 29 Rounds Assorted Ammunition CAL:9, valued at $2.90, seized by the ATF on July 16, 2023 from
TJ Lebaugh in Council Bluffs, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028367: SCT Manufacturing, LLC Unknown Pistol CAL:9 SN:AAA0005944, valued at $500.00, seized by
the ATF on July 20, 2023 from Dawn Robinson in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-028368: Colt Unknown Rifle CAL:223 SN:CH017492, valued at $1,000.00, seized by the ATF on July 20,
2023 from Dawn Robinson in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028369: 29 Rounds Assorted Ammunition CAL:223, valued at $2.90, seized by the ATF on July 20, 2023
from Dawn Robinson in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028371: 103 Rounds Assorted Ammunition CAL:Multi, valued at $10.30, seized by the ATF on July 20, 2023
from Dawn Robinson in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028372: 1 Rounds Remington Ammunition CAL:12, valued at $0.10, seized by the ATF on July 20, 2023
from Dawn Robinson in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028373: 3 Rounds Assorted Ammunition CAL:45, valued at $0.30, seized by the ATF on July 20, 2023 from
Dawn Robinson in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028374: 13 Rounds Smith & Wesson Ammunition CAL:40, valued at $1.30, seized by the ATF on July 20,
2023 from Dawn Robinson in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028376: 9 Rounds Assorted Ammunition CAL:Multi, valued at $0.90, seized by the ATF on July 20, 2023
from Dawn Robinson in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028377: 26 Rounds Assorted Ammunition CAL:223, valued at $2.60, seized by the ATF on July 20, 2023
from Dawn Robinson in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028378: 2 Rounds Assorted Ammunition CAL:9, valued at $0.20, seized by the ATF on July 20, 2023 from
Dawn Robinson in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028379: 26 Rounds Assorted Ammunition CAL:9, valued at $2.60, seized by the ATF on July 20, 2023 from
Dawn Robinson in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028380: 3 Rounds Assorted Ammunition CAL:223, valued at $0.30, seized by the ATF on July 20, 2023
from Dawn Robinson in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).


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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 171 of 257 PageID 686
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/13/2023

SOUTHERN DISTRICT OF IOWA
23-ATF-028381: 13 Rounds Assorted Ammunition CAL:38, valued at $1.30, seized by the ATF on July 20, 2023
from Dawn Robinson in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028382: 7 Rounds Assorted Ammunition CAL:45, valued at $0.70, seized by the ATF on July 20, 2023 from
Dawn Robinson in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028383: 2 Rounds Assorted Ammunition CAL:223, valued at $0.20, seized by the ATF on July 20, 2023
from Dawn Robinson in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028384: 2 Rounds Assorted Ammunition CAL:40, valued at $0.20, seized by the ATF on July 20, 2023 from
Dawn Robinson in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028385: 33 Rounds Assorted Ammunition CAL:40, valued at $3.30, seized by the ATF on July 20, 2023
from Dawn Robinson in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028390: Glock Inc. 30 Pistol CAL:45 SN:BYGP980, valued at $500.00, seized by the ATF on July 20, 2023
from Trent Brown in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028391: 11 Rounds Winchester-Western Ammunition CAL:45, valued at $1.10, seized by the ATF on July
20, 2023 from Trent Brown in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028393: 3 Rounds Assorted Ammunition CAL:Multi, valued at $0.30, seized by the ATF on July 20, 2023
from Trent Brown in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028394: 5 Rounds Smith & Wesson Ammunition CAL:40, valued at $0.50, seized by the ATF on July 20,
2023 from Trent Brown in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028395: 14 Rounds Assorted Ammunition CAL:9, valued at $1.40, seized by the ATF on July 20, 2023 from
Trent Brown in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028396: 3 Rounds Assorted Ammunition CAL:45, valued at $0.30, seized by the ATF on July 20, 2023 from
Trent Brown in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028398: 33 Rounds Assorted Ammunition CAL:9, valued at $3.30, seized by the ATF on July 20, 2023 from
Trent Brown in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028403: 1 Rounds Unknown Ammunition CAL:380, valued at $0.10, seized by the ATF on July 20, 2023
from Deadrian Nelson in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028409: Glock GMBH 21 Pistol CAL:45 SN:AGUU772, valued at $500.00, seized by the ATF on July 20,
2023 from Armani Gates in Clive, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028410: 26 Rounds Assorted Ammunition CAL:Multi, valued at $2.60, seized by the ATF on July 20, 2023
from Armani Gates in Clive, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028414: 33 Rounds Assorted Ammunition CAL:45, valued at $3.30, seized by the ATF on July 20, 2023
from Majok Majok in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028418: 15 Rounds Assorted Ammunition CAL:Multi, valued at $1.50, seized by the ATF on July 20, 2023
from Majok Majok in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028419: Ruger Security-9 Pistol CAL:9 SN:383-30080, valued at $50.00, seized by the ATF on July 20,
2023 from Johnetta Strode in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028420: 4 Rounds Assorted Ammunition CAL:9, valued at $0.40, seized by the ATF on July 20, 2023 from
Johnetta Strode in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028423: 1 Rounds Unknown Ammunition CAL:9, valued at $0.10, seized by the ATF on July 20, 2023 from
Deon Cooper in Des Moines, IA for forfeiture pursuant to 18 U.S.C. Section 924(d).




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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 172 of 257 PageID 687
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LAST DATE TO FILE: 10/13/2023

CENTRAL DISTRICT OF ILLINOIS
23-ATF-027581: LOW EXPLOSIVES, QTY: 303, MEA: ASSORTED , BLACK COLORED CRAFT ROLL TUBES
APPROXIMATLEY 200 MM X 35 MM, SIDE PRIMED WITH GREEN HOBBY FUSE CONTAINING SUSPECTED
FLASHPOWDER., valued at $20.00, seized by the ATF on June 20, 2023 from Rickie Yates in Champaign, IL for
forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-027584: LOW EXPLOSIVES, QTY: 1, MEA: ASSORTED , BLACK COLORED CRAFT ROLL
TUBES APPROXIMATLEY 200 MM X 35 MM, SIDE PRIMED WITH GREEN HOBBY FUSE CONTAINING
SUSPECTED FLASHPOWDER., valued at $20.00, seized by the ATF on June 20, 2023 from Rickie Yates in
Champaign, IL for forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-027585: LOW EXPLOSIVES, QTY: 32, MEA: ASSORTED , BLACK COLORED CARBOARD
STRAIGHT TUBES APPROX. 200 MM X 40 MM, SIDE PRIMED WITH GREEN HOBBY FUSE CONTAINING
SUSPECTED FLASHPOWDER., valued at $20.00, seized by the ATF on June 20, 2023 from Rickie Yates in
Champaign, IL for forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-027586: LOW EXPLOSIVES, QTY: 1, MEA: ASSORTED , BLACK COLORED CARBOARD
STRAIGHT TUBE APPROX. 200 MM X 40 MM, SIDE PRIMED WITH GREEN HOBBY FUSE CONTAINING
SUSPECTED FLASHPOWDER., valued at $20.00, seized by the ATF on June 20, 2023 from Rickie Yates in
Champaign, IL for forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-027587: LOW EXPLOSIVES, QTY: 47, MEA: ASSORTED , ORANGE COLORED CARBOARD
TUBE APPROX. 101 MM X 32 MM, SIDE PRIMED WITH GREEN HOBBY FUSE CONTAINING SUSPECTED
FLASHPOWDER., valued at $10.00, seized by the ATF on June 20, 2023 from Rickie Yates in Champaign, IL for
forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-027591: LOW EXPLOSIVES, QTY: 1, MEA: ASSORTED , ORANGE COLORED CARBOARD
TUBE APPROX. 101 MM X 32 MM, SIDE PRIMED WITH GREEN HOBBY FUSE CONTAINING SUSPECTED
FLASHPOWDER., valued at $10.00, seized by the ATF on June 20, 2023 from Rickie Yates in Champaign, IL for
forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-027592: LOW EXPLOSIVES, QTY: 21, MEA: ASSORTED , ORANGE COLORED CARBOARD
TUBE APPROX. 101 MM X 32 MM, SIDE PRIMED WITH RED HOBBY FUSE CONTAINING SUSPECTED
FLASHPOWDER., valued at $10.00, seized by the ATF on June 20, 2023 from Rickie Yates in Champaign, IL for
forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-027593: LOW EXPLOSIVES, QTY: 1, MEA: ASSORTED , ORANGE COLORED CARBOARD
TUBE APPROX. 101 MM X 32 MM, SIDE PRIMED WITH RED HOBBY FUSE CONTAINING SUSPECTED
FLASHPOWDER., valued at $10.00, seized by the ATF on June 20, 2023 from Rickie Yates in Champaign, IL for
forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-027595: LOW EXPLOSIVES, QTY: 392, MEA: ASSORTED , ORANGE COLORED CARBOARD
TUBE APPROX. 101 MM X 32 MM, SIDE PRIMED WITH STRIPED HOBBY FUSE CONTAINING SUSPECTED
FLASHPOWDER., valued at $10.00, seized by the ATF on June 20, 2023 from Rickie Yates in Champaign, IL for
forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-027596: LOW EXPLOSIVES, QTY: 1, MEA: ASSORTED , ORANGE COLORED CARBOARD
TUBE APPROX. 101 MM X 32 MM, SIDE PRIMED WITH STRIPED HOBBY FUSE CONTAINING SUSPECTED
FLASHPOWDER., valued at $10.00, seized by the ATF on June 20, 2023 from Rickie Yates in Champaign, IL for
forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-027598: LOW EXPLOSIVES, QTY: 18, MEA: ASSORTED , RED/WHITE/BLUE COLORED
CARBOARD TUBE APPROX. 54 MM X 25 MM, SIDE PRIMED WITH RED HOBBY FUSE CONTAINING
SUSPECTED FLASHPOWDER., valued at $10.00, seized by the ATF on June 20, 2023 from Rickie Yates in
Champaign, IL for forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-027599: LOW EXPLOSIVES, QTY: 1, MEA: ASSORTED , RED/WHITE/BLUE COLORED
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/13/2023

CENTRAL DISTRICT OF ILLINOIS
23-ATF-027599 - (Continued from previous page)
CARBOARD TUBE APPROX. 54 MM X 25 MM, SIDE PRIMED WITH RED HOBBY FUSE CONTAINING
SUSPECTED FLASHPOWDER., valued at $10.00, seized by the ATF on June 20, 2023 from Rickie Yates in
Champaign, IL for forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-027601: LOW EXPLOSIVES, QTY: 6, MEA: ASSORTED , RED/WHITE/BLUE COLORED
CARBOARD TUBE APPROX. 54 MM X 25 MM, SIDE PRIMED WITH GREEN HOBBY FUSE CONTAINING
SUSPECTED FLASHPOWDER., valued at $10.00, seized by the ATF on June 20, 2023 from Rickie Yates in
Champaign, IL for forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-027602: LOW EXPLOSIVES, QTY: 1, MEA: ASSORTED , RED/WHITE/BLUE COLORED
CARBOARD TUBE APPROX. 54 MM X 25 MM, SIDE PRIMED WITH GREEN HOBBY FUSE CONTAINING
SUSPECTED FLASHPOWDER., valued at $10.00, seized by the ATF on June 20, 2023 from Rickie Yates in
Champaign, IL for forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-027603: LOW EXPLOSIVES, QTY: 473, MEA: ASSORTED , RED COLORED CARBOARD
TUBE APPROX. 54 MM X 25 MM, SIDE PRIMED WITH STRIPED HOBBY FUSE CONTAINING SUSPECTED
FLASHPOWDER., valued at $10.00, seized by the ATF on June 20, 2023 from Rickie Yates in Champaign, IL for
forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-027604: LOW EXPLOSIVES, QTY: 1, MEA: ASSORTED , RED COLORED CARBOARD TUBE
APPROX. 54 MM X 25 MM, SIDE PRIMED WITH STRIPED HOBBY FUSE CONTAINING SUSPECTED
FLASHPOWDER., valued at $10.00, seized by the ATF on June 20, 2023 from Rickie Yates in Champaign, IL for
forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-027605: LOW EXPLOSIVES, QTY: 29, MEA: ASSORTED , RED COLORED CARBOARD TUBE
APPROX. 37 MM X 17 MM, SIDE PRIMED WITH STRIPED HOBBY FUSE CONTAINING SUSPECTED
FLASHPOWDER., valued at $10.00, seized by the ATF on June 20, 2023 from Rickie Yates in Champaign, IL for
forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-027606: LOW EXPLOSIVES, QTY: 1, MEA: ASSORTED , RED COLORED CARBOARD TUBE
APPROX. 37 MM X 17 MM, SIDE PRIMED WITH STRIPED HOBBY FUSE CONTAINING SUSPECTED
FLASHPOWDER., valued at $10.00, seized by the ATF on June 20, 2023 from Rickie Yates in Champaign, IL for
forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-027607: LOW EXPLOSIVES, QTY: 39, MEA: ASSORTED , RED COLORED CARBOARD TUBE
APPROX. 37 MM X 17 MM, SIDE PRIMED WITH GREEN HOBBY FUSE CONTAINING SUSPECTED
FLASHPOWDER., valued at $10.00, seized by the ATF on June 20, 2023 from Rickie Yates in Champaign, IL for
forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-027608: LOW EXPLOSIVES, QTY: 1, MEA: ASSORTED , RED COLORED CARBOARD TUBE
APPROX. 37 MM X 17 MM, SIDE PRIMED WITH GREEN HOBBY FUSE CONTAINING SUSPECTED
FLASHPOWDER., valued at $10.00, seized by the ATF on June 20, 2023 from Rickie Yates in Champaign, IL for
forfeiture pursuant to 18 U.S.C. Section 844.




[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 174 of 257 PageID 689
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/13/2023

NORTHERN DISTRICT OF INDIANA
23-ATF-027651: 14 Rounds Assorted Ammunition CAL:45, valued at $1.40, seized by the ATF on July 14, 2023
from Demetrius Green in Gary, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027653: 5 Rounds Assorted Ammunition CAL:9, valued at $0.50, seized by the ATF on July 14, 2023 from
Demetrius Green in Gary, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027654: 1 Rounds OTHER Ammunition CAL:22, valued at $0.10, seized by the ATF on July 14, 2023 from
Demetrius Green in Gary, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027655: 13 Rounds Federal Ammunition CAL:357, valued at $1.30, seized by the ATF on July 14, 2023
from Demetrius Green in Gary, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027656: GLOCK GMBH 32 Pistol CAL:357 SN:LNF146, valued at $400.00, seized by the ATF on July 14,
2023 from Demetrius Green in Gary, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027657: 1 Rounds FEDERAL Ammunition CAL:12, valued at $0.10, seized by the ATF on July 14, 2023
from Demetrius Green in Gary, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027658: 2 Rounds REMINGTON Ammunition CAL:223, valued at $0.20, seized by the ATF on July 14, 2023
from Demetrius Green in Gary, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027660: $2,000.00 U.S. Currency, seized by the ATF on July 14, 2023 from Demetrius Green in Gary, IN for
forfeiture pursuant to 21 U.S.C. Section 881.
23-ATF-028527: ROCK ISLAND ARMORY INC. (GENESEO, IL) 1911A1 Pistol CAL:45 SN:RIA1556823, valued at
$200.00, seized by the ATF on June 14, 2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-028531: Remington Arms Company, Inc. 11-87 Sportsman Shotgun CAL:12 SN:PC886180, valued at
$200.00, seized by the ATF on June 14, 2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-028532: MOSSBERG 500 Shotgun CAL:12 SN:K547177, valued at $200.00, seized by the ATF on June 14,
2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028533: NORTH AMERICAN ARMS NAA22 Revolver CAL:22 SN:L202659, valued at $200.00, seized by the
ATF on June 14, 2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028534: Remington Arms Company, Inc. 700 Rifle CAL:30-06 SN:A6616656, valued at $350.00, seized by
the ATF on June 14, 2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-028535: HERITAGE MFG. INC. ROUGH RIDER Revolver CAL:22 SN:M24561, valued at $200.00, seized by
the ATF on June 14, 2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-028536: NOBLE MFG. CO. Unknown Shorgun CAL:Unknown SN:G868265, valued at $100.00, seized by
the ATF on June 14, 2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-028537: Keystone Sporting Arms Crickett Shotgun CAL:22 SN:526800, valued at $200.00, seized by the
ATF on June 14, 2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028538: Marlin Firearms Co., 30/30 Rifle CAL:30-30 SN:F14361, valued at $1.00, seized by the ATF on
June 14, 2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028539: HARRINGTON & RICHARDSON 1871 INC. 929 Revolver CAL:22 SN:AD31032, valued at
$200.00, seized by the ATF on June 14, 2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-028540: ITHACA GUN CO. 37 Shotgun CAL:12 SN:381005551, valued at $200.00, seized by the ATF on
June 14, 2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028541: Savage 93 Rifle CAL:17 SN:G988815, valued at $350.00, seized by the ATF on June 14, 2023
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 175 of 257 PageID 690
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/13/2023

NORTHERN DISTRICT OF INDIANA
23-ATF-028541 - (Continued from previous page)
from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028542: MARLIN FIREARMS CO. 60 Rifle CAL:22 SN:18305385, valued at $200.00, seized by the ATF on
June 14, 2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028543: Mossberg Patriot Rifle CAL:300 SN:MPR084956, valued at $200.00, seized by the ATF on June
14, 2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028544: PIONEER ARMS CORPORATION (RADOM, POLAND) SPORTER RIFLE CAL:762
SN:PAC1128512, valued at $200.00, seized by the ATF on June 14, 2023 from Johnny Bangs in Lake Station, IN for
forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028545: SAVAGE 948 SHOTGUN CAL:20 SN:R020515, valued at $150.00, seized by the ATF on June 14,
2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028546: Mauser Unknown Rifle CAL:792 SN:1836, valued at $200.00, seized by the ATF on June 14, 2023
from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028547: Interarms (Houston, TX) - Firearms Intl Incl. Unknown Rifle CAL:Unknown SN:B269510, valued at
$1.00, seized by the ATF on June 14, 2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-028548: MOSSBERG 500 SHOTGUN CAL:410 SN:P770202, valued at $200.00, seized by the ATF on June
14, 2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028549: Savage Axis Rifle CAL:65 SN:P373908, valued at $300.00, seized by the ATF on June 14, 2023
from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028550: MOSSBERG 500 SHOTGUN CAL:12 SN:K871649, valued at $200.00, seized by the ATF on June
14, 2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028552: Ruger 10/22 Rifle CAL:22 SN:0021-18898, valued at $200.00, seized by the ATF on June 14, 2023
from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028553: HARRINGTON AND RICHARDSON TOPPER 58 SHOTGUN CAL:12 SN:AM347548, valued at
$200.00, seized by the ATF on June 14, 2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-028555: ITHACA GUN CO. 37 FEATHERLIGHT SHOTGUN CAL:12 SN:1000921, valued at $200.00, seized
by the ATF on June 14, 2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-028556: 520 Rounds Assorted Ammunition CAL:44, Serial No. Unknown, valued at $52.00, seized by the
ATF on June 14, 2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028557: Hunter Arms Co. Unknown Rifle CAL:Unknown SN:61-06-070801-15, valued at $1.00, seized by
the ATF on June 14, 2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-028558: MARLIN FIREARMS CO. 60 SHOTGUN CAL:12 SN:11298897, valued at $200.00, seized by the
ATF on June 14, 2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028559: MOSIN-NAGANT Unknown Rifle CAL:Unknown SN:BE4888, valued at $200.00, seized by the ATF
on June 14, 2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028560: GEWEHR WERKS (TK FOREMAN) UNKNOWN RIFLE CAL:UNKNOWN SN:1836, valued at
$100.00, seized by the ATF on June 14, 2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-028561: HOPKINS AND ALLEN UNKNOWN SHOTGUN CAL:UNKNOWN SN:UNKNOWN, valued at
$75.00, seized by the ATF on June 14, 2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18
U.S.C. Section 924(d).


[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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property based on hardship.


LAST DATE TO FILE: 10/13/2023

NORTHERN DISTRICT OF INDIANA
23-ATF-028562: 715 Rounds Assorted Ammunition CAL:45, Serial No. Unknown, valued at $71.50, seized by the
ATF on June 14, 2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028563: Zastava AK47 Rifle CAL:Unknown SN:1-374097, valued at $230.00, seized by the ATF on June 14,
2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028565: Unknown Unknown Rifle CAL:Unknown SN:HP275, valued at $1.00, seized by the ATF on June
14, 2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028566: SAVAGE STEVENS 37 SHOTGUN CAL:410 SN:UNKNOWN, valued at $50.00, seized by the ATF
on June 14, 2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028567: 1128 Rounds Assorted Ammunition CAL:762, Serial No. Unknown, valued at $112.80, seized by
the ATF on June 14, 2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-028568: Noble Mfg. Co. Unknown Shotgun CAL:Unknown SN:XNH480J, valued at $1.00, seized by the ATF
on June 14, 2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028569: 240 Rounds Assorted Ammunition CAL:9, valued at $24.00, seized by the ATF on June 14, 2023
from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028571: 490 Rounds Assorted Ammunition CAL:12, Serial No. Unknown, valued at $49.00, seized by the
ATF on June 14, 2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028572: 4480 Rounds Assorted Ammunition CAL:22, Serial No. Unknown, valued at $448.00, seized by
the ATF on June 14, 2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-028575: 416 Rounds Assorted Ammunition CAL:300, Serial No. Unknown, valued at $41.60, seized by the
ATF on June 14, 2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028577: 160 Rounds Assorted Ammunition CAL:380, Serial No. Unknown, valued at $16.00, seized by the
ATF on June 14, 2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028581: 160 Rounds Assorted Ammunition CAL:20, Serial No. Unknown, valued at $16.00, seized by the
ATF on June 14, 2023 from Johnny Bangs in Lake Station, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).




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property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 177 of 257 PageID 692
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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property based on hardship.


LAST DATE TO FILE: 10/13/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-027566: 87 Rounds Assorted Ammunition CAL:Multi, valued at $8.70, seized by the ATF on July 25, 2023
from Zyrelle WILLIAMS in Anderson, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027662: Glock GMBH 22GEN5 Pistol CAL:40 SN:BYWD606, valued at $500.00, seized by the ATF on July
22, 2023 from Adrian Sanchez in Ingalls, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027664: 13 Rounds Assorted Ammunition CAL:40, valued at $1.30, seized by the ATF on July 22, 2023
from Adrian Sanchez in Ingalls, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027706: Glock GMBH 27GEN4 Pistol CAL:40 SN:BDEL295, valued at $500.00, seized by the ATF on July
25, 2023 from Diamond Love in Anderson, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027718: 15 Rounds Assorted Ammunition CAL:40, valued at $1.50, seized by the ATF on July 25, 2023
from Diamond Love in Anderson, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027722: 1 Rounds Winchester-Western Ammunition CAL:40, valued at $0.10, seized by the ATF on July 25,
2023 from Diamond Love in Anderson, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027742: 28 Rounds CCI Ammunition CAL:380, valued at $2.80, seized by the ATF on July 25, 2023 from
Zyrelle WILLIAMS in Anderson, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027752: 2 Rounds Remington Ammunition CAL:5.56, valued at $0.20, seized by the ATF on July 25, 2023
from Zyrelle WILLIAMS in Anderson, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027754: 6 Rounds Unknown Manufacturer Ammunition CAL:9, valued at $0.60, seized by the ATF on July
25, 2023 from Zyrelle WILLIAMS in Anderson, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027757: 15 rounds Assorted CAL: 9, valued at $1.50, seized by the ATF on July 25, 2023 from Zyrelle
WILLIAMS in Anderson, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027764: Century Arms International VSKA Pistol CAL:762 SN:SV7P010603, valued at $800.00, seized by
the ATF on July 25, 2023 from Adrian Sanchez in Anderson, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027771: Radical Firearms, LLC RF-15 Pistol CAL:Multi SN:2058420, valued at $500.00, seized by the ATF
on July 25, 2023 from Adrian Sanchez in Anderson, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027772: 260 Rounds Assorted Ammunition CAL:Multi, valued at $26.00, seized by the ATF on July 25, 2023
from Adrian Sanchez in Anderson, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).

DISTRICT OF KANSAS
21-ATF-037651: Glock GMBH 19 Pistol CAL:9 SN:BUCF184, valued at $500.00, seized by the ATF on September
26, 2021 from Edward Cavanaugh in Wichita, KS for forfeiture pursuant to 18 U.S.C. Section 924(d).
21-ATF-037652: 20 Rounds Assorted Ammunition CAL:9, valued at $2.00, seized by the ATF on September 26,
2021 from Edward Cavanaugh in Wichita, KS for forfeiture pursuant to 18 U.S.C. Section 924(d).
21-ATF-037653: Beretta USA Corp 92X Pistol CAL:9 SN:92X0040647, valued at $500.00, seized by the ATF on
September 26, 2021 from Edward Cavanaugh in Wichita, KS for forfeiture pursuant to 18 U.S.C. Section 924(d).
21-ATF-037654: 14 Rounds Assorted Ammunition CAL:9, valued at $1.40, seized by the ATF on September 26,
2021 from Edward Cavanaugh in Wichita, KS for forfeiture pursuant to 18 U.S.C. Section 924(d).
21-ATF-037656: Taurus G2C Pistol CAL:9 SN:1C083250, valued at $400.00, seized by the ATF on September 26,
2021 from Edward Cavanaugh in Wichita, KS for forfeiture pursuant to 18 U.S.C. Section 924(d).




[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/13/2023

EASTERN DISTRICT OF KENTUCKY
23-ATF-028077: SMITH & WESSON M&P 380 SHIELD EZ PISTOL CAL:380 SN:NJY1539, valued at $200.00,
seized by the ATF on July 18, 2023 from Makyla Steward in Lexington, KY for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-028081: 7 Rounds HORNADY Ammunition CAL:380, valued at $0.70, seized by the ATF on July 18, 2023
from Makyla Steward in Lexington, KY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028082: ROMARM/CUGIR MINI DRACO PISTOL CAL:762 SN:ROA22PG-1707, valued at $400.00, seized
by the ATF on July 18, 2023 from Kenneth Berry in NICHOLASVILLE, KY for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-028083: 19 Rounds WINCHESTER-WESTERN Ammunition CAL:762, valued at $1.90, seized by the ATF
on July 18, 2023 from Kenneth Berry in NICHOLASVILLE, KY for forfeiture pursuant to 18 U.S.C. Section 924(d).

WESTERN DISTRICT OF KENTUCKY
23-ATF-028046: RUGER PC CHARGER PISTOL CAL:9 SN:913-37201, valued at $150.00, seized by the ATF on
July 28, 2023 from Monique Verner in Louisville, KY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028052: 25 Rounds ASSORTED Ammunition CAL:9, valued at $2.50, seized by the ATF on July 28, 2023
from Monique Verner in Louisville, KY for forfeiture pursuant to 18 U.S.C. Section 924(d).

EASTERN DISTRICT OF LOUISIANA
23-ATF-027785: Glock Gmbh 17 Pistol CAL:9 SN:BVSK653, valued at $250.00, seized by the ATF on July 20, 2023
from Horace WASHINGTON in New Orleans, LA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027786: 18 Rounds Assorted Ammunition CAL:9, valued at $1.80, seized by the ATF on July 20, 2023 from
Horace WASHINGTON in New Orleans, LA for forfeiture pursuant to 18 U.S.C. Section 924(d).

MIDDLE DISTRICT OF LOUISIANA
22-ATF-045815: Palmetto State Armory PA-15 Rifle CAL:Multi SN:SCD519267, valued at $300.00, seized by the
ATF on April 20, 2022 from Windell Herring in Baton Rouge, LA for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-045816: 39 Rounds Assorted Ammunition CAL:223, Serial No. Unknown, valued at $3.90, seized by the
ATF on April 20, 2022 from Windell Herring in Baton Rouge, LA for forfeiture pursuant to 18 U.S.C. Section 924(d).




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property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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property based on hardship.


LAST DATE TO FILE: 10/13/2023

DISTRICT OF MARYLAND
23-ATF-026404: ANDERSON MANUFACTURING AM-15 Pistol CAL:Multi SN:19324029, valued at $200.00, seized
by the ATF on June 26, 2023 from Tyrone JONES in Baltimore, MD for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026407: 8 Rounds Assorted Ammunition CAL:223, Serial No. Unknown, valued at $0.80, seized by the ATF
on June 26, 2023 from Tyrone JONES in Baltimore, MD for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026410: 32 Rounds Assorted Ammunition CAL:223, Serial No. Unknown, valued at $3.20, seized by the
ATF on June 26, 2023 from Tyrone JONES in Baltimore, MD for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026411: 15 Rounds Assorted Ammunition CAL:40, Serial No. Unknown, valued at $1.50, seized by the ATF
on June 26, 2023 from Tyrone JONES in Baltimore, MD for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026414: 1286 Rounds ASSORTED Ammunition CAL:Multi, Serial No. Unknown, valued at $128.60, seized
by the ATF on June 26, 2023 from Tyrone JONES in Baltimore, MD for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026415: 507 Rounds Assorted Ammunition CAL:Multi, Serial No. Unknown, valued at $50.70, seized by the
ATF on June 26, 2023 from Tyrone JONES in Baltimore, MD for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026417: SMITH & WESSON, TYPE: REVOLVER, MODEL: UNKNOWN TYPE,
CAL: Unknown, SN: DDF3875; Airweight, SPFLD,MA, S&W U.S.A., valued at $50.00, seized by the ATF on June 26,
2023 from Tyrone JONES in Baltimore, MD for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026419: 5 Rounds Assorted Ammunition CAL:38, Serial No. Unknown, valued at $0.50, seized by the ATF
on June 26, 2023 from Tyrone JONES in Baltimore, MD for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026420: GLOCK GMBH Unknown Receiver/Frame CAL:unknown SN:WZY038, valued at $50.00, seized by
the ATF on June 26, 2023 from Tyrone JONES in Baltimore, MD for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026423: RIFLE, AMERICAN TACTICAL IMPORTS - ATI MIL-SPORT Receiver/Frame CAL:Multi SN:None
OBLITERATED: YES, Serial No. None,OBLITERATED: YES, valued at $50.00, seized by the ATF on June 26, 2023
from Tyrone JONES in Baltimore, MD for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026446: GLOCK GMBH Unknown Receiver/Frame CAL:Unknown SN:NONE, OBLITERATED: YES, valued
at $50.00, seized by the ATF on June 26, 2023 from Tyrone JONES in Baltimorem, MD for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-026447: Unknown Unknown Rifle CAL:Unknown SN:Unknown, valued at $50.00, seized by the ATF on
June 26, 2023 from Tyrone JONES in Baltimorem, MD for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026449: GLOCK GMBH 19GEN5 Pistol CAL:9 SN:BKLX522, valued at $50.00, seized by the ATF on June
26, 2023 from Tyrone JONES in Baltimore, MD for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026452: TAURUS G3 Pistol CAL:9 SN:ONE, OBLITERATED: YES, valued at $50.00, seized by the ATF on
June 26, 2023 from Tyrone JONES in Baltimore, MD for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026462: GLOCK GMBH 27GEN4 Pistol CAL:40 SN:BKWX572, valued at $50.00, seized by the ATF on June
26, 2023 from Tyrone JONES in Baltimore, MD for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026465: 24 Rounds Assorted Ammunition CAL:Unknown, Serial No. Unknown, valued at $2.40, seized by
the ATF on June 26, 2023 from Tyrone JONES in Baltimore, MD for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026468: 1 Rounds Unknown Ammunition CAL:9, Serial No. Unknown, valued at $0.10, seized by the ATF
on June 26, 2023 from Tyrone JONES in Baltimore, MD for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026469: GLOCK GMBH 21GEN4 Pistol CAL:45 SN:NONE, OBLITERATED: YES, valued at $200.00, seized
by the ATF on June 26, 2023 from Tyrone JONES in Baltimore, MD for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026470: 523 Rounds Assorted Ammunition CAL:Multi, Serial No. Unknown, valued at $52.30, seized by the
ATF on June 26, 2023 from Tyrone JONES in Baltimore, MD for forfeiture pursuant to 18 U.S.C. Section 924(d).



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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 180 of 257 PageID 695
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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property based on hardship.


LAST DATE TO FILE: 10/13/2023

DISTRICT OF MAINE
23-ATF-027671: Phoenix Arms Co. HP22A Pistol CAL:22 SN:4606547, valued at $100.00, seized by the ATF on
June 26, 2023 from Tyla DUBE in Lewiston, ME for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027674: 10 Rounds Aguila Ammunition CAL:22, valued at $1.00, seized by the ATF on June 26, 2023 from
Tyla DUBE in Lewiston, ME for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027676: 9 Rounds Aguila Ammunition CAL:22, valued at $0.90, seized by the ATF on June 26, 2023 from
Tyla DUBE in Lewiston, ME for forfeiture pursuant to 18 U.S.C. Section 924(d).

EASTERN DISTRICT OF MICHIGAN
23-ATF-027398: KELTEC, CNC INDUSTRIES, INC. KSG Shotgun CAL:12 SN:XY7F95, valued at $200.00, seized
by the ATF on July 13, 2023 from Dijon Parker in Pontiac, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027399: RADICAL FIREARMS, LLC RF-15 Rifle CAL:Multi SN:2-114410, valued at $200.00, seized by the
ATF on July 13, 2023 from Dijon Parker in Pontiac, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027416: FMK FIREARMS INC. PISTOL MODEL: 9C1 GEN2 CAL: 9 SN: BB7810, valued at $180.00, seized
by the Detroit Police Department on July 01, 2023 from Laquintas Rushing in Detroit, MI, and adopted by the ATF
for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027417: AMMUNITION QTY: 11 MNF: WINCHESTER-WESTERN CAL: 9, valued at $1.10, seized by the
Detroit Police Department on July 01, 2023 from Laquintas Rushing in Detroit, MI, and adopted by the ATF for
forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027640: 22 Rounds Assorted Ammunition CAL:9, valued at $2.20, seized by the ATF on June 17, 2023
from Robert Fields in Flint, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027642: 15 Rounds Assorted Ammunition CAL:45, valued at $1.50, seized by the ATF on June 17, 2023
from Robert Fields in Flint, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).

WESTERN DISTRICT OF MICHIGAN
23-ATF-027850: ARMSCOR OF THE PHILIPPINES (SQUIRES BINGHAM) M20P Rifle CAL:22 SN:A593486, valued
at $100.00, seized by the ATF on July 11, 2023 from Jonas Lebarron in Crystal, MI for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-027856: SAVAGE STEVENS 94M Shotgun CAL:20 SN:C494688, valued at $100.00, seized by the ATF on
July 11, 2023 from Jonas Lebarron in Crystal, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027858: 12 Rounds CCI Ammunition CAL:22, valued at $1.20, seized by the ATF on July 11, 2023 from
Jonas Lebarron in Crystal, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).

DISTRICT OF MINNESOTA
23-ATF-025620: RAVEN ARMS P25 Pistol CAL:25 SN:110770, valued at $50.00, seized by the ATF on May 15, 2023
from Nizar Abounokira in Grand Portage, MN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025621: SIG SAUER (SIG-ARMS) SP2022 Pistol CAL:40 SN:248181591, valued at $250.00, seized by the
ATF on May 15, 2023 from Nizar Abounokira in Grand Portage, MN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-025622: GLOCK INC. 26GEN5 Pistol CAL:9 SN:AHBG187, valued at $250.00, seized by the ATF on May 15,
2023 from Nizar Abounokira in Grand Portage, MN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025623: GLOCK INC. 42 Pistol CAL:380 SN:ABGN587, valued at $250.00, seized by the ATF on May 15,
2023 from Nizar Abounokira in Grand Portage, MN for forfeiture pursuant to 18 U.S.C. Section 924(d).




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property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/13/2023

EASTERN DISTRICT OF MISSOURI
23-ATF-027546: $26,335.00 U.S. Currency, seized by the ATF on July 26, 2023 from Darren Hall in Saint Louis, MO
for forfeiture pursuant to 21 U.S.C. Section 881.
23-ATF-027863: PALMETTO STATE ARMORY PA-15 PISTOL CAL:556 SN:PI042362, valued at $800.00, seized by
the ATF on July 11, 2023 from Qion Butler in St. Louis, MO for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027864: GLOCK INC. 19GEN5 PISTOL CAL:9 SN:AFKN368, valued at $500.00, seized by the ATF on July
11, 2023 from Brandon Johnson in St. Louis, MO for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027865: ROMARM/CUGIR MICRO DRACO PISTOL CAL:762 SN:PMD-12568-19RO, valued at $950.00,
seized by the ATF on July 11, 2023 from Brandon Johnson in St. Louis, MO for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-027866: GLOCK GMBH 23GEN4 PISTOL CAL:40 SN:XPM979, valued at $400.00, seized by the ATF on July
11, 2023 from James Roach in St. Louis, MO for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027955: SPRINGFIELD ARMORY,GENESEO,IL 1911A1 Pistol CAL:45 SN:NM462241, valued at $100.00,
seized by the ATF on July 17, 2023 from Benjamin Sheputis in Affton, MO for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-027956: 7 Rounds Assorted Ammunition CAL:45, valued at $0.70, seized by the ATF on July 17, 2023 from
Benjamin Sheputis in Affton, MO for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027957: UBERTI, ALDO 1872 OPEN TOP Revolver CAL:38 SN:X43875, valued at $100.00, seized by the
ATF on July 17, 2023 from Benjamin Sheputis in Affton, MO for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027958: AMERICAN TACTICAL IMPORTS - ATI OMNI HYBRID Rifle CAL:223 SN:NS140131, valued at
$100.00, seized by the ATF on July 17, 2023 from Benjamin Sheputis in Affton, MO for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-027959: SMITH & WESSON 38 Revolver CAL:38 SN:30J343, valued at $100.00, seized by the ATF on July
17, 2023 from Benjamin Sheputis in Affton, MO for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027961: 59 Rounds Assorted Ammunition CAL:223, valued at $5.90, seized by the ATF on July 17, 2023
from Benjamin Sheputis in Affton, MO for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027962: MARLIN FIREARMS CO. Unknown Rifle CAL:Unknown SN:None, valued at $50.00, seized by the
ATF on July 17, 2023 from Benjamin Sheputis in Affton, MO for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027963: 6 Rounds REMINGTON Ammunition CAL:38, valued at $0.60, seized by the ATF on July 17, 2023
from Benjamin Sheputis in Affton, MO for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027965: MARLIN FIREARMS CO. 60W Rifle CAL:22 SN:05299986, valued at $100.00, seized by the ATF on
July 17, 2023 from Benjamin Sheputis in Affton, MO for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027966: 11 Rounds REMINGTON Ammunition CAL:22, valued at $1.10, seized by the ATF on July 17, 2023
from Benjamin Sheputis in Affton, MO for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027967: SAVAGE 720 Shotgun CAL:12 SN:75584, valued at $100.00, seized by the ATF on July 17, 2023
from Benjamin Sheputis in Affton, MO for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027968: Unknown Unknown Rifle CAL:Unknown SN:3146, valued at $100.00, seized by the ATF on July
17, 2023 from Benjamin Sheputis in Affton, MO for forfeiture pursuant to 18 U.S.C. Section 924(d).




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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/13/2023

MIDDLE DISTRICT OF NORTH CAROLINA
23-ATF-026457: Smith & Wesson M&P 9 Shield Pistol CAL:9 SN:JCL6584, valued at $300.00, seized by the ATF
on June 23, 2023 from Edward Jones Jr. in Asheboro, NC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026464: 21 Rounds Remington Ammunition CAL:9, valued at $2.10, seized by the ATF on June 23, 2023
from Edward Jones Jr. in Asheboro, NC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027867: Glock GMBH 23GEN4 Pistol CAL:40 SN:BHUR746, valued at $300.00, seized by the ATF on June
17, 2023 from Jeremiah Malique Stewart in Burlington, NC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027868: 21 Rounds Assorted Ammunition CAL:40, valued at $2.10, seized by the ATF on June 17, 2023
from Jeremiah Malique Stewart in Burlington, NC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027871: Hatsan Arms Co. (Silah Makina Kalip San. TIC. LTD Escort BTS12 Shotgun CAL:12 SN:918697,
valued at $250.00, seized by the ATF on June 29, 2023 from Jeremiah Malique Stewart in Whitsett, NC for forfeiture
pursuant to 18 U.S.C. Section 924(d).
23-ATF-027872: 19 Rounds Assorted Ammunition CAL:12, valued at $1.90, seized by the ATF on June 29, 2023
from Jeremiah Malique Stewart in Whitsett, NC for forfeiture pursuant to 18 U.S.C. Section 924(d).

WESTERN DISTRICT OF NORTH CAROLINA
23-ATF-027793: Glock GMBH 19GEN5 Pistol CAL:9 SN:BXFZ869, valued at $500.00, seized by the ATF on July 26,
2023 from Ezekiel Suber in Charlotte, NC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027794: 14 Rounds CCI Ammunition CAL:9, valued at $1.40, seized by the ATF on July 26, 2023 from
Ezekiel Suber in Charlotte, NC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027795: 1 Rounds Winchester-Western Ammunition CAL:9, valued at $0.10, seized by the ATF on July 26,
2023 from Ezekiel Suber in Charlotte, NC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027796: Palmetto State Armory PA-15 Pistol CAL:300 SN:SCB946648, valued at $600.00, seized by the
ATF on July 26, 2023 from Ezekiel Suber in Charlotte, NC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027797: 11 Rounds Assorted Ammunition CAL:300, valued at $1.10, seized by the ATF on July 26, 2023
from Ezekiel Suber in Charlotte, NC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027798: Glock GMBH 20 Pistol CAL:10 SN:BDVZ626, valued at $550.00, seized by the ATF on July 26,
2023 from Dezani Dillard in Charlotte, NC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027799: 12 Rounds Assorted Ammunition CAL:10, valued at $1.20, seized by the ATF on July 26, 2023
from Dezani Dillard in Charlotte, NC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027980: Hunt Group International Arms & Security Co. FD12 Shotgun CAL:12 SN:20-BLP-267775, valued
at $150.00, seized by the ATF on July 14, 2023 from Grey Hester in Candler, NC for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-027981: Mossberg 4x4 Rifle CAL:300 SN:BA182626, valued at $75.00, seized by the ATF on July 14, 2023
from Grey Hester in Candler, NC for forfeiture pursuant to 18 U.S.C. Section 924(d).

DISTRICT OF NORTH DAKOTA
23-ATF-027659: BLACK RAIN ORDNANCE INC. SPEC 15 RIFLE CAL:MULTI SN:SM049459, valued at $350.00,
seized by the ATF on July 25, 2023 from Eduardo DIAZ in BISMARCK, ND for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-027663: 31 Rounds REMINGTON Ammunition CAL:223, valued at $3.10, seized by the ATF on July 25,
2023 from Eduardo DIAZ in BISMARCK, ND for forfeiture pursuant to 18 U.S.C. Section 924(d).




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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/13/2023

DISTRICT OF NEVADA
23-ATF-028062: Smith & Wesson 36 Revolver CAL:38 SN:760053, valued at $1.00, seized by the ATF on July 27,
2023 from Samvel ASOYAN in Las Vegas, NV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028066: Colt Gold Cup Natl Match Pistol CAL:45 SN:07200N70, valued at $1.00, seized by the ATF on July
27, 2023 from Samvel ASOYAN in Las Vegas, NV for forfeiture pursuant to 18 U.S.C. Section 924(d).

NORTHERN DISTRICT OF NEW YORK
22-ATF-032003: 2019 Kia Sorento Utility VIN: 5XYPG4A37KG575395, valued at $9,993.00, seized by the ATF on
June 15, 2022 from Rosemary Coles in Troy, NY for forfeiture pursuant to 21 U.S.C. Section 881.
23-ATF-026607: 19 Rounds REMINGTON Ammunition CAL:20, Serial No. Unknown, valued at $1.90, seized by the
ATF on June 26, 2023 from Uqoeon LAWRENCE in Syracuse, NY for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026610: HAWK INDUSTRIES INC. PARDNER PUMP Shotgun CAL:ZZ SN:NZ564010, valued at $200.00,
seized by the ATF on June 26, 2023 from Uqoeon LAWRENCE in Syracuse, NY for forfeiture pursuant to 18 U.S.C.
Section 924(d).




[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
                                                          Page 117 of 191                                                          183
Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 184 of 257 PageID 699
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/13/2023

NORTHERN DISTRICT OF OHIO
23-ATF-027665: Taurus International TX22 Pistol CAL:22 SN:1PT392383, valued at $300.00, seized by the ATF on
July 27, 2023 from Shane Plats in Ashtabula, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027667: Remington Arms Company, Inc. 870 Shotgun CAL:12 SN:RS32231B, valued at $300.00, seized
by the ATF on July 27, 2023 from Shane Plats in Ashtabula, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027668: Ruger Precision Rifle Rifle CAL:308 SN:1802-04191, valued at $1,500.00, seized by the ATF on
July 27, 2023 from Shane Plats in Ashtabula, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027669: Kriss USA Inc. (Transformational Defense Ind) Kriss Vector SDP G2 Pistol CAL:9
SN:919P004452, valued at $1,700.00, seized by the ATF on July 27, 2023 from Shane Plats in Ashtabula, OH for
forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027672: Girsan MC 28 SA T Pistol CAL:9 SN:T6368-20AV04086, valued at $330.00, seized by the ATF on
July 27, 2023 from Shane Plats in Ashtabula, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027677: Palmetto State Armory Dagger Compact Pistol CAL:Unknown SN:JJE66768, valued at $99.00,
seized by the ATF on July 27, 2023 from Shane Plats in Ashtabula, OH for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-027678: Palmetto State Armory Dagger Compact Pistol CAL:Unknown SN:JJE66624, valued at $99.00,
seized by the ATF on July 27, 2023 from Shane Plats in Ashtabula, OH for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-027681: Palmetto State Armory Dagger Compact Pistol CAL:Unknown SN:JJE51126, valued at $99.00,
seized by the ATF on July 27, 2023 from Shane Plats in Ashtabula, OH for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-027682: Palmetto State Armory Dagger Full Size-S Pistol CAL:Unknown SN:SZF001168, valued at $99.00,
seized by the ATF on July 27, 2023 from Shane Plats in Ashtabula, OH for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-027685: Palmetto State Armory Dagger Full Size-S Pistol CAL:Unknown SN:SZF000480, valued at $99.00,
seized by the ATF on July 27, 2023 from Shane Plats in Ashtabula, OH for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-027687: Palmetto State Armory Dagger Full Size-S Pistol CAL:9 SN:SZF001155, valued at $300.00, seized
by the ATF on July 27, 2023 from Shane Plats in Ashtabula, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027689: Palmetto State Armory PA-15 Rifle CAL:Multi SN:SCD847614, valued at $150.00, seized by the
ATF on July 27, 2023 from Shane Plats in Ashtabula, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027691: Marlin Firearms Co. 880 Rifle CAL:22 SN:04504460, valued at $400.00, seized by the ATF on July
27, 2023 from Shane Plats in Ashtabula, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027701: Palmetto State Armory G3-10 Rifle CAL:Multi SN:G398740, valued at $150.00, seized by the ATF
on July 27, 2023 from Shane Plats in Ashtabula, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027702: Noreen Firearms LLC Unknown Type Receiver/Frame CAL:Unknown SN:None, valued at $80.00,
seized by the ATF on July 27, 2023 from Shane Plats in Ashtabula, OH for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-027704: Ruger 10/22 Rifle CAL:22 SN:354-42176, valued at $300.00, seized by the ATF on July 27, 2023
from Shane Plats in Ashtabula, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027705: 2 Rounds Winchester-Western Ammunition CAL:22, valued at $0.20, seized by the ATF on July 27,
2023 from Shane Plats in Ashtabula, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027773: 21 Rounds Assorted Ammunition CAL:Multi, valued at $2.10, seized by the ATF on July 25, 2023
from James Goff in Barberton, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027843: Smith & Wesson M&P Bodyguard 380 Pistol CAL:380 SN:KBZ3938, valued at $100.00, seized by
the ATF on July 12, 2023 from Justice Hunter in North Canton, OH for forfeiture pursuant to 18 U.S.C. Section
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 185 of 257 PageID 700
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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LAST DATE TO FILE: 10/13/2023

NORTHERN DISTRICT OF OHIO
23-ATF-027843 - (Continued from previous page)
924(d).

SOUTHERN DISTRICT OF OHIO
23-ATF-027768: 1 Round Other Ammunition CAL:380, valued at $0.10, seized by the ATF on July 28, 2023 from
Kaylen Matos in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027848: 1 Round Remington Ammunition CAL:9, valued at $0.10, seized by the ATF on July 27, 2023 from
Joshua Mathews in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027851: 4 Rounds Assorted Ammunition CAL:Multi, valued at $0.40, seized by the ATF on July 27, 2023
from Joshua Mathews in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027852: 18 Rounds Assorted Ammunition CAL:9, valued at $1.80, seized by the ATF on July 27, 2023 from
Joshua Mathews in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027853: 11 Rounds Sellier & Bellot Ammunition CAL:9, valued at $1.10, seized by the ATF on July 27, 2023
from Joshua Mathews in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027854: 100 Rounds Aguila Ammunition CAL:9, valued at $10.00, seized by the ATF on July 27, 2023 from
Joshua Mathews in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027855: 1 Round Remington Ammunition CAL:9, valued at $0.10, seized by the ATF on July 27, 2023 from
Joshua Mathews in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027859: 9 Rounds Winchester-Western Ammunition CAL:9, valued at $0.90, seized by the ATF on July 27,
2023 from Joshua Mathews in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027874: Glock GMBH 17 Pistol CAL:9 SN:BVBN393, valued at $200.00, seized by the ATF on August 01,
2023 from Christopher Largan in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027875: 33 Rounds Assorted Ammunition CAL:9, valued at $3.30, seized by the ATF on August 01, 2023
from Christopher Largan in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027876: Glock GMBH 30 Pistol CAL:45 SN:NRS272, valued at $200.00, seized by the ATF on August 01,
2023 from Christopher Largan in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027878: 13 Rounds Assorted Ammunition CAL:45, valued at $1.30, seized by the ATF on August 01, 2023
from Christopher Largan in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027879: 39 Rounds Assorted Ammunition CAL:9, valued at $3.90, seized by the ATF on August 01, 2023
from Christopher Largan in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027881: 77 Rounds Assorted Ammunition CAL:45, valued at $7.70, seized by the ATF on August 01, 2023
from Christopher Largan in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027882: 31 Rounds Assorted Ammunition CAL:9, valued at $3.10, seized by the ATF on August 01, 2023
from Christopher Largan in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027885: 31 Rounds Assorted Ammunition CAL:Multi, valued at $3.10, seized by the ATF on August 01,
2023 from Christopher Largan in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).




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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 186 of 257 PageID 701
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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property based on hardship.


LAST DATE TO FILE: 10/13/2023

EASTERN DISTRICT OF OKLAHOMA
22-ATF-028627: 6 Rounds Assorted Ammunition CAL:40, Serial No. Null, valued at $0.60, seized by the ATF on
June 28, 2022 from Jacob STATON in Muskogee, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-037464: CHARTER ARMS UNDERCOVER REVOLVER CAL:38 SN:125343, valued at $200.00, seized by
the ATF on June 28, 2022 from Jacob STATON in MUSKOGEE, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
22-ATF-037467: 5 Rounds ASSORTED Ammunition CAL:38, Serial No. NULLL, valued at $0.50, seized by the ATF
on June 28, 2022 from Jacob STATON in MUSKOGEE, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027821: HIPOINT (STRASSELL'S MACHINE INC.) C9 PISTOL CAL:9 SN:P10143110, valued at $100.00,
seized by the ATF on July 17, 2023 from Elian Vasquez-Lopez in Kiowa, OK for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-027823: 6 Rounds TULA CARTRIDGE WORKS - RUSSIA Ammunition CAL:9, Serial No. NULL, valued at
$0.60, seized by the ATF on July 17, 2023 from Elian Vasquez-Lopez in Kiowa, OK for forfeiture pursuant to 18
U.S.C. Section 924(d).

NORTHERN DISTRICT OF OKLAHOMA
23-ATF-028338: 10 Rounds ASSORTED Ammunition CAL:UNKNOWN, Serial No. NULL, valued at $1.00, seized
by the ATF on June 21, 2023 from Carl COFFEY in Tulsa, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028343: 89 Rounds ASSORTED Ammunition CAL:UNKNOWN, Serial No. NULL, valued at $8.90, seized
by the ATF on June 21, 2023 from Carl COFFEY in CATOOSA, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-028347: SHAPLEIGHS UNKNOWN SHOTGUN CAL:12 SN:56421, valued at $50.00, seized by the ATF on
June 21, 2023 from Carl COFFEY in CATOOSA, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028349: REMINGTON ARMS COMPANY 700 RIFLE CAL:30-06 SN:A6882503, valued at $250.00, seized by
the ATF on June 21, 2023 from Carl COFFEY in CATOOSA, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028350: EACH UNKNOWN IMPROVISED PINEA SN:NONE, valued at $1.00, seized by the ATF on June 21,
2023 from Carl COFFEY in CATOOSA, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).

WESTERN DISTRICT OF OKLAHOMA
23-ATF-019955: PALMETTO STATE ARMORY PA-15 RECEIVER/FRAME CAL:MULTI SN:SCD072785, valued at
$390.00, seized by the ATF on March 31, 2023 from Shakur THOMAS in Midwest City, OK for forfeiture pursuant to
18 U.S.C. Section 924(d).
23-ATF-019999: Stag Arms STAG-15 RECEIVER/FRAME CAL:Multi SN:324486, valued at $430.00, seized by the
ATF on April 05, 2023 from Shakur THOMAS in Oklahoma City, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-020002: 49 Rounds Assorted Ammunition CAL:223, Serial No. Null, valued at $4.90, seized by the ATF on
April 05, 2023 from Shakur THOMAS in Oklahoma City, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025986: GLOCK INC. 26GEN5 PISTOL CAL:9 SN:AFSF047, valued at $420.00, seized by the ATF on June
05, 2023 from Raheem PEAGLER in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025989: 15 Rounds ASSORTED Ammunition CAL:9, Serial No. NULL, valued at $1.50, seized by the ATF
on June 05, 2023 from Raheem PEAGLER in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).




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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 187 of 257 PageID 702
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/13/2023

EASTERN DISTRICT OF PENNSYLVANIA
21-ATF-020185: 10 Rounds Assorted Ammunition CAL:9, valued at $1.00, seized by the ATF on April 08, 2021 from
George Jones in Philadelphia, PA for forfeiture pursuant to 18 U.S.C. Section 924(d).

EASTERN DISTRICT OF TENNESSEE
23-ATF-027401: SCCY Industries, LLC (SKYY IND.) CPX-2 Pistol CAL:9 SN:C466408, valued at $300.00, seized
by the ATF on June 27, 2023 from Eric Kinsler in Maryville, TN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027402: 7 Rounds CCI Ammunition CAL:9, valued at $0.70, seized by the ATF on June 27, 2023 from Eric
Kinsler in Maryville, TN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027403: Taurus G2C Pistol CAL:9 SN:ADE398039, valued at $300.00, seized by the ATF on June 27, 2023
from Whitney Edwards in Maryville, TN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027404: 20 Rounds Assorted Ammunition CAL:9, valued at $2.00, seized by the ATF on June 27, 2023
from Whitney Edwards in Maryville, TN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027410: HS Produkt (IM Metal) XD40 Sub-Compact Pistol CAL:40 SN:XD493084, valued at $200.00,
seized by the ATF on July 26, 2023 from Orlando Watkins in Tullahoma, TN for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-027415: 12 Rounds Assorted Ammunition CAL:40, valued at $1.20, seized by the ATF on July 26, 2023
from Orlando Watkins in Tullahoma, TN for forfeiture pursuant to 18 U.S.C. Section 924(d).




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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 188 of 257 PageID 703
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/13/2023

EASTERN DISTRICT OF TEXAS
23-ATF-028023: Savage Axis Rifle CAL:Unknown SN:P315359, valued at $375.00, seized by the ATF on July 21,
2023 from Robin Detwiler in Sour Lake, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028024: Savage 110 Rifle CAL:270 SN:G291325, valued at $600.00, seized by the ATF on July 21, 2023
from Robin Detwiler in Sour Lake, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028025: Weatherby Vanguard Rifle CAL:30-06 SN:VS116692, valued at $435.00, seized by the ATF on July
21, 2023 from Robin Detwiler in Sour Lake, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028026: Winchester 70 XTR Rifle CAL:300 SN:G1918078, valued at $750.00, seized by the ATF on July 21,
2023 from Robin Detwiler in Sour Lake, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028027: Winchester 1873 Rifle CAL:44-40 SN:261630B, valued at $2,800.00, seized by the ATF on July 21,
2023 from Robin Detwiler in Sour Lake, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028028: Fabrica De Armas S.E.A.M. Unknown Rifle CAL:Unknown SN:3300, valued at $1,050.00, seized
by the ATF on July 21, 2023 from Robin Detwiler in Sour Lake, TX for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-028029: Remington Arms Company, Inc. 870 Shotgun CAL:12 SN:T982854V, valued at $500.00, seized by
the ATF on July 21, 2023 from Robin Detwiler in Sour Lake, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028030: Ruger 44 Rifle CAL:44 SN:102-63688, valued at $950.00, seized by the ATF on July 21, 2023 from
Robin Detwiler in Sour Lake, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028031: Browning A-Bolt Rigle CAL:7 SN:15259PT217, valued at $500.00, seized by the ATF on July 21,
2023 from Robin Detwiler in Sour Lake, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028032: Ruger M77 Rigle CAL:375 SN:710-43174, valued at $1,000.00, seized by the ATF on July 21, 2023
from Robin Detwiler in Sour Lake, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028033: Browning X-Bolt Medallion Rifle CAL:7 SN:10366MN354, valued at $1,100.00, seized by the ATF
on July 21, 2023 from Robin Detwiler in Sour Lake, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028034: Savage 340C Rifle CAL:222 SN:119802, valued at $650.00, seized by the ATF on July 21, 2023
from Robin Detwiler in Sour Lake, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028035: Zastava Whitworth Mark X Rifle CAL:270 SN:B259822, valued at $675.00, seized by the ATF on
July 21, 2023 from Robin Detwiler in Sour Lake, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028036: Palmetto State Armory PA-15 Rifle CAL:300 SN:LW390819, valued at $1,200.00, seized by the ATF
on July 21, 2023 from Robin Detwiler in Sour Lake, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028037: Anderson Manufacturing AM-15 Rifle CAL:300 SN:19255265, valued at $700.00, seized by the ATF
on July 21, 2023 from Robin Detwiler in Sour Lake, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028038: Winchester 94E Rifle CAL:30-30 SN:5424463, valued at $1,300.00, seized by the ATF on July 21,
2023 from Robin Detwiler in Sour Lake, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028039: Marlin Firearms Co. 336 Rifle CAL:30-30 SN:24081315, valued at $625.00, seized by the ATF on
July 21, 2023 from Robin Detwiler in Sour Lake, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028040: Kimber Micro 9 Pistol CAL:9 SN:PB0361148, valued at $750.00, seized by the ATF on July 21,
2023 from Robin Detwiler in Sour Lake, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028041: Sig Sauer (Sig-Arms) P938 Pistol CAL:9 SN:52E059330, valued at $325.00, seized by the ATF on
July 21, 2023 from Robin Detwiler in Sour Lake, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028042: Wesson Arms, DAN 15-2 Revolver CAL:357 SN:SD006768, valued at $600.00, seized by the ATF
on July 21, 2023 from Robin Detwiler in Sour Lake, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028044: Charter Arms Undercover Revolver CAL:38 SN:958617, valued at $175.00, seized by the ATF on
July 21, 2023 from Robin Detwiler in Sour Lake, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028045: HS Produkt (IM Metal) XDM Elite Pistol CAL:45 SN:BB120120, valued at $600.00, seized by the
ATF on July 21, 2023 from Robin Detwiler in Sour Lake, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).


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property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 189 of 257 PageID 704
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/13/2023

EASTERN DISTRICT OF TEXAS
23-ATF-028047: Kimber Custom LW Pistol CAL:45 SN:K916473, valued at $800.00, seized by the ATF on July 21,
2023 from Robin Detwiler in Sour Lake, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028048: Glock GMBH 17 GEN5 Pistol CAL:9 SN:BGEZ603, valued at $600.00, seized by the ATF on July
21, 2023 from Robin Detwiler in Sour Lake, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028049: Glock GMBH 43X Pistol CAL:9 SN:BZTN589, valued at $520.00, seized by the ATF on July 21,
2023 from Robin Detwiler in Sour Lake, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028051: Glock Inc. 43 Pistol CAL:9 SN:AGSZ658, valued at $520.00, seized by the ATF on July 21, 2023
from Robin Detwiler in Sour Lake, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028054: Glock GMBH 19 GEN5 Pistol CAL:9 SN:BNZG488, valued at $535.00, seized by the ATF on July
21, 2023 from Robin Detwiler in Sour Lake, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028056: Glock GMBH 22 Pistol CAL:40 SN:GUG366, valued at $475.00, seized by the ATF on July 21, 2023
from Robin Detwiler in Sour Lake, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028057: Colt WWI Commemorative Pistol CAL:45 SN:1315-MA, valued at $1,500.00, seized by the ATF on
July 21, 2023 from Robin Detwiler in Sour Lake, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028058: Colt Commander Pistol CAL:38 SN:14932LW, valued at $2,000.00, seized by the ATF on July 21,
2023 from Robin Detwiler in Sour Lake, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028059: Ruger Mini 14 Ranch Rifle, Rifle CAL:223 SN:580-60733, valued at $1,000.00, seized by the ATF
on July 21, 2023 from Robin Detwiler in Sour Lake, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).

NORTHERN DISTRICT OF TEXAS
21-ATF-025736: Glock GMBH 39GEN3 Pistol CAL:45 SN:BNGV542, valued at $400.00, seized by the ATF on July
26, 2021 from Gregory Hartfield in Dallas, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
21-ATF-025737: 15 Rounds Assorted Ammunition CAL:45, valued at $1.50, seized by the ATF on July 26, 2021
from Gregory Hartfield in Dallas, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
21-ATF-025738: Ruger Ruger-57 Pistol CAL:57 SN:641-18653, valued at $600.00, seized by the ATF on July 26,
2021 from Gregory Hartfield in Dallas, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
21-ATF-025739: 22 Rounds Assorted Ammunition CAL:57, valued at $2.20, seized by the ATF on July 26, 2021
from Gregory Hartfield in Dallas, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027580: PIONEER ARMS CORPORATION (RADOM, POLAND) HELLPUP PISTOL CAL:762
SN:PAC1120346, valued at $300.00, seized by the ATF on July 14, 2023 from Orlando Mejia Mendoza in Dallas, TX
for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027616: RUGER LCP PISTOL CAL:380 SN:371233676, valued at $300.00, seized by the ATF on July 14,
2023 from Orlando Mejia Mendoza in Dallas, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027619: FIE TITAN PISTOL CAL:25 SN:ED24221, valued at $100.00, seized by the ATF on July 14, 2023
from Orlando Mejia Mendoza in Dallas, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027621: HOPKINS AND ALLEN SAFETY POLICE REVOLVER CAL:UNKNOWN SN:NONE, valued at
$50.00, seized by the ATF on July 14, 2023 from Orlando Mejia Mendoza in Dallas, TX for forfeiture pursuant to 18
U.S.C. Section 924(d).




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property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/13/2023

SOUTHERN DISTRICT OF TEXAS
20-ATF-025932: Smith & Wesson M&P 9 Shield Pistol CAL:9 SN:HMD2470, valued at $400.00, seized by the ATF
on July 14, 2020 from Charles Hopson in Victoria, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
20-ATF-025937: Taurus 85 Ultralite Revolver CAL:38 SN:IR12737, valued at $350.00, seized by the ATF on July 14,
2020 from Charles Hopson in Victoria, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
20-ATF-025939: 26 Rounds Assorted Manufacturer Ammunition CAL:Assorted, valued at $2.60, seized by the ATF
on July 14, 2020 from Charles Hopson in Victoria, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023792: Glock GMBH 19 Pistol CAL:9 SN:BZAM873, valued at $550.00, seized by the ATF on June 08,
2023 from Dexter Roberts III in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023794: Glock GMBH 43X Pistol CAL:9 SN:BZDW603, valued at $550.00, seized by the ATF on June 08,
2023 from Dexter Roberts III in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023796: HS Produkt (IM Metal) XD9 Pistol CAL:9 SN:BY603245, valued at $550.00, seized by the ATF on
June 08, 2023 from Dexter Roberts III in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023797: Glock GMBH 43X Pistol CAL:9 SN:BZTG852, valued at $550.00, seized by the ATF on June 08,
2023 from Dexter Roberts III in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023798: Glock GMBH 19 Pistol CAL:9 SN:BZBG895, valued at $550.00, seized by the ATF on June 08,
2023 from Dexter Roberts III in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023800: Diamondback Arms Inc. AM2 Pistol CAL:9 SN:AA1422, valued at $450.00, seized by the ATF on
June 08, 2023 from Dexter Roberts III in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023804: Glock GMBH 19 Pistol CAL:9 SN:BZAM893, valued at $550.00, seized by the ATF on June 08,
2023 from Dexter Roberts III in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023805: Glock Inc. 43X Pistol CAL:9 SN:AHSY745, valued at $550.00, seized by the ATF on June 08, 2023
from Dexter Roberts III in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023807: Taurus G3C Pistol CAL:9 SN:ADL954667, valued at $550.00, seized by the ATF on June 08, 2023
from Dexter Roberts III in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023808: Glock GMBH 19 Pistol CAL:9 SN:BZAM991, valued at $550.00, seized by the ATF on June 08,
2023 from Dexter Roberts III in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023809: Glock GMBH 19 Pistol CAL:9 SN:BZMX914, valued at $550.00, seized by the ATF on June 08,
2023 from Dexter Roberts III in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023810: Glock Inc. 26 Pistol CAL:9 SN:AGSM061, valued at $550.00, seized by the ATF on June 08, 2023
from Dexter Roberts III in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023812: Glock Inc. 43X Pistol CAL:9 SN:AHSY744, valued at $550.00, seized by the ATF on June 08, 2023
from Dexter Roberts III in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023813: Glock Inc. 26 Pistol CAL:9 SN:AGSM063, valued at $550.00, seized by the ATF on June 08, 2023
from Dexter Roberts III in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023815: Glock GMBH 19 Pistol CAL:9 SN:BZMX913, valued at $550.00, seized by the ATF on June 08,
2023 from Dexter Roberts III in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023817: Glock GMBH 17 Pistol CAL:9 SN:VEM520, valued at $550.00, seized by the ATF on June 08, 2023
from Dexter Roberts III in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023818: Smith & Wesson M&P 15 Rifle CAL:556 SN:TV44058, valued at $550.00, seized by the ATF on
June 08, 2023 from Dexter Roberts III in Houston, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026228: $6,500.00 U.S. Currency, seized by the ATF on July 12, 2023 from Daniel Quintanilla in Mission,
TX for forfeiture pursuant to 18 U.S.C. Section 981(a)(1)(C) Tr.
23-ATF-026517: Glock Inc 26 Pistol CAL:9 SN:EMG268, valued at $300.00, seized by the ATF on July 12, 2023 from
Daniel Quintanilla in Mission, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026518: 61 Rounds Assorted Manufacturer Ammunition CAL:9, valued at $6.10, seized by the ATF on July
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/13/2023

SOUTHERN DISTRICT OF TEXAS
23-ATF-026518 - (Continued from previous page)
12, 2023 from Daniel Quintanilla in Mission, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027563: Rossi R351 Revolver CAL:38 SN:YK21815, valued at $200.00, seized by the ATF on July 08, 2023
from Kenneth Coles in Oilton, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027565: 50 Rounds CCI Ammunition CAL:38, Serial No. Unknown, valued at $5.00, seized by the ATF on
July 08, 2023 from Kenneth Coles in Oilton, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027675: RUGER AMERICAN PISTOL PISTOL CAL:9 SN:860-29076, valued at $300.00, seized by the ATF
on July 13, 2023 from PATRICK LEDEAY in Socorro, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028219: Taurus G3C Pistol CAL:9 SN:ACH211847, valued at $400.00, seized by the ATF on July 19, 2023
from Yurith Gonzalez-Ibarra in Mission, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028222: 45 Rounds Aguila Ammunition CAL:9, Serial No. Unknown, valued at $4.50, seized by the ATF on
July 19, 2023 from Yurith Gonzalez-Ibarra in Mission, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028224: 2 Rounds Aguila Ammunition CAL:9, Serial No. Unknown, valued at $0.20, seized by the ATF on
July 19, 2023 from Yurith Gonzalez-Ibarra in Mission, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028228: Privately Made Firearm AR15 Auto Sear Machine Gun CAL:223 SN:None, valued at $1,500.00,
seized by the ATF on July 27, 2023 from Angel Esquivel in Laredo, TX for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-028229: Glock GMBH 41 GEN4 Pistol CAL:45 SN:XSC932, valued at $450.00, seized by the ATF on July
27, 2023 from Angel Esquivel in Laredo, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028230: 20 Rounds Frontier Ammunition CAL:556, Serial No. Unknown, valued at $2.00, seized by the ATF
on July 27, 2023 from Angel Esquivel in Laredo, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028231: 15 Rounds Unknown Manufacturer Ammunition CAL:45, Serial No. Unknown, valued at $1.50,
seized by the ATF on July 27, 2023 from Angel Esquivel in Laredo, TX for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-028232: 16 Rounds Hornady Ammunition CAL:9, Serial No. Unknown, valued at $1.60, seized by the ATF
on July 27, 2023 from Angel Esquivel in Laredo, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028340: 4 Rounds Unknown Manufacturer Ammunition CAL:12, Serial No. Unknown, valued at $0.40,
seized by the ATF on August 02, 2023 from Pedro Olivarez in Edinburg, TX for forfeiture pursuant to 18 U.S.C.
Section 924(d).




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property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/13/2023

WESTERN DISTRICT OF TEXAS
23-ATF-027703: GLOCK INC. 26GEN5 PISTOL CAL:9 SN:AHGR651, valued at $200.00, seized by the ATF on July
13, 2023 from Jose BECERRA-VENEGAS in El Paso, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027711: RUGER SR-22 P PISTOL CAL:22 SN:36955800, valued at $200.00, seized by the ATF on July 13,
2023 from Jose BECERRA-VENEGAS in El Paso, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027720: RUGER RUGER-57 PISTOL CAL:57 SN:643-63581, valued at $200.00, seized by the ATF on July
13, 2023 from Jose BECERRA-VENEGAS in El Paso, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027723: MOSSBERG 500 RECEIVER/FRAME CAL:Unknown SN:V1571291, valued at $200.00, seized by
the ATF on July 13, 2023 from Jose BECERRA-VENEGAS in El Paso, TX for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-027726: 140 Rounds WINCHESTER-WESTERN Ammunition CAL:22, Serial No. NULL, valued at $14.00,
seized by the ATF on July 13, 2023 from Jose BECERRA-VENEGAS in El Paso, TX for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-027727: 22 Rounds WINCHESTER-WESTERN Ammunition CAL:12, Serial No. NULL, valued at $2.20,
seized by the ATF on July 13, 2023 from Jose BECERRA-VENEGAS in El Paso, TX for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-027728: 20 Rounds WINCHESTER-WESTERN Ammunition CAL:20, Serial No. NULL, valued at $2.00,
seized by the ATF on July 13, 2023 from Jose BECERRA-VENEGAS in El Paso, TX for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-027731: 13 Rounds CCI Ammunition CAL:9, Serial No. NULL, valued at $1.30, seized by the ATF on July
13, 2023 from Jose BECERRA-VENEGAS in El Paso, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028177: SMITH & WESSON M&P 15 RIFLE CAL:556 SN:TM82530, valued at $700.00, seized by the ATF on
June 25, 2023 from Robert Abrego in El Paso, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028178: 19 Rounds OTHER Ammunition CAL:223, Serial No. NULL, valued at $1.90, seized by the ATF on
June 25, 2023 from Robert Abrego in El Paso, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028179: 11 Rounds OTHER Ammunition CAL:45, Serial No. NULL, valued at $1.10, seized by the ATF on
June 25, 2023 from Robert Abrego in El Paso, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-028199: 9 ETI Electronic Detonators with Yellow and Blue Wires, valued at $5.00, seized by the ATF on July
12, 2023 from Christopher Roberts in Cedar Park, TX for forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-028204: 5 Dupont Electric Detonators with Yellow and Blue Wires, valued at $5.00, seized by the ATF on
July 12, 2023 from Christopher Roberts in Cedar Park, TX for forfeiture pursuant to 18 U.S.C. Section 844.

DISTRICT OF UTAH
23-ATF-027644: $2,310.00 U.S. Currency, seized by the ATF on July 20, 2023 from Ernesto Bugarin in West
Jordan, UT for forfeiture pursuant to 21 U.S.C. Section 881.

EASTERN DISTRICT OF WISCONSIN
23-ATF-027544: 9 Rounds Ammunition Ammunition CAL:9, Serial No. Unknown, valued at $0.90, seized by the ATF
on July 24, 2023 from Start Hill in Green Bay, WI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027554: 2 Rounds Assorted Ammunition CAL:Multi, Serial No. Unknown, valued at $0.20, seized by the
ATF on July 24, 2023 from Start Hill in Green Bay, WI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027555: 1 Component SPEER Ammunition CAL:40, Serial No. Unknown, valued at $0.02, seized by the
ATF on July 24, 2023 from Start Hill in Green Bay, WI for forfeiture pursuant to 18 U.S.C. Section 924(d).




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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/13/2023

NORTHERN DISTRICT OF WEST VIRGINIA
23-ATF-027569: RUGER LCP PISTOL CAL:380 SN:380307549, valued at $340.00, seized by the ATF on July 14,
2023 from James Jacobs in Shepherdstown, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027571: MARLIN FIREARMS CO. 60 RIFLE CAL:22 SN:20482890, valued at $225.00, seized by the ATF on
July 14, 2023 from James Jacobs in Shepherdstown, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027572: 88 Rounds ASSORTED Ammunition CAL:380, valued at $8.80, seized by the ATF on July 14, 2023
from James Jacobs in Shepherdstown, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027573: 16 Rounds OTHER Ammunition CAL:22, valued at $1.60, seized by the ATF on July 14, 2023 from
James Jacobs in Shepherdstown, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027574: 14 Rounds ASSORTED Ammunition CAL:380, valued at $1.40, seized by the ATF on July 14, 2023
from James Jacobs in Shepherdstown, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027575: 35 Rounds ASSORTED Ammunition CAL:UNKNOWN, valued at $3.50, seized by the ATF on July
14, 2023 from James Jacobs in Shepherdstown, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027576: 2 Rounds FEDERAL Ammunition CAL:22, valued at $0.20, seized by the ATF on July 14, 2023
from James Jacobs in Shepherdstown, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).




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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/06/2023

EASTERN DISTRICT OF ARKANSAS
23-ATF-026198: 52 Rounds Unknown Ammunition CAL:223, valued at $5.20, seized by the ATF on July 07, 2023
from Zivan BERRY in Little Rock, AR for forfeiture pursuant to 18 U.S.C. Section 924(d).

DISTRICT OF ARIZONA
23-ATF-026917: FNH USA, LLC M249S Rifle CAL:556 SN:M249SA09203, valued at $20,000.00, seized by the ATF
on July 17, 2023 from James FLORENCIO in Tempe, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).

CENTRAL DISTRICT OF CALIFORNIA
20-ATF-013633: Unknown Manufacturer Unknown Pistol CAL:Unknown SN:None, valued at $100.00, seized by the
ATF on December 02, 2019 from Francisco Orozco in Los Angeles, CA for forfeiture pursuant to 18 U.S.C. Section
924(d).
20-ATF-013634: 14 Rounds Assorted Ammunition CAL:9, valued at $1.40, seized by the ATF on December 02,
2019 from Francisco Orozco in Los Angeles, CA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027334: Ruger LCP Pistol CAL:380 SN:372122407, valued at $100.00, seized by the ATF on July 16, 2023
from Carlos Mendoza in Compton, CA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027338: Mossberg 590 Shotgun CAL:12 SN:V1590865, valued at $300.00, seized by the ATF on July 16,
2023 from Jesse Lopez-Martinez in Compton, CA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027339: 5 Rounds Other Ammunition CAL:380, Serial No. null, valued at $0.50, seized by the ATF on July
16, 2023 from Carlos Mendoza in Compton, CA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027340: 5 Rounds Federal Ammunition CAL:12, Serial No. null, valued at $0.50, seized by the ATF on July
16, 2023 from Jesse Lopez-Martinez in Compton, CA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027342: 10 Rounds Assorted Ammunition CAL:Multi, Serial No. null, valued at $1.00, seized by the ATF on
July 16, 2023 from Carlos Mendoza in Compton, CA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027343: 214 Rounds Assorted Ammunition CAL: Unknown, Serial No. null, valued at $21.40, seized by the
ATF on July 16, 2023 from Carlos Mendoza in Compton, CA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027407: HS PRODUKT (IM METAL) XD9 Pistol CAL:9 SN:BA709052, valued at $200.00, seized by the ATF
on July 25, 2023 from Joselyn Villalobos in Moreno Valley, CA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027408: 50 Rounds CCI Ammunition CAL:8, valued at $5.00, seized by the ATF on July 25, 2023 from
Joselyn Villalobos in Moreno Valley, CA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027480: Unknown Manufacturer Unknown Rifle CAL:223 SN:None, valued at $200.00, seized by the ATF
on June 30, 2023 from Jacob Flores in Los Angeles, CA for forfeiture pursuant to 18 U.S.C. Section 924(d).

DISTRICT OF COLORADO
23-ATF-023445: SMITH & WESSON M&P 40 Shield M2.0 Pistol CAL:40 SN:JFE3896, valued at $300.00, seized by
the ATF on May 11, 2023 from Francisco Salazar in Pueblo, CO for forfeiture pursuant to 18 U.S.C. Section 924(d).




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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
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LAST DATE TO FILE: 10/06/2023

DISTRICT OF COLUMBIA
23-ATF-026843: Privately made Firearm (PMF) Unknown Pistol CAL:Unknown Other Marks SN:BYDG607, valued
at $300.00, seized by the ATF on June 20, 2023 from Jordan JOHNSON in Washington, DC for forfeiture pursuant
to 18 U.S.C. Section 924(d).
23-ATF-026848: Privately made Firearm (PMF) Unknwon Receiver/Frame CAL:Unknown SN:None, valued at
$115.00, seized by the ATF on June 20, 2023 from Jordan JOHNSON in Washington, DC for forfeiture pursuant to
18 U.S.C. Section 924(d).
23-ATF-026849: Privately made Firearm (PMF) Unknown Receiver/Frame CAL:Unknown SN:None, valued at
$115.00, seized by the ATF on June 20, 2023 from Jordan JOHNSON in Washington, DC for forfeiture pursuant to
18 U.S.C. Section 924(d).
23-ATF-026850: Privately made Firearm (PMF) Unknown Receiver/Frame CAL:Unknown SN:None, valued at
$115.00, seized by the ATF on June 20, 2023 from Jordan JOHNSON in Washington, DC for forfeiture pursuant to
18 U.S.C. Section 924(d).
23-ATF-026851: Privately made Firearm (PMF) Unknown Receiver/Frame CAL:Unknown SN:None, valued at
$115.00, seized by the ATF on June 20, 2023 from Jordan JOHNSON in Washington, DC for forfeiture pursuant to
18 U.S.C. Section 924(d).
23-ATF-026852: 15 Rounds Assorted Ammunition CAL:40, Serial No. Unknown, valued at $1.50, seized by the ATF
on June 20, 2023 from Jordan JOHNSON in Washington, DC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026853: 214 Rounds Assorted Ammunition CAL:Unknown, Serial No. Unknown, valued at $21.40, seized
by the ATF on June 20, 2023 from Jordan JOHNSON in Washington, DC for forfeiture pursuant to 18 U.S.C.
Section 924(d).

MIDDLE DISTRICT OF FLORIDA
22-ATF-035969: Polymer80, Inc. (P80 Tactical P80) PF940V2 Pistol CAL:40 SN:None, valued at $50.00, seized by
the ATF on May 03, 2022 from Jesus Rivas and Angel Perez in Tampa, FL for forfeiture pursuant to 18 U.S.C.
Section 924(d).
22-ATF-035972: 22 Rounds CCI Ammunition CAL:40, valued at $2.20, seized by the ATF on May 03, 2022 from
Jesus Rivas and Angel Perez in Tampa, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-044183: 7 Rounds ASSORTED Ammunition CAL:MULTI, valued at $0.70, seized by the ATF on December
30, 2021 from Jesus Rivas in Tampa, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).




[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 196 of 257 PageID 711
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/06/2023

SOUTHERN DISTRICT OF FLORIDA
23-ATF-025406: 2022 DODGE RAM 2500 CREW CAB PICKUP, VIN: 3C6UR5FJ1NG148091, valued at
$54,925.00, seized by the ATF on June 06, 2023 from AHMED WADI in MIAMI, FL for forfeiture pursuant to 21 U.S.C.
Section 881.
23-ATF-025414: $5,789.00 U.S. Currency, seized by the ATF on June 06, 2023 from AHMED WADI in MIAMI, FL for
forfeiture pursuant to 21 U.S.C. Section 881.
23-ATF-025426: GLOCK GMBH 36 PISTOL CAL:45 SN:WRX389, valued at $400.00, seized by the ATF on June 06,
2023 from AHMED WADI in MIAMI, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025429: SMITH & WESSON 38 REVOLVER CAL:38 SN:CNM7232, valued at $400.00, seized by the ATF on
June 06, 2023 from AHMED WADI in MIAMI, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025431: HS PRODUKT (IM METAL) XD9 PISTOL CAL:9 SN:XD106788, valued at $400.00, seized by the
ATF on June 06, 2023 from AHMED WADI in MIAMI, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025432: MAVERICK ARMS (EAGLE PASS TX) 88 SHOTGUN CAL:12 SN:MV40409P, valued at $500.00,
seized by the ATF on June 06, 2023 from AHMED WADI in MIAMI, FL for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-025437: ROMARM / CUGIR WASR-3 RIFLE CAL:ASSORTED SN:31452810RO, valued at $1,000.00,
seized by the ATF on June 06, 2023 from AHMED WADI in MIAMI, FL for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-025438: UNKNOWM MANUFACTURER UNKNOWN RIFLE CAL:ASSORTED SN:CF032963, valued at
$1,000.00, seized by the ATF on June 06, 2023 from AHMED WADI in MIAMI, FL for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-025440: COBRA ENT, INC./KODIAK IND. C22M DERRINGER CAL:22 SN:086935, valued at $1,000.00,
seized by the ATF on June 06, 2023 from AHMED WADI in MIAMI, FL for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-025441: ZASTAVA Z-PAP M70 RIFLE CAL:762 SN: Z70096338, valued at $1,000.00, seized by the ATF on
June 06, 2023 from AHMED WADI in MIAMI, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025443: GLOCK INC 29 PISTOL CAL:10 SN:BFCV955, valued at $400.00, seized by the ATF on June 06,
2023 from AHMED WADI in MIAMI, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025444: GLOCK INC 27 PISTOL CAL:40 SN:BTZK920, valued at $400.00, seized by the ATF on June 06,
2023 from AHMED WADI in MIAMI, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025445: TAURUS 605 REVOLVER CAL:357 SN:AEA019923, valued at $400.00, seized by the ATF on June
06, 2023 from AHMED WADI in MIAMI, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025448: ANDERSON MANUFACTURING AM-15 RIFLE CAL:MULTI SN:20186567, valued at $1,000.00,
seized by the ATF on June 06, 2023 from AHMED WADI in MIAMI, FL for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-025449: STANDARD MANUFACTURING COMPANY, LLC S333 REVOLVER CAL:22 SN:SVF017015, valued
at $400.00, seized by the ATF on June 06, 2023 from AHMED WADI in MIAMI, FL for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-025450: MAGNUM RESEARCH DESERT EAGLE PISTOL CAL:50 SN:DK0049065, valued at $400.00,
seized by the ATF on June 06, 2023 from AHMED WADI in MIAMI, FL for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-025452: TAURUS THE JUDGE REVOLVER CAL:45/410 SN:JU969075, valued at $400.00, seized by the
ATF on June 06, 2023 from AHMED WADI in MIAMI, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025453: RUGER NRA 1911 PISTOL CAL:45 SN:7345446, valued at $400.00, seized by the ATF on June
06, 2023 from AHMED WADI in MIAMI, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025454: ROMARM/CUGIR WASR-10 RIFLE CAL:762 SN:1971DH2242, valued at $400.00, seized by the
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 197 of 257 PageID 712
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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property based on hardship.


LAST DATE TO FILE: 10/06/2023

SOUTHERN DISTRICT OF FLORIDA
23-ATF-025454 - (Continued from previous page)
ATF on June 06, 2023 from AHMED WADI in MIAMI, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025455: SPIKE'S TACTICAL LLC ST15 RIFLE CAL:MULTI SN: NSL073441, valued at $1,000.00, seized by
the ATF on June 06, 2023 from AHMED WADI in MIAMI, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025456: AMERICAN TACTICAL IMPORTS-ATI OMNI HYBRID PISTOL CAL:MULTI SN:NS22991, valued at
$400.00, seized by the ATF on June 06, 2023 from AHMED WADI in MIAMI, FL for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-025458: ROMARM/CUGIR DRACO PISTOL CAL:762 SN:DF712520ROA, valued at $600.00, seized by the
ATF on June 06, 2023 from AHMED WADI in MIAMI, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025459: REMINGTON ARMS COMPANY, INC 700 RIFLE CAL:308 SN:RR07192C, valued at $1,000.00,
seized by the ATF on June 06, 2023 from AHMED WADI in MIAMI, FL for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-025461: AMERICAN TACTICAL IMPORTS-ATI OMNI HYBRID RIFLE CAL:MULTI SN:NS164391, valued at
$1,000.00, seized by the ATF on June 06, 2023 from AHMED WADI in MIAMI, FL for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-025464: SPIKE'S TACTICAL LLC SL15 RIFLE CAL:MULTI SN:SAR70152, valued at $1,000.00, seized by
the ATF on June 06, 2023 from AHMED WADI in MIAMI, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025465: KELTEC,CNC INDUSTRIES, INC KSG SHOTGUN CAL:12 SN:XXM332, valued at $1,000.00,
seized by the ATF on June 06, 2023 from AHMED WADI in MIAMI, FL for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-025467: HECKLER AND KOCH MR 762A1 RIFLE CAL:762 SN:242301273, valued at $1,000.00, seized by
the ATF on June 06, 2023 from AHMED WADI in MIAMI, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025470: IZHMASH (IMEZ) SAIGA RIFLE CAL:762 SN:H08103570, valued at $1,000.00, seized by the ATF
on June 06, 2023 from AHMED WADI in MIAMI, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025471: FNH USA LLC UNKNOWN PISTOL CAL:ASSORTED SN:386406549, valued at $400.00, seized
by the ATF on June 06, 2023 from AHMED WADI in MIAMI, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025473: FNH USA LLC UNKNOWN PISTOL CAL:ASSORTED SN:386332967, valued at $400.00, seized
by the ATF on June 06, 2023 from AHMED WADI in MIAMI, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025474: CENTURY ARMS INTERNATIONAL C39V2 PISTOL CAL:762 SN:C39P2A02592, valued at
$600.00, seized by the ATF on June 06, 2023 from AHMED WADI in MIAMI, FL for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-025477: ROMARM/CUGIR MICRO DRACO PISTOL CAL:762 SN:ROA21PMD23583, valued at $600.00,
seized by the ATF on June 06, 2023 from AHMED WADI in MIAMI, FL for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-025478: GLOCK GMBH 23GEN5 PISTOL CAL:40 SN:BXSH775, valued at $600.00, seized by the ATF on
June 06, 2023 from AHMED WADI in MIAMI, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025588: NOVESKE RIFLEWORKS LLC N4-PDW PISTOL CAL:300 SN:NOVPDW00609, valued at
$1,000.00, seized by the ATF on June 22, 2023 from BRANDON ATWELL in MIAMI, FL for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-025591: 21 Rounds LC(LAKE CITY) Ammunition CAL:300, valued at $2.10, seized by the ATF on June 22,
2023 from BRANDON ATWELL in MIAMI, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025599: 22 Rounds SMITH & WESSON Ammunition CAL:40, valued at $2.20, seized by the ATF on June
22, 2023 from KIONNATAYA REED in MIAMI, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025600: GLOCK INC 26 PISTOL CAL:9 SN:V2W633, valued at $300.00, seized by the ATF on June 22,
2023 from MICHAEL D. WILLIAMS in MIAMI, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).


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property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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property based on hardship.


LAST DATE TO FILE: 10/06/2023

SOUTHERN DISTRICT OF FLORIDA
23-ATF-025601: 32 Rounds ASSORTED Ammunition CAL:9, valued at $3.20, seized by the ATF on June 22, 2023
from MICHAEL D. WILLIAMS in MIAMI, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026922: SMITH & WESSON M&P 9 SHIELD PISTOL CAL:9 SN:HUB5707, valued at $400.00, seized by the
ATF on June 23, 2023 from BRANDON HUDSON in FORT LAUDERDALE, FL for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-026928: 7 Rounds ASSORTED Ammunition CAL:9, valued at $0.70, seized by the ATF on June 23, 2023
from BRANDON HUDSON in FORT LAUDERDALE, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).

NORTHERN DISTRICT OF GEORGIA
23-ATF-021301: FNH USA, LLC M249S Rifle CAL:556 SN:M249SA06671, valued at $10,392.99, seized by the ATF
on May 23, 2023 from Paula Palacios-Valenzuela in Smyrna, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026011: Smith & Wesson SD40VE Pistol CAL:40 SN:FDF8431, valued at $300.00, seized by the ATF on
July 06, 2023 from Hamzah Jawo in Atlanta, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026016: Glock GMBH 19GEN4 Pistol CAL:9 SN:BTCN681, valued at $350.00, seized by the ATF on July 06,
2023 from Hamzah Jawo in Atlanta, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026564: 3 Rounds Fiocchi Ammunition CAL:40, valued at $0.30, seized by the ATF on July 06, 2023 from
Hamzah Jawo in Atlanta, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026565: 18 Rounds Assorted Ammunition CAL:9, valued at $1.80, seized by the ATF on July 06, 2023 from
Hamzah Jawo in Atlanta, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).

NORTHERN DISTRICT OF ILLINOIS
23-ATF-026905: 20 Rounds Assorted Ammunition CAL:9, valued at $2.00, seized by the ATF on July 14, 2023 from
Shelton Sherrod in Zion, IL for forfeiture pursuant to 18 U.S.C. Section 924(d).




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property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 199 of 257 PageID 714
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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property based on hardship.


LAST DATE TO FILE: 10/06/2023

SOUTHERN DISTRICT OF ILLINOIS
23-ATF-026916: $3,636.31 U.S. Currency, seized by the ATF on July 13, 2023 from Marcus Bobo in East Saint
Louis, IL for forfeiture pursuant to 21 U.S.C. Section 881.
23-ATF-027322: HS PRODUKT (IM METAL) XD9 Pistol CAL:9 SN:XS924193, valued at $300.00, seized by the ATF
on July 13, 2023 from Marcus Bobo in East Saint Louis, IL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027323: 8 Rounds Assorted Ammunition CAL:9, valued at $0.80, seized by the ATF on July 13, 2023 from
Marcus Bobo in East Saint Louis, IL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027325: CZ (CESKA ZBROJOVKA) SCORPION EVO 3 S1 Pistol CAL:9 SN:F051020, valued at $300.00,
seized by the ATF on July 13, 2023 from Marcus Bobo in East Saint Louis, IL for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-027326: 15 Rounds Assorted Ammunition CAL:9, valued at $1.50, seized by the ATF on July 13, 2023 from
Marcus Bobo in East Saint Louis, IL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027490: GLOCK GMBH 22GEN5 Pistol CAL:40 SN:BUSF424, valued at $450.00, seized by the ATF on July
26, 2023 from Arthur Runnels in Swansea, IL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027492: 15 Rounds WINCHESTER-WESTERN Ammunition CAL:40, valued at $1.50, seized by the ATF on
July 26, 2023 from Arthur Runnels in Swansea, IL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027493: 60 Rounds Assorted Ammunition CAL:Multi, valued at $6.00, seized by the ATF on July 26, 2023
from Arthur Runnels in Swansea, IL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027495: 40 Rounds WINCHESTER-WESTERN Ammunition CAL:40, valued at $4.00, seized by the ATF on
July 26, 2023 from Arthur Runnels in Swansea, IL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027496: 20 Rounds FEDERAL Ammunition CAL:308, valued at $2.00, seized by the ATF on July 26, 2023
from Arthur Runnels in Swansea, IL for forfeiture pursuant to 18 U.S.C. Section 924(d).

NORTHERN DISTRICT OF INDIANA
23-ATF-027170: SMITH & WESSON M&P 40 Pistol CAL:40 SN:HAM0977, valued at $400.00, seized by the ATF on
July 21, 2023 from Alan Nunn in Gary, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027175: 8 Rounds Assorted Ammunition CAL:40, valued at $0.80, seized by the ATF on July 21, 2023 from
Alan Nunn in Gary, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027177: ANDERSON MANUFACTURING AM-15 Rifle CAL:223 SN:14125316, valued at $500.00, seized by
the ATF on July 21, 2023 from Alan Nunn in Gary, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027179: 24 Rounds Assorted Ammunition CAL:223, valued at $2.40, seized by the ATF on July 21, 2023
from Alan Nunn in Gary, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027183: TAURUS G2C Pistol CAL:9 SN:AEB041327, valued at $400.00, seized by the ATF on July 21, 2023
from Alan Nunn in Gary, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027185: 10 Rounds Hornady Ammunition CAL:9, valued at $1.00, seized by the ATF on July 21, 2023 from
Alan Nunn in Gary, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027187: 1 Rounds CBC - BRAZILIAN CARTTIDGE COMPANY Ammunition CAL:40, valued at $0.10, seized
by the ATF on July 21, 2023 from Alan Nunn in Gary, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027189: 8 Rounds SELLIER & BELLOT Ammunition CAL:9, valued at $0.80, seized by the ATF on July 21,
2023 from Alan Nunn in Gary, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027193: 3 Rounds Assorted Ammunition CAL:9, valued at $0.30, seized by the ATF on July 21, 2023 from
Alan Nunn in Gary, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027196: 20 Rounds TULA CARTRIDGE WORKS - RUSSIA Ammunition CAL:223, valued at $2.00, seized
by the ATF on July 21, 2023 from Alan Nunn in Gary, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027201: 5 Rounds Hornady Ammunition CAL:9, valued at $0.50, seized by the ATF on July 21, 2023 from
Alan Nunn in Gary, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).

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property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 200 of 257 PageID 715
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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property based on hardship.


LAST DATE TO FILE: 10/06/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-026973: Glock GMBH 19X Pistol CAL:9 SN:CAHT508,, valued at $500.00, seized by the ATF on July 19,
2023 from Jorge Manuel SANTANA-MARTINEZ in Indianapolis, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026992: Glock GMBH 19X Pistol CAL:9 SN:BWZT123, valued at $500.00, seized by the ATF on July 19,
2023 from Jorge Manuel SANTANA-MARTINEZ in Indianapolis, IN for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026995: 32 Rounds Assorted Ammunition CAL:9, valued at $3.20, seized by the ATF on July 19, 2023 from
Jorge Manuel SANTANA-MARTINEZ in Indianapolis, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026999: 16 Rounds Hornady Ammunition CAL:9, valued at $1.60, seized by the ATF on July 19, 2023 from
Jorge Manuel SANTANA-MARTINEZ in Indianapolis, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027003: 5 Rounds Assorted Ammunition CAL:9, valued at $0.50, seized by the ATF on July 19, 2023 from
Jorge Manuel SANTANA-MARTINEZ in Indianapolis, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027049: 28 Rounds Assorted Ammunition CAL:9, valued at $2.80, seized by the ATF on July 19, 2023 from
Jorge Manuel SANTANA-MARTINEZ in Indianapolis, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027050: 13 Rounds Hornady Ammunition CAL:9, valued at $1.30, seized by the ATF on July 19, 2023 from
Jorge Manuel SANTANA-MARTINEZ in Indianapolis, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027051: 29 Rounds Assorted Ammunition CAL:9, valued at $2.90, seized by the ATF on July 19, 2023 from
Jorge Manuel SANTANA-MARTINEZ in Indianapolis, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027052: 31 Rounds Federal Ammunition CAL:9, valued at $3.10, seized by the ATF on July 19, 2023 from
Jorge Manuel SANTANA-MARTINEZ in Indianapolis, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027053: 19 Rounds Assorted Ammunition CAL:9, valued at $1.90, seized by the ATF on July 19, 2023 from
Jorge Manuel SANTANA-MARTINEZ in Indianapolis, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027054: 44 Rounds Federal Ammunition CAL:9, valued at $4.40, seized by the ATF on July 19, 2023 from
Jorge Manuel SANTANA-MARTINEZ in Indianapolis, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027055: 33 Rounds Assorted Ammunition CAL:Multi, valued at $3.30, seized by the ATF on July 19, 2023
from Jorge Manuel SANTANA-MARTINEZ in Indianapolis, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027056: 1 BLACK SUPPRESSOR WITH SMALL CALIBER EJECTION HOLE AT END
RECOVERED DURING DEA SW, IN OJEDA BEDROOM. DEA SW ITEM 43, Serial No. Unknown, valued at $1.00,
seized by the ATF on July 19, 2023 from Jorge Manuel SANTANA-MARTINEZ in Indianapolis, IN for forfeiture
pursuant to 18 U.S.C. Section 924(d).
23-ATF-027057: Unknown Manufacturer Unknown Type Silencer CAL:Unknown SN:None, valued at $1.00, seized
by the ATF on July 19, 2023 from Jorge Manuel SANTANA-MARTINEZ in Indianapolis, IN for forfeiture pursuant to
18 U.S.C. Section 924(d).
23-ATF-027058: 7 Rounds Assorted Ammunition CAL:Multi, valued at $0.70, seized by the ATF on July 19, 2023
from Jorge Manuel SANTANA-MARTINEZ in Indianapolis, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027059: 126 Rounds Federal Ammunition CAL:9, valued at $12.60, seized by the ATF on July 19, 2023
from Jorge Manuel SANTANA-MARTINEZ in Indianapolis, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027060: 33 Rounds Hornady Ammunition CAL:9, valued at $3.30, seized by the ATF on July 19, 2023 from
Jorge Manuel SANTANA-MARTINEZ in Indianapolis, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027061: 22 Rounds Assorted Ammunition CAL:40, valued at $2.20, seized by the ATF on July 19, 2023
from Jorge Manuel SANTANA-MARTINEZ in Indianapolis, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027062: 293 Rounds Assorted Ammunition CAL:Multi, valued at $29.30, seized by the ATF on July 19, 2023
from Jorge Manuel SANTANA-MARTINEZ in Indianapolis, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027063: Unknown Manufacturer Unknown Type Machine Gun Con CAL:Unknown SN:None, valued at
$1.00, seized by the ATF on July 19, 2023 from Jorge Manuel SANTANA-MARTINEZ in Indianapolis, IN for forfeiture
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
                                                          Page 134 of 191                                                          200
Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 201 of 257 PageID 716
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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property based on hardship.


LAST DATE TO FILE: 10/06/2023

SOUTHERN DISTRICT OF INDIANA
23-ATF-027063 - (Continued from previous page)
pursuant to 18 U.S.C. Section 924(d).
23-ATF-027064: Unknown Manufacturer Unknown Type Machinegun CAL:Unknown SN:None, valued at $1.00,
seized by the ATF on July 19, 2023 from Jorge Manuel SANTANA-MARTINEZ in Indianapolis, IN for forfeiture
pursuant to 18 U.S.C. Section 924(d).
23-ATF-027065: 17 Rounds Assorted Ammunition CAL:9, valued at $1.70, seized by the ATF on July 19, 2023 from
Jorge Manuel SANTANA-MARTINEZ in Indianapolis, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027261: $127,451.00 U.S. Currency, seized by the ATF on July 24, 2023 from Jordan Sumner in
Indianapolis, IN for forfeiture pursuant to 21 U.S.C. Section 881.
23-ATF-027638: 6 Rounds Federal Ammunition CAL:9, valued at $0.60, seized by the ATF on July 19, 2023 from
Jorge Manuel SANTANA-MARTINEZ in Indianapolis, IN for forfeiture pursuant to 18 U.S.C. Section 924(d).

DISTRICT OF KANSAS
23-ATF-020110: 84 Rounds Assorted Ammunition CAL:Unknown, valued at $8.40, seized by the ATF on May 04,
2023 from Steven Crawford in Kansas City, KS for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-022558: ARMSCOR OF THE PHILIPPINES (SQUIRES BINGHAM) GI Pistol CAL:45 SN:GI123600, valued at
$275.00, seized by the ATF on May 04, 2023 from Gabriel Venegas in Kansas City, KS for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-022561: RUGER WRANGLER Revolver CAL:22 SN:205-77818, valued at $150.00, seized by the ATF on
May 04, 2023 from Gabriel Venegas in Kansas City, KS for forfeiture pursuant to 18 U.S.C. Section 924(d).

WESTERN DISTRICT OF KENTUCKY
23-ATF-026967: KIMBER MICRO 9 PISTOL CAL:9 SN:PB0327465, valued at $100.00, seized by the ATF on June
11, 2023 from Cody Johnson in Fulton, KY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026969: 4 Rounds PERFECTA Ammunition CAL:9, valued at $0.40, seized by the ATF on June 11, 2023
from Cody Johnson in Fulton, KY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027068: NEW ENGLAND FIREARMS PARDNER SHOTGUN CAL:20 SN:353053, valued at $200.00, seized
by the ATF on June 15, 2023 from Devin Russell in Fredonia, KY for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-027070: REMINGTON ARMS COMPANY, INC. 572 RIFLE CAL:22 SN:NONE, valued at $100.00, seized by
the ATF on June 15, 2023 from Devin Russell in Fredonia, KY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027071: 51 Rounds UNKNOWN Ammunition CAL:UNKNOWN, valued at $5.10, seized by the ATF on June
15, 2023 from Devin Russell in Fredonia, KY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027435: TAURUS INTERNATIONAL G3C PISTOL CAL:9 SN:AAL011455, valued at $350.00, seized by the
ATF on July 10, 2023 from Jonathan Rivera in Louisville, KY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027515: RUGER SP101 REVOLVER CAL:357 SN:57596348, valued at $100.00, seized by the ATF on July
13, 2023 from Anthony Williams in Eddyville, KY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027516: 25 Rounds ASSORTED Ammunition CAL:357, valued at $2.50, seized by the ATF on July 13, 2023
from Anthony Williams in Eddyville, KY for forfeiture pursuant to 18 U.S.C. Section 924(d).




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                                                          Page 135 of 191                                                          201
Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 202 of 257 PageID 717
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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LAST DATE TO FILE: 10/06/2023

DISTRICT OF MASSACHUSETTS
23-ATF-026858: GLOCK INC. 42 Pistol CAL:380 SN:AGAX936, valued at $400.00, seized by the ATF on June 21,
2023 from Miguel GONZALEZ in DORCHESTER, MA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026860: 6 Rounds UNKNOWN Ammunition CAL:380, Serial No. Unknown, valued at $0.60, seized by the
ATF on June 21, 2023 from Miguel GONZALEZ in DORCHESTER, MA for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026861: ROSSI M971 Revolver CAL:357 SN:ES421972, valued at $300.00, seized by the ATF on June 21,
2023 from Santo BAEZ in LAWRENCE, MA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026862: 40 Rounds ASSORTED Ammunition CAL:38, Serial No. Unknown, valued at $4.00, seized by the
ATF on June 21, 2023 from Santo BAEZ in LAWRENCE, MA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026863: WALTHER P22 Pistol CAL:22 SN:Obliterated, valued at $500.00, seized by the ATF on June 21,
2023 from Willman Lara-Santana in LAWRENCE, MA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026864: 6 Rounds UNKNOWN Ammunition CAL:22, Serial No. Unknown, valued at $0.60, seized by the
ATF on June 21, 2023 from Willman Lara-Santana in LAWRENCE, MA for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026865: ONE BLACK COLORED DEVICE SUSPECTED TO BE A SILENCER, Serial No. Unknown, valued
at $50.00, seized by the ATF on June 21, 2023 from Willman Lara-Santana in LAWRENCE, MA for forfeiture
pursuant to 18 U.S.C. Section 924(d).




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property for sale.]
                                                          Page 136 of 191                                                          202
Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 203 of 257 PageID 718
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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LAST DATE TO FILE: 10/06/2023

EASTERN DISTRICT OF MICHIGAN
23-ATF-026049: Unknown PISTOL MODEL: Unknown CAL: Unknown, SN: PF940C, valued at $300.00, seized by
the Detroit Police Department on May 30, 2023 from Denzel Tate in Detroit, MI, and adopted by the ATF for forfeiture
pursuant to 18 U.S.C. Section 924(d).
23-ATF-026050: AMMUNITION QTY: 15 MNF: FIOCCHI CAL: 9, valued at $1.50, seized by the Detroit Police
Department on May 30, 2023 from Denzel Tate in Detroit, MI, and adopted by the ATF for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-026051: GLOCK INC. PISTOL MODEL: 43 CAL: 9 SN: AFRP476, valued at $300.00, seized by the Detroit
Police Department on May 03, 2023 from Walter Stoudemire in Detroit, MI, and adopted by the ATF for forfeiture
pursuant to 18 U.S.C. Section 924(d).
23-ATF-026052: AMMUNITION - ASSORTED QTY: 11 MNF: ASSORTED CAL: 9, valued at $1.10, seized by the
Detroit Police Department on May 03, 2023 from Walter Stoudemire in Detroit, MI, and adopted by the ATF for
forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026053: MACHINE-GUN GLOCK INC. PISTOL MODEL: 23GEN5 CAL: 40 SN: BYWG200, valued at
$300.00, seized by the Detroit Police Department on June 22, 2023 from Aion Overman in Detroit, MI, and adopted
by the ATF for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026919: KBI INC. SKS-45 Rifle CAL: 762 SN:3B4191, valued at $250.00, seized by the ATF on July 10,
2023 from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026923: Unknown Unknown Rifle CAL:Unknown SN:W37037, valued at $200.00, seized by the ATF on July
10, 2023 from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026925: Unknown MOSIN NAGANT Rifle CAL:Unknown SN:78228, valued at $200.00, seized by the ATF
on July 10, 2023 from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026926: Unknown MOSIN NAGANT Rifle CAL:Unknown SN:58795, valued at $200.00, seized by the ATF
on July 10, 2023 from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026927: Unknown Rifle CAL:Unknown SN:A5314, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026929: WINCHESTER 1906 Rifle CAL:22 SN:369023, valued at $200.00, seized by the ATF on July 10,
2023 from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026931: Unknown Rifle CAL:Unknown SN:982075, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026932: SAVAGE 755A Shotgun CAL:12 SN:581080, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026933: Unknown Rifle CAL:Unknown SN:Unknown, valued at $200.00, seized by the ATF on July 10,
2023 from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026934: Unknown MOSIN NAGANT Rifle CAL:Unknown SN:59288, valued at $200.00, seized by the ATF
on July 10, 2023 from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026935: Unknown Rifle CAL:Unknown SN:12946, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026936: Unknown MOSIN NAGANT Rifle CAL:Unknown SN:AH829, valued at $200.00, seized by the ATF
on July 10, 2023 from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026937: Unknown Rifle CAL:Unknown SN:90748, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).


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property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 204 of 257 PageID 719
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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LAST DATE TO FILE: 10/06/2023

EASTERN DISTRICT OF MICHIGAN
23-ATF-026938: Unknown Rifle CAL:Unknown SN:4703, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026939: Unknown Rifle CAL:Unknown SN:7259, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026940: Unknown SKS Rifle CAL:Unknown SN:MB2105, valued at $200.00, seized by the ATF on July 10,
2023 from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026942: Unknown MOSIN NAGANT Rifle CAL:Unknown SN:4818, valued at $200.00, seized by the ATF on
July 10, 2023 from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026944: WAFFENBRIK-STENDAWERKA 1900 Rifle CAL:Unknown SN:47025, valued at $200.00, seized by
the ATF on July 10, 2023 from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-026945: SPRINGFIELD ARMORY,GENESEO,IL 1903 Rifle CAL:Unknown SN:849252, valued at $200.00,
seized by the ATF on July 10, 2023 from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-026947: Unknown Rifle CAL:Unknown SN:49081, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026948: Unknown MOSIN NAGANT Rifle CAL:Unknown SN:4222, valued at $200.00, seized by the ATF on
July 10, 2023 from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026949: Unknown Rifle CAL:Unknown SN:85757, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026950: BROWNING Magnum Shotgun CAL:Unknown SN:49020, valued at $200.00, seized by the ATF on
July 10, 2023 from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026951: Unknown Rifle CAL:Unknown SN:E5423, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026952: Unknown Rifle CAL:Unknown SN:707102, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026954: SAVAGE STEVENS 67RXL Shotgun CAL:12 SN:E677005, valued at $200.00, seized by the ATF on
July 10, 2023 from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026955: Unknown Rifle CAL:Unknown SN:54136, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026956: Unknown Rifle CAL:Unknown SN:470107, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026957: Unknown Rifle CAL:Unknown SN:60676, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026958: Unknown 1911 Pistol CAL:Unknown SN:63728, valued at $200.00, seized by the ATF on July 10,
2023 from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026959: Unknown Rifle CAL:Unknown SN:10609, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026960: Unknown Rifle CAL:Unknown SN:4520, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026961: Unknown Rifle CAL:Unknown SN:R573, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026962: Unknown Revolver CAL:Unknown SN:36090, valued at $200.00, seized by the ATF on July 10,
2023 from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026963: Unknown Rifle CAL:Unknown SN:87167, valued at $200.00, seized by the ATF on July 10, 2023
(Continued on next page)
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property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 205 of 257 PageID 720
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/06/2023

EASTERN DISTRICT OF MICHIGAN
23-ATF-026963 - (Continued from previous page)
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026964: Unknown Rifle CAL:Unknown SN:92041, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026965: Unknown Unknown           Rifle CAL:Unknown SN:53785, valued at $200.00, seized by the ATF on
July 10, 2023 from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026966: Unknown Pistol CAL:Unknown SN:38246, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026968: Unknown Rifle CAL:Unknown SN:54719, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026970: REMINGTON ARMS COMPANY, INC. 12B Rifle CAL:22 SN:379339, valued at $200.00, seized by
the ATF on July 10, 2023 from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-026971: Unknown Rifle CAL:Unknown SN:57338, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026972: Unknown Rifle CAL:Unknown SN:94372, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026974: Unknown Rifle CAL:Unknown SN:15199, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026975: Unknown Rifle CAL:Unknown SN:16904, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026976: Unknown Rifle CAL:Unknown SN:X35044, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026977: Unknown Rifle CAL:Unknown SN:130613, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026978: Unknown Rifle CAL:Unknown SN:0048503, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026979: Unknown Rifle CAL:Unknown SN:88910, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026980: Unknown Rifle CAL:Unknown SN:12151, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026981: Unknown Rifle CAL:Unknown SN:Unknown, valued at $200.00, seized by the ATF on July 10,
2023 from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026982: Unknown Rifle CAL:Unknown SN:12144, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026983: Unknown Rifle CAL:Unknown SN:5070, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026984: Unknown Rifle CAL:Unknown SN:65073, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026985: Unknown Rifle CAL:Unknown SN:52056, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026986: Unknown Rifle CAL:Unknown SN:21322, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026987: Unknown Rifle CAL:Unknown SN:31079, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).


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property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/06/2023

EASTERN DISTRICT OF MICHIGAN
23-ATF-026988: Unknown Rifle CAL:Unknown SN:55976, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026989: Unknown Rifle CAL:Unknown SN:8547, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026990: Unknown Rifle CAL:Unknown SN:1018, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026991: Unknown Rifle CAL:Unknown SN:26692, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026993: Unknown Rifle CAL:Unknown SN:86504, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026994: Unknown Rifle CAL:Unknown SN:K1184, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026996: Unknown Rifle CAL:Unknown SN:145, valued at $200.00, seized by the ATF on July 10, 2023 from
Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026998: Unknown Rifle CAL:Unknown SN:14165, valued at $200.00, seized by the ATF on July 10, 2023
from Michael Freeland in Milford Charter Twp., MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027149: PRIVATELY MADE FIREARM (PMF) Unknown Pistol CAL: 9 SN:Unknown, valued at $200.00,
seized by the ATF on July 11, 2023 from Michael Liburdi in Harper Woods, MI for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-027150: PRIVATELY MADE FIREARM (PMF) Unknown Pistol CAL:9 SN:AGSV891, valued at $200.00,
seized by the ATF on July 11, 2023 from Michael Liburdi in Harper Woods, MI for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-027151: 6 Rounds Unknown Ammunition CAL:9, valued at $0.60, seized by the ATF on July 11, 2023 from
Michael Liburdi in Harper Woods, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027152: MAVERICK ARMS (EAGLE PASS, TX) SHOTGUN MODEL: 88 CAL: 12 SN: MV93531N, valued at
$180.00, seized by the ATF on July 11, 2023 from Michael Liburdi in Harper Woods, MI for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-027154: 3 Rounds Assorted Ammunition CAL:12, valued at $0.30, seized by the ATF on July 11, 2023 from
Michael Liburdi in Harper Woods, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027155: ROMARM/CUGIR ROMAK 991 Rifle CAL:762 SN:10796199, valued at $1,400.00, seized by the
ATF on July 11, 2023 from Michael Liburdi in Harper Woods, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027156: NORINCO (NORTH CHINA INDUSTRIES) SKS Rifle CAL:762 SN:11013073, valued at $1,200.00,
seized by the ATF on July 11, 2023 from Michael Liburdi in Harper Woods, MI for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-027158: REMINGTON ARMS COMPANY, INC. 597 Rifle CAL:22 SN:A2662958, valued at $130.00, seized
by the ATF on July 11, 2023 from Michael Liburdi in Harper Woods, MI for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-027160: 6 Rounds Unknown Ammunition CAL:9, valued at $0.60, seized by the ATF on July 11, 2023 from
Michael Liburdi in Harper Woods, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027161: 6 Rounds Unknown Ammunition CAL:9, valued at $0.60, seized by the ATF on July 11, 2023 from
Michael Liburdi in Harper Woods, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027163: 50 Rounds CCI Ammunition CAL:9, valued at $5.00, seized by the ATF on July 11, 2023 from
Michael Liburdi in Harper Woods, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027171: 2 Rounds Unknown Ammunition CAL:9, valued at $0.20, seized by the ATF on July 11, 2023 from
Michael Liburdi in Harper Woods, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).


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property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 207 of 257 PageID 722
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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LAST DATE TO FILE: 10/06/2023

EASTERN DISTRICT OF MICHIGAN
23-ATF-027172: 10 Rounds Hornady Ammunition CAL:762, valued at $1.00, seized by the ATF on July 11, 2023
from Michael Liburdi in Harper Woods, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027173: 69 Rounds Unknown Ammunition CAL:50, valued at $6.90, seized by the ATF on July 11, 2023
from Michael Liburdi in Harper Woods, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027174: 153 Rounds Assorted Ammunition CAL:Unknown, valued at $15.30, seized by the ATF on July 11,
2023 from Michael Liburdi in Harper Woods, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027178: 350 Rounds ARMCO Ammunition CAL:Unknown, valued at $35.00, seized by the ATF on July 11,
2023 from Michael Liburdi in Harper Woods, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027180: 4 Rounds Assorted Ammunition CAL:Unknown, valued at $0.40, seized by the ATF on July 11,
2023 from Michael Liburdi in Harper Woods, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027182: 127 Rounds Unknown Ammunition CAL:Unknown, valued at $12.70, seized by the ATF on July 11,
2023 from Michael Liburdi in Harper Woods, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027184: 4 Component Assorted Ammunition CAL:Unknown, valued at $0.08, seized by the ATF on July 11,
2023 from Michael Liburdi in Harper Woods, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027188: 620 Rounds Assorted Ammunition CAL:Unknown, valued at $62.00, seized by the ATF on July 11,
2023 from Michael Liburdi in Harper Woods, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027190: 2 Component Assorted Ammunition CAL:Unknown, valued at $0.04, seized by the ATF on July 11,
2023 from Michael Liburdi in Harper Woods, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027192: 1 Component Unknown Ammunition CAL:Unknown, valued at $0.02, seized by the ATF on July 11,
2023 from Michael Liburdi in Harper Woods, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027195: 266 Rounds Assorted Ammunition CAL:Unknown, valued at $26.60, seized by the ATF on July 11,
2023 from Michael Liburdi in Harper Woods, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027197: 4 Component Unknown Ammunition CAL:Unknown, valued at $0.08, seized by the ATF on July 11,
2023 from Michael Liburdi in Harper Woods, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027199: 922 Component Unknown Ammunition CAL:Unknown, valued at $18.44, seized by the ATF on July
11, 2023 from Michael Liburdi in Harper Woods, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027200: LOW EXPLOSIVES ONE (1) GLASS JAR CONTAINING A DARK COLORED SUSPECTED
EXPLOSIVE POWDER, Serial No. Unknown, valued at $0.01, seized by the ATF on July 11, 2023 from Michael
Liburdi in Harper Woods, MI for forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-027203: LOW EXPLOSIVES ONE (1) BOX CONTAINING ELEVEN (11)CONTAINERS OF SMOKELESS
POWDER, Serial No. Unknown, valued at $110.00, seized by the ATF on July 11, 2023 from Michael Liburdi in
Harper Woods, MI for forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-027450: GLOCK GMBH PISTOL MODEL: 19 CAL: 9 SN: AGX092US, valued at $400.00, seized by the
Detroit Police Department on June 20, 2023 from Jayln Massenberg in Detroit, MI, and adopted by the ATF for
forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027451: AMMUNITION - ASSORTED QTY: 7 MNF: ASSORTED CAL: 9, valued at $0.70, seized by the
Detroit Police Department on June 20, 2023 from Jayln Massenberg in Detroit, MI, and adopted by the ATF for
forfeiture pursuant to 18 U.S.C. Section 924(d).

EASTERN DISTRICT OF MISSOURI
23-ATF-027262: SCCY INDUSTRIES, LLC (SKYY IND.) CPX-2 Pistol CAL:9 SN:C425149, valued at $1.00, seized
by the ATF on June 08, 2023 from Trevaughn Jones in St. Louis, MO for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-027268: 7 Rounds Unknown Ammunition CAL:9, valued at $0.70, seized by the ATF on June 08, 2023 from
Trevaughn Jones in St. Louis, MO for forfeiture pursuant to 18 U.S.C. Section 924(d).

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property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 208 of 257 PageID 723
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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LAST DATE TO FILE: 10/06/2023

SOUTHERN DISTRICT OF MISSISSIPPI
23-ATF-026837: AMERICAN TACTICAL IMPORTS - ATI Mil-Sport Pistol CAL:Multi SN:MSA035200, valued at
$600.00, seized by the ATF on July 06, 2023 from Brandon Pugh in Walnut Grove, MS for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-026838: 1 Rounds PMC Ammunition CAL:9, valued at $0.10, seized by the ATF on July 14, 2023 from
Sheneka Bratton in Carthage, MS for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027568: 3 Rounds Assorted Ammunition CAL:9, valued at $0.30, seized by the ATF on July 06, 2023 from
Sheneka Bratton in Walnut Grove, MS for forfeiture pursuant to 18 U.S.C. Section 924(d).

EASTERN DISTRICT OF NORTH CAROLINA
23-ATF-026762: Glock Inc. 23Gen4 Pistol CAL:40 SN:AECK146, valued at $200.00, seized by the ATF on July 06,
2023 from Malik McCollum in Lumberton, NC for forfeiture pursuant to 18 U.S.C. Section 924(d).

MIDDLE DISTRICT OF NORTH CAROLINA
23-ATF-024636: Glock Inc. 19 Pistol CAL:9 SN:BWWG419, valued at $300.00, seized by the ATF on June 02, 2023
from Deonte Chambers in Sanford, NC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-024642: 12 Rounds Assorted Ammunition CAL:9, valued at $1.20, seized by the ATF on June 02, 2023
from Deonte Chambers in Sanford, NC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-024644: 1 Rounds Assorted Ammunition CAL:9, valued at $0.10, seized by the ATF on June 02, 2023 from
Deonte Chambers in Sanford, NC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-024645: Century Arms International Centurion 39 Micro Pistol CAL:762 SN:22PMD35496, valued at
$300.00, seized by the ATF on June 02, 2023 from Deonte Chambers in Sanford, NC for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-024646: 23 Rounds Assorted Ammunition CAL:762, valued at $2.30, seized by the ATF on June 02, 2023
from Deonte Chambers in Sanford, NC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-024647: 1 Rounds Assorted Ammunition CAL:762, valued at $0.10, seized by the ATF on June 02, 2023
from Deonte Chambers in Sanford, NC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-024648: 8 Rounds Assorted Ammunition CAL:9, valued at $0.80, seized by the ATF on June 02, 2023 from
Deonte Chambers in Sanford, NC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-024649: 1 Rounds Assorted Ammunition CAL:357, valued at $0.10, seized by the ATF on June 02, 2023
from Deonte Chambers in Sanford, NC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026719: Kahr Arms CW9 Pistol CAL:9 SN:EL2014, valued at $300.00, seized by the ATF on June 03, 2023
from Tristen Tyler McLaurin in Winston Salem, NC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026720: 7 Rounds Assorted Ammunition CAL:9, valued at $0.70, seized by the ATF on June 03, 2023 from
Tristen Tyler McLaurin in Winston Salem, NC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026723: Remington Arms Company Inc 522 Rifle CAL:22 SN:3029194, valued at $50.00, seized by the ATF
on June 12, 2023 from Kevin Frier in Laurel Hill, NC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027645: Glock INC. 19X Pistol CAL:9 SN:BZCR268, valued at $300.00, seized by the ATF on June 04, 2023
from Dominique Oneil Harvey in Burlington, NC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027646: 23 Rounds Assorted Ammunition CAL:9, valued at $2.30, seized by the ATF on June 04, 2023
from Dominique Oneil Harvey in Burlington, NC for forfeiture pursuant to 18 U.S.C. Section 924(d).




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property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 209 of 257 PageID 724
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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property based on hardship.


LAST DATE TO FILE: 10/06/2023

DISTRICT OF NEW MEXICO
23-ATF-027331: AERO PRECISION M4E1 Receiver/Frame CAL:Multi SN:M4-0532852, valued at $156.00, seized
by the ATF on July 13, 2023 from Anthony Lutz in Albuqurque, NM for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-027332: SHADOW SYSTEMS, LLC CR920P Pistol CAL:9 SN:S032235, valued at $911.00, seized by the
ATF on July 13, 2023 from Anthony Lutz in Albuqurque, NM for forfeiture pursuant to 18 U.S.C. Section 924(d).

EASTERN DISTRICT OF NEW YORK
23-ATF-024560: 15 Rounds OTHER Ammunition CAL:380, Serial No. Unknown, valued at $1.50, seized by the ATF
on June 21, 2023 from Michael RUTLEDGE in Bronx, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).

SOUTHERN DISTRICT OF NEW YORK
23-ATF-024552: BERETTA, PIETRO S.P.A 92FS Pistol CAL:9 SN:L33391Z, valued at $200.00, seized by the ATF on
June 21, 2023 from Angel GOMEZ and Eugenia Ressy in Bronx, NY for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-024554: 17 Rounds ASSORTED Ammunition CAL:9, Serial No. Unknown, valued at $1.70, seized by the
ATF on June 21, 2023 from Angel GOMEZ and Eugenia Ressy in Bronx, NY for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-024555: 5 Rounds PMC Ammunition CAL:9, Serial No. Unknown, valued at $0.50, seized by the ATF on
June 21, 2023 from Angel GOMEZ and Eugenia Ressy in Bronx, NY for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-024556: 3 Rounds ASSORTED Ammunition CAL:25, Serial No. Unknown, valued at $0.30, seized by the
ATF on June 21, 2023 from Angel GOMEZ and Eugenia Ressy in Bronx, NY for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-024557: 11 Rounds ASSORTED Ammunition CAL:38, Serial No. Unknown, valued at $1.10, seized by the
ATF on June 21, 2023 from Angel GOMEZ and Eugenia Ressy in Bronx, NY for forfeiture pursuant to 18 U.S.C.
Section 924(d).

NORTHERN DISTRICT OF OHIO
23-ATF-027208: 20 Rounds Other Ammunition CAL:9, valued at $2.00, seized by the ATF on July 19, 2023 from
Jordan Kennedy in North Lima, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).




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property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 210 of 257 PageID 725
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/06/2023

EASTERN DISTRICT OF OKLAHOMA
23-ATF-027191: 3 Rounds ASSORTED Ammunition CAL:9, Serial No. NULL, valued at $0.30, seized by the ATF on
June 11, 2023 from Teena WATKINS in Stilwell, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027517: SMITH & WESSON M&P 9 SHIELD PISTOL CAL:9 SN:LEF2993, valued at $50.00, seized by the
ATF on July 12, 2023 from Billy SHEPARD in WELLING, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027518: 7 Rounds ASSORTED Ammunition CAL:UNKNOWN, Serial No. NULL, valued at $0.70, seized by
the ATF on July 12, 2023 from Billy SHEPARD in WELLING, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027519: 1 Rounds UNKNOWN Ammunition CAL:UNKNOWN, Serial No. NULL, valued at $0.10, seized by
the ATF on July 12, 2023 from Billy SHEPARD in WELLING, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027521: 12 Rounds UNKNOWN Ammunition CAL:22, Serial No. NULL, valued at $1.20, seized by the ATF
on July 12, 2023 from Billy SHEPARD in WELLING, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027522: 2 Rounds UNKNOWN Ammunition CAL:UNKNOWN, Serial No. NULL, valued at $0.20, seized by
the ATF on July 12, 2023 from Billy SHEPARD in WELLING, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027523: JENNINGS FIREARMS J22 PISTOL CAL:22 SN:012061, valued at $1.00, seized by the ATF on July
12, 2023 from Billy SHEPARD in WELLING, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027525: 25 Rounds LC (LAKE CITY) Ammunition CAL:556, Serial No. NULL, valued at $2.50, seized by
the ATF on July 12, 2023 from Billy SHEPARD in Hulbert, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027526: AMERICAN TACTICAL IMPORTS - ATI OMNI HYBRID RIFLE CAL:MULTI SN:NS256322, valued at
$10.00, seized by the ATF on July 12, 2023 from Billy SHEPARD in Hulbert, OK for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-027527: RADICAL FIREARMS, LLC RF-15 RIFLE CAL:MULTI SN:RT02183, valued at $10.00, seized by the
ATF on July 12, 2023 from Billy SHEPARD in Hulbert, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027528: 100 Rounds ASSORTED Ammunition CAL:UNKNOWN, Serial No. NULL, valued at $10.00, seized
by the ATF on July 12, 2023 from Billy SHEPARD in Hulbert, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027529: 1 Rounds UNKNOWN Ammunition CAL:223, Serial No. NULL, valued at $0.10, seized by the ATF
on July 12, 2023 from Billy SHEPARD in Hulbert, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).




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property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 211 of 257 PageID 726
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
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LAST DATE TO FILE: 10/06/2023

NORTHERN DISTRICT OF OKLAHOMA
23-ATF-027085: BALLISTIC ADVANTAGE, LLC DCP3 RECEIVER/FRAME CAL:MULTI SN:BAS3845, valued at
$75.00, seized by the ATF on June 29, 2023 from Benjamin BRANSFORD in BIXBY, OK for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-027086: BALLISTIC ADVANTAGE, LLC DCP3 RECEIVER/FRAME CAL:MULTI SN:BAS3848, valued at
$75.00, seized by the ATF on June 29, 2023 from Benjamin BRANSFORD in BIXBY, OK for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-027088: AERO PRECISION X15 RECEIVER/FRAME CAL:MULTI SN:X555697, valued at $90.00, seized by
the ATF on June 29, 2023 from Benjamin BRANSFORD in BIXBY, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-027091: AERO PRECISION M5 RECEIVER/FRAME CAL:MULTI SN:US313435, valued at $105.00, seized
by the ATF on June 29, 2023 from Benjamin BRANSFORD in BIXBY, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-027092: AERO PRECISION M5 RECEIVER/FRAME CAL:MULTI SN:US306341, valued at $105.00, seized
by the ATF on June 29, 2023 from Benjamin BRANSFORD in BIXBY, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-027097: AERO PRECISION M5 RECEIVER/FRAME CAL:MULTI SN:US307017, valued at $105.00, seized
by the ATF on June 29, 2023 from Benjamin BRANSFORD in BIXBY, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-027098: AERO PRECISION M5 RECEIVER/FRAME CAL:MULTI SN:US307004, valued at $105.00, seized
by the ATF on June 29, 2023 from Benjamin BRANSFORD in BIXBY, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-027099: AERO PRECISION X15 RIFLE CAL:MULTI SN:X555682, valued at $1,000.00, seized by the ATF on
June 29, 2023 from Benjamin BRANSFORD in BIXBY, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027103: BALLISTIC ADVANTAGE, LLC DCP3 RIFLE CAL:MULTI SN:BAS3839, valued at $1,000.00, seized
by the ATF on June 29, 2023 from Benjamin BRANSFORD in BIXBY, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-027107: F.N. (FN HERSTAL) PS90 RIFLE CAL:57 SN:FN155888, valued at $1,500.00, seized by the ATF on
June 29, 2023 from Benjamin BRANSFORD in BIXBY, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027112: ZASTAVA UNKNOWN RIFLE CAL:UNKNOWN SN:Z92-110299, valued at $1,100.00, seized by the
ATF on June 29, 2023 from Benjamin BRANSFORD in BIXBY, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-027115: CZ (CESKA ZBROJOVKA) SCORPION EVO 3 PISTOL CAL:9 SN:F000599, valued at $1,000.00,
seized by the ATF on June 29, 2023 from Benjamin BRANSFORD in BIXBY, OK for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-027116: SIG SAUER (SIG-ARMS) MPX RIFLE CAL:9 SN:62F027719, valued at $1,850.00, seized by the ATF
on June 29, 2023 from Benjamin BRANSFORD in BIXBY, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027117: TIPPMAN ARMS CO M4-22 RIFLE CAL:22 SN:029878, valued at $500.00, seized by the ATF on
June 29, 2023 from Benjamin BRANSFORD in BIXBY, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027119: CENTURY ARMS INTERNATIONAL C39 PISTOL PISTOL CAL:762 SN:C39P02692, valued at
$700.00, seized by the ATF on June 29, 2023 from Benjamin BRANSFORD in BIXBY, OK for forfeiture pursuant to
18 U.S.C. Section 924(d).
23-ATF-027129: 4 Rounds REMINGTON Ammunition CAL:22, Serial No. NULL, valued at $0.40, seized by the ATF
on June 15, 2023 from Coby GREEN in Tulsa, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027560: TAURUS INTERNATIONAL G3C PISTOL CAL:9 SN:ACK371955, valued at $10.00, seized by the
ATF on July 06, 2023 from Skyler DEESING in Claremore, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).


[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/06/2023

NORTHERN DISTRICT OF OKLAHOMA
23-ATF-027564: 8 Rounds FEDERAL Ammunition CAL:9, Serial No. NULL, valued at $0.80, seized by the ATF on
July 06, 2023 from Skyler DEESING in Claremore, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027567: GIRSAN MC 28 SA T PISTOL CAL:9 SN:T6368-20AV08070, valued at $10.00, seized by the ATF on
June 28, 2023 from Skyler DEESING in Claremore, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027570: 11 Rounds WINCHESTER-WESTERN Ammunition CAL:UNKNOWN, Serial No. NULL, valued at
$1.10, seized by the ATF on July 06, 2023 from Skyler DEESING in Claremore, OK for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-027789: HOWA 1500 RIFLE CAL:270 SN:B073794, valued at $150.00, seized by the ATF on June 21, 2023
from Carl COFFEY in CATOOSA, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).

WESTERN DISTRICT OF OKLAHOMA
23-ATF-024867: TAURUS G2C PISTOL CAL:40 SN:SMU80201, valued at $200.00, seized by the ATF on May 26,
2023 from Rahbin SMITH in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-024868: WALTHER P22 PISTOL CAL:22 SN:WA273601, valued at $250.00, seized by the ATF on May 26,
2023 from Rahbin SMITH in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-024870: 10 Rounds ASSORTED Ammunition CAL:40, Serial No. NULL, valued at $1.00, seized by the ATF
on May 26, 2023 from Rahbin SMITH in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-024873: 7 Rounds ASSORTED Ammunition CAL:22, Serial No. NULL, valued at $0.70, seized by the ATF
on May 26, 2023 from Rahbin SMITH in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027138: SPRINGFIELD ARMORY, GENESEO, IL RANGE OFFICER PISTOL CAL:9 SN:LW 153070, valued
at $900.00, seized by the ATF on July 03, 2023 from Aaron TOLLISON in Mustang, OK for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-027144: REMINGTON ARMS COMPANY, INC. 870 EXPRESS MAG SHOTGUN CAL:20 SN:AB130405 U,
valued at $300.00, seized by the ATF on July 03, 2023 from Aaron TOLLISON in Mustang, OK for forfeiture pursuant
to 18 U.S.C. Section 924(d).
23-ATF-027145: BROWNING SILVER FIELD SHOTGUN CAL:12 SN:113MP21127, valued at $400.00, seized by the
ATF on July 03, 2023 from Aaron TOLLISON in Mustang, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027146: MARLIN FIREARMS CO. XS7 RIFLE CAL:243 SN:91743397, valued at $300.00, seized by the ATF
on July 03, 2023 from Aaron TOLLISON in Mustang, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027147: ROSSI MATCHED PAIR RIFLE CAL:22 SN:SP927117, valued at $300.00, seized by the ATF on July
03, 2023 from Aaron TOLLISON in Mustang, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027148: 460 Rounds ASSORTED Ammunition CAL:MULTI, Serial No. NULL, valued at $46.00, seized by
the ATF on July 03, 2023 from Aaron TOLLISON in Mustang, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027330: ANDERSON MANUFACTURING AM-15 RIFLE CAL:MULTI SN:20226452, valued at $350.00,
seized by the ATF on July 10, 2023 from Kamrun JONES in OKLAHOMA CITY, OK for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-027335: GLOCK INC. 22CGEN4 PISTOL CAL:40 SN:ACFH221, valued at $330.00, seized by the ATF on
July 10, 2023 from Rhiyan LONG in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027336: 31 Rounds ASSORTED Ammunition CAL:556, Serial No. NULL, valued at $3.10, seized by the ATF
on July 10, 2023 from Kamrun JONES in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027337: 18 Rounds WINCHESTER-WESTERN Ammunition CAL:40, Serial No. NULL, valued at $1.80,
seized by the ATF on July 10, 2023 from Rhiyan LONG in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-027405: 325 Rounds ASSORTED Ammunition CAL:MULTI, Serial No. NULL, valued at $32.50, seized by
the ATF on July 12, 2023 from Stephen GRAHAM in Sparks, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).

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property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 213 of 257 PageID 728
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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LAST DATE TO FILE: 10/06/2023

MIDDLE DISTRICT OF PENNSYLVANIA
23-ATF-026875: Radical Firearms, LLC RF-15 Rifle CAL:Multi SN:21-085054, valued at $100.00, seized by the ATF
on June 08, 2023 from Devonte BETTS in Steelton, PA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026877: Glock Inc. 23Gen5 Pistol CAL:40 SN:BTEU665, valued at $100.00, seized by the ATF on June 08,
2023 from Devonte BETTS in Steelton, PA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026878: 2 Rounds Smith & Wesson Ammunition CAL:40, valued at $0.20, seized by the ATF on June 08,
2023 from Devonte BETTS in Steelton, PA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026879: 12 Rounds Smith & Wesson Ammunition CAL:40, valued at $1.20, seized by the ATF on June 08,
2023 from Devonte BETTS in Steelton, PA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026880: Glock Inc. 19X Pistol CAL:9 SN:BSLC899, valued at $100.00, seized by the ATF on June 08, 2023
from Devonte BETTS in Steelton, PA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026881: 36 Rounds Assorted Ammunition CAL:9, valued at $3.60, seized by the ATF on June 08, 2023
from Devonte BETTS in Steelton, PA for forfeiture pursuant to 18 U.S.C. Section 924(d). Items described as: 18
18 Rounds Federal Ammunition CAL:9, valued at $1.80; 9 9 Rounds Winchester-Western Ammunition CAL:40,
valued at $0.90; 22 22 Rounds Remington Ammunition CAL:223, valued at $2.20; 10 10 Rounds Assorted
Ammunition CAL:40, valued at $1.00.
23-ATF-026882: Glock Inc. 27 Pistol CAL:40 SN:WAF937, valued at $100.00, seized by the ATF on June 08, 2023
from Devonte BETTS in Steelton, PA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026883: 39 Rounds Sig Sauer Ammunition CAL:10, valued at $3.90, seized by the ATF on June 08, 2023
from Douglas Pitts in Harrisburg, PA for forfeiture pursuant to 18 U.S.C. Section 924(d).

DISTRICT OF SOUTH CAROLINA
23-ATF-026827: BERETTA USA CORP 92 Pistol CAL:9 SN:A100759X, valued at $250.00, seized by the ATF on
June 18, 2023 from Hiram Dykes in West Columbia, SC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026828: 8 Rounds Assorted Ammunition CAL:9, valued at $0.80, seized by the ATF on June 18, 2023 from
Hiram Dykes in West Columbia, SC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026829: 4 Rounds Assorted Ammunition CAL:9, valued at $0.40, seized by the ATF on June 18, 2023 from
Hiram Dykes in West Columbia, SC for forfeiture pursuant to 18 U.S.C. Section 924(d).

EASTERN DISTRICT OF TENNESSEE
23-ATF-026890: 16 Rounds Assorted Ammunition CAL:9, valued at $1.60, seized by the ATF on June 30, 2023
from Malik Phillips in Chattanooga, TN for forfeiture pursuant to 18 U.S.C. Section 924(d).




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property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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LAST DATE TO FILE: 10/06/2023

EASTERN DISTRICT OF TEXAS
23-ATF-023014: 1 Rounds ASSORTED Ammunition CAL:223, Serial No. NULL, valued at $0.10, seized by the ATF
on June 01, 2023 from Christopher HEARD in South Carthage, TX for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-023023: 6 Rounds ASSORTED Ammunition CAL:12, Serial No. NULL, valued at $0.60, seized by the ATF
on June 05, 2023 from Christopher HEARD in South Carthage, TX for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-023071: SMITH & WESSON 442 AIRWEIGHT REVOLVER CAL:38 SN:DKJ2062, valued at $600.00, seized
by the ATF on May 10, 2023 from Rebecca MERKEL in LONGVIEW, TX for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-023088: 31 Rounds ASSORTED Ammunition CAL:MULTI, Serial No. NULL, valued at $3.10, seized by the
ATF on May 10, 2023 from Rebecca MERKEL in LONGVIEW, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027153: SPIKE'S TACTICAL LLC ST15 RIFLE CAL:300 SN:70910, valued at $800.00, seized by the ATF on
July 11, 2023 from Robert MARTIN in Alto, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027157: FNH USA, LLC UNKNOWN RIFLE CAL:UNKNOWN SN:FN19909, valued at $1,600.00, seized by
the ATF on July 11, 2023 from Robert MARTIN in Alto, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027159: MARLIN FIREARMS CO. 120 SHOTGUN CAL:12 SN:A14709, valued at $300.00, seized by the ATF
on July 11, 2023 from Robert MARTIN in Alto, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027162: SAVAGE STEVENS 56 RIFLE CAL:22 SN:NONE, valued at $300.00, seized by the ATF on July 11,
2023 from Robert MARTIN in Alto, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027164: RUGER 10/22 RIFLE CAL:22 SN:82197136, valued at $300.00, seized by the ATF on July 11,
2023 from Robert MARTIN in Alto, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027165: 1 Rounds HORNADY Ammunition CAL:300, Serial No. NULL, valued at $0.10, seized by the ATF
on July 11, 2023 from Robert MARTIN in Alto, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027167: 44 Rounds REMINGTON Ammunition CAL:30-03, Serial No. NULL, valued at $4.40, seized by the
ATF on July 11, 2023 from Robert MARTIN in Alto, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027168: 783 Rounds WINCHESTER-WESTERN Ammunition CAL:40, Serial No. NULL, valued at $78.30,
seized by the ATF on July 11, 2023 from Robert MARTIN in Alto, TX for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-027577: Taurus PT24/7 Pro DS Pistol CAL:45 SN:NCW32084, valued at $200.00, seized by the ATF on July
26, 2023 from Michael Hampton in Orange, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027588: 11 Rounds Winchester-Western Ammunition CAL:45, Serial No. Unknown, valued at $1.10,
seized by the ATF on July 26, 2023 from Michael Hampton in Orange, TX for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-027589: 25 Rounds Winchester-Western Ammunition CAL:45, Serial No. Unknown, valued at $2.50,
seized by the ATF on July 26, 2023 from Michael Hampton in Orange, TX for forfeiture pursuant to 18 U.S.C.
Section 924(d).

NORTHERN DISTRICT OF TEXAS
23-ATF-027531: 24 Rounds LC (LAKE CITY) Ammunition CAL:223, Serial No. NULL, valued at $2.40, seized by
the ATF on July 06, 2023 from Kevin EALY in DALLAS, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027641: ROSSI UNKNOWN RIFLE CAL:UNKNOWN SN:7CA375128R, valued at $100.00, seized by the
ATF on June 21, 2023 from Mikkiah MILLER in Dallas, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027643: ROSSI UNKNOWN RIFLE CAL:UNKNOWN SN:7CA349172R, valued at $100.00, seized by the
ATF on June 21, 2023 from Mikkiah MILLER in Dallas, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).



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property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/06/2023

SOUTHERN DISTRICT OF TEXAS
23-ATF-025927: Palmetto State Armory PA-15 Rifle CAL:Multi SN:None, valued at $750.00, seized by the ATF on
June 27, 2023 from Arturo Flores Jr. in Raymondville, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025931: RGuns/SportsWereUs, Inc. TRR-15 Rifle CAL:556 SN:BAK14339, valued at $500.00, seized by
the ATF on June 27, 2023 from Arturo Flores Jr. in Raymondville, TX for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-025934: American Tactical Imports-ATI OMNI Hybrid Pistol CAL:Multi SN:NS252807, valued at $250.00,
seized by the ATF on June 27, 2023 from Arturo Flores Jr. in Raymondville, TX for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-025936: Pioneer Arms Corporation (Radom,Poland) HellPUP Pistol CAL:762 SN:PAC1161761 21, valued
at $650.00, seized by the ATF on June 27, 2023 from Arturo Flores Jr. in Raymondville, TX for forfeiture pursuant to
18 U.S.C. Section 924(d).
23-ATF-025939: Merak Savunma Sanayi, LTD. Charles Daly 301 Shotgun CAL:12 SN:21PA12T-2874, valued at
$100.00, seized by the ATF on June 27, 2023 from Arturo Flores Jr. in Raymondville, TX for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-025940: Kimber Ultra RCP II Pistol CAL:45 SN:KU33843, valued at $500.00, seized by the ATF on June 27,
2023 from Arturo Flores Jr. in Raymondville, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025941: Palmetto State Armory Letsgo-15 Rifle CAL:Multi SN:BRANDON105049, valued at $650.00,
seized by the ATF on June 27, 2023 from Arturo Flores Jr. in Raymondville, TX for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-025942: Remington Arms Company, Inc. 870 Shotgun CAL:12 SN:V654213 V, valued at $350.00, seized
by the ATF on June 27, 2023 from Arturo Flores Jr. in Raymondville, TX for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-025944: Maverick Arms (Eagle Pass,Tx) 88 Shotgun CAL:12 SN:MV67482 N, valued at $500.00, seized by
the ATF on June 27, 2023 from Arturo Flores Jr. in Raymondville, TX for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-025945: Unknown Manufacturer Unknown Machine Gun Conversion Device
CAL:Unknown SN:None, valued at $10.00, seized by the ATF on June 27, 2023 from Arturo Flores Jr. in
Raymondville, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025946: Romarm/Cugir WASR Rifle CAL:762 SN:PR0507, valued at $750.00, seized by the ATF on June
27, 2023 from Arturo Flores Jr. in Raymondville, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025947: 550 Rounds Unknown Manufacturer Ammunition CAL:22, Serial No. Unknown, valued at $55.00,
seized by the ATF on June 27, 2023 from Arturo Flores Jr. in Raymondville, TX for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-025948: 150 Rounds Unknown Manufacturer Ammunition CAL:45, Serial No. Unknown, valued at $15.00,
seized by the ATF on June 27, 2023 from Arturo Flores Jr. in Raymondville, TX for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-025949: 109 Rounds Unknown Manufacturer Ammunition CAL:Multi, Serial No. Unknown, valued at
$10.90, seized by the ATF on June 27, 2023 from Arturo Flores Jr. in Raymondville, TX for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-026038: Yugoslavia 59/66 Rifle CAL:762 SN:H243623, valued at $400.00, seized by the ATF on June 27,
2023 from Daniel Garza in San Juan, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026039: 13 Rounds Tula Cartridge Works-Russia Ammunition CAL:762, Serial No. Unknown, valued at
$1.30, seized by the ATF on June 27, 2023 from Daniel Garza in San Juan, TX for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-026040: 228 Rounds Unknown Manufacturer Ammunition CAL:Unknown, Serial No. Unknown, valued at
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 10/06/2023

SOUTHERN DISTRICT OF TEXAS
23-ATF-026040 - (Continued from previous page)
$22.80, seized by the ATF on June 27, 2023 from Daniel Garza in San Juan, TX for forfeiture pursuant to 18 U.S.C.
Section 924(d).

WESTERN DISTRICT OF TEXAS
23-ATF-021286: Smith & Wesson M&P 380 Shield EZ Pistol CAL:380 SN:NDH0891, valued at $400.00, seized by
the ATF on May 23, 2023 from Joshua Govea in San Antonio, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-021291: Smith & Wesson SD40VE Pistol CAL:40 SN:HEC1044, valued at $400.00, seized by the ATF on
May 24, 2023 from Lilly Church in San Antonio, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026008: Beretta, Pietro S.P.A. 92FS Pistol CAL:9 SN:A293575Z, valued at $500.00, seized by the ATF on
June 23, 2023 from Antonio Hinojosa in San Antonio, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026009: 31 Rounds Unknown Manufacturer Ammunition CAL:9, Serial No. Unknown, valued at $3.10,
seized by the ATF on June 23, 2023 from Antonio Hinojosa in San Antonio, TX for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-026010: 1 Rounds Unknown Manufacturer Ammunition CAL:762, Serial No. Unknown, valued at $0.10,
seized by the ATF on June 23, 2023 from Antonio Hinojosa in San Antonio, TX for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-026012: Romarm/Cugir Draco Pistol CAL:762 SN:ROA 21 DG-3589, valued at $500.00, seized by the ATF
on June 23, 2023 from Antonio Hinojosa in San Antonio, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026013: 30 Rounds Unknown Manufacturer Ammunition CAL:762, Serial No. Unknown, valued at $3.00,
seized by the ATF on June 23, 2023 from Antonio Hinojosa in San Antonio, TX for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-026014: 48 Rounds Unknown Manufacturer Ammunition CAL:762, Serial No. Unknown, valued at $4.80,
seized by the ATF on June 23, 2023 from Cesar Garcia in San Antonio, TX for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-026015: 24 Rounds Unknown Manufacturer Ammunition CAL:Unknown, Serial No. Unknown, valued at
$2.40, seized by the ATF on June 23, 2023 from Cesar Garcia in San Antonio, TX for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-026017: 23 Rounds Unknown Manufacturer Ammunition CAL:Unknown, Serial No. Unknown, valued at
$2.30, seized by the ATF on June 23, 2023 from Cesar Garcia in San Antonio, TX for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-027000: GLOCK GMBH 47 PISTOL CAL:9 SN:BZRX344, valued at $615.27, seized by the ATF on July 06,
2023 from Kainoa SABLAN in El Paso, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027005: 17 Rounds FEDERAL Ammunition CAL:9, Serial No. NULL, valued at $1.70, seized by the ATF on
July 06, 2023 from Kainoa SABLAN in El Paso, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027006: 1 Rounds FEDERAL Ammunition CAL:9, Serial No. NULL, valued at $0.10, seized by the ATF on
July 06, 2023 from Kainoa SABLAN in El Paso, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027009: 1 Rounds FEDERAL Ammunition CAL:9, Serial No. NULL, valued at $0.10, seized by the ATF on
July 06, 2023 from Kainoa SABLAN in El Paso, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027212: Glock GMBH 23GEN5 Pistol CAL:40 SN:BTEU812, valued at $400.00, seized by the ATF on July
20, 2023 from Texas Pawn and Jewelry in Liberty Hill, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027553: GLOCK INC. 30S PISTOL CAL:45 SN:BWWS424, valued at $589.99, seized by the ATF on June
17, 2023 from RUBEN MARQUEZ in ODESSA, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027780: Century Arms Internationsl VSKA Rifle CAL:762 SN:SV7134380, valued at $700.00, seized by the
ATF on July 24, 2023 from John Garza in Bastrop, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).

[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 217 of 257 PageID 732
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 10/06/2023

DISTRICT OF UTAH
22-ATF-041046: Phoenix Arms CO Raven Pistol CAL:25 SN:3146633, valued at $250.00, seized by the ATF on May
02, 2022 from Christopher Gutierrez in Magna, UT for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-041054: Glock GMBH 19TGEN5 Pistol CAL:9 SN:BMTC016, valued at $500.00, seized by the ATF on May
02, 2022 from Christopher Gutierrez in Magna, UT for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-041055: 54 Rounds Assorted Ammunition CAL:Multi, valued at $5.40, seized by the ATF on May 02, 2022
from Christopher Gutierrez in Magna, UT for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-041068: 23 Rounds Assorted Ammunition CAL:Multi, valued at $2.30, seized by the ATF on December 16,
2021 from Christopher Gutierrez in Magna, UT for forfeiture pursuant to 18 U.S.C. Section 924(d).

EASTERN DISTRICT OF VIRGINIA
23-ATF-026583: Taurus 85 ULTRALITE Revolver CAL:38 SN:CT75242, valued at $350.00, seized by the ATF on
June 09, 2023 from Burgess William in Newport News, VA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026587: 5 Rounds Assorted Ammunition CAL:38, Serial No. Unknown, valued at $0.50, seized by the ATF
on June 09, 2023 from Burgess William in Newport News, VA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026596: 10 Rounds Assorted Ammunition CAL:38, Serial No. Unknown, valued at $1.00, seized by the ATF
on June 09, 2023 from Burgess William in Newport News, VA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026740: GLOCK INC. 26GEN5 Pistol CAL:9 SN:AFPG234, valued at $500.00, seized by the ATF on June
12, 2023 from Tariq HILL in Norfolk, VA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026745: 53 Rounds Assorted Ammunition CAL:9, Serial No. Unknown, valued at $5.30, seized by the ATF
on June 12, 2023 from Tariq HILL in Norfolk, VA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026748: 1 Rounds Talon Manufacturing CO, Ammunition CAL:9, Serial No. Unknown, valued at $0.10,
seized by the ATF on June 12, 2023 from Tariq HILL in Norfolk, VA for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026753: GLOCK GMBH 30S Pistol CAL:45 SN:BVLN061, valued at $500.00, seized by the ATF on June 12,
2023 from Ramel SMITH in Norfolk, VA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026760: 19 Rounds SIG SAUER (SIG) Ammunition CAL:45, Serial No. Unknown, valued at $1.90, seized
by the ATF on June 12, 2023 from Ramel SMITH in Norfolk, VA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027077: Polymer80,INC.(P80 TACTICAL P80) Unknown Pistol CAL:Unknown SN:None, valued at $300.00,
seized by the ATF on June 16, 2023 from Demetris DANIELS in Carrsville, VA for forfeiture pursuant to 18 U.S.C.
Section 924(d).

WESTERN DISTRICT OF VIRGINIA
23-ATF-025510: Smith & Wesson M&P 9L Pistol CAL:9 SN:HVC4231, valued at $300.00, seized by the ATF on
June 01, 2023 from Maurice LOCKETT in Blacksburg, VA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025523: 17 Rounds Other Ammunition CAL:9, Serial No. Unknown, valued at $1.70, seized by the ATF on
June 01, 2023 from Maurice LOCKETT in Blacksburg, VA for forfeiture pursuant to 18 U.S.C. Section 924(d).

EASTERN DISTRICT OF WASHINGTON
23-ATF-027204: GLOCK GMBH 42 PISTOL CAL:380 SN:AESA022, valued at $250.00, seized by the ATF on June
20, 2023 from Sharte KIMBLE in KENNEWICK, WA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-027205: 12 Rounds Aguila Ammunition CAL:38/9, Serial No. Unknown, valued at $1.20, seized by the ATF
on June 20, 2023 from Sharte KIMBLE in KENNEWICK, WA for forfeiture pursuant to 18 U.S.C. Section 924(d).




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property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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property based on hardship.


LAST DATE TO FILE: 10/06/2023

DISTRICT OF WYOMING
23-ATF-025852: Beretta USA Corp APX Pistol CAL:9 SN:A231078X, valued at $100.00, seized by the ATF on June
16, 2023 from Tara Hurt in Casper, WY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025895: SCCY Industries, LLC (SKYY IND) CPX-2 Pistol CAL:9 SN:C218612, valued at $100.00, seized by
the ATF on June 16, 2023 from Tara Hurt in Casper, WY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025900: Mossberg 500 Shotgun CAL:Unknown SN:U551141, valued at $100.00, seized by the ATF on
June 16, 2023 from Tara Hurt in Casper, WY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025901: Springfield Armory, Geneseo, IL Saint Pistol CAL:Multi SN:ST176621, valued at $100.00, seized
by the ATF on June 16, 2023 from Tara Hurt in Casper, WY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025902: Smith & Wesson M&P 15-22 Rifle CAL:22 SN:DTU0957, valued at $100.00, seized by the ATF on
June 16, 2023 from Tara Hurt in Casper, WY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025903: Sun City Machinery CO., LTD Stevens 320 Shotgun CAL:12 SN:160895B, valued at $100.00,
seized by the ATF on June 16, 2023 from Tara Hurt in Casper, WY for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-025904: Francolin Intl Arms Co Citadel Boss-25 Shotgun CAL:12 SN:23FRTG1598, valued at $100.00,
seized by the ATF on June 16, 2023 from Tara Hurt in Casper, WY for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-025905: 7 Rounds Hornady Ammunition CAL:9, valued at $0.70, seized by the ATF on June 16, 2023 from
Tara Hurt in Casper, WY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025906: 12 Rounds Assorted Ammunition CAL:223, valued at $1.20, seized by the ATF on June 16, 2023
from Tara Hurt in Casper, WY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025907: 50 Rounds Assorted Ammunition CAL:223, valued at $5.00, seized by the ATF on June 16, 2023
from Tara Hurt in Casper, WY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025908: 5 Rounds PMC Ammunition CAL:9, valued at $0.50, seized by the ATF on June 16, 2023 from Tara
Hurt in Casper, WY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025909: 15 Rounds Assorted Ammunition CAL:9, valued at $1.50, seized by the ATF on June 16, 2023
from Tara Hurt in Casper, WY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025910: 20 Rounds Assorted Ammunition CAL:9, valued at $2.00, seized by the ATF on June 16, 2023
from Tara Hurt in Casper, WY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025911: 25 Rounds Assorted Ammunition CAL:9, valued at $2.50, seized by the ATF on June 16, 2023 from
Tara Hurt in Casper, WY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025913: Glock Inc 19X Pistol CAL:9 SN:BPEK639, valued at $100.00, seized by the ATF on June 16, 2023
from Albert Gaines in Casper`, WY for forfeiture pursuant to 18 U.S.C. Section 924(d).




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property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim and/or a petition.


LAST DATE TO FILE CLAIM: 09/26/2023
LAST DATE TO FILE PETITION: 10/06/2023

SOUTHERN DISTRICT OF ALABAMA
23-ATF-026839: Glock GMBH 19Gen5 Machinegun CAL:9 SN:BYYW603, valued at $100.00, seized by the ATF on
July 13, 2023 from Jhykez Adams in Mobile, AL for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027406: Unknown Manufacturer Unknown Machinegun Conversion Device CAL:Unknown SN:None,
valued at $1.00, seized by the ATF on July 10, 2023 from Kenyadrick Drake in Mobile, AL for forfeiture pursuant to
26 U.S.C. Section 5872.

EASTERN DISTRICT OF ARKANSAS
23-ATF-026197: RADICAL FIREARMS, LLC RF-15 Pistol CAL:Multi SN:20-064536, valued at $400.00, seized by
the ATF on July 07, 2023 from Zivan BERRY in Little Rock, AR for forfeiture pursuant to 26 U.S.C. Section 5872.

DISTRICT OF ARIZONA
23-ATF-027639: UNKNOWN MANUFACTURER Wide Open Trigger Machine Gun Conversion Device
CAL:Unknown SN:None, valued at $350.00, seized by the ATF on July 24, 2023 from Heath Morder in Phoenix, AZ
for forfeiture pursuant to 26 U.S.C. Section 5872.

EASTERN DISTRICT OF CALIFORNIA
23-ATF-027169: Wide Open Triggers Unknown Machine Gun Conversion Device CAL:Unknown SN:None, valued
at $150.00, seized by the ATF on July 14, 2023 from Anthony RAMIREZ in Merced, CA for forfeiture pursuant to 26
U.S.C. Section 5872.

DISTRICT OF COLORADO
23-ATF-027315: Unknown Unknown Machine Gun Conversion Device CAL:Unknown SN:None, valued at $300.00,
seized by the ATF on July 20, 2023 from Braxton Winmill in Loveland, CO for forfeiture pursuant to 26 U.S.C.
Section 5872.




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property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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LAST DATE TO FILE CLAIM: 09/26/2023
LAST DATE TO FILE PETITION: 10/06/2023

SOUTHERN DISTRICT OF FLORIDA
23-ATF-025417: SPIKE'S TACTICAL LLC UNKNOWN RIFLE CAL:ASSORTED SN:H2006806, valued at $1,000.00,
seized by the ATF on June 06, 2023 from AHMED WADI in MIAMI, FL for forfeiture pursuant to 26 U.S.C. Section
5872.
23-ATF-025420: UNKNOWN MANUFACTURER UNKNOWN PISTOL CAL:ASSORTED SN:NONE, valued at
$400.00, seized by the ATF on June 06, 2023 from AHMED WADI in MIAMI, FL for forfeiture pursuant to 26 U.S.C.
Section 5872.
23-ATF-025479: JOE BOB OUTFITTERS, LLC ML-15 RIFLE CAL:MULTI SN:KS05452, valued at $600.00, seized by
the ATF on June 06, 2023 from AHMED WADI in MIAMI, FL for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-025596: GLOCK INC 27 PISTOL CAL:40 SN:FSF694, valued at $300.00, seized by the ATF on June 22,
2023 from KIONNATAYA REED in MIAMI, FL for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-026678: UNKNOWN MANUFACTURER WIDE OPEN TRIGGER MACHINE GUN CONVERSION DEVICE
CAL:UNKNOWN SN:NONE, valued at $379.99, seized by the ATF on June 23, 2023 from AIDAN SOUSAR and
REZA KESHAVARZI in MIAMI, FL for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-026682: PBG ALAMO-15 FRT DEVICE UNKNOWN MACHINE GUN CONVERSION DEVICE
CAL:UNKNOWN SN:NONE, valued at $379.99, seized by the ATF on July 05, 2023 from JUAN MARTINEZ in MIAMI,
FL for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-026683: RARE BREED FRT DEVICE UNKNOWN MACHINE GUN CONVERSION DEVICE
CAL:UNKNOWN SN:NONE, valued at $379.99, seized by the ATF on July 05, 2023 from JUAN MARTINEZ in MIAMI,
FL for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-026684: WIDE OPEN TRIGGER DEVICE MACHINE GUN CONVERSION DEVICE CAL:UNKNOWN
SN:NONE, valued at $379.99, seized by the ATF on July 05, 2023 from JUAN MARTINEZ in MIAMI, FL for forfeiture
pursuant to 26 U.S.C. Section 5872.
23-ATF-026941: UNKNOWN MANUFACTRURER Wide Open Triggers MACHINE GUN CON CAL:UNKNOWN
SN:NONE, valued at $350.00, seized by the ATF on July 12, 2023 from RICHARD RAGO in PORT ST. LUCIE, FL for
forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-026946: UNKNOWN MANUFACTURER Wide Open Triggers MACHINE GUN CONVERSATION DEVICE
CAL:UNKNOWN SN:NONE, valued at $350.00, seized by the ATF on July 12, 2023 from RICHARD RAGO in PORT
ST. LUCIE, FL for forfeiture pursuant to 26 U.S.C. Section 5872.

CENTRAL DISTRICT OF ILLINOIS
23-ATF-027540: Unknown Unknown Machine gun CAL:Unknown SN:None, valued at $350.00, seized by the ATF
on June 02, 2023 from Jamil Zaid in Dwight, IL for forfeiture pursuant to 26 U.S.C. Section 5872.




[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                         Page 221 of 257 PageID 736
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE CLAIM: 09/26/2023
LAST DATE TO FILE PETITION: 10/06/2023

NORTHERN DISTRICT OF ILLINOIS
23-ATF-026891: UNKNOWN MANUFACTURER Unknown Machine Gun CAL:Unknown SN:Unknown, valued at
$425.00, seized by the ATF on July 14, 2023 from Shelton Sherrod in Zion, IL for forfeiture pursuant to 26 U.S.C.
Section 5872.
23-ATF-026892: UNKNOWN MANUFACTURER UNKNOWN Machine Gun CAL:ZZ SN:NONE, valued at $425.00,
seized by the ATF on July 14, 2023 from Shelton Sherrod in Zion, IL for forfeiture pursuant to 26 U.S.C. Section
5872.
23-ATF-026893: UNKNOWN MANUFACTURER Unknown Machinegun CAL:ZZ SN:unknown, valued at $425.00,
seized by the ATF on July 14, 2023 from Shelton Sherrod in Zion, IL for forfeiture pursuant to 26 U.S.C. Section
5872.
23-ATF-026894: UNKNOWN MANUFACTURER Unknown Machinegun CAL:zz SN:Unknown, valued at $425.00,
seized by the ATF on July 14, 2023 from Shelton Sherrod in Zion, IL for forfeiture pursuant to 26 U.S.C. Section
5872.
23-ATF-026896: UNKNOWN MANUFACTURER Unknown Machinegun CAL:zz SN:Unknown, valued at $425.00,
seized by the ATF on July 14, 2023 from Shelton Sherrod in Zion, IL for forfeiture pursuant to 26 U.S.C. Section
5872.
23-ATF-026897: UNKNOWN MANUFACTURER Unknown Machinegun CAL:zz SN:Unknown, valued at $425.00,
seized by the ATF on July 14, 2023 from Shelton Sherrod in Zion, IL for forfeiture pursuant to 26 U.S.C. Section
5872.
23-ATF-026898: UNKNOWN MANUFACTURER Unknown Machinegun CAL:zz SN:Unknown, valued at $425.00,
seized by the ATF on July 14, 2023 from Shelton Sherrod in Zion, IL for forfeiture pursuant to 26 U.S.C. Section
5872.
23-ATF-026899: UNKNOWN MANUFACTURER Unknown Machinegun CAL:zz SN:Unknown, valued at $425.00,
seized by the ATF on July 14, 2023 from Shelton Sherrod in Zion, IL for forfeiture pursuant to 26 U.S.C. Section
5872.
23-ATF-026900: UNKNOWN MANUFACTURER Unknown Machinegun CAL:zz SN:Unknown, valued at $425.00,
seized by the ATF on July 14, 2023 from Shelton Sherrod in Zion, IL for forfeiture pursuant to 26 U.S.C. Section
5872.
23-ATF-026901: UNKNOWN MANUFACTURER Unknown Machinegun CAL:zz SN:Unknown, valued at $425.00,
seized by the ATF on July 14, 2023 from Shelton Sherrod in Zion, IL for forfeiture pursuant to 26 U.S.C. Section
5872.
23-ATF-026902: UNKNOWN MANUFACTURER Unknown Machinegun CAL:zz SN:Unknown, valued at $425.00,
seized by the ATF on July 14, 2023 from Shelton Sherrod in Zion, IL for forfeiture pursuant to 26 U.S.C. Section
5872.
23-ATF-026903: UNKNOWN MANUFACTURER Unknown Machinegun CAL:zz SN:Unknown, valued at $425.00,
seized by the ATF on July 14, 2023 from Shelton Sherrod in Zion, IL for forfeiture pursuant to 26 U.S.C. Section
5872.
23-ATF-026904: GLOCK GMBH 19X Pistol CAL:9 SN:BXGY150, valued at $550.00, seized by the ATF on July 14,
2023 from Shelton Sherrod in Zion, IL for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027442: Unknown Unknown Machine Gun CAL:ZZ SN:None, valued at $350.00, seized by the ATF on July
20, 2023 from William Davies in Rockford, IL for forfeiture pursuant to 26 U.S.C. Section 5872.

SOUTHERN DISTRICT OF ILLINOIS
23-ATF-026918: HAMILTON RIFLE CO. 27 Rifle CAL:22 SN:None, valued at $50.00, seized by the ATF on July 07,
2023 from Michael Rayphole in Collinsville, IL for forfeiture pursuant to 26 U.S.C. Section 5872.


[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                         Page 222 of 257 PageID 737
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE CLAIM: 09/26/2023
LAST DATE TO FILE PETITION: 10/06/2023

NORTHERN DISTRICT OF INDIANA
23-ATF-027561: Machine Gun Conversion Kit Unknown Machine Gun CAL:Unknown SN:None, valued at $350.00,
seized by the ATF on July 17, 2023 from Steven Satchwill in Wabash, IN for forfeiture pursuant to 26 U.S.C. Section
5872.

DISTRICT OF KANSAS
23-ATF-027476: Wide Open Trigger FRT Machinegun Conversion Kit CAL:None SN:None, valued at $1.00, seized
by the ATF on July 07, 2023 from James Hiatt in Wichita, KS for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027477: Rare Breed Trigger FRT-15 Machinegun Conversion Kit CAL:None SN:None, valued at $1.00,
seized by the ATF on July 07, 2023 from James Hiatt in Wichita, KS for forfeiture pursuant to 26 U.S.C. Section
5872.

WESTERN DISTRICT OF KENTUCKY
23-ATF-026708: UNKNOWN UNKNOWN MACHINEGUN CAL:UNKNOWN SN:NONE, valued at $350.00, seized by
the ATF on June 01, 2023 from Charles Isgrigg in Louisville, KY for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-026709: UNKNOWN UNKNOWN MACHINEGUN CAL:UNKNOWN SN:NONE, valued at $350.00, seized by
the ATF on June 07, 2023 from Christopher Gatewood and Mike Connelly in Louisville, KY for forfeiture pursuant to
26 U.S.C. Section 5872.
23-ATF-027067: NEW ENGLAND FIREARMS PARDNER SHOTGUN (SB) CAL:20 SN:332825, valued at $100.00,
seized by the ATF on June 15, 2023 from Devin Russell in Fredonia, KY for forfeiture pursuant to 26 U.S.C. Section
5872.

EASTERN DISTRICT OF MISSOURI
23-ATF-027341: Rarebreed FRT Machinegun Conversion Kit CAL:None SN:None, valued at $300.00, seized by
the ATF on July 18, 2023 from William Jr. Keintz in St. Louis, MO for forfeiture pursuant to 26 U.S.C. Section 5872.

WESTERN DISTRICT OF MISSOURI
23-ATF-026250: Wide Open Trigger Unknown Machine gun CAL:Unknown SN:None, valued at $350.00, seized by
the ATF on June 14, 2023 from Kenneth McDonald in Kansas City, MO for forfeiture pursuant to 26 U.S.C. Section
5872.

EASTERN DISTRICT OF NORTH CAROLINA
23-ATF-026855: Rare Breed Triggers FRT-15 Machinegun CAL:Unknown SN:NONE, valued at $150.00, seized by
the ATF on June 12, 2023 from Reagon Percy Carr in Fayetteville, NC for forfeiture pursuant to 26 U.S.C. Section
5872.
23-ATF-026856: Rare Breed Triggers FRT-15 Machinegun CAL:Unknown SN:NONE, valued at $150.00, seized by
the ATF on June 12, 2023 from Reagon Percy Carr in Fayetteville, NC for forfeiture pursuant to 26 U.S.C. Section
5872.




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property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim and/or a petition.


LAST DATE TO FILE CLAIM: 09/26/2023
LAST DATE TO FILE PETITION: 10/06/2023

WESTERN DISTRICT OF NORTH CAROLINA
23-ATF-027376: Wide Open Trigger WOT Machinegun CAL:Unknown SN:NONE, valued at $400.00, seized by the
ATF on July 25, 2023 from Justin Pitman in Charlotte, NC for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027377: Wide Open Trigger WOT Machinegun CAL:Unknown SN:NONE, valued at $400.00, seized by the
ATF on July 25, 2023 from Jacob Reeve in Charlotte, NC for forfeiture pursuant to 26 U.S.C. Section 5872.

WESTERN DISTRICT OF OKLAHOMA
23-ATF-027400: WEAPON MADE FROM RIFLE/SHOTFUN CBC (COMPANHIA BRAZILIERA DE CARTUCHOS) 151
SHOTGUN CAL:20 SN:165678, valued at $200.00, seized by the ATF on July 12, 2023 from Stephen GRAHAM in
Sparks, OK for forfeiture pursuant to 26 U.S.C. Section 5872.

WESTERN DISTRICT OF TENNESSEE
21-ATF-035468: Glock Inc. 23Gen5 Machinegun CAL:40 SN:BPCD633, valued at $1,000.00, seized by the ATF on
September 28, 2021 from Derrick Echols in Memphis, TN for forfeiture pursuant to 26 U.S.C. Section 5872.

EASTERN DISTRICT OF TEXAS
23-ATF-023011: SUN CITY MACHINERY CO., LTD. STEVENS 320 SHOTGUN CAL:12 SN:153506K, valued at
$300.00, seized by the ATF on June 01, 2023 from Christopher HEARD in South Carthage, TX for forfeiture
pursuant to 26 U.S.C. Section 5872.
23-ATF-023018: UNKNOWN MANUFACTURER UNKNOWN NY OTHER WEAPON CAL:UNKNOWN SN:NONE,
valued at $10.00, seized by the ATF on June 01, 2023 from Christopher HEARD in South Carthage, TX for forfeiture
pursuant to 26 U.S.C. Section 5872.
23-ATF-023044: UNKNOWN MANUFACTURER UNKNOWN ANY OTHER WEAPON CAL:UNKNOWN SN:NONE,
valued at $10.00, seized by the ATF on May 29, 2023 from Daulton ANTHONY in GARY, TX for forfeiture pursuant to
26 U.S.C. Section 5872.
23-ATF-027166: ADVANCED ARMAMENT CORP UNKNOWN SILENCER CAL:UNKNOWN SN:NONE, valued at
$500.00, seized by the ATF on July 11, 2023 from Robert MARTIN in Alto, TX for forfeiture pursuant to 26 U.S.C.
Section 5872.

NORTHERN DISTRICT OF TEXAS
23-ATF-027530: SAWED OFF RIFLE/ SHOTFUN (SHORT BARREL) ANDERSON MANUFACTURING AM-15 RIFLE
CAL:MULTI SN:15058004, valued at $1.00, seized by the ATF on July 06, 2023 from Kevin EALY in DALLAS, TX for
forfeiture pursuant to 26 U.S.C. Section 5872.

SOUTHERN DISTRICT OF TEXAS
23-ATF-026041: Maverick Arms (Eagle Pass,Tx.) 88 Shotgun CAL:12 SN:MV55852S, valued at $400.00, seized by
the ATF on June 27, 2023 from Daniel Garza in San Juan, TX for forfeiture pursuant to 26 U.S.C. Section 5872.

DISTRICT OF WYOMING
23-ATF-025912: Glock Inc 17 Machine Gun CAL:9 SN:BDKH314, valued at $100.00, seized by the ATF on June 16,
2023 from Albert Gaines in Casper`, WY for forfeiture pursuant to 26 U.S.C. Section 5872.




[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                         Page 224 of 257 PageID 739
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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LAST DATE TO FILE CLAIM: 09/19/2023
LAST DATE TO FILE PETITION: 09/29/2023

DISTRICT OF COLORADO
23-ATF-026857: Rare Breed Trigger Unknown Machine Gun Conversion Device CAL:Unknown SN:None, valued
at $200.00, seized by the ATF on June 16, 2023 from Robert Strle in Denver, CO for forfeiture pursuant to 26 U.S.C.
Section 5872.

SOUTHERN DISTRICT OF FLORIDA
23-ATF-026702: DEAD AIR SANDMAN-L UNKNOWN SILENCER CAL:7.62 SN:SML-03773, valued at $100.00,
seized by the ATF on May 25, 2023 from PAULA GOLDBERG in WEST PALM BEACH, FL for forfeiture pursuant to
26 U.S.C. Section 5872.

NORTHERN DISTRICT OF IOWA
23-ATF-026192: Wide Open Trigger Unknown Machinegun Conversion Kit CAL:Unknown SN:None, valued at
$500.00, seized by the ATF on July 11, 2023 from Rick Witham in Central City, IA for forfeiture pursuant to 26 U.S.C.
Section 5872.

DISTRICT OF KANSAS
23-ATF-026208: Complete RBT Trigger FRT-15 Machine gun CAL:Unknown SN:None, valued at $350.00, seized
by the ATF on June 05, 2023 from Bryan Dake in Wathena, KS for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-026211: Complete RBT Trigger FRT-15 Machine gun CAL:Unknown, Serial No. Unknown, valued at
$350.00, seized by the ATF on June 05, 2023 from Bryan Dake in Wathena, KS for forfeiture pursuant to 26 U.S.C.
Section 5872.
23-ATF-026212: Complete RBT Trigger FRT-15 Machine Gun CAL:Unknown SN:None, valued at $350.00, seized
by the ATF on June 05, 2023 from Bryan Dake in Wathena, KS for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-026215: Complete RBT Trigger FRT-15 Machine Gun CAL:Unknown, Serial No. Unknown, valued at
$300.00, seized by the ATF on June 27, 2023 from Robert Schuck in Bonner Springs, KS for forfeiture pursuant to
26 U.S.C. Section 5872.

WESTERN DISTRICT OF KENTUCKY
23-ATF-026520: UNKNOWN UNKNOWN MACHINEGUN CAL:UNKNOWN SN:NONE, valued at $100.00, seized by
the ATF on June 09, 2023 from Colin Billups in Louisville, KY for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-026701: UNKNOWN UNKNOWN MACHINEGUN CAL:UNKNOWN SN:NONE, valued at $350.00, seized by
the ATF on June 02, 2023 from Ryan Goings in Louisville, KY for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-026703: UNKNOWN UNKNOWN MACHINEGUN CAL:UNKNOWN SN:NONE, valued at $350.00, seized by
the ATF on June 02, 2023 from Ryan Goings in Louisville, KY for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-026704: UNKNOWN UNKNOWN MACHINEGUN CAL:UNKNOWN SN:NONE, valued at $350.00, seized by
the ATF on June 02, 2023 from Ryan Goings in Louisville, KY for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-026705: UNKNOWN UNKNOWN MACHINEGUN CAL:UNKNOWN SN:NONE, valued at $350.00, seized by
the ATF on June 22, 2023 from Elijah Lewis in Louisville, KY for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-026706: UNKNOWN UNKNOWN MACHINEGUN CAL:UNKNOWN SN:NONE, valued at $350.00, seized by
the ATF on June 22, 2023 from Elijah Lewis in Louisville, KY for forfeiture pursuant to 26 U.S.C. Section 5872.




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property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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LAST DATE TO FILE CLAIM: 09/19/2023
LAST DATE TO FILE PETITION: 09/29/2023

DISTRICT OF MARYLAND
23-ATF-023550: PRIVATELY MADE FIREARM (PMF) Unknown Machine Gun CONVERSION DEVICE CAL:Unknown
SN:None, valued at $100.00, seized by the ATF on June 13, 2023 from Kaleb SCHOONOVER in Thurmont, MD for
forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-023628: PRIVATELY MADE FIREARM (PMF) Unknown Silencer CAL:Unkown SN:None, valued at $50.00,
seized by the ATF on June 13, 2023 from Kaleb SCHOONOVER in Thurmont, MD for forfeiture pursuant to 26
U.S.C. Section 5872.
23-ATF-023647: PRIVATELY MADE FIREARM (PMF), Unknown Machine Gun
CONVERSION DEVICE CAL:Unknown SN:Unknown, valued at $150.00, seized by the ATF on June 13, 2023 from
Kaleb SCHOONOVER in Thurmont, MD for forfeiture pursuant to 26 U.S.C. Section 5872.

EASTERN DISTRICT OF MICHIGAN
23-ATF-026738: SIG-SAUER SIG M400 Pistol CAL:556 SN:20L077548, valued at $1,000.00, seized by the ATF on
July 02, 2023 from Corey Robert in Novi, MI for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-026775: EXPLOSIVE: DESTRUCTIVE DEVICE, QTY: 1 PVC PIPE W/END CAPS APPROX. 7"X1 1/4"OD
(CONTAINER FOR DEVICE 11) WRAPPED IN GRAY & BLACK DUCT TAPE W/PINK HOBBY FUSE, Serial No.
Unknown, valued at $0.01, seized by the ATF on July 02, 2023 from Corey Robert in Novi, MI for forfeiture pursuant
to 26 U.S.C. Section 5872.
23-ATF-026776: EXPLOSIVE: DESTRUCTIVE DEVICE QTY: 130.0 GRAMS FINE GRAY POWDER (BULK
POWDER FROM DEVICE 11) - WT. INCLUDES PACKAGING, Serial No. Unknown, valued at $0.01, seized by the
ATF on July 02, 2023 from Corey Robert in Novi, MI for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-026777: EXPLOSIVE: DESTRUCTIVE DEVICE, QTY: 1 PVC PIPE W/END CAPS, APPROX. 6"X1 1/4"OD
(CONTAINER FOR DEVICE 12) WRAPPED IN GRAY DUCT TAPE W/PINK HOBBY FUSE. "FLASH FB" WRITTEN
ON TAPE, Serial No. Unknown, valued at $0.01, seized by the ATF on July 02, 2023 from Corey Robert in Novi, MI
for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-026778: EXPLOSIVE: DESTRUCTIVE DEVICE QTY: 111.0 GRAMS FINE GRAY POWDER (BULK POWDER
FROM DEVICE 12) - WT. INCLUDES PACKAGING, Serial No. Unknown, valued at $0.01, seized by the ATF on July
02, 2023 from Corey Robert in Novi, MI for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-026779: EXPLOSIVE QTY: 1 PVC PIPE W/END CAPS, APPROX. 7"X1 5/8"OD (CONTAINER FOR DEVICE
13) WRAPPED IN GRAY DUCT TAPE W/PINK HOBBY FUSE, Serial No. Unknown, valued at $0.01, seized by the
ATF on July 02, 2023 from Corey Robert in Novi, MI for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-026780: EXPLOSIVE: QTY: 185.0 GRAMS FINE GRAY POWDER (BULK POWDER FROM DEVICE 13) -
WT. INCLUDES PACKAGING, Serial No. Unknown, valued at $0.01, seized by the ATF on July 02, 2023 from Corey
Robert in Novi, MI for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-026781: EXPLOSIVE: DESTRUCTIVE DEVICE QTY: 25 NAILS REMOVED FROM BULK POWDER (ITEM
33) RECOVERED FROM CONTAINER FOR DEVICE 13, Serial No. Unknown, valued at $0.01, seized by the ATF on
July 02, 2023 from Corey Robert in Novi, MI for forfeiture pursuant to 26 U.S.C. Section 5872.

WESTERN DISTRICT OF MICHIGAN
23-ATF-026509: SMITH & WESSON SW22 VICTORY Pistol CAL:22 SN:UEN5569, valued at $200.00, seized by the
ATF on May 23, 2023 from Patrick Ogden in Kalkaska, MI for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-026844: GLOCK GMBH 45 Machine-Gun CAL:9 SN:BSBD523, valued at $500.00, seized by the ATF on
November 16, 2022 from Cornelius Head in Kalamazoo, MI for forfeiture pursuant to 26 U.S.C. Section 5872.




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property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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LAST DATE TO FILE CLAIM: 09/19/2023
LAST DATE TO FILE PETITION: 09/29/2023

DISTRICT OF MINNESOTA
23-ATF-026484: Glock Inc. 30 Pistol CAL:45 SN:LYN585, valued at $600.00, seized by the ATF on June 29, 2023
from Marquez Hill-Turnipseed in Brooklyn Center, MN for forfeiture pursuant to 26 U.S.C. Section 5872.

WESTERN DISTRICT OF NORTH CAROLINA
22-ATF-046705: Unknown Unknown Machine Gun Conversion Kit CAL:Unknown SN:None, valued at $1,600.00,
seized by the ATF on July 06, 2022 from Jacob McClure in Waynesville, NC for forfeiture pursuant to 26 U.S.C.
Section 5872.
23-ATF-026217: Wide Open Trigger Forced Reset Trigger Machine Gun Conversion Device CAL:Unknown
SN:None, valued at $100.00, seized by the ATF on May 19, 2023 from Jacob Poovey in Granite Falls, NC for
forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027176: Unknown Glock Switch Machinegun CAL:Unknown SN:None, valued at $300.00, seized by the
ATF on June 13, 2023 from Ethan Roten in Hickory, NC for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027181: Unknown Glock Switch Machinegun CAL:Unknown SN:None, valued at $300.00, seized by the
ATF on June 13, 2023 from Ethan Roten in Hickory, NC for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027186: Unknown Glock Switch Machinegun CAL:Unknown SN:None, valued at $300.00, seized by the
ATF on June 13, 2023 from Ethan Roten in Hickory, NC for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027194: Unknown Glock Switch Machinegun CAL:Unknown SN:None, valued at $300.00, seized by the
ATF on June 13, 2023 from Ethan Roten in Hickory, NC for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027198: Unknown Glock Switch Machinegun CAL:Unknown SN:None, valued at $300.00, seized by the
ATF on June 13, 2023 from Ethan Roten in Hickory, NC for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-027202: Polymer80, Inc (P80 Tactical P80) PF940C Machinegun CAL:9 SN:None, valued at $300.00,
seized by the ATF on June 13, 2023 from Ethan Roten in Hickory, NC for forfeiture pursuant to 26 U.S.C. Section
5872.

DISTRICT OF NEW HAMPSHIRE
23-ATF-026869: MACHINE GUN CONVERSION KIT, Serial No. Unknown, valued at $300.00, seized by the ATF on
June 06, 2023 from Kevin HARZBECKER in TUFTONBORO, NH for forfeiture pursuant to 26 U.S.C. Section 5872.




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property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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LAST DATE TO FILE CLAIM: 09/19/2023
LAST DATE TO FILE PETITION: 09/29/2023

DISTRICT OF NEW MEXICO
22-ATF-046886: Twelve (12) GRAMS POWDER COLLECTED FROM DEVICE 1, Serial No. Unknown, valued at
$0.10, seized by the ATF on May 22, 2023 from EDWARD WALTERS in Las Cruces, NM for forfeiture pursuant to 26
U.S.C. Section 5872.
22-ATF-046887: EIGHT (8) GRAMS POWDER COLLECTED FROM DEVICE 2, Serial No. Unknown, valued at
$0.10, seized by the ATF on May 22, 2023 from EDWARD WALTERS in Las Cruces, NM for forfeiture pursuant to 26
U.S.C. Section 5872.
23-ATF-025368: GLOCK GMBH 30 Pistol CAL:45 SN:KTB479, valued at $500.00, seized by the ATF on June 09,
2023 from Billy Lloyd Jr in Albuquerque, NM for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-025369: CZ (CESKA ZBROJOVKA) Scorpion Evo 3 S1 Rifle CAL:9 SN:D319275, valued at $100.00, seized
by the ATF on June 09, 2023 from Billy Lloyd Jr in Albuquerque, NM for forfeiture pursuant to 26 U.S.C. Section
5872.
23-ATF-025371: ROMARM/CUGIR Draco Pistol CAL:762 SN:DA-9239-15, valued at $100.00, seized by the ATF on
June 09, 2023 from Billy Lloyd Jr in Albuquerque, NM for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-025372: ANDERSON MANUFACTURING AM-15 Rifle CAL:Multi SN:16376670, valued at $200.00, seized
by the ATF on June 09, 2023 from Billy Lloyd Jr in Albuquerque, NM for forfeiture pursuant to 26 U.S.C. Section
5872.

SOUTHERN DISTRICT OF OHIO
23-ATF-026836: Gustaf, Carl Unknown Type Machine Gun CAL:Unknown SN:500942, valued at $500.00, seized by
the ATF on July 14, 2023 from Oakley Arms LLC in Fairborn, OH for forfeiture pursuant to 26 U.S.C. Section 5872.

NORTHERN DISTRICT OF OKLAHOMA
23-ATF-026874: Machine-Gun, GLOCK GMBH 23GEN4 PISTOL CAL:40 SN:YHW528, valued at $300.00, seized by
the ATF on June 29, 2023 from Montell MILLER in Tulsa, OK for forfeiture pursuant to 26 U.S.C. Section 5872.

WESTERN DISTRICT OF OKLAHOMA
23-ATF-022559: BLACK UN SERIALIZED SILENCER UNKNOWN SILENCER CAL:UNKNOWN SN:NONE, valued
at $40.00, seized by the ATF on May 15, 2023 from Donovan Petties in NORMAN, OK for forfeiture pursuant to 26
U.S.C. Section 5872.

DISTRICT OF SOUTH CAROLINA
23-ATF-025677: DAVENPORT, W.H.,FIREARMS CO. Unknown Shotgun CAL:Unknown SN:NONE, valued at
$100.00, seized by the ATF on June 29, 2023 from Christopher Huntington in Lexington, SC for forfeiture pursuant
to 26 U.S.C. Section 5872.

SOUTHERN DISTRICT OF TEXAS
23-ATF-025644: Unknown Manufacturer Unknown Machine Gun Conversion Device CAL:Unknown SN:None,
valued at $300.00, seized by the ATF on June 30, 2023 from William Prell in Houston, TX for forfeiture pursuant to
26 U.S.C. Section 5872.
23-ATF-025950: Unknown Manufacturer Unknown Machine Gun Conversion Device
CAL:Unknown SN:None, valued at $300.00, seized by the ATF on July 06, 2023 from William Prell in Houston, TX
for forfeiture pursuant to 26 U.S.C. Section 5872.


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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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LAST DATE TO FILE CLAIM: 09/19/2023
LAST DATE TO FILE PETITION: 09/29/2023

WESTERN DISTRICT OF TEXAS
23-ATF-026370: Machine Gun Conversion Kit, Unknown Manufacturer Unknown Machine Gun Conversion Device
CAL:Unknown SN:None, valued at $300.00, seized by the ATF on July 11, 2023 from Zachary Alexander and Doug
O'Connell in Austin, TX for forfeiture pursuant to 26 U.S.C. Section 5872.

EASTERN DISTRICT OF VIRGINIA
23-ATF-026910: Unknown Manufacturer Unknown Conversion Kit Wide Open Trigger (WOT)Machinegun
CAL:Unknown SN:None, valued at $199.00, seized by the ATF on June 07, 2023 from Joseph Boni in Norfolk, VA
for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-026912: Unknown Manufacturer Unknown RareBreed Triggers Wide Open Trigger Conversion Kit
Machinegun CAL:Unknown SN:None, valued at $199.00, seized by the ATF on June 05, 2023 from Justin Piek in
Norfolk, VA for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-026913: Unknown Manufacturer Unknown RareBreed Triggers Wide Open Trigger Conversion Kit
Machinegun CAL:Unknown SN:None, valued at $199.00, seized by the ATF on June 08, 2023 from Jacob Ventura
in Virginia Beach, VA for forfeiture pursuant to 26 U.S.C. Section 5872.

NORTHERN DISTRICT OF WEST VIRGINIA
23-ATF-026379: UNKNOWN UNKNOWN MACHINEGUN CAL:UNKNOWN SN:NONE, valued at $300.00, seized by
the ATF on May 31, 2023 from Keith Groves in Arnoldsburg, WV for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-026386: UNKNOWN UNKNOWN MACHINEGUN CAL:UNKNOWN SN:NONE, valued at $300.00, seized by
the ATF on May 31, 2023 from Keith Groves in Arnoldsburg, WV for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-026391: UNKNOWN UNKNOWN MACHINEGUN CAL:UNKNOWN SN:NONE, valued at $300.00, seized by
the ATF on June 08, 2023 from Shane Martin in Elkins, WV for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-026393: UNKNOWN UNKNOWN MACHINEGUN CAL:UNKNOWN SN:NONE, valued at $300.00, seized by
the ATF on June 08, 2023 from Kyle Benson in Morgantown, WV for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-026397: UNKNOWN UNKNOWN MACHINEGUN CAL:UNKNOWN SN:NONE, valued at $1.00, seized by
the ATF on June 13, 2023 from Blake Stewart in Morgantown, WV for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-026721: UNKNOWN UNKNOWN MACHINEGUN CAL:UNKNOWN SN:NONE, valued at $250.00, seized by
the ATF on June 13, 2023 from Tommy Ward in Martinsburg, WV for forfeiture pursuant to 26 U.S.C. Section 5872.
23-ATF-026722: UNKNOWN UNKNOWN MACHINEGUN CAL:UNKNOWN SN:NONE, valued at $250.00, seized by
the ATF on June 26, 2023 from Jeremiah CHLEBNIKOW in Martinsburg, WV for forfeiture pursuant to 26 U.S.C.
Section 5872.




[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 09/29/2023

MIDDLE DISTRICT OF ALABAMA
23-ATF-026473: American Tactical Outfitters, LLC (Kilroy's) ATAC-15 Pistol CAL:Multi SN:NS344713, valued at
$200.00, seized by the ATF on June 21, 2023 from Jamere Dowdy in Dothan, AL for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-026475: Pioneer Arms Corporation (Radom, Poland) Hellpup Pistol CAL:762 SN:PAC1162439, valued at
$200.00, seized by the ATF on June 21, 2023 from Jamere Dowdy in Dothan, AL for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-026476: Rock Island Armory Inc. (Geneseo, IL) Unknown Pistol CAL:Unknown SN:RIA2500966, valued at
$200.00, seized by the ATF on June 21, 2023 from Jamere Dowdy in Dothan, AL for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-026477: 526 Rounds Assorted Ammunition CAL:Unknown, valued at $52.60, seized by the ATF on June
21, 2023 from Jamere Dowdy in Dothan, AL for forfeiture pursuant to 18 U.S.C. Section 924(d).

DISTRICT OF ARIZONA
23-ATF-025397: FNH USA, LLC M249S Rifle CAL:556 SN:M249SA08269, valued at $11,673.00, seized by the ATF
on June 21, 2023 from Jose Cruz in Tempe, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026573: OHIO ORDNANCE WORKS M2-SLR Rifle CAL:50 SN:850267, valued at $20,000.00, seized by
the ATF on June 30, 2023 from Alpha Dogs Firearms in Tempe, AZ for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026633: BARRETT FIREARMS MFG CO 82A1 RIFLE CAL:50 BMG SN:AA016152, valued at $11,832.00,
seized by the ATF on July 12, 2023 from Omar Zamarripa in Phoenix, AZ for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026635: FNH USA, LLC M249S Rifle CAL:556 SN:M249SA08253, valued at $12,500.00, seized by the ATF
on July 12, 2023 from Omar Zamarripa in Phoenix, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026637: FNH USA, LLC M249S Rifle CAL:556 SN:M249SA09145, valued at $12,500.00, seized by the ATF
on July 12, 2023 from Omar Zamarripa in Phoenix, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026914: BARRETT FIREARMS MFG CO 82A1 Rifle CAL:50 BMG SN:AA016064, valued at $10,147.49,
seized by the ATF on July 12, 2023 from Dulce RODRIGUEZ in Phoenix, AZ for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-026920: FNH USA, LLC, M249S Rifle CAL:556 SN:M249SA09200, valued at $20,000.00, seized by the ATF
on July 17, 2023 from Diego Tapia Barrera in Tempe, AZ for forfeiture pursuant to 18 U.S.C. Section 924(d).




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property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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property based on hardship.


LAST DATE TO FILE: 09/29/2023

MIDDLE DISTRICT OF FLORIDA
23-ATF-020557: AREX REX ZERO 1 Pistol CAL:9 SN:GZ15827, valued at $700.00, seized by the ATF on May 16,
2023 from Cristhian VALENTIN-SOTO in Fort Myers, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-020558: 20 Rounds AMMO INC Ammunition CAL:9, valued at $2.00, seized by the ATF on May 16, 2023
from Cristhian VALENTIN-SOTO in Fort Myers, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-020559: 306 Rounds AMMO INC Ammunition CAL:MULTI, valued at $30.60, seized by the ATF on May 16,
2023 from Pascual VALENTIN-SOTO in Fort Myers, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-020560: TAURUS INTERNATIONAL TH9C Pistol CAL:9 SN:ADB011709, valued at $550.00, seized by the
ATF on May 16, 2023 from Pascual VALENTIN-SOTO in Fort Myers, FL for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-020561: SIG-SAUER P365 Pistol CAL:380 SN:66F219990, valued at $550.00, seized by the ATF on May
16, 2023 from Pascual VALENTIN-SOTO in Fort Myers, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-020562: GLOCK INC. 43X Pistol CAL:9 SN:BWUZ680, valued at $550.00, seized by the ATF on May 16,
2023 from Pascual VALENTIN-SOTO in Fort Myers, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-020563: DERYA ARMS (DERYA SILAH SANAYI) VRPA40 Shotgun CAL:12 SN:R376968, valued at $700.00,
seized by the ATF on May 16, 2023 from Pascual VALENTIN-SOTO in Fort Myers, FL for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-020564: TAURUS INTERNATIONAL TCP Pistol CAL:380 SN:9651D, valued at $350.00, seized by the ATF
on May 16, 2023 from Pascual VALENTIN-SOTO in Fort Myers, FL for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-020565: SPRINGFIELD ARMORY,GENESEO,IL SAINT Rifle CAL:556 SN:ST469070, valued at $800.00,
seized by the ATF on May 16, 2023 from Pascual VALENTIN-SOTO in Fort Myers, FL for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-020566: GRAND POWER S.R.O. STRIBOG SP9A1 Pistol CAL:9 SN:GSA23620, valued at $1,500.00,
seized by the ATF on May 16, 2023 from Pascual VALENTIN-SOTO in Fort Myers, FL for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-020567: SIG SAUER (SIG-ARMS) P320 Pistol CAL:9 SN:58C263635, valued at $600.00, seized by the ATF
on May 16, 2023 from Marcos LEME in Fort Myers, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-020568: SCCY INDUSTRIES, LLC (SKYY IND.) CPX-2 Pistol CAL:9 SN:C190403, valued at $400.00,
seized by the ATF on May 16, 2023 from Marcos LEME in Fort Myers, FL for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-020569: SPRINGFIELD ARMORY,GENESEO,IL SAINT Rifle CAL:556 SN:ST472348, valued at $800.00,
seized by the ATF on May 16, 2023 from Marcos LEME in Fort Myers, FL for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-020570: DPMS INC.(DEFENSE PROCUREMENT MFG. SERVICES) LR-308 Rifle CAL:308
SN:FFM001591, valued at $1,500.00, seized by the ATF on May 16, 2023 from Marcos LEME in Fort Myers, FL for
forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-020571: PALMETTO STATE ARMORY PA-15 Pistol CAL:556 SN:PA121545, valued at $1,500.00, seized by
the ATF on May 16, 2023 from Marcos LEME in Fort Myers, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-020572: GLOCK INC. 43X Pistol CAL:9 SN:BYGV135, valued at $500.00, seized by the ATF on May 16,
2023 from Marcos LEME in Fort Myers, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-020573: GLOCK INC. 43X Pistol CAL:9 SN:AHGK156, valued at $500.00, seized by the ATF on May 16,
2023 from Marcos LEME in Fort Myers, FL for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-020574: 452 Rounds ASSORTED Ammunition CAL:MULTI, valued at $45.20, seized by the ATF on May 16,
2023 from Marcos LEME in Fort Myers, FL for forfeiture pursuant to 18 U.S.C. Section 924(d). Items described as:
414 414 Rounds ASSORTED Ammunition CAL:MULTI, valued at $41.40; 38 38 Rounds ASSORTED Ammunition
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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LAST DATE TO FILE: 09/29/2023

MIDDLE DISTRICT OF FLORIDA
23-ATF-020574 - (Continued from previous page)
CAL:MULTI, valued at $3.80.
23-ATF-025958: HANDGUN, MNF: GLOCK GMBH, TYPE: PISTOL, MODEL: 47 Cal.9 SN# BZXL474, valued at
$500.00, seized by the ATF on June 04, 2023 from Roydrik DIXON in Astatula, FL for forfeiture pursuant to 18
U.S.C. Section 924(d).

SOUTHERN DISTRICT OF GEORGIA
21-ATF-037857: Taurus PT99AF Pistol CAL:9 SN:L79467, valued at $200.00, seized by the ATF on November 25,
2020 from Gregory Mitchell in Savannah, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).
21-ATF-037859: 14 Rounds Assorted Ammunition CAL:9, valued at $1.40, seized by the ATF on November 25,
2020 from Gregory Mitchell in Savannah, GA for forfeiture pursuant to 18 U.S.C. Section 924(d).

SOUTHERN DISTRICT OF IOWA
22-ATF-036083: 9 Rounds Assorted Ammunition CAL:9, valued at $0.90, seized by the Ames Police Department
on August 03, 2022 from Gionni Dameron in Ames, IA, and adopted by the ATF for forfeiture pursuant to 18 U.S.C.
Section 924(d).
22-ATF-036084: Ruger Security-9 Pistol CAL:9 SN:381-30120, valued at $200.00, seized by the Ames Police
Department on August 03, 2022 from Gionni Dameron in Ames, IA, and adopted by the ATF for forfeiture pursuant
to 18 U.S.C. Section 924(d).
22-ATF-036085: 19 Rounds Smith & Wesson Ammunition CAL:40, valued at $1.90, seized by the Ames Police
Department on August 03, 2022 from Deadrian Nelson in Ames, IA, and adopted by the ATF for forfeiture pursuant
to 18 U.S.C. Section 924(d).
22-ATF-036086: Glock GMBH 23GEN5 Pistol CAL:40 SN:BVLD663, valued at $350.00, seized by the Ames Police
Department on August 03, 2022 from Deadrian Nelson in Ames, IA, and adopted by the ATF for forfeiture pursuant
to 18 U.S.C. Section 924(d).

DISTRICT OF IDAHO
23-ATF-026060: TAURUS PT111 G2 PISTOL CAL:9 SN:TKU54368, valued at $100.00, seized by the ATF on June
22, 2023 from Craig GRAM in Star, ID for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026061: 10 Rounds Assorted Ammunition CAL:9, Serial No. Unknown, valued at $1.00, seized by the ATF
on June 22, 2023 from Craig GRAM in Star, ID for forfeiture pursuant to 18 U.S.C. Section 924(d).

NORTHERN DISTRICT OF INDIANA
23-ATF-024210: 1974 Oldsmobile Cutlass AUTOMOBILE, VIN: 3J57K4M297188, valued at $12,419.00, seized by
the ATF on May 24, 2023 from Stephen Johnson in South Bend, IN for forfeiture pursuant to 21 U.S.C. Section 881.
23-ATF-024215: 2019 Dodge Charger Scat Pa AUTOMOBILE, VIN: 2C3CDXGJ1KH552909, valued at $23,100.00,
seized by the ATF on May 24, 2023 from Stephen Johnson in South Bend, IN for forfeiture pursuant to 21 U.S.C.
Section 881.




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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 09/29/2023

WESTERN DISTRICT OF KENTUCKY
23-ATF-006215: UNKNOWN UNKNOWN CONVERSION KIT (GLOCK SWITCH) CAL:UNKNOWN SN:NONE,
valued at $1.00, seized by the ATF on January 10, 2023 from Justyn Walls in Louisville, KY for forfeiture pursuant to
18 U.S.C. Section 924(d).
23-ATF-006217: UNKNOWN UNKNOWN CONVERSION KIT (Glock Switch) CAL:UNKNOWN SN:NONE, valued at
$1.00, seized by the ATF on January 10, 2023 from Justyn Walls in Louisville, KY for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-006962: GLOCK GMBH 23CGEN4 PISTOL CAL:40 SN:PXG267, valued at $500.00, seized by the ATF on
January 10, 2023 from Shawn Martin Jr. in Louisville, KY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-006964: 22 Rounds ASSORTED Ammunition CAL:40, valued at $2.20, seized by the ATF on January 10,
2023 from Shawn Martin Jr. in Louisville, KY for forfeiture pursuant to 18 U.S.C. Section 924(d).

WESTERN DISTRICT OF LOUISIANA
23-ATF-026444: GLOCK GMBH 17 Pistol CAL:9 SN:GSD497, valued at $200.00, seized by the ATF on June 21,
2023 from Pharaon Jackson in West Monroe, LA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026445: Unknown Unknown Machinegun CAL:Unknown SN:Unknown, valued at $100.00, seized by the
ATF on June 21, 2023 from Pharaon Jackson in West Monroe, LA for forfeiture pursuant to 18 U.S.C. Section
924(d).




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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 09/29/2023

DISTRICT OF MARYLAND
23-ATF-023527: KEYSTONE SPORTING ARMS CRICKETT RIFLE CAL:22 SN:856174, valued at $150.00, seized
by the ATF on June 13, 2023 from Kaleb SCHOONOVER in Thurmont, MD for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-023528: DEL-TON INC DTI-15 RIFLE CAL:556 SN:DTI-S158262, valued at $200.00, seized by the ATF on
June 13, 2023 from Kaleb SCHOONOVER in Thurmont, MD for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023529: PRIVATELY MADE FIREARM (PMF) Unknown PISTOL CAL:Unknown SN:None, valued at $100.00,
seized by the ATF on June 13, 2023 from Kaleb SCHOONOVER in Thurmont, MD for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-023530: PRIVATELY MADE FIREARM (PMF) Unknown Pistol CAL:Unknown SN:None, valued at $100.00,
seized by the ATF on June 13, 2023 from Kaleb SCHOONOVER in Thurmont, MD for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-023532: PRIVATELY MADE FIREARM (PMF), Unknown Receiver/Frame CAL:Unknown SN:None, valued at
$40.00, seized by the ATF on June 13, 2023 from Kaleb SCHOONOVER in Thurmont, MD for forfeiture pursuant to
18 U.S.C. Section 924(d).
23-ATF-023557: PRIVATELY MADE FIREARM (PMF), Unknown RECEIVER/FRAME CAL:unknown SN:None, valued
at $100.00, seized by the ATF on June 13, 2023 from Kaleb SCHOONOVER in Thurmont, MD for forfeiture
pursuant to 18 U.S.C. Section 924(d).
23-ATF-023567: 21 Rounds REMINGTON Ammunition CAL:22, Serial No. Unknown, valued at $2.10, seized by the
ATF on June 13, 2023 from Kaleb SCHOONOVER in Thurmont, MD for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-023571: 29 Rounds ASSORTED Ammunition CAL:556, Serial No. Unknown, valued at $2.90, seized by the
ATF on June 13, 2023 from Kaleb SCHOONOVER in Thurmont, MD for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-023574: 285 Rounds ASSORTED Ammunition CAL:22, Serial No. Unknown, valued at $28.50, seized by
the ATF on June 13, 2023 from Kaleb SCHOONOVER in Thurmont, MD for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-023582: 1 Rounds JAGEMANN TECHNOLOGIES Ammunition CAL:9, Serial No. Unknown, valued at
$0.10, seized by the ATF on June 13, 2023 from Kaleb SCHOONOVER in Thurmont, MD for forfeiture pursuant to
18 U.S.C. Section 924(d).
23-ATF-023587: 33 Rounds JAGEMANN TECHNOLOGIES Ammunition CAL:9, Serial No. Unknown, valued at
$3.30, seized by the ATF on June 13, 2023 from Kaleb SCHOONOVER in Thurmont, MD for forfeiture pursuant to
18 U.S.C. Section 924(d).
23-ATF-023589: 45 Rounds ASSORTED Ammunition CAL:22, Serial No. Unknown, valued at $4.50, seized by the
ATF on June 13, 2023 from Kaleb SCHOONOVER in Thurmont, MD for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-023590: 85 Rounds ASSORTED Ammunition CAL:9, Serial No. Unknown, valued at $8.50, seized by the
ATF on June 13, 2023 from Kaleb SCHOONOVER in Thurmont, MD for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-023606: 1 Rounds WINCHESTER-WESTERN Ammunition CAL:9, Serial No. Unknown, valued at $0.10,
seized by the ATF on June 13, 2023 from Kaleb SCHOONOVER in Thurmont, MD for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-023611: 49 Rounds Assorted Ammunition CAL:22, Serial No. Unknown, valued at $4.90, seized by the ATF
on June 13, 2023 from Kaleb SCHOONOVER in Thurmont, MD for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023616: 6 Rounds JAGEMANN TECHNOLOGIES Ammunition CAL:9, Serial No. Unknown, valued at
$0.60, seized by the ATF on June 13, 2023 from Kaleb SCHOONOVER in Thurmont, MD for forfeiture pursuant to
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 234 of 257 PageID 749
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
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LAST DATE TO FILE: 09/29/2023

DISTRICT OF MARYLAND
23-ATF-023616 - (Continued from previous page)
18 U.S.C. Section 924(d).
23-ATF-023632: 3 Rounds Assorted Ammunition CAL:22, Serial No. Unknown, valued at $0.30, seized by the ATF
on June 13, 2023 from Kaleb SCHOONOVER in Thurmont, MD for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023634: 261 Rounds ASSORTED Ammunition CAL:556, Serial No. Unknown, valued at $26.10, seized by
the ATF on June 13, 2023 from Kaleb SCHOONOVER in Thurmont, MD for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-023636: 57 Rounds CCI Ammunition CAL:22, Serial No. Unknown, valued at $5.70, seized by the ATF on
June 13, 2023 from Kaleb SCHOONOVER in Thurmont, MD for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023650: 24 Rounds Assorted Ammunition CAL:556, Serial No. Unknown, valued at $2.40, seized by the
ATF on June 13, 2023 from Kaleb SCHOONOVER in Thurmont, MD for forfeiture pursuant to 18 U.S.C. Section
924(d).




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LAST DATE TO FILE: 09/29/2023

EASTERN DISTRICT OF MICHIGAN
23-ATF-026054: RUGER PISTOL MODEL: P95DC CAL: 9 SN: 31284733, valued at $200.00, seized by the Detroit
Police Department on June 30, 2023 from Christopher Payne in Detroit, MI, and adopted by the ATF for forfeiture
pursuant to 18 U.S.C. Section 924(d).
23-ATF-026112: HIGH STANDARD Unknown Shotgun CAL:Unknown SN:SC1023733, valued at $99.00, seized by
the ATF on June 14, 2023 from Andrew Ames in Bay City, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026118: GLOCK GMBH 26GEN4 Pistol CAL:9 SN:BGHH857, valued at $99.00, seized by the ATF on June
14, 2023 from Andrew Ames in Bay City, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026120: SMITH & WESSON Unknown Revolver CAL:Unknown SN:524094, valued at $99.00, seized by the
ATF on June 14, 2023 from Andrew Ames in Bay City, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026121: BERETTA USA CORP BU9 NANO Pistol CAL:9 SN:NU068531, valued at $99.00, seized by the ATF
on June 14, 2023 from Andrew Ames in Bay City, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026123: SMITH & WESSON M&P 9 SHIELD Pistol CAL:9 SN:JBZ4050, valued at $99.00, seized by the ATF
on June 14, 2023 from Andrew Ames in Bay City, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026125: GLOCK GMBH 17GEN4 Pistol CAL:9 SN:PPS814, valued at $99.00, seized by the ATF on June
14, 2023 from Andrew Ames in Bay City, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026128: 10 Rounds CCI Ammunition CAL:9, valued at $1.00, seized by the ATF on June 14, 2023 from
Jordan Felton in Bay City, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026130: 12 Rounds PMC Ammunition CAL:9, valued at $1.20, seized by the ATF on June 14, 2023 from
Jordan Felton in Bay City, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026131: 8 Rounds WINCHESTER-WESTERN Ammunition CAL:9, valued at $0.80, seized by the ATF on
June 14, 2023 from Jordan Felton in Bay City, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026133: 45 Rounds Assorted Ammunition CAL:Unknown, valued at $4.50, seized by the ATF on June 14,
2023 from Jordan Felton in Bay City, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026135: 16 Rounds PMC Ammunition CAL:9, valued at $1.60, seized by the ATF on June 14, 2023 from
Jordan Felton in Bay City, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026136: 25 Rounds PMC Ammunition CAL:9, valued at $2.50, seized by the ATF on June 14, 2023 from
Jordan Felton in Bay City, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026138: 8 Rounds Hornady Ammunition CAL:9, valued at $0.80, seized by the ATF on June 14, 2023 from
Andrew Ames in Bay City, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026140: 3 Rounds WINCHESTER-WESTERN Ammunition CAL:9, valued at $0.30, seized by the ATF on
June 14, 2023 from Andrew Ames in Bay City, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026141: 11 Rounds Hornady Ammunition CAL:450, valued at $1.10, seized by the ATF on June 14, 2023
from Andrew Ames in Bay City, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026143: 67 Rounds Unknown Ammunition CAL:Unknown, valued at $6.70, seized by the ATF on June 14,
2023 from Andrew Ames in Bay City, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026144: 12 Rounds Unknown Ammunition CAL:Unknown, valued at $1.20, seized by the ATF on June 14,
2023 from Jordan Felton in Bay City, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026146: 9 Rounds Remington Ammunition CAL:9, valued at $0.90, seized by the ATF on June 14, 2023
from Jordan Felton in Bay City, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026147: 18 Rounds Hornady Ammunition CAL:9, valued at $1.80, seized by the ATF on June 14, 2023 from
Andrew Ames in Bay City, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026594: ROMARM/CUGIR PISTOL MODEL: MINI DRACO CAL: 762 SN: PF-0937-2019, valued at $100.00,
seized by the Detroit Police Department on June 08, 2023 from Jamaryon Gibson in Detroit, MI, and adopted by
the ATF for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026595: AMMUNITION - ASSORTED QTY: 23 MNF: ASSORTED CAL: 762, valued at $2.30, seized by the
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 236 of 257 PageID 751
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 09/29/2023

EASTERN DISTRICT OF MICHIGAN
23-ATF-026595 - (Continued from previous page)
Detroit Police Department on June 08, 2023 from Jamaryon Gibson in Detroit, MI, and adopted by the ATF for
forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026739: EXPLOSIVE ONE PILL BOTTLE (CONTAINER FOR DEVICE 1) WRAPPED IN GRAY DUCT TAPE
W/WHITE LID AND PINK HOBBY FUSE, Serial No. Unknown, valued at $0.01, seized by the ATF on July 02, 2023
from Corey Robert in Novi, MI for forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-026741: EXPLOSIVE QTY: 88.5 GRAMS GREY CHUNKY POWDERMATERIAL (BULK POWDER VICE 1) -
WT. INCLUDES PACKAGING, Serial No. Unknown, valued at $0.01, seized by the ATF on July 02, 2023 from Corey
Robert in Novi, MI for forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-026742: EXPLOSIVE ONE PILL BOTTLE (CONTAINER FOR DEVICE 2) W/WHITE LID AND PINK HOBBY
FUSE "COREY S ROBERT" ON LABEL, Serial No. Unknown, valued at $0.01, seized by the ATF on July 02, 2023
from Corey Robert in Novi, MI for forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-026743: EXPLOSIVE QTY: 125.5 GRAMS GREY CHUNKY POWDER MATERIAL (BULK POWDER FROM
DEVICE 2) - WT. INCLUDES PACKAGING, Serial No. Unknown, valued at $0.01, seized by the ATF on July 02,
2023 from Corey Robert in Novi, MI for forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-026744: EXPLOSIVE QTY: 1 ONE PILL BOTTLE (CONTAINER FOR DEVICE 3) W/WHITE LID AND PINK
HOBBY FUSE, Serial No. Unknown, valued at $0.01, seized by the ATF on July 02, 2023 from Corey Robert in Novi,
MI for forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-026746: EXPLOSIVE QTY: 75.5 GRAMS FINE GRAY POWDER (BULKPOWDER FROM DEVICE 3) - W .
INCLUDES PACKAGING, Serial No. Unknown, valued at $0.01, seized by the ATF on July 02, 2023 from Corey
Robert in Novi, MI for forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-026747: EXPLOSIVE ONE PILL BOTTLE (CONTAINER FOR DEVICE 4) WRAPPED IN GRAY DUCT TAPE
W/WHITE LID AND DARK GREEN HOBBY FUSE. "BANG"
WRITTEN ON TAPE, Serial No. Unknown, valued at $0.01, seized by the ATF on July 02, 2023 from Corey Robert in
Novi, MI for forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-026749: EXPLOSIVE QTY: 99.0 GRAMS FINE GRAY POWDER (BULK POWDER FROM DEVICE 4) - WT.
INCLUDES PACKAGING, Serial No. Unknown, valued at $0.01, seized by the ATF on July 02, 2023 from Corey
Robert in Novi, MI for forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-026751: EXPLOSIVE ONE PILL BOTTLE (CONTAINER FOR DEVICE 5) WRAPPED IN GRAY DUCT TAPE
W/WHITE LID AND DARK GREEN HOBBY FUSE "FLASH" WRITTEN ON TAPE, Serial No. Unknown, valued at
$0.01, seized by the ATF on July 02, 2023 from Corey Robert in Novi, MI for forfeiture pursuant to 18 U.S.C. Section
844.
23-ATF-026754: EXPLOSIVE QTY: 79.5 GRAMS FINE GRAY P DER (BULKPOWDER FROM DEVICE 5) - WT.
INCLUDES PACKAGING, Serial No. Unknown, valued at $0.01, seized by the ATF on July 02, 2023 from Corey
Robert in Novi, MI for forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-026755: EXPLOSIVE ONE PILL BOTTLE (CONTAINER FORDEVICE 6) WRAPPED IN GRAY AND BLACK
TAPE W/WHITE LID AND DARK GREEN HOBBY FUSE "BANG" WRITTEN ON TAPE, Serial No. Unknown, valued at
$0.01, seized by the ATF on July 02, 2023 from Corey Robert in Novi, MI for forfeiture pursuant to 18 U.S.C. Section
844.
23-ATF-026757: EXPLOSIVE QTY: 84.0 GRAMS FINE GRAY POWDER (BULK POWDER FROM DEVICE 6) - WT.
INCLUDES PACKAGING, Serial No. Unknown, valued at $0.01, seized by the ATF on July 02, 2023 from Corey
Robert in Novi, MI for forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-026758: EXPLOSIVE ONE PILL BOTTLE (CONTAINER FOR DEVICE 7) WRAPPED IN GRAY DUCT TAPE
W/WHITE LID AND DARK GREEN HOBBY FUSE "FLASH" WRITTEN ON TAPE, Serial No. Unknown, valued at
$0.01, seized by the ATF on July 02, 2023 from Corey Robert in Novi, MI for forfeiture pursuant to 18 U.S.C. Section
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 237 of 257 PageID 752
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 09/29/2023

EASTERN DISTRICT OF MICHIGAN
23-ATF-026758 - (Continued from previous page)
844.
23-ATF-026767: EXPLOSIVE QTY: 80.0 GRAMS FINE GRAY POWDER (BULK POWDER FROM DEVICE 7) - WT.
INCLUDES PACKAGING, Serial No. Unknown, valued at $0.01, seized by the ATF on July 02, 2023 from Corey
Robert in Novi, MI for forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-026769: EXPLOSIVE ONE PILL BOTTLE (CONTAINER FOR DEVICE 8) WRAPPED IN GRAY DUCT TAPE
W/WHITE LID AND DARK GREEN HOBBY FUSE. "FLASH" WRITTEN ON TAPE, Serial No. Unknown, valued at
$0.01, seized by the ATF on July 02, 2023 from Corey Robert in Novi, MI for forfeiture pursuant to 18 U.S.C. Section
844.
23-ATF-026770: EXPLOSIVE QTY: 81.5 GRAMS FINE GRAY POWDER (BULK POWDER FROM DEVICE 8) - WT.
INCLUDES PACKAGING, Serial No. Unknown, valued at $0.01, seized by the ATF on July 02, 2023 from Corey
Robert in Novi, MI for forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-026771: EXPLOSIVE ONE PILL BOTTLE (CONTAINER FOR DEVICE 9) WRAPPED IN GRAY AND BLACK
TAPE W/WHITE LID AND DARK GREEN HOBBY FUSE, Serial No. Unknown, valued at $0.01, seized by the ATF on
July 02, 2023 from Corey Robert in Novi, MI for forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-026772: EXPLOSIVE QTY: 91.5 GRAMS FINE GRAY POWDER (BULK POWDER FROM DEVICE 9) - WT.
INCLUDES PACKAGING, Serial No. Unknown, valued at $0.01, seized by the ATF on July 02, 2023 from Corey
Robert in Novi, MI for forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-026773: EXPLOSIVE ONE 57ML ENERGY DRINK BOTTLE (CONTAINER FOR DEVICE 10) WRAPPED IN
GRAY DUCT TAPE W/DARK GREEN HOBBY FUSE THRU CAP. "P" WRITTEN ON TAPE, Serial No. Unknown,
valued at $0.01, seized by the ATF on July 02, 2023 from Corey Robert in Novi, MI for forfeiture pursuant to 18
U.S.C. Section 844.
23-ATF-026774: EXPLOSIVE QTY: 60.5 GRAMS FINE GRAY POWDER (BULK POWDER FROM DEVICE 10) - WT.
INCLUDES PACKAGING, Serial No. Unknown, valued at $0.01, seized by the ATF on July 02, 2023 from Corey
Robert in Novi, MI for forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-026782: EXPLOSIVE ONE 2 OZ PLASTIC BOTTLE (CONTAINER FOR DEVICE 14) WRAPPED IN GRAY
DUCT TAPE W/DARK GREEN HOBBY FUSE THRU CAP., Serial No. Unknown, valued at $0.01, seized by the ATF
on July 02, 2023 from Corey Robert in Novi, MI for forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-026783: EXPLOSIVE QTY: 137 GRAMS FINE GRAY POWDER (BULK POWDER FROM DEVICE 14) - WT.
INCLUDES PACKAGING, Serial No. Unknown, valued at $0.01, seized by the ATF on July 02, 2023 from Corey
Robert in Novi, MI for forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-026784: EXPLOSIVE QTY: 1 ONE PILL BOTTLE (CONTAINER FOR DEVICE 15) WRAPPED IN GRAY
DUCT TAPE WITH PINK HOBBY FUSE, Serial No. Unknown, valued at $0.01, seized by the ATF on July 02, 2023
from Corey Robert in Novi, MI for forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-026785: EXPLOSIVE QTY: 66.5 GRAMS FINE GRAY POWDER (BULK
POWDER FROM DEVICE 15) - WT. INCLUDES PACKAGING, Serial No. Unknown, valued at $0.01, seized by the
ATF on July 02, 2023 from Corey Robert in Novi, MI for forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-026786: EXPLOSIVE ONE TYLENOL PILL BOTTLE (CONTAINER FOR DEVICE 16) WRAPPED IN GRAY
DUCT TAPE W/RED LID AND DARK GREEN HOBBY FUSE. "BANG P" WRITTEN ON TAPE, Serial No. Unknown,
valued at $0.01, seized by the ATF on July 02, 2023 from Corey Robert in Novi, MI for forfeiture pursuant to 18
U.S.C. Section 844.
23-ATF-026788: EXPLOSIVE ONE PILL BOTTLE (CONTAINER FOR DEVICE 17) WRAPPED IN BLACK DUCT
TAPE WITH DARK GREEN HOBBY FUSE, Serial No. Unknown, valued at $0.01, seized by the ATF on July 02, 2023
from Corey Robert in Novi, MI for forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-026789: EXPLOSIVE: QTY: 64.5 GRAMS FINE GREY POWDER (BULK POWDER FROM DEVICE 17) - WT.
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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property based on hardship.


LAST DATE TO FILE: 09/29/2023

EASTERN DISTRICT OF MICHIGAN
23-ATF-026789 - (Continued from previous page)
INCLUDES PACKAGING, Serial No. Unknown, valued at $0.01, seized by the ATF on July 02, 2023 from Corey
Robert in Novi, MI for forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-026790: EXPLOSIVE ONE PILL BOTTLE (CONTAINER FOR DEVICE 18) W/WHITE CAP WRAPPED IN
BLACK DUCT TAPE WITH PINK HOBBY FUSE, Serial No. Unknown, valued at $0.01, seized by the ATF on July 02,
2023 from Corey Robert in Novi, MI for forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-026791: EXPLOSIVE QTY: 75.0 GRAMS FINE GRAY POWDER (BULK POWDER FROM DEVICE 18) - WT.
INCLUDES PACKAGING, Serial No. Unknown, valued at $0.01, seized by the ATF on July 02, 2023 from Corey
Robert in Novi, MI for forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-026793: EXPLOSIVE QTY: 75.0 GRAMS FINE GRAY POWDER (BULK POWDER FROM DEVICE 16) - WT.
INCLUDES PACKAGING, Serial No. Unknown, valued at $0.01, seized by the ATF on July 02, 2023 from Corey
Robert in Novi, MI for forfeiture pursuant to 18 U.S.C. Section 844.
23-ATF-026794: EXPLOSIVE QTY: 1 LG. BALL JAR CONTAINING A FINE LIGHT GRAY ENERGETIC POWDER
(SUSP EXPLOSIVE MATERIAL), Serial No. Unknown, valued at $0.01, seized by the ATF on July 02, 2023 from
Corey Robert in Novi, MI for forfeiture pursuant to 18 U.S.C. Section 844.

WESTERN DISTRICT OF MICHIGAN
21-ATF-009918: Bersa Thunder 380 Pistol CAL:380 SN:692199, valued at $200.00, seized by the ATF on February
10, 2021 from Chadrick Perry in Kalamazoo, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
21-ATF-009922: 20 Rounds Remington Ammunition CAL:380, valued at $2.00, seized by the ATF on February 10,
2021 from Chadrick Perry in Kalamazoo, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
22-ATF-046935: 50 Rounds Remington Ammunition CAL:9, valued at $5.00, seized by the ATF on May 01, 2022
from Khilon Samuel in Battle Creek, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026574: 1 Rounds PMC Ammunition CAL:223, valued at $0.10, seized by the ATF on July 11, 2023 from
Demarcus Ware in Lansing, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026841: SMITH & WESSON 10 Revolver CAL:38 SN:S976879, valued at $300.00, seized by the ATF on July
14, 2023 from Thomas Donohue in Grand Rapids, MI for forfeiture pursuant to 18 U.S.C. Section 924(d).

DISTRICT OF MINNESOTA
23-ATF-021523: GLOCK INC. 17 Pistol CAL:9 SN:RAN024, valued at $50.00, seized by the ATF on May 02, 2023
from Maron Bailey in Saint Paul, MN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-021529: 18 Rounds Assorted Ammunition CAL:9, valued at $1.80, seized by the ATF on May 02, 2023 from
Maron Bailey in Saint Paul, MN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-021570: HS PRODUKT (IM METAL) XD40 Pistol CAL:40 SN:XD384067, valued at $500.00, seized by the
ATF on May 01, 2023 from Isaac Hodge in Minneapolis, MN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-021575: 11 Rounds HORNADY Ammunition CAL:40, valued at $1.10, seized by the ATF on May 01, 2023
from Isaac Hodge in Minneapolis, MN for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-023714: $5,870.00 U.S. Currency, seized by the ATF on May 01, 2023 from Tara King in St. Paul, MN for
forfeiture pursuant to 21 U.S.C. Section 881.
23-ATF-026485: Unknown Unknown Pistol CAL:Unknown SN:None, valued at $500.00, seized by the ATF on June
29, 2023 from Marquez Hill-Turnipseed in Brooklyn Center, MN for forfeiture pursuant to 18 U.S.C. Section 924(d).




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property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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LAST DATE TO FILE: 09/29/2023

NORTHERN DISTRICT OF MISSISSIPPI
23-ATF-026214: Ruger LCP II Pistol CAL:22 SN:380736429, valued at $100.00, seized by the ATF on June 30,
2023 from SEDRICK WEBB in Tunica, MS for forfeiture pursuant to 18 U.S.C. Section 924(d).

SOUTHERN DISTRICT OF MISSISSIPPI
23-ATF-026873: ADVANCE ARMAMENT M4-2000 Silencer CAL:5.56 SN:M04490, valued at $649.00, seized by the
ATF on July 19, 2023 from Shonna LADNIER in Ocean Springs, MS for forfeiture pursuant to 18 U.S.C. Section
924(d).

DISTRICT OF NEW JERSEY
23-ATF-025497: $1,400.00 U.S. Currency, seized by the ATF on June 29, 2023 from Prince Carter in Paterson, NJ
for forfeiture pursuant to 21 U.S.C. Section 881.
23-ATF-025499: $8,980.00 U.S. Currency, seized by the ATF on June 29, 2023 from Prince Carter in Paterson, NJ
for forfeiture pursuant to 21 U.S.C. Section 881.
23-ATF-025501: $6,660.00 U.S. Currency, seized by the ATF on June 29, 2023 from Prince Carter in Paterson, NJ
for forfeiture pursuant to 21 U.S.C. Section 881.
23-ATF-025502: $1,473.00 U.S. Currency, seized by the ATF on June 29, 2023 from Prince Carter in Paterson, NJ
for forfeiture pursuant to 21 U.S.C. Section 881.
23-ATF-026661: Ruger Ruger-57 Pistol CAL:57 SN:641-31343, valued at $500.00, seized by the ATF on June 01,
2023 from Jaquan PICOTT in Bordentown, NJ for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026840: $2,104.00 U.S. Currency, seized by the ATF on June 29, 2023 from Joshua Baker in Paterson, NJ
for forfeiture pursuant to 21 U.S.C. Section 881.




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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 240 of 257 PageID 755
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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LAST DATE TO FILE: 09/29/2023

DISTRICT OF NEW MEXICO
23-ATF-025364: ROMARM/CUGIR MINI DRACO PISTOL CAL:762 SN:ROA22PG-4172, valued at $700.00, seized
by the ATF on June 09, 2023 from Billy Lloyd Jr in Albuquerque, NM for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-025374: 5 Rounds Assorted Ammunition CAL:762, valued at $0.50, seized by the ATF on June 09, 2023
from Billy Lloyd Jr in Albuquerque, NM for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025375: 31 Rounds Assorted Ammunition CAL:Unknown, valued at $3.10, seized by the ATF on June 09,
2023 from Billy Lloyd Jr in Albuquerque, NM for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025376: 30 Rounds Assorted Ammunition CAL:Unknown, valued at $3.00, seized by the ATF on June 09,
2023 from Billy Lloyd Jr in Albuquerque, NM for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025377: 25 Rounds Assorted Ammunition CAL:Unknown, valued at $2.50, seized by the ATF on June 09,
2023 from Billy Lloyd Jr in Albuquerque, NM for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025378: 22 Rounds Assorted Ammunition CAL:Unknown, valued at $2.20, seized by the ATF on June 09,
2023 from Billy Lloyd Jr in Albuquerque, NM for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025379: 8 Rounds Assorted Ammunition CAL:Unknown, valued at $0.80, seized by the ATF on June 09,
2023 from Billy Lloyd Jr in Albuquerque, NM for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026620: POLYMER80, INC. (P80 TACTICAL P80) PF940SC Pistol CAL:9 SN:None, valued at $200.00,
seized by the ATF on July 11, 2023 from Joe Jasso in Santa Fe, NM for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026626: SMITH & WESSON M&P 9 M2.0 Pistol CAL:9 SN:SBH2375, valued at $200.00, seized by the ATF
on July 11, 2023 from Joe Jasso in Santa Fe, NM for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026627: 9 Rounds Assorted Ammunition CAL:9, valued at $0.90, seized by the ATF on July 11, 2023 from
Joe Jasso in Santa Fe, NM for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026628: 6 Rounds Assorted Ammunition CAL:Unknown, valued at $0.60, seized by the ATF on July 11,
2023 from Joe Jasso in Santa Fe, NM for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026629: 18 Rounds Assorted Ammunition CAL:9, valued at $1.80, seized by the ATF on July 11, 2023 from
Joe Jasso in Santa Fe, NM for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026630: 5 Rounds Assorted Ammunition CAL:9, valued at $0.50, seized by the ATF on July 11, 2023 from
Joe Jasso in Santa Fe, NM for forfeiture pursuant to 18 U.S.C. Section 924(d).




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property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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NORTHERN DISTRICT OF NEW YORK
23-ATF-025511: SIG SAUER (SIG-ARMS) SIG M400 Rifle CAL:556 SN:20L129059, valued at $500.00, seized by
the ATF on May 23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-025512: 10 Rounds ASSORTED Ammunition CAL:556, Serial No. Unknown, valued at $1.00, seized by the
ATF on May 23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025513: GLOCK GMBH 22 Pistol CAL:40 SN:CWG293, valued at $500.00, seized by the ATF on May 23,
2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025515: 17 Rounds CCI Ammunition CAL:40, Serial No. Unknown, valued at $1.70, seized by the ATF on
May 23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025516: RUGER LCP Pistol CAL:380 SN:37232916, valued at $250.00, seized by the ATF on May 23, 2023
from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025517: 7 Rounds PMC Ammunition CAL:380, Serial No. Unknown, valued at $0.70, seized by the ATF on
May 23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025518: TAURUS INTERNATIONAL G3C Pistol CAL:9 SN:AEC176894, valued at $250.00, seized by the
ATF on May 23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025519: TAURUS INTERNATIONAL G3C Pistol CAL:9 SN:AEC175085, valued at $250.00, seized by the
ATF on May 23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025520: 1 Rounds CCI Ammunition CAL:40, Serial No. Unknown, valued at $0.10, seized by the ATF on
May 23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025522: GLOCK GMBH 19GEN5 Pistol CAL:9 SN:BSKU251, valued at $500.00, seized by the ATF on May
23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025524: 30 Rounds ASSORTED Ammunition CAL:9, Serial No. Unknown, valued at $3.00, seized by the
ATF on May 23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025525: 14 Rounds ASSORTED Ammunition CAL:9, Serial No. Unknown, valued at $1.40, seized by the
ATF on May 23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025527: GLOCK INC. 19 Pistol CAL:9 SN:ADSF558, valued at $500.00, seized by the ATF on May 23, 2023
from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025528: 10 Rounds ASSORTED Ammunition CAL:9, Serial No. Unknown, valued at $1.00, seized by the
ATF on May 23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025529: ZASTAVA Z-PAP M70 Rifle CAL:762 SN:Z70-105521, valued at $500.00, seized by the ATF on May
23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025530: 4 Rounds TULA CARTRIDGE WORKS - RUSSIA Ammunition CAL:762, Serial No. Unknown,
valued at $0.40, seized by the ATF on May 23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant
to 18 U.S.C. Section 924(d).
23-ATF-025531: SIG SAUER (SIG-ARMS) P226 ELITE Pistol CAL:40 SN:U859326, valued at $500.00, seized by
the ATF on May 23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-025532: TAURUS G3C Pistol CAL:9 SN:ACB590905, valued at $400.00, seized by the ATF on May 23, 2023
from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025533: BERSA THUNDER 40 UL CT PRO Pistol CAL:40 SN:G46536, valued at $500.00, seized by the
ATF on May 23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025534: PRIVATELY MADE FIREARM (PMF) UNKNOWN Pistol CAL:UNKNOWN SN:UNKNOWN, valued at
$500.00, seized by the ATF on May 23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-025536: TAURUS G3 Pistol CAL:9 SN:ABM233879, valued at $400.00, seized by the ATF on May 23, 2023
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 242 of 257 PageID 757
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 09/29/2023

NORTHERN DISTRICT OF NEW YORK
23-ATF-025536 - (Continued from previous page)
from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025537: SMITH & WESSON SD9VE Pistol CAL:9 SN:FWJ9132, valued at $500.00, seized by the ATF on
May 23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025538: TAURUS G2C Pistol CAL:9 SN:ADE400172, valued at $400.00, seized by the ATF on May 23, 2023
from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025539: RUGER SR40 Pistol CAL:40 SN:34401065, valued at $400.00, seized by the ATF on May 23, 2023
from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025541: SMITH & WESSON SW40VE Pistol CAL:40 SN:FCH4185, valued at $400.00, seized by the ATF on
May 23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025542: RUGER EC9S Pistol CAL:9 SN:45728708, valued at $350.00, seized by the ATF on May 23, 2023
from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025543: SMITH & WESSON SD9VE Pistol CAL:9 SN:FBL6012, valued at $400.00, seized by the ATF on
May 23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025545: RUGER AMERICAN PISTOL Pistol CAL:9 SN:86099549, valued at $400.00, seized by the ATF on
May 23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025546: SMITH & WESSON SD9 Pistol CAL:9 SN:FCW2430, valued at $400.00, seized by the ATF on May
23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025547: HS PRODUKT (IM METAL) XDS MOD. 2 Pistol CAL:9 SN:BY300680, valued at $400.00, seized by
the ATF on May 23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-025549: SMITH & WESSON SD40VE Pistol CAL:40 SN:FZL7809, valued at $500.00, seized by the ATF on
May 23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025550: SMITH & WESSON SD9VE Pistol CAL:9 SN:FBJ7472, valued at $500.00, seized by the ATF on
May 23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025551: SMITH & WESSON SD9VE Pistol CAL:9 SN:FDW3541, valued at $500.00, seized by the ATF on
May 23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025553: HS PRODUKT (IM METAL) XDM ELITE Pistol CAL:45 SN:BA644533, valued at $400.00, seized by
the ATF on May 23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-025554: SMITH & WESSON SD9VE Pistol CAL:9 SN:FCV2475, valued at $500.00, seized by the ATF on
May 23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025556: 9 Rounds ASSORTED Ammunition CAL:9, Serial No. Unknown, valued at $0.90, seized by the ATF
on May 23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025559: TAURUS PT24/7 PRO Pistol CAL:45 SN:NYL71343, valued at $500.00, seized by the ATF on May
23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025561: 8 Rounds SIG SAUER (SIG) Ammunition CAL:45, Serial No. Unknown, valued at $0.80, seized by
the ATF on May 23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-025562: TAURUS G3 Pistol CAL:9 SN:ABE595136, valued at $500.00, seized by the ATF on May 23, 2023
from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025564: FEG PJK-9HP Pistol CAL:9 SN:B42660, valued at $350.00, seized by the ATF on May 23, 2023
from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025566: TAURUS PT111 G2A Pistol CAL:9 SN:ABA254732, valued at $500.00, seized by the ATF on May
23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).


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property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 243 of 257 PageID 758
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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property based on hardship.


LAST DATE TO FILE: 09/29/2023

NORTHERN DISTRICT OF NEW YORK
23-ATF-025567: UNKNOWN MANUFACTURER UNKNOWN Revolver CAL:UNKNOWN SN:44325, valued at
$150.00, seized by the ATF on May 23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-025569: TAURUS PT24/7 PRO DS Pistol CAL:40 SN:SC024407, valued at $500.00, seized by the ATF on
May 23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025571: 6 Rounds ASSORTED Ammunition CAL:40, Serial No. Unknown, valued at $0.60, seized by the
ATF on May 23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025572: RUGER SECURITY SIX Revolver CAL:357 SN:NONE, valued at $150.00, seized by the ATF on May
23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025574: 783 Rounds ASSORTED Ammunition CAL:MULTI, Serial No. Unknown, valued at $78.30, seized
by the ATF on May 23, 2023 from Brandon BARTLEY in ALBANY, NY for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-025586: GLOCK GMBH 27GEN4 Pistol CAL:40 SN:BKWX893, valued at $500.00, seized by the ATF on May
23, 2023 from Anthony LUIZZI in CLIFTON PARK, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025587: 10 Rounds SPEER Ammunition CAL:40, Serial No. Unknown, valued at $1.00, seized by the ATF
on May 23, 2023 from Anthony LUIZZI in CLIFTON PARK, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025589: CLERKE TECHNICORP Unknown Revolver CAL:32 SN:807531, valued at $250.00, seized by the
ATF on May 23, 2023 from Anthony LUIZZI in CLIFTON PARK, NY for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-025590: GERMAN SPORTS GUNS GSG-16 Rifle CAL:22 SN:A948627, valued at $500.00, seized by the
ATF on May 23, 2023 from Anthony LUIZZI in CLIFTON PARK, NY for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-025592: OTTOMANGUNS Unknown Shotgun CAL:12 SN:Obliterated, valued at $250.00, seized by the ATF
on May 23, 2023 from Anthony LUIZZI in CLIFTON PARK, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025593: SUN CITY MACHINERY CO., LTD STEVENS 320 Shotgun CAL:12 SN:213639V, valued at
$500.00, seized by the ATF on May 23, 2023 from Anthony LUIZZI in CLIFTON PARK, NY for forfeiture pursuant to
18 U.S.C. Section 924(d).
23-ATF-025594: 6 Rounds UNKNOWN Ammunition CAL:12, Serial No. Unknown, valued at $0.60, seized by the
ATF on May 23, 2023 from Anthony LUIZZI in CLIFTON PARK, NY for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-025595: 158 Rounds ASSORTED Ammunition CAL:Multi, Serial No. Unknown, valued at $15.80, seized by
the ATF on May 23, 2023 from Anthony LUIZZI in CLIFTON PARK, NY for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-025597: SMITH & WESSON M&P 9 Pistol CAL:9 SN:HXX1682, valued at $500.00, seized by the ATF on May
23, 2023 from Anthony ZAREMSKI in CLIFTON PARK, NY for forfeiture pursuant to 18 U.S.C. Section 924(d).




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property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 244 of 257 PageID 759
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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property based on hardship.


LAST DATE TO FILE: 09/29/2023

SOUTHERN DISTRICT OF OHIO
23-ATF-026329: Ruger SR9C Pistol CAL:9 SN:336-93540, valued at $250.00, seized by the ATF on June 30, 2023
from Semaj Griffin in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026334: Glock GMBH 33GEN4 Pistol CAL:357 SN:BHSD906, valued at $450.00, seized by the ATF on
June 30, 2023 from Semaj Griffin in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026336: Armscor of the Philippines (Squires Bingham) M5 Shotgun CAL:12 SN:RIA2047405, valued at
$200.00, seized by the ATF on June 30, 2023 from Semaj Griffin in Columbus, OH for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-026337: Taurus PT92C Pistol CAL:9 SN:TJ106201, valued at $325.00, seized by the ATF on June 30, 2023
from Semaj Griffin in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026340: Zastava M57A Pistol CAL:762 SN:225996, valued at $350.00, seized by the ATF on June 30, 2023
from Semaj Griffin in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026342: Glock GMBH 43 Pistol CAL:9 SN:ADTS864, valued at $450.00, seized by the ATF on June 30,
2023 from Semaj Griffin in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026344: Smith & Wesson SW990L Pistol CAL:40 SN:SAK1660, valued at $400.00, seized by the ATF on
June 30, 2023 from Semaj Griffin in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026345: Ruger SR40C Pistol CAL:40 SN:345-39764, valued at $350.00, seized by the ATF on June 30,
2023 from Semaj Griffin in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026346: Ruger P90DC Pistol CAL:45 SN:662-01318, valued at $335.00, seized by the ATF on June 30,
2023 from Semaj Griffin in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026347: 1 Round Remington Ammunition CAL:12, valued at $0.10, seized by the ATF on June 30, 2023
from Semaj Griffin in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026349: Sig-Sauer Sig 556 Rifle CAL:556 SN:JT00015, valued at $2,500.00, seized by the ATF on June 30,
2023 from Semaj Griffin in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026350: Mossberg 500 Shotgun CAL:12 SN:P191858, valued at $100.00, seized by the ATF on June 30,
2023 from Semaj Griffin in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026356: HS Produkt (IM Metal) Hellcat Pistol CAL:9 SN:BB239771, valued at $475.00, seized by the ATF on
July 01, 2023 from Ousmane Kone in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026358: Glock GMBH 26GEN4 Pistol CAL:9 SN:TZL034, valued at $300.00, seized by the ATF on July 01,
2023 from Ousmane Kone in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026360: Glock Inc. 48 Pistol CAL:9 SN:BRUE897, valued at $400.00, seized by the ATF on July 01, 2023
from Ousmane Kone in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026362: Glock Inc. 27 Pistol CAL:40 SN:CSB473US, valued at $400.00, seized by the ATF on July 01, 2023
from Ousmane Kone in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026363: Glock GMBH 43 Pistol CAL:9 SN:AHFF131, valued at $300.00, seized by the ATF on July 01, 2023
from Ousmane Kone in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026364: Glock Inc. 27 Pistol CAL:40 SN:PNP685, valued at $400.00, seized by the ATF on July 01, 2023
from Ousmane Kone in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026365: Glock GMBH 43 Pistol CAL:9 SN:AHLT620, valued at $300.00, seized by the ATF on July 01, 2023
from Ousmane Kone in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026366: Glock GMBH 43 Pistol CAL:9 SN:AGUF157, valued at $300.00, seized by the ATF on July 01, 2023
from Ousmane Kone in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026367: Glock GMBH 17 Pistol CAL:9 SN:RVA036, valued at $300.00, seized by the ATF on July 01, 2023
from Ousmane Kone in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026369: Glock GMBH 27 Pistol CAL:40 SN:FKU877, valued at $300.00, seized by the ATF on July 01, 2023
from Ousmane Kone in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).


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property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 245 of 257 PageID 760
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 09/29/2023

SOUTHERN DISTRICT OF OHIO
23-ATF-026372: HS Produkt (IM Metal) Hellcat Pistol CAL:9 SN:BA418822, valued at $300.00, seized by the ATF on
July 01, 2023 from Ousmane Kone in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026383: HS Produkt (IM Metal) Hellcat Pistol CAL:9 SN:BA352223, valued at $300.00, seized by the ATF on
July 01, 2023 from Ousmane Kone in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026385: Kahr Arms - Auto Ordnance P380 Pistol CAL:380 SN:RC4404, valued at $300.00, seized by the
ATF on July 01, 2023 from Ousmane Kone in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026388: 52 Rounds Assorted Ammunition CAL:Multi, valued at $5.20, seized by the ATF on July 01, 2023
from Ousmane Kone in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026389: American Tactical Imports - ATI Mil-Sport Rifle CAL:300 SN:MSA101419, valued at $400.00,
seized by the ATF on July 01, 2023 from Ousmane Kone in Columbus, OH for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-026390: Romarm/Cugir Micro Draco Pistol CAL:762 SN:22PMD-29712, valued at $450.00, seized by the
ATF on July 01, 2023 from Ousmane Kone in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026394: Romarm/Cugir Micro Draco Pistol CAL:762 SN:22PMD-29852, valued at $450.00, seized by the
ATF on July 01, 2023 from Ousmane Kone in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026395: 69 Rounds Assorted Ammunition CAL:Unknown, valued at $6.90, seized by the ATF on July 01,
2023 from Ousmane Kone in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026396: Zastava ZPAP92 Pistol CAL:762 SN:Z92-103079, valued at $650.00, seized by the ATF on July 01,
2023 from Ousmane Kone in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026398: 11 Rounds Assorted Ammunition CAL:9, valued at $1.10, seized by the ATF on July 01, 2023 from
Ousmane Kone in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026399: 618 Rounds Assorted Ammunition CAL:Multi, valued at $61.80, seized by the ATF on July 01, 2023
from Ousmane Kone in Columbus, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026401: SCCY Industries, LLC (SKYY IND.) CPX-2 Pistol CAL:9 SN:None, Obliterated, valued at $50.00,
seized by the ATF on July 01, 2023 from Ousmane Kone in Columbus, OH for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-026527: 1 Round Sig Sauer (Sig) Ammunition CAL:380, valued at $0.10, seized by the ATF on July 12,
2023 from Harry Crenshaw in Blacklick, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026528: 5 Rounds Remington Ammunition CAL:357, valued at $0.50, seized by the ATF on July 12, 2023
from Harry Crenshaw in Blacklick, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026529: Springfield Armory, Geneseo, IL 1911A1 Pistol CAL:45 SN:N570674, valued at $800.00, seized by
the ATF on July 12, 2023 from Harry Crenshaw in Blacklick, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026530: Taurus Unknown Type Revolver CAL:Unknown SN:SL781700, valued at $200.00, seized by the
ATF on July 12, 2023 from Harry Crenshaw in Blacklick, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026531: Anderson Manufacturing AM-15 Pistol CAL:Multi SN:20263495, valued at $800.00, seized by the
ATF on July 12, 2023 from Harry Crenshaw in Blacklick, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026532: 17 Rounds Other Ammunition CAL:45, valued at $1.70, seized by the ATF on July 12, 2023 from
Harry Crenshaw in Blacklick, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026534: Israel Weapon IND- IWI (Israel Military IND- IMI) Desert Eagle Pistol CAL:50 SN:34202646, valued
at $800.00, seized by the ATF on July 12, 2023 from Harry Crenshaw in Blacklick, OH for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-026535: Glock GMBH 30 Pistol CAL:45 SN:BWKE655, valued at $400.00, seized by the ATF on July 12,
2023 from Harry Crenshaw in Blacklick, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026536: Glock GMBH 27 Pistol CAL:40 SN:BWF316US, valued at $200.00, seized by the ATF on July 12,
2023 from Harry Crenshaw in Blacklick, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).


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property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 09/29/2023

SOUTHERN DISTRICT OF OHIO
23-ATF-026537: Ruger Ruger-57 Pistol CAL:57 SN:641-43114, valued at $800.00, seized by the ATF on July 12,
2023 from Harry Crenshaw in Blacklick, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026539: Taurus Unknown Type Revolver CAL:Unknown SN:XD80002, valued at $200.00, seized by the ATF
on July 12, 2023 from Harry Crenshaw in Blacklick, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026540: 14 Rounds Smith & Wesson Ammunition CAL:40, valued at $1.40, seized by the ATF on July 12,
2023 from Harry Crenshaw in Blacklick, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026541: 7 Rounds Sig Sauer (Sig) Ammunition CAL:357, valued at $0.70, seized by the ATF on July 12,
2023 from Harry Crenshaw in Blacklick, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026542: 40 Rounds Assorted Ammunition CAL:223, valued at $4.00, seized by the ATF on July 12, 2023
from Harry Crenshaw in Blacklick, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026543: 7 Rounds Assorted Ammunition CAL:50, valued at $0.70, seized by the ATF on July 12, 2023 from
Harry Crenshaw in Blacklick, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026544: 13 Rounds Assorted Ammunition CAL:45, valued at $1.30, seized by the ATF on July 12, 2023
from Harry Crenshaw in Blacklick, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026545: 40 Rounds Assorted Ammunition CAL:57, valued at $4.00, seized by the ATF on July 12, 2023
from Harry Crenshaw in Blacklick, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026546: 7 Rounds Assorted Ammunition CAL:45, valued at $0.70, seized by the ATF on July 12, 2023 from
Harry Crenshaw in Blacklick, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026547: 45 Rounds Assorted Ammunition CAL:40, valued at $4.50, seized by the ATF on July 12, 2023
from Harry Crenshaw in Blacklick, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026548: 100 Rounds Assorted Ammunition CAL:Multi, valued at $10.00, seized by the ATF on July 12, 2023
from Harry Crenshaw in Blacklick, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026549: Ruger Ruger-57 Pistol CAL:57 SN:643-69315, valued at $200.00, seized by the ATF on July 12,
2023 from Harry Crenshaw in Pickerington, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026550: Taurus International Spectrum Pistol CAL:380 SN:1F143353, valued at $200.00, seized by the
ATF on July 12, 2023 from Harry Crenshaw in Pickerington, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026551: Ruger SR-22 P Pistol CAL:22 SN:361-51740, valued at $200.00, seized by the ATF on July 12,
2023 from Harry Crenshaw in Pickerington, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026552: Taurus G3 Pistol CAL:9 SN:ADE423835, valued at $200.00, seized by the ATF on July 12, 2023
from Harry Crenshaw in Pickerington, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026553: Springfield Armory, Geneseo, IL Unknown Type Pistol CAL:Unknown SN:BA726008, valued at
$200.00, seized by the ATF on July 12, 2023 from Harry Crenshaw in Pickerington, OH for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-026554: Taurus 856 Ultralite Revolver CAL:38 SN:AEC141403, valued at $200.00, seized by the ATF on
July 12, 2023 from Harry Crenshaw in Pickerington, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026555: Ruger AR-556 Rifle CAL:556 SN:185240832, valued at $200.00, seized by the ATF on July 12,
2023 from Harry Crenshaw in Pickerington, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026556: 10 Rounds Assorted Ammunition CAL:22, valued at $1.00, seized by the ATF on July 12, 2023
from Harry Crenshaw in Pickerington, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026557: 7 Rounds Assorted Ammunition CAL:9, valued at $0.70, seized by the ATF on July 12, 2023 from
Harry Crenshaw in Pickerington, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026558: 5 Rounds Assorted Ammunition CAL:380, valued at $0.50, seized by the ATF on July 12, 2023
from Harry Crenshaw in Pickerington, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026559: 18 Rounds Assorted Ammunition CAL:57, valued at $1.80, seized by the ATF on July 12, 2023
from Harry Crenshaw in Pickerington, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).


[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 247 of 257 PageID 762
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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property based on hardship.


LAST DATE TO FILE: 09/29/2023

SOUTHERN DISTRICT OF OHIO
23-ATF-026560: 7 Rounds Assorted Ammunition CAL:9, valued at $0.70, seized by the ATF on July 12, 2023 from
Harry Crenshaw in Pickerington, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026561: 6 Rounds Assorted Ammunition CAL:38, valued at $0.60, seized by the ATF on July 12, 2023 from
Harry Crenshaw in Pickerington, OH for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026562: $2,376.00 U.S. Currency, seized by the ATF on July 12, 2023 from Harry Crenshaw in Blacklick,
OH for forfeiture pursuant to 21 U.S.C. Section 881.

EASTERN DISTRICT OF OKLAHOMA
23-ATF-024764: Ruger Security-9 Pistol CAL:9 SN:385-10874, valued at $99.00, seized by the ATF on May 01,
2023 from Christopher LOVEALL in Tahlequah, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-024765: 30 Rounds Assorted Ammunition CAL:9, Serial No. Null, valued at $3.00, seized by the ATF on
May 01, 2023 from Christopher LOVEALL in Tahlequah, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025997: SAVAGE ARMS INC. (CD) CUB RIFLE CAL:22 SN:NONE, valued at $100.00, seized by the ATF on
June 02, 2023 from Tommy LOGAN in Seminole, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025998: 1 Rounds FEDERAL Ammunition CAL:22, Serial No. NULL, valued at $0.10, seized by the ATF on
June 02, 2023 from Tommy LOGAN in Seminole, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025999: 4 Rounds FEDERAL Ammunition CAL:22, Serial No. NULL, valued at $0.40, seized by the ATF on
June 02, 2023 from Tommy LOGAN in Seminole, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026000: 2 Rounds FEDERAL Ammunition CAL:22, Serial No. NULL, valued at $0.20, seized by the ATF on
June 02, 2023 from Tommy LOGAN in Seminole, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026001: 1 Rounds WINCHESTER-WESTERN Ammunition CAL:45, Serial No. NULL, valued at $0.10,
seized by the ATF on June 02, 2023 from Tommy LOGAN in Seminole, OK for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-026002: 1 Rounds CCI Ammunition CAL:22, Serial No. NULL, valued at $0.10, seized by the ATF on June
02, 2023 from Tommy LOGAN in Seminole, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).

NORTHERN DISTRICT OF OKLAHOMA
23-ATF-026876: 22 Rounds ASSORTED Ammunition CAL:40, Serial No. NULL, valued at $2.20, seized by the ATF
on June 29, 2023 from Montell MILLER in Tulsa, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).




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property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 248 of 257 PageID 763
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 09/29/2023

WESTERN DISTRICT OF OKLAHOMA
23-ATF-022569: RUGER 22 CHARGER PISTOL CAL:22 SN:493-24128, valued at $440.00, seized by the ATF on
May 15, 2023 from Donovan Petties in NORMAN, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-022585: GLOCK GMBH 43X PISTOL CAL:9 SN:BMRA451, valued at $500.00, seized by the ATF on May 15,
2023 from Donovan Petties in NORMAN, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-022588: ARMSCOR OF THE PHILIPPINES (SQUIRES BINGHAM) 206 REVOLVER CAL:38
SN:RIA2553555, valued at $240.00, seized by the ATF on May 15, 2023 from Donovan Petties in NORMAN, OK for
forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-022591: 220 Rounds OTHER Ammunition CAL:UNKNOWN, Serial No. NULL, valued at $22.00, seized by
the ATF on May 15, 2023 from Donovan Petties in NORMAN, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026575: BERETTA USA CORP 96 PISTOL CAL:40 SN:BER063187, valued at $620.00, seized by the ATF
on June 13, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026576: 8 Rounds ASSORTED Ammunition CAL:40, Serial No. NULL, valued at $0.80, seized by the ATF
on June 13, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026577: MOSSBERG 1000 SHOTGUN CAL:12 SN:MV91850N, valued at $250.00, seized by the ATF on
June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026578: MASTERPIECE ARMS DEFENDER PISTOL CAL:9 SN:F9410, valued at $500.00, seized by the
ATF on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026580: SIG SAUER (SIG-ARMS) P365 XL PISTOL CAL:9 SN:NRA064320, valued at $400.00, seized by
the ATF on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-026582: PACHMAYR GUN WORKS UNKNOWN PISTOL CAL:UNKNOWN SN:F22371, valued at $500.00,
seized by the ATF on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-026584: SMITH & WESSON SW1911 PISTOL CAL:45 SN:UCT6598, valued at $780.00, seized by the ATF
on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026588: AMT - CALIFORNIA (ARCADIA MACHINE &TOOL) BACKUP PISTOL CAL:45 SN:DL19176, valued
at $1.00, seized by the ATF on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant
to 18 U.S.C. Section 924(d).
23-ATF-026590: HERITAGE MFG. INC. ROUGH RIDER REVOLVER CAL:22 SN:E33729, valued at $100.00, seized
by the ATF on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-026591: GLOCK GMBH 22CGEN4 PISTOL CAL:40 SN:SBB630, valued at $500.00, seized by the ATF on
June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026592: RUGER P89 PISTOL CAL:9 SN:305-86913, valued at $300.00, seized by the ATF on June 09,
2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026593: POLYMER80, INC. (P80 TACTICAL P80) PF940V2 PISTOL CAL:9 SN:NONE, valued at $1.00,
seized by the ATF on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-026597: SIG SAUER (SIG-ARMS) P226 PISTOL CAL:357 SN:UU606201, valued at $350.00, seized by the
ATF on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).


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                                                          Page 182 of 191                                                          248
Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 249 of 257 PageID 764
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 09/29/2023

WESTERN DISTRICT OF OKLAHOMA
23-ATF-026598: SMITH & WESSON M&P 9 M2.0 PISTOL CAL:9 SN:LFH0860, valued at $300.00, seized by the ATF
on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026599: CANIK55 TP-9 ELITE SC PISTOL CAL:9 SN:T6472-20CB38955, valued at $400.00, seized by the
ATF on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026600: RUGER AMERICAN PISTOL PISTOL CAL:45 SN:861-09715, valued at $250.00, seized by the ATF
on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026601: WALTHER PPQ PISTOL CAL:9 SN:FAX1646, valued at $600.00, seized by the ATF on June 09,
2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026602: TAURUS PT145 PRO PISTOL CAL:45 SN:NC026765, valued at $250.00, seized by the ATF on
June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026604: CANIK55 TP-9DA PISTOL CAL:9 SN:T6472-21BJ00688, valued at $300.00, seized by the ATF on
June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026605: TAURUS PT140 PRO PISTOL CAL:40 SN:SD081056, valued at $200.00, seized by the ATF on
June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026606: TAURUS INTERNATIONAL TCP PISTOL CAL:380 SN:80497D, valued at $145.00, seized by the
ATF on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026608: GLOCK GMBH 21 PISTOL CAL:45 SN:KYV466, valued at $500.00, seized by the ATF on June 09,
2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026609: BLACK METAL SILENCER UNKNOWN SILENCER CAL:UNKNOWN SN:NONE, valued at
$400.00, seized by the ATF on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture
pursuant to 18 U.S.C. Section 924(d).
23-ATF-026611: KELTEC, CNC INDUSTRIES, INC. KSG SHOTGUN CAL:12 SN:XXCC54, valued at $600.00,
seized by the ATF on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-026612: UNKNOWN MANUFACTURER UNKNOWN SHOTGUN CAL:UNKNOWN SN:9475, valued at
$100.00, seized by the ATF on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture
pursuant to 18 U.S.C. Section 924(d).
23-ATF-026613: REMINGTON ARMS COMPANY, INC. 700 RIFLE CAL:30-06 SN:G6549994, valued at $600.00,
seized by the ATF on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-026615: HIGH STANDARD 10 SHOTGUN CAL:UNKNOWN SN:NONE, valued at $100.00, seized by the
ATF on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026617: BROWNING SWEET SIXTEEN SHOTGUN CAL:16 SN:79683, valued at $800.00, seized by the
ATF on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026618: CENTURY ARMS INTERNATIONAL UNKNOWN SHOTGUN CAL:UNKNOWN SN:014697, valued
at $100.00, seized by the ATF on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture
pursuant to 18 U.S.C. Section 924(d).
23-ATF-026619: THOMPSON MACHINE AR45 RIFLE CAL:45 SN:KM4018, valued at $1,500.00, seized by the ATF
on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 250 of 257 PageID 765
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 09/29/2023

WESTERN DISTRICT OF OKLAHOMA
23-ATF-026619 - (Continued from previous page)
924(d).
23-ATF-026621: HIPOINT (STRASSELL'S MACHINE INC.) 995 RIFLE CAL:9 SN:E38438, valued at $100.00,
seized by the ATF on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-026622: BLACK RAIN ORDNANCE INC. FALLOUT 10 RIFLE CAL:MULTI SN:SL003392, valued at $700.00,
seized by the ATF on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-026624: EXTAR, LLC, EXP556 PISTOL CAL:556 SN:EP06868, valued at $250.00, seized by the ATF on
June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026625: ROMARM/CUGIR GP WASR 10/63 RIFLE CAL:762 SN:AH0225, valued at $900.00, seized by the
ATF on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026641: TWO RIVER ARMS LLC TABUK RIFLE CAL:762 SN:RB0464, valued at $100.00, seized by the ATF
on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026642: ANDERSON MANUFACTURING AM-15 RIFLE CAL:223 SN:14097343, valued at $450.00, seized
by the ATF on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-026643: 37 Rounds ASSORTED Ammunition CAL:38, Serial No. NULL, valued at $3.70, seized by the ATF
on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026644: 153 Rounds ASSORTED Ammunition CAL:9, Serial No. NULL, valued at $15.30, seized by the ATF
on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026645: 23 Rounds ASSORTED Ammunition CAL:308, Serial No. NULL, valued at $2.30, seized by the ATF
on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026646: 82 Rounds ASSORTED Ammunition CAL:762, Serial No. NULL, valued at $8.20, seized by the ATF
on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026647: 59 Rounds ASSORTED Ammunition CAL:762, Serial No. NULL, valued at $5.90, seized by the ATF
on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026648: 6 Rounds ASSORTED Ammunition CAL:357, Serial No. NULL, valued at $0.60, seized by the ATF
on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026649: 234 Rounds ASSORTED Ammunition CAL:45, Serial No. NULL, valued at $23.40, seized by the
ATF on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026650: 48 Rounds ASSORTED Ammunition CAL:357, Serial No. NULL, valued at $4.80, seized by the ATF
on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026651: 66 Rounds ASSORTED Ammunition CAL:223, Serial No. NULL, valued at $6.60, seized by the ATF
on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
                                                          Page 184 of 191                                                          250
Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 251 of 257 PageID 766
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 09/29/2023

WESTERN DISTRICT OF OKLAHOMA
23-ATF-026651 - (Continued from previous page)
924(d).
23-ATF-026652: 47 Rounds ASSORTED Ammunition CAL:380, Serial No. NULL, valued at $4.70, seized by the ATF
on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026653: 173 Rounds ASSORTED Ammunition CAL:22, Serial No. NULL, valued at $17.30, seized by the
ATF on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026654: 22 Rounds ASSORTED Ammunition CAL:12, Serial No. NULL, valued at $2.20, seized by the ATF
on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026655: 267 Rounds ASSORTED Ammunition CAL:40, Serial No. NULL, valued at $26.70, seized by the
ATF on June 09, 2023 from Cordero HARVEY in OKLAHOMA CITY, OK for forfeiture pursuant to 18 U.S.C. Section
924(d).




[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
federal forfeiture for violation of federal law. Laws and procedures applicable to the forfeiture process can be found at 19
U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

See full legal notice on page one, which includes instructions on how to file a claim, a petition, and to request the release of
property based on hardship.


LAST DATE TO FILE: 09/29/2023

DISTRICT OF SOUTH CAROLINA
23-ATF-025639: Romarm/Cugir STG-2000C Rifle CAL:762 SN:G215807RO, valued at $200.00, seized by the ATF
on June 29, 2023 from Christopher Huntington in Lexington, SC for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-025641: SUN CITY MACHINERY CO., LTD Stevens 320 Shotgun CAL:12 SN:172966D, valued at $200.00,
seized by the ATF on June 29, 2023 from Christopher Huntington in Lexington, SC for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-025642: PALMETTO STATE ARMORY M16A2 Rifle CAL:556 SN:804953, valued at $300.00, seized by the
ATF on June 29, 2023 from Christopher Huntington in Lexington, SC for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-025643: MOSSBERG 500A Shotgun CAL:12 SN:R986549, valued at $200.00, seized by the ATF on June
29, 2023 from Christopher Huntington in Lexington, SC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025645: Zastava Unknown Rifle CAL:Unknown SN:353068, valued at $200.00, seized by the ATF on June
29, 2023 from Christopher Huntington in Lexington, SC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025646: BLACK ACES TACTICAL Pro Series S Shotgun CAL:12 SN:20-PSM13590, valued at $200.00,
seized by the ATF on June 29, 2023 from Christopher Huntington in Lexington, SC for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-025647: SMITH & WESSON M&P 15-22 Rifle CAL:22 SN:DFH2684, valued at $200.00, seized by the ATF
on June 29, 2023 from Christopher Huntington in Lexington, SC for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-025648: CBC (COMPANHIA BRAZILIERA DE CARTUCHOS) SB Shotgun CAL:12 SN:252749, valued at
$200.00, seized by the ATF on June 29, 2023 from Christopher Huntington in Lexington, SC for forfeiture pursuant
to 18 U.S.C. Section 924(d).
23-ATF-025649: PALMETTO STATE ARMORY PA-15 Rifle CAL:Multi SN:PA146873, valued at $200.00, seized by the
ATF on June 29, 2023 from Christopher Huntington in Lexington, SC for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-025650: 30 Rounds Unknown Ammunition CAL:223, valued at $3.00, seized by the ATF on June 29, 2023
from Christopher Huntington in Lexington, SC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025651: Savage Axis Rifle CAL:65 SN:N585579, valued at $200.00, seized by the ATF on June 29, 2023
from Christopher Huntington in Lexington, SC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025652: TAURUS INTERNATIONAL 62 Rifle CAL:22 SN:TE7180, valued at $200.00, seized by the ATF on
June 29, 2023 from Christopher Huntington in Lexington, SC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025655: Lefever Nitro Special Shotgun CAL:12 SN:148232, valued at $100.00, seized by the ATF on June
29, 2023 from Christopher Huntington in Lexington, SC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025656: NORINCO (NORTH CHINA INDUSTRIES) NHM91 Rifle CAL:762 SN:9404648, valued at $300.00,
seized by the ATF on June 29, 2023 from Christopher Huntington in Lexington, SC for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-025657: MASTERPIECE ARMS DEFENDER Pistol CAL:9 SN:FX26616, valued at $200.00, seized by the
ATF on June 29, 2023 from Christopher Huntington in Lexington, SC for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-025662: MAVERICK ARMS (EAGLE PASS, TX) 88 Shotgun CAL:12 SN:MV37795H, valued at $200.00,
seized by the ATF on June 29, 2023 from Christopher Huntington in Lexington, SC for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-025663: Zastava 59/66 Rifle CAL:762 SN:G183526, valued at $300.00, seized by the ATF on June 29, 2023
from Christopher Huntington in Lexington, SC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025664: NORINCO (NORTH CHINA INDUSTRIES) SKS Rifle CAL:762 SN:1720865, valued at $300.00,
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 253 of 257 PageID 768
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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property based on hardship.


LAST DATE TO FILE: 09/29/2023

DISTRICT OF SOUTH CAROLINA
23-ATF-025664 - (Continued from previous page)
seized by the ATF on June 29, 2023 from Christopher Huntington in Lexington, SC for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-025665: MMC ARMORY (MENNIE MACHINE COMPANY, INC) MA-15 Rifle CAL:Multi SN:A00560, valued at
$300.00, seized by the ATF on June 29, 2023 from Christopher Huntington in Lexington, SC for forfeiture pursuant
to 18 U.S.C. Section 924(d).
23-ATF-025666: SAVAGE ARMS INC. (CD) A22 Rifle CAL:22 SN:4026979, valued at $300.00, seized by the ATF on
June 29, 2023 from Christopher Huntington in Lexington, SC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025668: SAVAGE ARMS INC. (CD) 93R17 Rifle CAL:17 SN:3352165, valued at $200.00, seized by the ATF
on June 29, 2023 from Christopher Huntington in Lexington, SC for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-025670: SPRINGFIELD ARMORY,GENESEO,IL SAINT Rifle CAL:556 SN:ST464971, valued at $500.00,
seized by the ATF on June 29, 2023 from Christopher Huntington in Lexington, SC for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-025671: Mossberg 500A Shotgun CAL:12 SN:P710058, valued at $200.00, seized by the ATF on June 29,
2023 from Christopher Huntington in Lexington, SC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025673: 158 Rounds Assorted Ammunition CAL:Multi, valued at $15.80, seized by the ATF on June 29,
2023 from Christopher Huntington in Lexington, SC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025674: 3 Rounds WINCHESTER-WESTERN Ammunition CAL:22, valued at $0.30, seized by the ATF on
June 29, 2023 from Christopher Huntington in Lexington, SC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025676: 3 Rounds SELLIER & BELLOT Ammunition CAL:65, valued at $0.30, seized by the ATF on June
29, 2023 from Christopher Huntington in Lexington, SC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026698: Glock GMBH 19X Pistol CAL:9 SN:BSPN502, valued at $600.00, seized by the ATF on June 28,
2023 from Tyrek Carroway in Columbia, SC for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026699: 13 Rounds Fiocchi Ammunition CAL:9, valued at $1.30, seized by the ATF on June 28, 2023 from
Tyrek Carroway in Columbia, SC for forfeiture pursuant to 18 U.S.C. Section 924(d).




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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 254 of 257 PageID 769
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 09/29/2023

NORTHERN DISTRICT OF TEXAS
23-ATF-022688: BENELLI, S. PA. M4 SHOTGUN CAL:12 SN:Y089567L16, valued at $750.00, seized by the ATF on
May 12, 2023 from Jerry JOHNSON in Waxahachie, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-022701: BENELLI, S. PA. M4 SHOTGUN CAL:12 SN:Y089589S16, valued at $750.00, seized by the ATF on
May 12, 2023 from Jerry JOHNSON in Waxahachie, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-022709: MOSSBERG 500A SHOTGUN CAL:12 SN:R222499, valued at $750.00, seized by the ATF on May
12, 2023 from Jerry JOHNSON in Waxahachie, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-022712: AMERICAN TACTICAL IMPORTS -ATI OMNI HYBRID PISTOL CAL:556 SN:NS016792, valued at
$750.00, seized by the ATF on May 12, 2023 from Jerry JOHNSON in Waxahachie, TX for forfeiture pursuant to 18
U.S.C. Section 924(d).
23-ATF-022732: MASTERPIECE ARMS MPA10SST PISTOL CAL:45 SN:A10742, valued at $750.00, seized by the
ATF on May 12, 2023 from Jerry JOHNSON in Waxahachie, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-022744: SIG-SAUER P250 PISTOL CAL:UNKNOWN SN:EAK18041, valued at $750.00, seized by the ATF
on May 12, 2023 from Jerry JOHNSON in Waxahachie, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-022878: ROSSI M885 REVOLVER CAL:38 SN:W164881, valued at $250.00, seized by the ATF on May 12,
2023 from Jerry JOHNSON in Dallas, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-022886: COLT DETECTIVE SPECIAL REVOLVER CAL:38 SN:F50056D, valued at $250.00, seized by the
ATF on May 12, 2023 from Jerry JOHNSON in Dallas, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-022894: ROSSI M971 REVOLVER CAL:357 SN:FT626811,, valued at $550.00, seized by the ATF on May
12, 2023 from Jerry JOHNSON in Dallas, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026357: BARRETT FIREARMS MFG CO, 82A1 RIFLE CAL:50 BMG SN:AA015949, valued at $10,000.00,
seized by the ATF on June 03, 2023 from Aurelio Diaz in Farmers Brach, TX for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-026359: FNH USA, LLC M249S RIFLE CAL:556 SN:M249SA06474, valued at $11,000.00, seized by the
ATF on June 03, 2023 from James Jackson in Farmers Brach, TX for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026368: BERETTA USA CORP APX PISTOL CAL:40 SN:A001035Y, valued at $250.00, seized by the ATF on
June 03, 2023 from Raymundo Ferretiz in Addison, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026371: 15 Rounds SPEER Ammunition CAL:40, Serial No. NULL, valued at $1.50, seized by the ATF on
June 03, 2023 from Raymundo Ferretiz in Addison, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026433: TISAS - TRABZON GUN INDUSTRY CORP 1911 DUTY B45R PISTOL CAL:45
SN:T0620-23AK02493, valued at $500.00, seized by the ATF on June 30, 2023 from Jose AGUILAR in Farmers
Branch, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026434: ARMSCOR OF THE PHILIPPINES (SQUIRES BINGHAM) M1911-A1 PISTOL CAL:45
SN:RIA2632143, valued at $560.00, seized by the ATF on June 30, 2023 from Jose AGUILAR in Farmers Branch,
TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026435: SPRINGFIELD ARMORY,GENESEO,IL, EMP PISTOL CAL:9 SN:88922, valued at $800.00, seized
by the ATF on June 30, 2023 from Jose AGUILAR in Farmers Branch, TX for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-026436: MOSSBERG Shockwave Shotgun CAL:UNKNOWN SN:V183C039, valued at $400.00, seized by
the ATF on June 30, 2023 from Jose AGUILAR in Farmers Branch, TX for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026437: ROMARM/CUGIR MINI DRACO PISTOL CAL:762 SN:ROA23PG-9679, valued at $950.00, seized
by the ATF on June 30, 2023 from Jose AGUILAR in Farmers Branch, TX for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-026438: Kalishnakov USA Khaos PISTOL CAL:12 SN:K12001606, valued at $1,000.00, seized by the ATF
(Continued on next page)
[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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Case 4:23-cv-00830-O Document 34 Filed 08/25/23                                          Page 255 of 257 PageID 770
ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) gives notice that the property listed below was seized for
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U.S.C. Sections 1602 - 1619, 18 U.S.C. Section 983, and 28 C.F.R. Parts 8 and 9.

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LAST DATE TO FILE: 09/29/2023

NORTHERN DISTRICT OF TEXAS
23-ATF-026438 - (Continued from previous page)
on June 30, 2023 from Jose AGUILAR in Farmers Branch, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026439: UNKNOWN UNKNOWN PISTOL CAL:UNKOWN SN:RON2212676, valued at $950.00, seized by
the ATF on June 30, 2023 from Jose AGUILAR in Farmers Branch, TX for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026440: CENTURY ARMS INTERNATIONAL VSKA RIFLE CAL:762 SN:SV7138898, valued at $700.00,
seized by the ATF on June 30, 2023 from Jose AGUILAR in Farmers Branch, TX for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-026441: UNKNOWN MANUFACTURER UNKNOWN PISTOL CAL:UNKNOWN SN:RON2212583, valued at
$950.00, seized by the ATF on June 30, 2023 from Jose AGUILAR in Farmers Branch, TX for forfeiture pursuant to
18 U.S.C. Section 924(d).
23-ATF-026711: HECKLER AND KOCH VP9 PISTOL CAL:9 SN:224-112377, valued at $300.00, seized by the ATF
on June 27, 2023 from David Gutierrez in Rowlett, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026713: 15 Rounds WINCHESTER-WESTERN Ammunition CAL:9, Serial No. NULL, valued at $1.50,
seized by the ATF on June 27, 2023 from David Gutierrez in Rowlett, TX for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026763: RG INDUSTRIES RG14 REVOLVER CAL:22 SN:226540, valued at $200.00, seized by the ATF on
May 26, 2023 from Clifton NEWELL in Lubbock, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026765: 5 Rounds ASSORTED Ammunition CAL:22, Serial No. NULL, valued at $0.50, seized by the ATF
on May 26, 2023 from Clifton NEWELL in Lubbock, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026766: YILDIZ SHOTGUN IND. UNKNOWN SHOTGUN CAL:UNKNOWN SN:NONE, valued at $200.00,
seized by the ATF on May 26, 2023 from Clifton NEWELL in Lubbock, TX for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026885: GLOCK GMBH 27 PISTOL CAL:40 SN:CACB244, valued at $400.00, seized by the ATF on June
22, 2023 from Jay Navarro in Mesquite, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026887: 6 Rounds PPU Ammunition CAL:40, Serial No. NULL, valued at $0.60, seized by the ATF on June
22, 2023 from Jay Navarro in Mesquite, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).

SOUTHERN DISTRICT OF TEXAS
23-ATF-026631: Taurus G3C Pistol CAL:9 SN:ACL487731, valued at $300.00, seized by the ATF on July 14, 2023
from Armando Morales-Flores in Laredo, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026632: 11 Rounds Federal Ammunition CAL:9, Serial No. Unknown, valued at $1.10, seized by the ATF on
July 14, 2023 from Armando Morales-Flores in Laredo, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).




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property for sale.]
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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 09/29/2023

WESTERN DISTRICT OF TEXAS
23-ATF-026400: RUGER LC9S PISTOL CAL:9 SN:328-67798, valued at $200.00, seized by the ATF on June 27,
2023 from Bradley BISHOP in Midland, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026402: SMITH & WESSON M&P 40 PISTOL CAL:40 SN:HTC6753, valued at $200.00, seized by the ATF
on June 27, 2023 from Bradley BISHOP in Midland, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026403: ISRAEL WEAPON IND- IWI (ISRAEL MILITARY IND- IMI) DESERT EAGLE PISTOL CAL:44
SN:DK0013909, valued at $700.00, seized by the ATF on June 27, 2023 from Bradley BISHOP in Midland, TX for
forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026405: SMITH & WESSON 66 REVOLVER CAL:357 SN:AYW9429, valued at $200.00, seized by the ATF
on June 27, 2023 from Bradley BISHOP in Midland, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026406: F.LLI PIETTA, FABRICA D'ARMI 1873 REVOLVER CAL:357 SN:E141195, valued at $200.00, seized
by the ATF on June 27, 2023 from Bradley BISHOP in Midland, TX for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026408: BERSA THUNDER 380 PISTOL CAL:380 SN:D65593, valued at $200.00, seized by the ATF on
June 27, 2023 from Bradley BISHOP in Midland, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026409: 8 Rounds OTHER Ammunition CAL:380, Serial No. NULL, valued at $0.80, seized by the ATF on
June 27, 2023 from Bradley BISHOP in Midland, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026412: TAURUS INTERNATIONAL 605 REVOLVER CAL:357 SN:NK87428, valued at $200.00, seized by
the ATF on June 27, 2023 from Bradley BISHOP in Midland, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026413: 5 Rounds EL DORADO - PMC Ammunition CAL:38, Serial No. NULL, valued at $0.50, seized by
the ATF on June 27, 2023 from Bradley BISHOP in Midland, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026634: Barrett Firearms MFG Co. M107A1 Rifle CAL:50 BMG SN:AE008061, valued at $11,300.00, seized
by the ATF on July 13, 2023 from Lashonda Young in San Antonio, TX for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-026636: Ruger American Pistol Pistol CAL:45 SN:86140237, valued at $250.00, seized by the ATF on July
13, 2023 from Roderick Roddy in San Antonio, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026638: 10 Rounds Federal Ammunition CAL:45, Serial No. Unknown, valued at $1.00, seized by the ATF
on July 13, 2023 from Roderick Roddy in San Antonio, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026639: Smith & Wesson M&P 40 Shield Pistol CAL:40 SN:JDD0985, valued at $250.00, seized by the ATF
on July 13, 2023 from Roderick Roddy in San Antonio, TX for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026640: 7 Rounds Unknown Manufacturer Ammunition CAL:40, Serial No. Unknown, valued at $0.70,
seized by the ATF on July 13, 2023 from Roderick Roddy in San Antonio, TX for forfeiture pursuant to 18 U.S.C.
Section 924(d).

WESTERN DISTRICT OF VIRGINIA
23-ATF-026080: Taurus G2C Pistol CAL:9 SN:TMR74477, valued at $100.00, seized by the ATF on June 30, 2023
from Aaron VANCE in Roanoke, VA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026085: 24 Rounds Assorted Ammunition CAL:9, Serial No. Unknown, valued at $2.40, seized by the ATF
on June 30, 2023 from Aaron VANCE in Roanoke, VA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026086: 21 Rounds Assorted Ammunition CAL:22, Serial No. Unknown, valued at $2.10, seized by the ATF
on June 30, 2023 from Aaron VANCE in Roanoke, VA for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-026087: Walther P22 Pistol CAL:22 SN:WA277118, valued at $100.00, seized by the ATF on June 30, 2023
from Aaron VANCE in Roanoke, VA for forfeiture pursuant to 18 U.S.C. Section 924(d).




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ATF OFFICIAL NOTIFICATION POSTED ON AUGUST 24, 2023

                                                        LEGAL NOTICE
                                                         ATTENTION

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LAST DATE TO FILE: 09/29/2023

DISTRICT OF VERMONT
23-ATF-027004: RUGER EC9S Pistol CAL:9 SN:462-21978, valued at $100.00, seized by the ATF on June 30,
2023 from Melinda MORGAN and Dale TAYLOR in Brattleboro, VT for forfeiture pursuant to 18 U.S.C. Section
924(d).
23-ATF-027007: SMITH & WESSON SW40VE Pistol CAL:40 SN:PBM8091, valued at $200.00, seized by the ATF on
June 30, 2023 from Melinda MORGAN and Dale TAYLOR in Brattleboro, VT for forfeiture pursuant to 18 U.S.C.
Section 924(d).
23-ATF-027008: 7 Rounds WINCHESTER-WESTERN Ammunition CAL:9, Serial No. Unknown, valued at $0.70,
seized by the ATF on June 30, 2023 from Melinda MORGAN and Dale TAYLOR in Brattleboro, VT for forfeiture
pursuant to 18 U.S.C. Section 924(d).
23-ATF-027010: 10 Rounds HORNADY Ammunition CAL:40, Serial No. Unknown, valued at $1.00, seized by the
ATF on June 30, 2023 from Melinda MORGAN and Dale TAYLOR in Brattleboro, VT for forfeiture pursuant to 18
U.S.C. Section 924(d).

NORTHERN DISTRICT OF WEST VIRGINIA
23-ATF-025854: TAURUS PT111 MILLENNIUM G2 PISTOL CAL:9 SN:TKY14563, valued at $250.00, seized by the
ATF on June 11, 2023 from Michael Scott in Morgantown, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025855: 12 Rounds ASSORTED Ammunition CAL:9, valued at $1.20, seized by the ATF on June 11, 2023
from Michael Scott in Morgantown, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025857: HASKELL (MFGR) JHP PISTOL CAL:45 SN:X42627, valued at $150.00, seized by the ATF on June
11, 2023 from Michael Scott in Morgantown, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025858: 7 Rounds ASSORTED Ammunition CAL:45, valued at $0.70, seized by the ATF on June 11, 2023
from Michael Scott in Morgantown, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025859: 1 Rounds ASSORTED Ammunition CAL:40, valued at $0.10, seized by the ATF on June 11, 2023
from Phineas Chaplin in Morgantown, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025860: GLOCK GMBH 22 PISTOL CAL:40 SN:XHR494, valued at $450.00, seized by the ATF on June 11,
2023 from Phineas Chaplin in Morgantown, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025862: 11 Rounds CCI Ammunition CAL:40, valued at $1.10, seized by the ATF on June 11, 2023 from
Phineas Chaplin in Morgantown, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025866: RUGER LCP PISTOL CAL:380 SN:371-876366, valued at $250.00, seized by the ATF on June 11,
2023 from Michael Scott in Morgantown, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025868: HS PRODUKT (IM METAL) XDS PISTOL CAL:9 SN:XS909828, valued at $400.00, seized by the
ATF on June 11, 2023 from Michael Scott in Morgantown, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025873: 3 Rounds CCI Ammunition CAL:9, valued at $0.30, seized by the ATF on June 11, 2023 from
Michael Scott in Morgantown, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025875: 45 Rounds ASSORTED Ammunition CAL:9, valued at $4.50, seized by the ATF on June 11, 2023
from Michael Scott in Morgantown, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).
23-ATF-025881: 1 Component ASSORTED Ammunition CAL:40, valued at $0.02, seized by the ATF on June 11,
2023 from Phineas Chaplin in Morgantown, WV for forfeiture pursuant to 18 U.S.C. Section 924(d).




[The property listed above is NOT for sale. The ATF does not sell forfeited property and the ATF does not have information on
property for sale.]
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